                                               UNITED STATES BANKRUPTCY COURT
                                               MIDDLE DISTRICT OF PENNSYLVANIA
                                                    WILKES-BARRE DIVISION

  In re:                                                     §
  Pottsville Internists Associates, Inc.                     §       Case No. 17-00641
                                                             §
                                           Debtor(s)         §
                                                             §


                                  CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                   REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                  ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

      William G. Schwab, Chapter 7 Trustee, submits this Final Account, Certification that the Estate has been Fully
  Administered and Application to be Discharged.

       1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if applicable, any
  order of the Court modifying the Final Report. The case is fully administered and all assets and funds which have
  come under the trustee’s control in this case have been properly accounted for as provided by law. The trustee
  hereby requests to be discharged from further duties as a trustee.
      2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged without
  payment, and expenses of administration is provided below:

     Assets Abandoned: $128,510.00                                   Assets Exempt: NA
     (Without deducting any secured claims)
     Total Distributions to Claimants: $300,370.08                   Claims Discharged
                                                                     Without Payment: NA
     Total Expenses of Administration: $666,426.18

        3) Total gross receipts of $966,796.26 (see Exhibit 1), minus funds paid to the debtor and third parties of $0.00
  (see Exhibit 2), yielded net receipts of $966,796.26 from the liquidation of the property of the estate, which was
  distributed as follows:




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                                               CLAIMS                CLAIMS           CLAIMS              CLAIMS
                                             SCHEDULED              ASSERTED         ALLOWED               PAID
   SECURED CLAIMS
                                              $410,000.00            $488,091.44      $488,091.44        $205,647.52
   (from Exhibit 3 )

   PRIORITY CLAIMS:
     CHAPTER 7 ADMIN. FEES                               NA           $82,558.43      $666,426.18        $666,426.18
     AND CHARGES (from Exhibit 4 )
      PRIOR CHAPTER ADMIN. FEES
      AND CHARGES                                        NA                $0.00            $0.00               $0.00
      (from Exhibit 5 )

      PRIORITY UNSECURED CLAIMS
                                                       $0.00               $0.00            $0.00               $0.00
      (from Exhibit 6 )

   GENERAL UNSECURED CLAIMS
                                              $819,917.00           $2,196,099.96   $1,971,475.35          $94,722.56
   (from Exhibit 7 )


    TOTAL DISBURSEMENTS                     $1,229,917.00           $2,766,749.83   $3,125,992.97        $966,796.26



        4) This case was originally filed under chapter 7 on 02/20/2017. The case was pending for 28 months.

       5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
  Trustee.
       6) An individual estate property record and report showing the final accounting of the assets of the estate is
  attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
  accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true and
  correct.

  Dated :     06/21/2019                        By :      /s/ William G. Schwab

                                                          Trustee

  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
  exemption 5 C.F.R. § 1320.4 (a)(2) applies.




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                                                                             EXHIBITS TO
                                                                           FINAL ACCOUNT
          EXHIBIT 1 – GROSS RECEIPTS

                                                                                                          UNIFORM       AMOUNT
                                         DESCRIPTION
                                                                                                        TRAN. CODE 1    RECEIVED

  REFUND - GIVEN IMAGING, INC.FOR PRE-PETITION ACCT                                                       1121-000              $5,000.00

  Accounts Receivable                                                                                     1121-000         $227,054.07

  Riverview Bank Checking 3610                                                                            1129-000              $1,289.45

  Wells Fargo Bank Checking 1809                                                                          1129-000            $34,116.74

  Wells Fargo Bank Savings 7188                                                                           1129-000              $6,396.06

  2005 Dodge Van                                                                                          1129-000              $8,000.00

  BB&T Checking 4004                                                                                      1149-000            $37,083.07

  PHOTOCOPYING                                                                                            1229-000               $558.86

  PERSONAL PROPERTY                                                                                       1229-000            $70,652.00

  OVER-PAYMENT OF 401(K) FUNDS                                                                            1229-000            $27,089.68

  Refund-Prepaid Software by Debtor                                                                       1229-000               $295.84

  Pre-Filing Insurance Refund                                                                             1249-000            $14,027.00

  CLASS ACTION SETTLEMENTS (UNSCHEDULED)                                                                  1249-000            $17,365.62

  Claims vs. Officers and Directors                                                                       1249-000         $430,075.00

  Valley Kidney Claim                                                                                     1249-000            $65,000.00

  Resale of Comcast Services to LVHN                                                                      1290-000            $18,199.81

  MEDICAL RECORDS                                                                                         1290-000              $4,593.06

      TOTAL GROSS RECEIPTS                                                                                                 $966,796.26
  1
      The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


          EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM            AMOUNT
                    PAYEE                                  DESCRIPTION
                                                                                                   TRAN. CODE           PAID

                      NA                                          NA                                     NA              NA
      TOTAL FUNDS PAID TO DEBTOR &
                                                                                                                        $0.00
      THIRD PARTIES

          EXHIBIT 3 – SECURED CLAIMS




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       EXHIBIT 3 – SECURED CLAIMS

                                             UNIFORM        CLAIMS
   CLAIM                                                                   CLAIMS         CLAIMS        CLAIMS
                       CLAIMANT               TRAN.       SCHEDULED
    NO.                                                                   ASSERTED       ALLOWED         PAID
                                              CODE      (from Form 6D)
    00009 BB&T                               4210-000        NA            $411,556.11    $411,556.11   $205,647.52

    00022 Marlin Business Bank               4210-000        NA             $47,194.17     $47,194.17         $0.00

    00023 Marlin Business Bank               4210-000        NA             $10,830.69     $10,830.69         $0.00

    00025 Wells Fargo Vendor Financial       4210-000        NA             $18,510.47     $18,510.47         $0.00

             BB&T                                         $410,000.00         NA             NA               $0.00

             TOTAL SECURED                                $410,000.00      $488,091.44    $488,091.44   $205,647.52

       EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES AND CHARGES

                                           UNIFORM
                                                          CLAIMS          CLAIMS          CLAIMS        CLAIMS
                    PAYEE                   TRAN.
                                                        SCHEDULED        ASSERTED        ALLOWED         PAID
                                            CODE
   HOUSER AUCTIONEERS                      3610-000        NA                 $0.00          $800.00       $800.00

   HOUSER AUCTIONEERS                      3620-000        NA                 $0.00          $225.00       $225.00

   JOB CONNECTION                          2990-000        NA                 $0.00       $333,697.20   $333,697.20

   PENN KASHAR                             2990-000        NA                 $0.00          $774.86       $774.86

   TRUSTEE INSURANCE AGENCY                2990-000        NA                 $0.00         $2,801.00     $2,801.00

   US POSTMASTER                           2990-000        NA                 $0.00         $1,374.44     $1,374.44

   REPUBLICAN HERALD                       2990-000        NA                 $0.00         $1,245.00     $1,245.00

   STAPLES                                 2990-000        NA                 $0.00         $4,607.28     $4,607.28

   Lehigh Valley Physicians Group-         2990-000        NA                 $0.00        $26,500.00    $26,500.00

   William G. Schwab and Associates        3110-000        NA                 $0.00       $120,871.50   $120,871.50

   William G. Schwab and Associates-       3120-000        NA                 $0.00         $2,270.29     $2,270.29

   FEGLEY & ASSOCIATES, P.C.               3410-000        NA                 $0.00         $6,211.25     $6,211.25

   WILLIAM G. SCHWAB, EXPENSES             2200-000        NA                 $0.00        $34,306.84    $34,306.84

   COMCAST-ADM                             2990-000        NA                 $0.00        $21,283.57    $21,283.57

   UPS                                     2990-000        NA                 $0.00          $416.21       $416.21

   CARD SERVICES                           2990-000        NA                 $0.00         $2,551.97     $2,551.97

   BUSINESS CARD SERVICES                  2990-000        NA                 $0.00          $804.90       $804.90

   TROPP CONTRACTING                       2990-000        NA                 $0.00         $1,272.00     $1,272.00

   GREENWAY                                2990-000        NA                 $0.00         $2,769.24     $2,769.24


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       EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES AND CHARGES

                                           UNIFORM
                                                         CLAIMS       CLAIMS        CLAIMS          CLAIMS
                   PAYEE                    TRAN.
                                                       SCHEDULED     ASSERTED      ALLOWED           PAID
                                            CODE
   W.B.MASON CO INC.                       2990-000       NA               $0.00        $32.85          $32.85

   DIRECT ENERGY BUSINESS                  2990-000       NA               $0.00      $3,848.46       $3,848.46

   PPL ELECTRIC UTILITIES                  2990-000       NA               $0.00       $301.14         $301.14

   William G. Schwab, Trustee              2100-000       NA          $51,578.79     $51,578.79      $51,578.79

   US POSTAL SERVICE                       2990-000       NA               $0.00       $274.00         $274.00

   KURTZMAN STEADY, LLC                    3210-600       NA               $0.00     $14,472.00      $14,472.00

   KURTZMAN STEADY, LLC                    3220-610       NA               $0.00       $156.75         $156.75

   CLERK'S OFFICE                          2700-000       NA           $1,050.00      $1,050.00       $1,050.00

   BARCLAYS                                2990-000       NA            $331.47        $331.47         $331.47

   DENA M. KISTLER, NOTARY                 2990-000       NA               $5.00            $5.00          $5.00

   INTERNATIONAL SURETIES, LTD.            2300-000       NA            $254.38        $254.38         $254.38

   JOB CONNECTION SERVICES, INC.           2990-000       NA           $7,313.80      $7,313.80       $7,313.80

   MICHAEL MCGINTY                         2990-000       NA             $63.59         $63.59          $63.59

   MS. MARILYN HOMA                        2990-000       NA               $4.97            $4.97          $4.97

   REPUBLICAN HERALD                       2990-000       NA            $712.00        $712.00         $712.00

   SHRED-IT USA                            2990-000       NA          $16,643.51     $16,643.51      $16,643.51

   Texas Capital Bank                      2600-000       NA           $4,572.43      $4,572.43       $4,572.43

   US POSTMASTER                           2990-000       NA             $28.49         $28.49          $28.49
   TOTAL CHAPTER 7 ADMIN. FEES
   AND CHARGES                                            NA          $82,558.43    $666,426.18     $666,426.18


       EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES AND CHARGES

                                             UNIFORM
                                                           CLAIMS       CLAIMS       CLAIMS         CLAIMS
                    PAYEE                     TRAN.
                                                         SCHEDULED     ASSERTED     ALLOWED          PAID
                                              CODE
                      NA                        NA         NA             NA           NA             NA
   TOTAL PRIOR CHAPTER ADMIN FEES
   AND CHARGES                                             NA            $0.00       $0.00           $0.00




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       EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                 CLAIMS       CLAIMS
                                                    UNIFORM
    CLAIM                                                      SCHEDULED     ASSERTED        CLAIMS       CLAIMS
                           CLAIMANT                  TRAN.
     NO.                                                       (from Form (from Proofs of   ALLOWED        PAID
                                                     CODE
                                                                   6E)         Claim)
                                NA                    NA          NA             NA           NA           NA

   TOTAL PRIORITY UNSECURED CLAIMS                               $0.00         $0.00         $0.00        $0.00

       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                 CLAIMS      CLAIMS
                                                   UNIFORM
     CLAIM                                                     SCHEDULED    ASSERTED         CLAIMS       CLAIMS
                              CLAIMANT              TRAN.
      NO.                                                     (FROM Form (FROM Proofs of    ALLOWED        PAID
                                                    CODE
                                                                   6F)        Claim)
   00037        TriZetto Provider Solutions 3300   7200-000       NA           $2,500.59      $2,500.59         $0.00

   00036        HENRY SCHEIN INC                   7200-000       NA          $45,812.03     $45,812.03         $0.00

   00035        Gubbi Ranganath, MD                7100-000       NA          $40,363.29     $40,363.29         $0.00

   00034        Yashoda Rao, MD                    7100-000       NA          $34,000.00     $34,000.00         $0.00

   00033        Tariq Hafiz                        7100-000       NA          $19,000.00     $19,000.00         $0.00

   00032        Capital BlueCross c/o Stephen J.   7200-000       NA           $1,834.10      $1,834.10         $0.00

   00031A       Schuylkill Holdings Limited        7100-000       NA          $36,397.43     $36,397.43         $0.00

   00031        Schuylkill Holdings Limited        7100-000       NA          $36,397.43     $36,397.43         $0.00

   00030        Marshall, Bohorad, Thornburg,      7100-000       NA           $6,602.00      $6,602.00    $3,743.09

   00029        Tariq Hafiz, MD                    7100-000       NA          $19,000.00     $19,000.00         $0.00

   00028        Medical Plaza Partners             7100-000       NA          $39,529.20     $39,529.20         $0.00

   00027        Greenway Medical Technologies      7100-000       NA          $16,892.15     $16,892.15    $9,577.57

   00026        Muhammad Munir, MD                 7100-000       NA        $1,000,000.00 $1,000,000.00         $0.00

   00024        Cardinal Health 108, LLC c/o       7100-000       NA          $46,837.63     $46,837.63   $26,556.17

   00021        Ogden Directories Inc. d/b/a EZ    7100-000       NA           $6,600.00      $6,600.00    $3,742.09

   00020        U.S. Bank, N.A. dba U.S. Bank      7100-000       NA          $13,917.49     $13,917.49    $7,890.99

   00019        Schuylkill Holdings Limited        7100-000       NA         $281,179.44    $281,179.44         $0.00

   00018A       Carol Miller-Schaeffer, MD         7100-000       NA          $12,850.00     $12,850.00         $0.00

   00018        Carol Miller-Schaeffer, MD         7100-000       NA          $12,850.00     $12,850.00         $0.00

   00017        Maqsood A. Malik                   7100-000       NA         $125,622.00     $31,404.73         $0.00

   00016        Denis M. Bane                      7100-000       NA         $147,875.00     $17,467.66    $9,903.88


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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                  CLAIMS      CLAIMS
                                                    UNIFORM
     CLAIM                                                      SCHEDULED    ASSERTED        CLAIMS      CLAIMS
                           CLAIMANT                  TRAN.
      NO.                                                      (FROM Form (FROM Proofs of   ALLOWED       PAID
                                                     CODE
                                                                    6F)        Claim)
   00015        McKesson Specialty Care Dist.       7100-000       NA           $7,774.22    $7,774.22    $4,407.86

   00014        VaxServe Inc.                       7100-000       NA          $11,296.94   $11,296.94       $0.00

   00013        Pottsville Internists Associates    7100-000       NA          $11,296.94   $11,296.94       $0.00

   00012        Penn Kashar                         7100-000       NA            $131.59       $131.59      $74.61

   00011        Bob's Auto Servicenter              7100-000       NA           $3,815.00    $3,815.00    $2,163.04

   00010        Ward's Cleaning Service             7100-000       NA           $2,252.50    $2,252.50    $1,277.13

   00008        Medical Plaza Partners              7100-000       NA          $69,176.00   $69,176.00       $0.00

   00007        George W Heffner Jr !017            7100-000       NA          $12,850.00   $12,850.00       $0.00

   00006        Pottsville Internists Associates,   7100-000       NA          $69,176.00   $69,176.00       $0.00

   00005        Kimberly Hashin, MD                 7100-000       NA          $12,850.00   $12,850.00       $0.00

   00004        BC Technical, Inc.                  7100-000       NA           $9,498.50    $9,498.50       $0.00

   00003        GlaxoSmithKline                     7100-000       NA           $9,609.27    $9,609.27    $5,448.30

   00002        Laurie Faust                        7100-000       NA           $3,760.00    $3,760.00    $2,131.86

   00001        Pottsville Internists Associates,   7100-000       NA           $8,747.25    $8,747.25       $0.00

                Allen Maxwell & Silver                           $45,812.03      NA           NA             $0.00

                Allergan USA. Inc.                                $5,211.00      NA           NA             $0.00

                Amrit P. Narula, MD                                NA            NA           NA             $0.00

                BC Technical Inc.                                 $9,136.14      NA           NA             $0.00

                Cardinal Health                                   $6,260.78      NA           NA             $0.00

                Denis M. Bane, MD                               $147,875.00      NA           NA             $0.00

                EZToUse.com                                        NA            NA           NA             $0.00

                GlaxoSmithKline                                   $9,609.27      NA           NA             $0.00

                Horiba Financial Services                         $4,622.10      NA           NA             $0.00

                Horiba Financial Services                        $15,752.35      NA           NA             $0.00

                Maqsood A. Malik                    7100-000       NA          $17,805.97   $17,805.97   $17,805.97

                Maqsood Malik, MD                               $120,600.00      NA           NA             $0.00

                Marlin Business Bank                               NA            NA           NA             $0.00

                McKesson Specialty Care Dist.                     $7,578.52      NA           NA             $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                 CLAIMS      CLAIMS
                                                    UNIFORM
     CLAIM                                                     SCHEDULED    ASSERTED         CLAIMS        CLAIMS
                            CLAIMANT                 TRAN.
      NO.                                                     (FROM Form (FROM Proofs of    ALLOWED         PAID
                                                     CODE
                                                                   6F)        Claim)
                Medical Plaza Partners                          $59,293.80       NA             NA             $0.00

                Metro Medical Supply, Inc.                      $46,837.63       NA             NA             $0.00

                Mohammad Munir, MD                                NA             NA             NA             $0.00

                Pitney Bowes Global Fin Svs LLC                   NA             NA             NA             $0.00

                Riffat Akhtar, MD                               $63,000.00       NA             NA             $0.00

                Schuylkill Holdings LLP                           NA             NA             NA             $0.00

                Schuylkll Holdings, LP                         $261,179.44       NA             NA             $0.00

                Siemens Medical Solutions USA,                    NA             NA             NA             $0.00

                Stericycle, Inc.                                  NA             NA             NA             $0.00

                Thomas J. Campion, Jr., CPA, Esq.                $5,837.00       NA             NA             $0.00

                VaxServe Inc.                                   $11,311.94       NA             NA             $0.00

                Wells Fargo Bank, N.A.                            NA             NA             NA             $0.00

   TOTAL GENERAL UNSECURED CLAIMS                              $819,917.00   $2,196,099.96 $1,971,475.35   $94,722.56




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                                                                                        FORM 1
                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                      ASSET CASES
                Case No: 17-00641                                Judge: Robert N. Opel II                                                Trustee Name:     William G. Schwab
             Case Name: Pottsville Internists Associates, Inc.                                                          Date Filed (f) or Converted (c):   02/20/2017 (f)
                                                                                                                                 341(a) Meeting Date:      03/28/2017
      For Period Ending: 06/21/2019                                                                                                    Claims Bar Date:    06/11/2017

                                       1                                        2                        3                     4                            5                           6
                                                                                                    Est Net Value
                                                                                                (Value Determined by                                                         Asset Fully Administered
                                                                                                                        Property Formally
                                Asset Description                      Petition/Unscheduled      Trustee, Less Liens,                           Sale/Funds Received by         (FA) / Gross Value of
                                                                                                                           Abandoned
                    (Scheduled and Unscheduled (u) Property)                   Values                Exemptions,                                      the Estate                 Remaining Assets
                                                                                                                           OA=554(a)
                                                                                                  and Other Costs)
1.      Accounts Receivable                                                      865,239.00                      0.00                                           227,054.07             FA
2.      Void (u)                                                                         0.00                    0.00                                                 0.00             FA
3.      Void (u)                                                                         0.00                    0.00                                                 0.00             FA
4.      Void (u)                                                                         0.00                    0.00                                                 0.00             FA
5.      BB&T Checking 4004                                                           7,803.00                    0.00                                            37,083.07             FA
6.      BB&T Checking 5806                                                          61,478.00                    0.00                                                 0.00             FA
7.      BB&T Savings 9641                                                           20,641.00                    0.00                                                 0.00             FA
8.      Riverview Bank Checking 3610                                                14,601.00                    0.00                                             1,289.45             FA
9.      Wells Fargo Bank Checking 1809                                              82,774.00                    0.00                                            34,116.74             FA
10.     Wells Fargo Bank Savings 7188                                                6,395.00                    0.00                                             6,396.06             FA
11.     Office Furniture                                                            40,962.00                    0.00                                                 0.00             FA
12.     Office Equipment and Furnishings                                             5,429.00                    0.00                                                 0.00             FA
13.     2005 Dodge Van                                                               7,753.00                    0.00                                             8,000.00             FA
14.     WELLS FARGO BANK - PROFIT SHARING ACCOUNT (u)                                    0.00                    0.00                                                 0.00             FA
15.     PHOTOCOPYING (u)                                                                 0.00                    0.00                                              558.86              FA
16.     Pre-Filing Insurance Refund (u)                                                  0.00                    0.00                                            14,027.00             FA
17.     MEDICAL RECORDS (u)                                                              0.00                    0.00                                             4,593.06             FA
18.     PERSONAL PROPERTY (u)                                                            0.00                    0.00                                            70,652.00             FA
19.     REFUND - GIVEN IMAGING, INC.FOR PRE-PETITION ACCT                                0.00                    0.00                                             5,000.00             FA
20.     Void (u)                                                                         0.00                    0.00                                                 0.00             FA



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                                                                                                        FORM 1
                                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                      ASSET CASES
               Case No: 17-00641                                                Judge: Robert N. Opel II                                                       Trustee Name:     William G. Schwab
            Case Name: Pottsville Internists Associates, Inc.                                                                                 Date Filed (f) or Converted (c):   02/20/2017 (f)
                                                                                                                                                       341(a) Meeting Date:      03/28/2017
      For Period Ending: 06/21/2019                                                                                                                          Claims Bar Date:    06/11/2017

                                        1                                                         2                           3                      4                            5                            6
                                                                                                                        Est Net Value
                                                                                                                    (Value Determined by                                                            Asset Fully Administered
                                                                                                                                              Property Formally
                               Asset Description                                       Petition/Unscheduled          Trustee, Less Liens,                             Sale/Funds Received by          (FA) / Gross Value of
                                                                                                                                                 Abandoned
                   (Scheduled and Unscheduled (u) Property)                                    Values                    Exemptions,                                        the Estate                  Remaining Assets
                                                                                                                                                 OA=554(a)
                                                                                                                      and Other Costs)
21.    CLASS ACTION SETTLEMENTS (UNSCHEDULED) (u)                                                         0.00                         0.00                                            17,365.62              FA
22.    REFUND - 401(k) FUNDS (u)                                                                          0.00                         0.00                                                 0.00              FA
23.    OVER-PAYMENT OF 401(K) FUNDS (u)                                                                   0.00                         0.00                                            27,089.68              FA
24.    Claims vs. Officers and Directors (u)                                                              0.00                         0.00                                           430,075.00              FA
25.    Valley Kidney Claim (u)                                                                            0.00                         0.00                                            65,000.00              FA
26.    Resale of Comcast Services to LVHN (u)                                                             0.00                         0.00                                            18,199.81              FA
27.    BOA CLASS ACTION SETTLEMENTS (u)                                                                   0.00                         0.00                                                 0.00              FA
28.    PENSION FUND TRANSFER (u)                                                                          0.00                         0.00                                                 0.00              FA
29.    DISTRIBUTION FROM FAIR FUND, INVESTMENT IN COUNTRYWIDE                                             0.00                         0.00                                                 0.00              FA
       FINANCIAL CORP. (u)
30.    void (u)                                                                                           0.00                         0.00                                                 0.00              FA
31.    Refund-Prepaid Software by Debtor (u)                                                              0.00                      295.84                                               295.84               FA

                                                                                                                                                                                             Gross Value of Remaining Assets

  TOTALS (Excluding Unknown Values)                                                            1,113,075.00                        295.84                                             966,796.26                        0.00


  Re Prop. #6 This is actually all accts receiveable via direct deposit and ACH
  Re Prop. #11 reported under sale of asset 18
  Re Prop. #12 Reported udner sale of Asset 18
  Re Prop. #21 Stericycle and Other Class Actions
  Re Prop. #24 Includes but not limited to Adversary # 17-0078; 17-0087; 17-0092; (Heffner, Narula, Hafiz, Schaeffer, Hasin, Mishra(2), Ranganath)
  Re Prop. #26 Paid for services and repaid by third party.


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:



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                                                                                                   FORM 1
                                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                 ASSET CASES
            Case No: 17-00641                                              Judge: Robert N. Opel II                                                         Trustee Name:     William G. Schwab
         Case Name: Pottsville Internists Associates, Inc.                                                                                 Date Filed (f) or Converted (c):   02/20/2017 (f)
                                                                                                                                                    341(a) Meeting Date:      03/28/2017
  For Period Ending: 06/21/2019                                                                                                                           Claims Bar Date:    06/11/2017

                                     1                                                      2                           3                          4                            5                              6
                                                                                                                  Est Net Value
                                                                                                              (Value Determined by                                                                 Asset Fully Administered
                                                                                                                                           Property Formally
                             Asset Description                                    Petition/Unscheduled         Trustee, Less Liens,                                   Sale/Funds Received by         (FA) / Gross Value of
                                                                                                                                              Abandoned
                 (Scheduled and Unscheduled (u) Property)                                 Values                   Exemptions,                                              the Estate                 Remaining Assets
                                                                                                                                              OA=554(a)
                                                                                                                and Other Costs)
08-07-18- Case is Ready for TFR
6/30/17 - Adversary cases settled resolving claim against principals of Pottsville for $300,000.00.. Sale motion to Lehigh Valley Physicians Group (Hospital), A/R collection, Additional funds due from bank ACH deposits to
be collected, medical records being handled by temp employees which will keep case open for approximately one year to comply with duties to turnover records to patients, Notice to be sent to 45,000 patients when funds
are available to cover the $35,000.00 cost to Cert of Service



Initial Projected Date of Final Report(TFR) : 12/31/2018                     Current Projected Date of Final Report(TFR) : 12/31/2018


Trustee’s Signature          /s/William G. Schwab                                            Date: 06/21/2019
                             William G. Schwab
                             811-1 Blakeslee Blvd Drive East
                             Lehighton, PA 18235
                             Phone : (610) 377-5200




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
02/23/2017               [1]         GATEWAY HEALTH PLAN, INC                 ACCOUNTS RECEIVABLE                        1121-000                  70.27                                        70.27
                                     444 LIBERTY AVE
                                     SUITE 2100
                                     PITTSBURGH, PA 15222

02/23/2017               [1]         CIGNA HEALTH AND LIFE INSURANCE CO       ACCOUNTS RECEIVABLE                        1121-000                  39.28                                       109.55
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

02/23/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                  26.44                                       135.99


02/23/2017               [1]         TEAM CARE SENIOR BENEFIT SERIES          ACCOUNTS RECEIVABLE                        1121-000                  17.91                                       153.90


02/23/2017               [1]         TEAM CARE SENIOR BENEFIT SERIES          ACCOUNTS RECEIVABLE                        1121-000                  45.24                                       199.14


02/23/2017               [1]         TRICARE                                  ACCOUNTS RECEIVABLE                        1121-000               1,428.03                                      1,627.17
                                     BOX 7889
                                     MADISON, WI 53707

02/23/2017               [1]         TRICARE                                  ACCOUNTS RECEIVABLE                        1121-000                 203.38                                      1,830.55
                                     BOX 7889
                                     MADISON, WI 53707

02/23/2017               [1]         HORIZON BLUE CROSS- NJ                   ACCOUNTS RECEIVABLE                        1121-000                  13.48                                      1,844.03
                                     P.O. BOX 420
                                     NEWARK, NJ 07101

                                                                                                                   Page Subtotals               1,844.03                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                              Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                         Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                               Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                               Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                               Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction             Code             Deposits($)        Disbursements($)         Balance($)
02/23/2017               [1]         PLUMBERS & PIPEFITTERS LOCAL 520         ACCOUNTS RECEIVABLE                           1121-000                   165.11                                     2,009.14
                                     P.O. BOX 6480
                                     HARRISBURG, PA 17112

02/23/2017               [1]         CIGNA HEALTH AND LIFE INSURANCE CO       ACCOUNTS RECEIVABLE                           1121-000                    71.50                                     2,080.64
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

02/23/2017               [1]         DONEGAL INSURANCE GROUP                  ACCOUNTS RECEIVABLE FOR WILLIAM KALYMUN       1121-000                    59.58                                     2,140.22


02/23/2017               [1]         ALLEGIANCE                               ACCOUNTS RECEIVABLE                           1121-000                     8.44                                     2,148.66
                                     CLAIMS TRUST ACCOUNT
                                     P.O. BOX 3018
                                     MISSOULA, MT 59806

02/23/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                           1121-000                    90.00                                     2,238.66
                                     NORTHEAST

02/23/2017               [1]         TECHNOLOGY INSURANCE CO                  ACCOUNTS RECEIVABLE                           1121-000                    54.28                                     2,292.94
                                     P.O. BOX 740042
                                     ATLANTA, GA 30374

02/23/2017               [1]         COMBINED INSURANCE CO.                   ACCOUNTS RECEIVABLE                           1121-000                    14.30                                     2,307.24
                                     P.O. BOX 14207
                                     CLEARWATER, FL 33766

                                                                                                                        Page Subtotals                 463.21                  0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
02/23/2017               [1]         STATE FARM MUTUAL AUTO INSURANCE         ACCOUNTS RECEIVABLE                        1121-000                  71.50                                      2,378.74
                                     CO
                                     HEALTH OPERATIONS CENTER EAST
                                     NEWARK , OH 43058

02/23/2017               [1]         ANTHEM                                   ACCOUNTS RECEIVABLE                        1121-000                  37.61                                      2,416.35
                                     P.O. BOX 70000
                                     VAN NUYS, CA 91470

02/23/2017               [1]         UNITED HEALTH CARE SVS INC.              ACCOUNTS RECEIVABLE                        1121-000                    1.05                                     2,417.40
                                     P.O. BOX 1459
                                     MINNEAPOLIS, MN 55440

02/23/2017               [1]         JUDY SHEELER                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                      2,427.40
                                     413 PINE CREEK
                                     BARNESVILLE, PA 18214

02/23/2017               [1]         ALLEN NOLL                               ACCOUNTS RECEIVABLE                        1121-000                  50.00                                      2,477.40
                                     1499 RED DAL ROAD
                                     ORWIGSBURG, PA 17961

02/23/2017               [1]         KAREN SOROKACH                           ACCOUNTS RECEIVABLE                        1121-000                    2.12                                     2,479.52
                                     1131 W Norwegian St
                                     Pottsville, PA 17901

02/23/2017               [1]         KAREN ALTMAN                             ACCOUNTS RECEIVABLE                        1121-000                  26.53                                      2,506.05
                                     11103 Badger Peak
                                     San Antonio, TX 78254

                                                                                                                   Page Subtotals                 198.81                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
02/23/2017               [1]         EDWARD YEAGER                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                      2,526.05
                                     16 Codorus Rd
                                     Barnesville, PA 18214

02/23/2017               [1]         EDWARD STINE                             ACCOUNTS RECEIVABLE                        1121-000                  22.37                                      2,548.42
                                     81 SPRING STREET
                                     POTTSVILLE, PA 17901

02/23/2017               [1]         ROSEANNE MALINOSKI                       ACCOUNTS RECEIVABLE                        1121-000                  10.00                                      2,558.42
                                     308 WEST CHERRY STREE
                                     SHENANDOAH, PA 17976

02/23/2017               [1]         SUSAN MARTIN                             ACCOUNTS RECEIVABLE                        1121-000                 141.00                                      2,699.42
                                     309 W. RACE STREET
                                     POTTSVILLE, PA 17901

02/23/2017               [1]         KATHERINE REESE                          ACCOUNTS RECEIVABLE                        1121-000                    8.36                                     2,707.78
                                     129 AVENUE B
                                     SCHUYLKILL HAVEN, PA 17972

02/23/2017               [1]         THOMAS LOMBARDO                          ACCOUNTS RECEIVABLE                        1121-000                  30.00                                      2,737.78
                                     306 SOUTH WEST STREET
                                     SHENANDOAH, PA 17976

02/23/2017               [1]         CATHERINE MILLER                         ACCOUNTS RECEIVABLE                        1121-000                  95.98                                      2,833.76
                                     407 N. FRONT STREET
                                     MINERSVILLE, PA 17954

                                                                                                                   Page Subtotals                 327.71                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
02/23/2017               [1]         CLAUDIA FRANZELIN                        ACCOUNTS RECEIVABLE                        1121-000                    5.00                                     2,838.76
                                     2037 WEST END AVE
                                     POTTSVILLE, PA 17901

02/23/2017               [1]         NANCY LECHLEITNER                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                      2,863.76
                                     320 Mauch Chunk St
                                     Pottsville, PA 17901

02/23/2017               [1]         SUSAN KLINGER                            ACCOUNTS RECEIVABLE                        1121-000                    6.23                                     2,869.99
                                     414 W. CENTRE STREET
                                     DONALDSON, PA 17981

02/23/2017               [1]         SHIRLEY O'HARA                           ACCOUNTS RECEIVABLE                        1121-000                    5.00                                     2,874.99
                                     191 COUNTRY HILL ROAD
                                     ORWIGSBURG, PA 17961

02/23/2017               [1]         JOSEPH BARNETSKY                         ACCOUNTS RECEIVABLE                        1121-000                  25.00                                      2,899.99
                                     382 RIDGE ROAD
                                     BOX 363
                                     CUMBOLA, PA 17930

02/23/2017               [1]         DOROTHY REESE                            ACCOUNTS RECEIVABLE                        1121-000                  60.78                                      2,960.77
                                     1132 S ROUTE 183
                                     SCHUYLKILL HAVEN, PA 17972

02/23/2017               [1]         DOLORES HUGHES                           ACCOUNTS RECEIVABLE                        1121-000                  78.52                                      3,039.29
                                     14 E Lawton St
                                     Saint Clair, PA 17970

                                                                                                                   Page Subtotals                 205.53                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
02/23/2017               [1]         CYNTHIA DONATI                           ACCOUNTS RECEIVABLE                        1121-000                  55.10                                      3,094.39
                                     101 RED OAK LANE
                                     ORWIGSBURG, PA 17961

02/23/2017               [1]         JOHN FARBER                              ACCOUNTS RECEIVABLE                        1121-000                  70.83                                      3,165.22
                                     9 S SPENCER STREET
                                     FRACKVILLE, PA 17931

02/23/2017               [1]         DENNIS BROWN                             ACCOUNTS RECEIVABLE                        1121-000                  14.46                                      3,179.68
                                     60 Dewalt Rd
                                     Pine Grove, PA 17963

02/23/2017               [1]         PATRICIA KEHL                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                      3,189.68
                                     528 W. OAK STREET
                                     FRACKVILLE, PA 17931

02/23/2017               [1]         DENISE WEBBER                            ACCOUNTS RECEIVABLE                        1121-000                  88.50                                      3,278.18
                                     66 DEERFIELD DRIVE
                                     POTTSVILLE, PA 17901

02/23/2017               [1]         V L LAIRD                                ACCOUNTS RECEIVABLE                        1121-000                  10.00                                      3,288.18
                                     68 CRESTVIEW DRIVE
                                     POTTSVILLE, PA 17901

02/28/2017               [1]         CHERYL MOYER                             ACCOUNTS RECEIVABLE                        1121-000                  24.98                                      3,313.16
                                     15 Renninger Ave
                                     Schuylkill Haven, PA 17972

                                                                                                                   Page Subtotals                 273.87                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
02/28/2017               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                        1121-000                  35.00                                      3,348.16
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

02/28/2017               [1]         MARIE ACHEY                              ACCOUNTS RECEIVABLE                        1121-000                    5.00                                     3,353.16
                                     321 HIDDEN VALLEY ROAD
                                     PINE GROVE, PA 17963

02/28/2017               [1]         MARY FANELLI                             ACCOUNTS RECEIVABLE                        1121-000                  95.94                                      3,449.10
                                     29 S. WHITE STREET
                                     SHENANDOAH, PA 17976

02/28/2017               [1]         SANDEE JURITSKO                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                      3,459.10
                                     305 EAST CENTER STREET
                                     DONALDSON, PA 17981

02/28/2017               [1]         DORIS ROSENBERGER                        ACCOUNTS RECEIVABLE                        1121-000                  10.00                                      3,469.10
                                     403 EAST MARKET STREET
                                     POTTSVILLE, PA 17901

02/28/2017               [1]         CYNTHIA JANOWSKI                         ACCOUNTS RECEIVABLE                        1121-000                  84.00                                      3,553.10
                                     914 LONG RUN ROAD
                                     PINE GROVE, PA 17963

02/28/2017               [1]         JAQUELINE ANGELO                         ACCOUNTS RECEIVABLE                        1121-000                    5.00                                     3,558.10
                                     403 LAKE FRONT DRIVE
                                     ORWIGSBURG, PA 17961

                                                                                                                   Page Subtotals                 244.94                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
02/28/2017               [1]         JOHN JOBREY                              ACCOUNTS RECEIVABLE                        1121-000                  45.00                                      3,603.10
                                     116 WEST BACON STREET
                                     POTTSVILLE, PA 17901

02/28/2017               [1]         WILLIAM DAVIDSON                         ACCOUNTS RECEIVABLE                        1121-000                  10.00                                      3,613.10
                                     111 Mahantongo Dr
                                     Pottsville, PA 17901

02/28/2017               [1]         ROSEMARY MORAN                           ACCOUNTS RECEIVABLE                        1121-000                  50.04                                      3,663.14
                                     40 RIVER STREET
                                     CRESSONA, PA 17920

02/28/2017               [1]         EDWARD CLANCEY                           ACCOUNTS RECEIVABLE                        1121-000                  32.77                                      3,695.91
                                     230 CHERRY STREET
                                     SAINT CLAIR, PA 17970

02/28/2017               [1]         ERMA HORST                               ACCOUNTS RECEIVABLE                        1121-000                  89.54                                      3,785.45
                                     39 N Greenview Rd
                                     Schuylkill Haven, PA 17972

02/28/2017               [1]         TODD MARCH                               ACCOUNTS RECEIVABLE                        1121-000                  58.92                                      3,844.37
                                     1715 WEST END AVE
                                     POTTSVILLE, PA 17901

02/28/2017               [1]         STEPHEN BOLUSKY                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                      3,869.37
                                     238 MAIN STREET
                                     GILBERTON, PA 17934

                                                                                                                   Page Subtotals                 311.27                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
02/28/2017               [1]         LEO DEAN PERRONG                         ACCOUNTS RECEIVABLE                        1121-000                  95.98                                      3,965.35
                                     415 EAST NEW YORK STREET
                                     SHENANDOAH, PA 17976

02/28/2017               [1]         LINDA GALLO                              ACCOUNTS RECEIVABLE                        1121-000                 105.34                                      4,070.69
                                     523 Birds Hill Rd
                                     Pine Grove, PA 17963

02/28/2017               [1]         MARION DAVENPORT                         ACCOUNTS RECEIVABLE                        1121-000                 105.34                                      4,176.03
                                     235 S. SECOND STREET
                                     FIRST FLOOR
                                     SAINT CLAIR, PA 17970

02/28/2017               [1]         CHESTER ARNOLD                           ACCOUNTS RECEIVABLE                        1121-000                  15.00                                      4,191.03
                                     160 Red Horse Rd
                                     Pottsville, PA 17901

02/28/2017               [1]         JOHN HARDOCK                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                      4,201.03
                                     741 1ST STREET
                                     POTTSVILLE, PA 17901

02/28/2017               [1]         SANDRA STALLER                           ACCOUNTS RECEIVABLE                        1121-000                  40.07                                      4,241.10
                                     809 NORTH 16TH STREET
                                     POTTSVILLE, PA 17901

02/28/2017               [1]         SANDRA MELUSKY                           ACCOUNTS RECEIVABLE                        1121-000                  40.00                                      4,281.10
                                     315 SOUTH STREET
                                     MINERSVILLE, PA 17954

                                                                                                                   Page Subtotals                 411.73                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                             Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                  Bank Name: Texas Capital Bank
                                                                                                                                        Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                              Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                              Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                              Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction           Code             Deposits($)        Disbursements($)         Balance($)
02/28/2017               [1]         VILLA LARUE                              ACCOUNTS RECEIVABLE                          1121-000                     5.00                                     4,286.10
                                     58 WATER STREET
                                     P.O. BOX 389
                                     CUMBOLA, PA 17930

02/28/2017               [1]         BLUECROSS BLUE SHIELD OF MINNESOTA ACCOUNTS RECEIVABLE FOR W. SCHUHLER                1121-000                    15.94                                     4,302.04
                                     P.O. BOX 64560
                                     ST PAUL, MN 55164

02/28/2017               [1]         BENEFITWALLET                            ACCOUNTS RECEIVABLE FOR JOHN NABHOL          1121-000                    88.07                                     4,390.11
                                     307 International Cir
                                     SUITE 200
                                     HUNT VALLEY, MD 21030

02/28/2017               [1]         BENEFITWALLET                            ACCOUNTS RECEIVABLE FOR KRISTA KANTNER       1121-000                    63.61                                     4,453.72
                                     307 International Cir
                                     SUITE 200
                                     HUNT VALLEY, MD 21030

02/28/2017               [1]         CIGNA HEALTH AND LIFE INSURANCE CO       ACCOUNTS RECEIVABLE FOR THOMAS MARTIN        1121-000                    71.40                                     4,525.12
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

02/28/2017               [1]         COMPANION LIFE INSURANCE CO              ACCOUNTS RECEIVABLE FOR J. BUCH KARIK        1121-000                   100.00                                     4,625.12
                                     P.O. BOX 20765
                                     INDIANAPOLIS, IN 46220

02/28/2017               [1]         TAMMIE SKYMBA                            ACCOUNTS RECEIVABLE                          1121-000                   104.47                                     4,729.59
                                     28 Andrewsville St
                                     Lansford, PA 18232

                                                                                                                       Page Subtotals                 448.49                  0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                             Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                  Bank Name: Texas Capital Bank
                                                                                                                                        Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                              Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                              Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                              Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction            Code             Deposits($)        Disbursements($)         Balance($)
02/28/2017               [1]         KATHLEEN STEIN                           ACCOUNTS RECEIVABLE                          1121-000                    77.66                                     4,807.25
                                     218 NORTH 20TH STREET
                                     POTTSVILLE, PA 17901

02/28/2017               [1]         ARLENE SNYDER                            ACCOUNTS RECEIVABLE                          1121-000                    40.00                                     4,847.25
                                     4820 LONG COURT
                                     BETHLEHEM, PA 18020

02/28/2017               [1]         MICHELLE KALYAN                          ACCOUNTS RECEIVABLE                          1121-000                     5.00                                     4,852.25
                                     1760 RUNNING DEER ROAD
                                     AUBURN, PA 17922

02/28/2017               [1]         NANCY FESIG                              ACCOUNTS RECEIVABLE                          1121-000                     8.00                                     4,860.25
                                     129 Schuylkill St
                                     Cressona, PA 17929

02/28/2017               [1]         MARY GOMEZ                               ACCOUNTS RECEIVABLE                          1121-000                    16.72                                     4,876.97
                                     1144 FAIRVIEW STREET
                                     POTTSVILLE, PA 17901

02/28/2017               [1]         JUNE SHAY                                ACCOUNTS RECEIVABLE                          1121-000                    20.00                                     4,896.97
                                     895 SUNBURY ROAD
                                     POTTSVILLE, PA 17901

02/28/2017               [1]         DONEGAL INSURANCE GROUP                  ACCOUNT RECEIVABLE FOR WILLIAM KALYMUN       1121-000                     8.35                                     4,905.32


02/28/2017               [1]         MARCIA JACAVAGE                          ACCOUNTS RECEIVABLE                          1121-000                    65.04                                     4,970.36
                                     29 S Jardin St
                                     Shenandoah, PA 17976

                                                                                                                       Page Subtotals                 240.77                  0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction         Code             Deposits($)        Disbursements($)         Balance($)
02/28/2017               [1]         LOIS HALL                                ACCOUNTS RECEIVABLE                        1121-000                   30.00                                      5,000.36
                                     11 QUEEN STREET
                                     SCHUYLKILL HAVEN, PA 17972

02/28/2017               [1]         JAMES REHNERT                            ACCOUNTS RECEIVABLE                        1121-000                     3.00                                     5,003.36
                                     3 N Nicholas St
                                     Saint Clair, PA 17970

02/28/2017               [1]         WILLIAM DEMPSEY                          ACCOUNTS RECEIVABLE                        1121-000                   85.98                                      5,089.34
                                     100 MEMORIAL AVE
                                     SAINT CLAIR, PA 17970

03/01/2017               [1]         KAREN FALKOWSKI                          ACCOUNTS RECEIVABLE                        1121-000                   30.00                                      5,119.34
                                     537 BUNTING STREET
                                     POTTSVILLE, PA 17901

03/02/2017               [9]         WELLS FARGO BANK                         CLOSE BANK ACCOUNT (ENDING 1809)           1129-000               34,088.81                                  39,208.15
                                     P.O. BOX 5131, N9777-112OFC
                                     SIOUX FALLS, SD 57117

03/03/2017               [8]         RIVERVIEW BANK                           CLOSE BANK ACCOUNT(ENDING 3610-1017)       1129-000                1,289.45                                  40,497.60
                                     200 FRONT STREET
                                     P.O. BOX B
                                     MARYSVILLE, PA 17053

03/03/2017               [1]         STATE WORKERS INSURANCE FUND             ACCOUNTS RECEIVABLE FOR S. BOWERS          1121-000                   24.20                                  40,521.80


                                                                                                                     Page Subtotals             35,551.44                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/03/2017               [1]         SAMANTHA KEIFER                          ACCOUNTS RECEIVABLE                        1121-000                    9.34                                 40,531.14
                                     P.O. BOX 265
                                     43 RAILROAD STREET
                                     LLEWELLYN, PA 17944

03/03/2017               [1]         JEFF WALTERS                             ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 40,536.14
                                     8 Earl Stoyer Dr
                                     Schuylkill Haven, PA 17972

03/03/2017               [1]         MARY ANNE SARGE                          ACCOUNTS RECEIVABLE                        1121-000                    8.90                                 40,545.04
                                     719 NORTH CENTRE STREET
                                     POTTSVILLE, PA 17901

03/03/2017               [1]         CHESTER MOYER                            ACCOUNTS RECEIVABLE                        1121-000                  44.86                                  40,589.90
                                     785 NORTH CENTRE AVE
                                     POTTSVILLE, PA 17901

03/03/2017               [1]         MELISSA THOMPSON                         ACCOUNTS RECEIVABLE                        1121-000                  64.46                                  40,654.36
                                     625 WASHINGTON STREET
                                     MINERSVILLE, PA 17954

03/03/2017               [1]         LEAH ADAMS                               ACCOUNTS RECEIVABLE                        1121-000                  83.58                                  40,737.94
                                     608 Hillcroft Ave
                                     Schuylkill Haven, PA 17972

03/03/2017               [1]         EVA BACHERT                              ACCOUNTS RECEIVABLE                        1121-000                  24.18                                  40,762.12
                                     403 Tunnel Rd
                                     Auburn, PA 17922

                                                                                                                   Page Subtotals                 240.32                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/03/2017               [1]         JOHN PURCELL                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  40,772.12
                                     25 N Nicholas St
                                     APT 305
                                     Saint Clair, PA 17970

03/03/2017               [1]         MARY BOLICH                              ACCOUNTS RECEIVABLE                        1121-000                  29.21                                  40,801.33
                                     846 BUNTING STREET
                                     POTTSVILLE, PA 17901

03/03/2017               [1]         JO ANN HALLER                            ACCOUNTS RECEIVABLE                        1121-000                  42.73                                  40,844.06
                                     799 GARFIELD AVE
                                     SCHUYLKILL HAVEN, PA 17972

03/03/2017               [1]         ANGELA REGNIER                           ACCOUNTS RECEIVABLE                        1121-000                  20.98                                  40,865.04
                                     15 Dodd St
                                     P.O. BOX 354
                                     CUMBOLA, PA 17930

03/03/2017               [1]         JULIANNE COOPER                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  40,875.04
                                     226 ALDRICH STREET
                                     SCHUYLKILL HAVEN, PA 17972

03/03/2017               [1]         CONNIE METROVKA                          ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  40,890.04
                                     3 DURHAM DRIVE
                                     DILLSBURG, PA 170199

03/03/2017               [1]         JULIE RESCORLA                           ACCOUNTS RECEIVABLE                        1121-000                  14.96                                  40,905.00
                                     224 DEERFIELD DRIVE
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 142.88                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/03/2017               [1]         WILLIAM STOCK                            ACCOUNTS RECEIVABLE                        1121-000                 100.00                                  41,005.00
                                     REAR 348 ANDERSON STREET
                                     POTTSVILLE, PA 17901

03/03/2017               [1]         ELEANOR GICKING                          ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  41,020.00
                                     216 W Independence St
                                     APT 108
                                     Orwigsburg, PA 17961

03/03/2017               [1]         CARMEN MURHON                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  41,030.00
                                     1516 NORTH NORWEGIAN STREET
                                     POTTSVILLE, PA 17902

03/03/2017               [1]         ELIZABETH CHAPMAN                        ACCOUNTS RECEIVABLE                        1121-000                    5.98                                 41,035.98
                                     558 LEWIS STREET
                                     MINERSVILLE, PA 17954

03/03/2017               [1]         JAMES REHNERT                            ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 41,040.98
                                     3 N Nicholas St
                                     Saint Clair, PA 17970

03/03/2017               [1]         WILMA UHLER                              ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  41,070.98
                                     100 SOUTH SEVENTH STREET
                                     APT 213
                                     TOWER CITY, PA 17980

03/03/2017               [1]         NICOLE GETZ                              ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  41,090.98
                                     261 CHESTNUT STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 185.98                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/03/2017               [1]         JAMES JOHNSON                            ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 41,095.98
                                     510 W Norwegian St
                                     APT 705
                                     Pottsville, PA 17901

03/03/2017               [1]         DONALD MCGOVERN                          ACCOUNTS RECEIVABLE                        1121-000                 100.00                                  41,195.98
                                     2387 Wagonwheel Dr
                                     Auburn, PA 17922

03/03/2017               [1]         WILLIAM BOWERS                           ACCOUNTS RECEIVABLE                        1121-000                  55.04                                  41,251.02
                                     601 FOREST LANE
                                     POTTSVILLE, PA 17901

03/03/2017               [1]         BARBARA NAWROCKI                         ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 41,256.02
                                     808 BUNTING STREET
                                     POTTSVILLE, PA 17901

03/03/2017               [1]         CHERYL CORRELL                           ACCOUNTS RECEIVABLE                        1121-000                 142.10                                  41,398.12
                                     119 BROAD STREET
                                     ST. CLAIR, PA 17970

03/03/2017               [1]         EVE MIZZER                               ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  41,408.12
                                     10 W. CENTER STREET
                                     APT 803
                                     MAHANOY CITY, PA 17948

03/03/2017               [1]         ALBERTA PUKAVAGE                         ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  41,433.12
                                     P.O. BOX 235
                                     RINGTOWN, PA 17967

                                                                                                                   Page Subtotals                 342.14                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                          Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                               Bank Name: Texas Capital Bank
                                                                                                                                     Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction         Code            Deposits($)        Disbursements($)         Balance($)
03/03/2017               [1]         GERALDINE VAUGHN                         ACCOUNTS RECEIVABLE                        1121-000                  375.00                                 41,808.12
                                     5 WOODLAND HEIGHTS
                                     ASHLAND, PA 17921

03/03/2017               [1]         KATHLEEN ULRICH                          ACCOUNTS RECEIVABLE                        1121-000                   75.00                                 41,883.12
                                     170 WESTON PLACE
                                     SHENANDOAH, PA 17976

03/03/2017               [1]         IDA FOWLER                               ACCOUNTS RECEIVABLE                        1121-000                   25.67                                 41,908.79
                                     4105 Crestview Way
                                     Doylestown, PA 18902

03/03/2017               [1]         EDWARD SHAMONSKY                         ACCOUNTS RECEIVABLE                        1121-000                  165.00                                 42,073.79
                                     86 CLAY STREET
                                     NEW PHILADELPHIA, PA 17959

03/03/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE FOR M. QUINN           1121-000                   17.77                                 42,091.56
                                     NORTHEAST

03/03/2017               [1]         HORIZON BLUE CROSS BLUE SHIELD OF        ACCOUNTS RECEIVABLE FOR R. KOCH            1121-000                   14.52                                 42,106.08
                                     NEW JERSEY
                                     P.O. BOX 420
                                     NEWARK, NJ 07101

03/03/2017               [1]         CENTRAL PENNSYLVANIA TEAMSTERS           ACCOUNTS RECEIVABLE FOR W. KRISS           1121-000                   75.98                                 42,182.06
                                     P.O. BOX 15224
                                     READING, PA 15224

                                                                                                                    Page Subtotals                 748.94                  0.00




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                 Case No: 17-00641                                                                                                             Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                  Bank Name: Texas Capital Bank
                                                                                                                                        Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                              Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                              Separate bond (if applicable): 0.00

    1                     2                                 3                                      4                                              5                     6                   7
                                                                                                                           Uniform
Transaction           Check or                                                                                              Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction           Code             Deposits($)        Disbursements($)         Balance($)
03/03/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE FOR J. THOMAS            1121-000                    71.50                                 42,253.56
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

03/03/2017               [1]         MUTUAL OF OMAHA INSURANCE CO             ACCOUNTS RECEIVABLE FOR W. ZARECOR           1121-000                     1.69                                 42,255.25
                                     MUTUAL OF OMAHA PLAZA
                                     OMAHA, NE 68175

03/03/2017               [1]         MUTUAL OF OMAHA INSURANCE CO             ACCOUNTS RECEIVABLE FOR A. MC GOVERN         1121-000                     1.69                                 42,256.94
                                     MUTUAL OF OMAHA PLAZA
                                     OMAHA, NE 68175

03/03/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE FOR A.M. WALINSKI        1121-000                    68.13                                 42,325.07
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

03/03/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE FOR J. RUSE              1121-000                     8.07                                 42,333.14
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

03/03/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE FOR B. SPUTES            1121-000                   105.34                                 42,438.48
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

03/03/2017               [1]         OAK HEALTH & REHAB CENTERS               ACCOUNTS RECEIVABLE FOR Z.G. RAMPCINTH       1121-000                1,400.00                                  43,838.48
                                     1665 Palm Beach Lakes Blvd
                                     SUITE 600
                                     West Palm Beach, FL 33401

                                                                                                                       Page Subtotals              1,656.42                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                            Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                 Bank Name: Texas Capital Bank
                                                                                                                                       Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                             Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                             Separate bond (if applicable): 0.00

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                                                                                                                          Uniform
Transaction           Check or                                                                                             Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction          Code             Deposits($)        Disbursements($)         Balance($)
03/03/2017               [1]         CONNECTYOURCARELLC                       ACCOUNTS RECEIVABLE FOR L. DOWER            1121-000                   104.53                                 43,943.01
                                     307 International Cir
                                     Hunt Valley, MD 21030

03/03/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE FOR D. RUSE             1121-000                    12.82                                 43,955.83
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

03/03/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE FRO E. HOWELLS          1121-000                    71.50                                 44,027.33
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

03/03/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE FOR L. EICH             1121-000                    31.73                                 44,059.06
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

03/03/2017               [1]         CENTRAL PENNSYLVANIA TEAMSTERS           ACCOUNTS RECEIVABLE FOR K. MOSDALL          1121-000                    80.94                                 44,140.00
                                     P.O. BOX 15224
                                     READING, PA 15224

03/03/2017               [1]         BENEFITWALLET                            ACCOUNTS RECEIVABLE FOR W. JO CARRELL       1121-000                    94.77                                 44,234.77
                                     307 International Cir
                                     SUITE 200
                                     HUNT VALLEY, MD 21030

03/03/2017               [1]         COMMONWEALTH OF PA                       ACCOUNTS RECEIVABLE FOR UNKNOWN             1121-000                   918.99                                 45,153.76
                                     MEDICAL ASSISTANCE

                                                                                                                      Page Subtotals              1,315.28                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                     Bank Name: Texas Capital Bank
                                                                                                                                           Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                 Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                 Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                 Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction              Code             Deposits($)        Disbursements($)         Balance($)
03/03/2017               [1]         NATIONAL ASSOCIATION OF LETTERS          ACCOUNTS RECEIVABLE FOR E.SHAMONSKY             1121-000                    21.07                                 45,174.83
                                     CARRIERS
                                     20547 Waverly Ct
                                     Ashburn, VA 20147

03/03/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE FOR R.TYNELL & K.SENSENG    1121-000                    77.42                                 45,252.25
                                     NORTHEAST

03/03/2017               [1]         STATE FARM MUTUAL AUTO INSURANCE         ACCOUNTS RECEIVABLE FOR JILL DELONG             1121-000                   115.87                                 45,368.12
                                     CO
                                     HEALTH OPERATIONS CENTER EAST
                                     NEWARK , OH 43058

03/03/2017               [1]         PMCS                                     ACCOUNTS RECEIVABLE FOR J. BROSSMAN             1121-000                    90.59                                 45,458.71
                                     9060 E Via Linda Ste 250
                                     Scottsdale, AZ 85258

03/03/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE FOR J.STASKUL & C           1121-000                    14.06                                 45,472.77
                                     P.O. BOX 7550                            SWEITZER
                                     PHOENIX, AZ 85011

03/03/2017               [1]         THEODORE COOPER                          ACCOUNTS RECEIVABLE                             1121-000                    70.00                                 45,542.77
                                     956 S Route 183
                                     Schuylkill Haven, PA 17972

03/03/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE FOR D. & K MEYERS, D.       1121-000                    32.14                                 45,574.91
                                     P.O. BOX 7550                            MILLER AND Y SHABAR
                                     PHOENIX, AZ 85011

                                                                                                                          Page Subtotals                 421.15                  0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                             Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction           Code            Deposits($)        Disbursements($)         Balance($)
03/03/2017               [1]         CAREFIRST BLUE CROSS BLUE SHIELD         ACCOUNTS RECEIVABLE FOR R. UNDERWOOD & M.   1121-000                  74.88                                  45,649.79
                                     10455 MILL RUN CIRCLE                    OLER
                                     OWINGS MILL, MD 21117

03/03/2017               [1]         REGINA MORRIS                            ACCOUNTS RECEIVABLE                         1121-000                  24.40                                  45,674.19
                                     100 VALLEY STREET
                                     APT 8
                                     NEW PHILADELPHIA, PA 17959

03/03/2017               [1]         ARLENE FEHR                              ACCOUNTS RECEIVABLE                         1121-000                  10.00                                  45,684.19
                                     624 STONEY RUN ROAD
                                     POTTSVILLE, PA 17901

03/03/2017               [1]         BETTY BEACH                              ACCOUNTS RECEIVABLE                         1121-000                  24.00                                  45,708.19
                                     747 1ST STREET
                                     POTTSVILLE, PA 17901

03/03/2017               [1]         DOROTHY ZEMANIK                          ACCOUNTS RECEIVABLE                         1121-000                  95.98                                  45,804.17
                                     1504 Mahantongo St
                                     Pottsville, PA 17901

03/03/2017               [1]         JAMES MASON                              ACCOUNTS RECEIVABLE                         1121-000                  20.89                                  45,825.06
                                     403 NORTH 2ND STREET
                                     MINERSVILLE, PA 17954

03/03/2017               [1]         COMMONWELATH OF PA                       ACCOUNTS RECEIVABLE FOR UNKNOWN             1121-000               1,397.69                                  47,222.75
                                     MEDICAL ASSISTANCE

                                                                                                                     Page Subtotals              1,647.84                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                          Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                               Bank Name: Texas Capital Bank
                                                                                                                                     Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction         Code            Deposits($)        Disbursements($)         Balance($)
03/03/2017               [1]         BLUE CROSS BLUE SHIELD OF MASS           ACCOUNTS RECEIVABLE FOR J. HOLDEN          1121-000                   68.30                                 47,291.05
                                     25 TECHNOLLOGY PLACE
                                     HINGHAM, MA 02043

03/03/2017               [1]         ANTHEM BLUE CROSS AND BLUE SHIELD        ACCOUNTS RECEIVABLE FOR J. SWANTNER        1121-000                    3.98                                 47,295.03
                                     1351 William Howard Taft Rd
                                     Cincinnati, OH 45206

03/03/2017               [1]         HORIZON BLUE CROSS BLUE SHIELD OF        ACCOUNTS RECEIVABLE FOR M. SPECE           1121-000                   24.38                                 47,319.41
                                     NEW JERSEY
                                     P.O. BOX 420
                                     NEWARK, NJ 07101

03/03/2017               [1]         DONEGAL INSURANCE GROUP                  ACCOUNTS RECEIVABLE FOR W. KALYMUN         1121-000                   88.64                                 47,408.05


03/03/2017               [1]         CIGNA AMERICAN RETIREMENT LIFE           ACCOUNTS RECEIVABLE FOR K. NAGLE           1121-000                    8.07                                 47,416.12
                                     INSURANCE CO
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

03/03/2017               [1]         CIGNA HEALTH AND LIFE INSURANCE CO       ACCOUNTS RECEIVABLE FOR B. SCHNECK         1121-000                   17.50                                 47,433.62
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

03/03/2017               [1]         JENNIFER TORRACO                         ACCOUNTS RECEIVABLE                        1121-000                   20.00                                 47,453.62
                                     17 COAL STREET
                                     POTTSVILLE, PA 17901

                                                                                                                    Page Subtotals                 230.87                  0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                          Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                               Bank Name: Texas Capital Bank
                                                                                                                                     Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction         Code            Deposits($)        Disbursements($)         Balance($)
03/03/2017               [1]         BRENDA WILKSON                           ACCOUNTS RECEIVABLE                        1121-000                   88.07                                 47,541.69
                                     502 WADE ROAD
                                     SAINT CLAIR, PA 17970

03/03/2017               [1]         JAMES KRAUSE                             ACCOUNTS RECEIVABLE                        1121-000                   13.15                                 47,554.84
                                     242 Mohave Dr
                                     Auburn, PA 17922

03/03/2017               [1]         STATE OF CALIFORNIA                      ACCOUNTS RECEIVABLE FOR UNKNOWN            1121-000                  105.34                                 47,660.18


03/03/2017               [1]         TRICARE NORTH REGION                     ACCOUNTS RECEIVABLE FOR A. ZUK             1121-000                  114.39                                 47,774.57
                                     P.O. BOX 870141
                                     SURFSIDE BEACH, SC 29587

03/03/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE FOR E. SHAMOSKY        1121-000                   21.07                                 47,795.64
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

03/03/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE FOR UNKNOWN            1121-000                  105.34                                 47,900.98
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

03/03/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE FOR J. THOMAS          1121-000                   45.24                                 47,946.22
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

03/03/2017               [1]         BOROUGH OF MINERSVILLE                   ACCOUNTS RECEIVABLE FOR D. TROUTMAN        1121-000                    3.30                                 47,949.52
                                     TWO EAST SUNBURY STREET
                                     MINERSVILLE, PA 17954

                                                                                                                    Page Subtotals                 495.90                  0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code             Deposits($)        Disbursements($)         Balance($)
03/03/2017               [10]        WELLS FARGO BANK                         CLOSE OUT BANK ACCOUNT (ENDING 7188)       1129-000                6,396.06                                  54,345.58
                                     P.O. BOX 5131, N9777-112OFC
                                     SIOUX FALLS, SD 57117

03/03/2017               [1]         MARY BETH HOUTZ                          ACCOUNTS RECEIVABLE                        1121-000                   50.00                                  54,395.58
                                     726 DEIBERTS VALLEY ROAD
                                     SCHUYLKILL HAVEN, PA 17972

03/03/2017               [1]         FAYE HUMMEL                              ACCOUNTS RECEIVABLE                        1121-000                     8.38                                 54,403.96
                                     1636 LONG RUN ROAD
                                     SCHUYLKILL HAVEN, PA 17972

03/03/2017               [1]         JENNIFER MCGINLEY                        ACCOUNTS RECEIVABLE                        1121-000                   66.91                                  54,470.87
                                     638 EDWARDS AVE
                                     POTTSVILLE, PA 17901

03/03/2017               [1]         FAYE HUMMEL                              ACCOUNTS RECEIVABLE                        1121-000                   20.00                                  54,490.87
                                     1636 LONG RUN ROAD
                                     SCHUYLKILL HAVEN, PA 17972

03/03/2017               [1]         GREGORY SHAROCKMAN                       ACCOUNTS RECEIVABLE                        1121-000                   12.04                                  54,502.91
                                     515 W Norwegian St
                                     APT 2
                                     Pottsville, PA 17901

03/03/2017               [1]         CHARLENE FREEZE                          ACCOUNTS RECEIVABLE                        1121-000                   25.00                                  54,527.91
                                     114 OIKE STREET
                                     PORT CARBON, PA 17965

                                                                                                                     Page Subtotals              6,578.39                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                            Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                 Bank Name: Texas Capital Bank
                                                                                                                                       Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                             Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                             Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                              Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction           Code            Deposits($)        Disbursements($)         Balance($)
03/03/2017               [1]         LILLIAN GILIANO                          ACCOUNTS RECEIVABLE                          1121-000                   30.00                                 54,557.91
                                     33 Hawk Mountain Rd
                                     Orwigsburg, PA 17961

03/03/2017               [1]         OLIVE LAUCK                              ACCOUNTS RECEIVABLE                          1121-000                    8.47                                 54,566.38
                                     PO Box 298
                                     804 SENECA STREET
                                     TUSCARORA, PA 8.47

03/06/2017               [1]         MELISSA THOMPSON                         ACCOUNTS RECEIVABLE (ADJUSTMENT TO DEPOSIT   1121-000                  (3.00)                                 54,563.38
                                                                              #91)

03/09/2017               [1]         ANDREA HAHNER                            ACCOUNTS RECEIVABLE                          1121-000                   20.00                                 54,583.38
                                     223 MARKET SQUARE
                                     APT B 23
                                     POTTSVILLE, PA 17901

03/09/2017               [1]         GEISINGER HEALTH PLAN                    ACCOUNTS RECEIVABLE FOR UNKNOWN              1121-000                  219.70                                 54,803.08
                                     DANVILLE, PA 17822

03/09/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE FOR V. ZALONKA           1121-000                   56.15                                 54,859.23
                                     NORTHEAST

03/09/2017               [1]         CAROLYN BRENNAN                          ACCOUNTS RECEIVABLE                          1121-000                  213.02                                 55,072.25
                                     28 CHESTNUT STREET
                                     CRESSONA, PA 17929

03/09/2017               [1]         CIGNA HEALTH AND LIFE INSURANCE CO       ACCOUNTS RECEIVABLE FOR J. MCLAUGHLIN        1121-000                    7.54                                 55,079.79
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

                                                                                                                      Page Subtotals                 551.88                  0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/09/2017               [1]         CHARLES KRAMER                           ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 55,082.79
                                     315 LAUREL STREET
                                     MINERSVILLE, PA 17954

03/09/2017               [1]         LINDA HENSLEY                            ACCOUNTS RECEIVABLE                        1121-000                  85.34                                  55,168.13
                                     1177 Running Deer Dr
                                     Auburn, PA 17922

03/09/2017               [1]         MARGARET BUTLER                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  55,178.13
                                     328 SUNBURY STREET
                                     MINERSVILLE, PA 17954

03/09/2017               [1]         CHRISTIE JO SALEM                        ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  55,208.13
                                     133 NORTH THIRD STREET
                                     SAINT CLAIR, PA 17970

03/09/2017               [1]         CARL ANGELO                              ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  55,233.13
                                     136 BLACK DIAMOND ROAD
                                     POTTSVILLE, PA 17901

03/09/2017               [1]         DONALD CORRELL                           ACCOUNTS RECEIVABLE                        1121-000                 200.00                                  55,433.13
                                     78 ROSE AVE
                                     PORT CARBON, PA 17965

03/09/2017               [1]         GERALD SADUSKY                           ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  55,453.13
                                     239 ARIZONA AVE
                                     SHENANDOAH, PA 17976

                                                                                                                   Page Subtotals                 373.34                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/09/2017               [1]         HELEN BORA                               ACCOUNTS RECEIVABLE                        1121-000                  39.13                                  55,492.26
                                     370 ROOSEVELT DRIVE
                                     MAHANOY CITY, PA 17948

03/10/2017               [1]         COMMONWEALTH OF PA                       ACCOUNTS RECEIVABLE                        1121-000                 967.02                                  56,459.28
                                     MEDICAL ASSISTANCE

03/10/2017               [1]         JOHN SALEN                               ACCOUNTS RECEIVABLE                        1121-000                  30.54                                  56,489.82
                                     112 N. FRONT STREET
                                     SAINT CLAIR, PA 17970

03/10/2017               [1]         JOHN SALEN                               ACCOUNTS RECEIVABLE                        1121-000                  16.22                                  56,506.04
                                     112 N. FRONT STREET
                                     SAINT CLAIR, PA 17970

03/10/2017               [1]         INTEGRATED MEDICAL SOLUTIONS, LLC        ACCOUNTS RECEIVABLE                        1121-000                  82.26                                  56,588.30
                                     1485 HERITAGE PARKWAY
                                     MANSFIELD, TX 76063

03/10/2017               [1]         MANHATTAN LIFE INSURANCE                 ACCOUNTS RECEIVABLE                        1121-000                  17.91                                  56,606.21
                                     P.O. BOX 925688
                                     HOUSTON, TX 77292

03/10/2017               [1]         THE SALVATION ARMY                       ACCOUNTSRECEIVABLE                         1121-000                  80.98                                  56,687.19


03/10/2017               [1]         BUILDING TRADE HEALTH & WELFARE          ACCOUNTS RECEIVABLE                        1121-000                  76.76                                  56,763.95
                                     FUND
                                     1718 Heilmandale Rd
                                     Lebanon, PA 17046

                                                                                                                   Page Subtotals               1,310.82                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/10/2017               [1]         TRICARE                                  ACCOUNTS RECEIVABLE                        1121-000               1,010.83                                  57,774.78
                                     BOX 7889
                                     MADISON, WI 53707

03/10/2017               [1]         BENEFITWALLET                            ACCOUNTS RECEIVABLE                        1121-000                  94.77                                  57,869.55
                                     307 International Cir
                                     SUITE 200
                                     HUNT VALLEY, MD 21030

03/10/2017               [1]         AFLAC                                    ACCOUNTS RECEIVABLE                        1121-000                  19.80                                  57,889.35
                                     1932 WYNNTON ROAD
                                     COLUMBUS, GA 31999

03/10/2017               [1]         CIGNA HEALTH AND LIFE INSURANCE CO       ACCOUNTS RECEIVABLE                        1121-000                    0.23                                 57,889.58
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

03/10/2017               [1]         CIGNA HEALTH AND LIFE INSURANCE CO       ACCOUNTS RECEIVABLE                        1121-000                  17.93                                  57,907.51
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

03/10/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  56.64                                  57,964.15
                                     NORTHEAST

03/10/2017               [1]         CIGNA HEALTH AND LIFE INSURANCE CO       ACCOUNTS RECEIVABLE                        1121-000                  40.39                                  58,004.54
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

03/10/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  66.65                                  58,071.19
                                     NORTHEAST

                                                                                                                   Page Subtotals               1,307.24                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/10/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                    7.50                                 58,078.69
                                     NORTHEAST

03/10/2017               [1]         CIGNA LOYAL AMERICAN LIFE INSURANCE ACCOUNTS RECEIVABLE                             1121-000                    1.69                                 58,080.38
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

03/10/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                 127.01                                  58,207.39
                                     NORTHEAST

03/10/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                 136.14                                  58,343.53
                                     NORTHEAST

03/10/2017               [1]         TRAVELERS                                ACCOUNTS RECEIVABLE                        1121-000                 104.28                                  58,447.81
                                     P.O. BOX 13485
                                     READING, PA 19612

03/10/2017               [1]         MEGAN BENSINGER                          ACCOUNTS RECEIVABLE                        1121-000                  56.00                                  58,503.81
                                     34 NE SHUESTRING LANE
                                     SCHUYLKILL HAVEN, PA 17972

03/10/2017               [1]         DIANNE DOUGHERTY                         ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  58,513.81
                                     117 NORTH FRONT STREET
                                     SCHUYLKILL HAVEN, PA 17972

03/10/2017               [1]         DENNIS SPOTTS                            ACCOUNTS RECEIVABLE                        1121-000                    5.48                                 58,519.29
                                     512 N. CENTER STREET
                                     APT 2H
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 448.10                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/10/2017               [1]         ROBERT SOPHY                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  58,544.29
                                     1134 EAGLE ROAD
                                     POTTSVILLE, PA 17901

03/10/2017               [1]         JACK WEAVER                              ACCOUNTS RECEIVABLE                        1121-000                  22.00                                  58,566.29
                                     300 LEWIS STREET
                                     APT 306
                                     MINERSVILLE, PA 17954

03/10/2017               [1]         DON DUNN EMERICH                         ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 58,571.29
                                     1205 VALLEY ROAD
                                     TAMAQUA, PA 18252

03/10/2017               [1]         NANCY BRAYFORD                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  58,581.29
                                     316 S Lehigh Ave
                                     Frackville, PA 17931

03/10/2017               [1]         RHODA WEIR                               ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  58,601.29
                                     681 FOREST LANE
                                     POTTSVILLE, PA 17901

03/10/2017               [1]         RHODA WEIR                               ACCOUNTS RECEIVABLE                        1121-000                  12.04                                  58,613.33
                                     681 FOREST LANE
                                     POTTSVILLE, PA 17901

03/10/2017               [1]         BERNARD KOVICH                           ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  58,643.33
                                     350 NEW CASTLE STREET
                                     MINERSVILLE, PA 17954

                                                                                                                   Page Subtotals                 124.04                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/10/2017               [1]         THOMAS WINGLE                            ACCOUNTS RECEIVABLE                        1121-000                  12.66                                  58,655.99
                                     404 ST. JOHNS STREET
                                     1ST FLOOR
                                     SCHUYLKILL HAVEN, PA 17972

03/10/2017               [1]         CHRISTINE LAWSON                         ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  58,665.99
                                     32 FRITZ AVE
                                     SCHUYLKILL HAVEN, PA 17972

03/10/2017               [1]         DRUANN PODA-LAUDERMILCH                  ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  58,685.99
                                     P.O. BOX 904
                                     POTTSVILLE, PA 17901

03/10/2017               [1]         ANNETTE MATTHEWS                         ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 58,690.99
                                     2076 W. MARKET STREET
                                     POTTSVILLE, PA 17901

03/10/2017               [1]         RICHARD KREBS                            ACCOUNTS RECEIVABLE                        1121-000                    9.38                                 58,700.37
                                     110 FOREST STRET
                                     AUBURN, PA 17922

03/10/2017               [1]         WILLIAM SHAFRANSKY                       ACCOUNTS RECEIVABLE                        1121-000                 116.41                                  58,816.78
                                     21 Trailer Rd
                                     Ringtown, PA 17967

03/10/2017               [1]         BEVERLY NOLL                             ACCOUNTS RECEIVABLE                        1121-000                    8.60                                 58,825.38
                                     101 Mahantongo St
                                     APT 105
                                     Pottsville, PA 17901

                                                                                                                   Page Subtotals                 182.05                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/10/2017               [1]         MARGARET WEIDERFOLD                      ACCOUNTS RECEIVABLE                        1121-000                  15.87                                  58,841.25
                                     160 LLEWELLYN ROAD
                                     POTTSVILLE, PA 17901

03/10/2017               [1]         LINDA BOWLING                            ACCOUNTS RECEIVABLE                        1121-000                  15.24                                  58,856.49
                                     33 FORCE DAM ROAD
                                     HAMBURG, PA 19526

03/10/2017               [1]         DEAN FETTEROLF                           ACCOUNTS RECEIVABLE                        1121-000                 114.58                                  58,971.07
                                     308 MAIN STREET
                                     ASHLAND, PA 17921

03/10/2017               [1]         WILLIAM WEIST                            ACCOUNTS RECEIVABLE                        1121-000                  86.34                                  59,057.41
                                     2 OLIVIA'S COURT
                                     FRACKVILLE, PA 17931

03/10/2017               [1]         THOMAS PANNULLO                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  59,077.41
                                     65 DEERFIELD DR
                                     POTTSVILLE, PA 17901

03/10/2017               [1]         ERICH KNEHANS                            ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  59,092.41
                                     623 Wynonah Dr
                                     Auburn, PA 17922

03/10/2017               [1]         BRENDA STRAUSE                           ACCOUNTS RECEIVABLE                        1121-000                  40.66                                  59,133.07
                                     40 SPRUCE STREET
                                     PINE GROVE, PA 17963

                                                                                                                   Page Subtotals                 307.69                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

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                                                                                                                                Uniform
Transaction           Check or                                                                                                   Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction                Code             Deposits($)        Disbursements($)        Balance($)
03/10/2017             51001         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES (INVOICE NO. G244; MGINTY,       2990-000                                      6,206.90           52,926.17
                                     PO BOX 98                                HOMA, WILLIAMSON & PA SALES TAX)
                                     PALMERTON, PA 18071

03/13/2017               [1]         NECA                                     ACCOUNTS RECEIVABLE                               1121-000                    88.67                                53,014.84
                                     IBEW LOCAL 607 HEALTH & WELFARE
                                     FUND
                                     P.O. BOX 6480
                                     HARRISBURG, PA 17112

03/13/2017               [1]         DANA NON UNION RETIREE VEBA TRUST        ACCOUNTS RECEIVABLE                               1121-000                    10.41                                53,025.25
                                     1800 Walt Whitman Rd
                                     Melville, NY 11747

03/13/2017               [1]         STATE FARM MUTUAL AUTO INSURANCE         ACCOUNTS RECEIVABLE                               1121-000                    18.08                                53,043.33
                                     CO
                                     HEALTH OPERATIONS CENTER EAST
                                     NEWARK , OH 43058

03/13/2017               [1]         EMPIRE BLUE CROSS BLUE SHIELD            ACCOUNTS RECEIVABLE                               1121-000                    20.89                                53,064.22
                                     165 BROADWAY
                                     NEW YORK, NY 10006

03/13/2017               [1]         NATIONAL ACCOUNTS DEDICATED              ACCOUNTS RECEIVABLE                               1121-000                    32.22                                53,096.44
                                     SERVICE
                                     P.O. BOX 14114
                                     LEXINGTON, KY 40512

03/13/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                               1121-000                   298.80                                53,395.24
                                     NORTHEAST

                                                                                                                            Page Subtotals                 469.07             6,206.90



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/13/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  54.22                                  53,449.46
                                     NORTHEAST

03/13/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                    7.50                                 53,456.96
                                     NORTHEAST

03/13/2017               [1]         CIGNA HEALTH AND LIFE INSURANCE CO       ACCOUNTS RECEIVABLE                        1121-000                 109.56                                  53,566.52
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

03/13/2017               [1]         LIBERTY MUTUAL INSURANCE                 ACCOUNTS RECEIVABLE                        1121-000                  61.68                                  53,628.20
                                     ONE PENNS WAY
                                     NEW CASTLE, DE 19720

03/13/2017               [1]         PLUMBERS & PIPEFITTERS LOCAL 520         ACCOUNTS RECEIVABLE                        1121-000                    3.82                                 53,632.02
                                     P.O. BOX 6480
                                     HARRISBURG, PA 17112

03/13/2017               [1]         SUSQUEHANNA LABORERS                     ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 53,633.71
                                     COMBINED HEALTH & WELFARE FUND
                                     P.O. BOX 6480
                                     HARRISBURG, PA 17112

03/13/2017               [1]         UNITED AMERICAN INSURANCE CO             ACCOUNTS RECEIVABLE                        1121-000                 266.21                                  53,899.92
                                     P.O. BOX 8080
                                     MCKINNEY, TX 75070

03/13/2017               [1]         ANTHEM BLUE CROSS AND BLUE SHIELD        ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  53,971.42
                                     1351 William Howard Taft Rd
                                     Cincinnati, OH 45206

                                                                                                                   Page Subtotals                 576.18                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/13/2017               [1]         HORIZON BLUE CROSS BLUE SHIELD OF        ACCOUNTS RECEIVABLE                        1121-000                  34.87                                  54,006.29
                                     NEW JERSEY
                                     P.O. BOX 420
                                     NEWARK, NJ 07101

03/13/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  35.00                                  54,041.29
                                     NORTHEAST

03/13/2017               [1]         UNITED HEALTHCARE SERVICES, INC.         ACCOUNTS RECEIVABLE                        1121-000                  81.85                                  54,123.14
                                     P.O. BOX 981506
                                     EL PASO, TX 79998

03/13/2017               [1]         CIGNA HEALTH AND LIFE INSURANCE CO       ACCOUNTS RECEIVABLE                        1121-000                  42.44                                  54,165.58
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

03/13/2017               [1]         CENTRAL PENNSYLVANIA TEAMSTERS           ACCOUNTS RECEIVABLE                        1121-000                  69.91                                  54,235.49
                                     P.O. BOX 15224
                                     READING, PA 15224

03/13/2017               [1]         INTEGRATED MEDICAL SOLUTIONS, LLC        ACCOUNTS RECEIVABLE                        1121-000                 110.85                                  54,346.34
                                     1485 HERITAGE PARKWAY
                                     MANSFIELD, TX 76063

03/13/2017               [1]         CENTRAL PENNSYLVANIA TEAMSTERS           ACCOUNTS RECEIVABLE                        1121-000                  75.98                                  54,422.32
                                     P.O. BOX 15224
                                     READING, PA 15224

                                                                                                                   Page Subtotals                 450.90                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/13/2017               [1]         CENTRAL PENNSYLVANIA TEAMSTERS           ACCOUNTS RECEIVABLE                        1121-000                  75.98                                  54,498.30
                                     P.O. BOX 15224
                                     READING, PA 15224

03/13/2017               [1]         CATHERINE DALLAGO                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  54,523.30
                                     25 BEECHTREE DRIVE
                                     PINE GROVE, PA 17963

03/13/2017               [1]         CENTRAL PENNSYLVANIA TEAMSTERS           ACCOUNTS RECEIVABLE                        1121-000                  75.98                                  54,599.28
                                     P.O. BOX 15224
                                     READING, PA 15224

03/13/2017               [1]         JAMES BARRETT                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  54,624.28
                                     1417 MARKET STREET
                                     ASHLAND, PA 17921

03/13/2017               [1]         MARY ANN HOLLEY                          ACCOUNTS RECEIVABLE                        1121-000                  23.13                                  54,647.41
                                     1742 W Norwegian St
                                     Pottsville, PA 17901

03/13/2017               [1]         MARIANA D'ANGELO                         ACCOUNTS RECEIVABLE                        1121-000                 146.00                                  54,793.41
                                     276 FLORIDA AVE
                                     SHENANDOAH, PA 17976

03/13/2017               [1]         ETHEL ELLEX                              ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  54,843.41
                                     733 GARFIELD AVE
                                     SCHUYLKILL HAVEN, PA 17972

                                                                                                                   Page Subtotals                 421.09                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/13/2017               [1]         RONALD SCHELL                            ACCOUNTS RECEIVABLE                        1121-000                    8.00                                 54,851.41
                                     127 N. LIBERTY STREET
                                     ORWIGSBURG, PA 17961

03/13/2017               [1]         RONALD SCHELL                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  54,876.41
                                     127 N. LIBERTY STREET
                                     ORWIGSBURG, PA 17961

03/13/2017               [1]         AMANDA LARKIN                            ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  54,916.41
                                     324 YOUNG STREET
                                     POTTSVILLE, PA 17901

03/13/2017               [1]         WILLIAM DREYER                           ACCOUNTS RECEIVABLE                        1121-000                 106.81                                  55,023.22
                                     108 PLEASANT VALLEY ROAD
                                     PINE GROVE, PA 17963

03/13/2017               [1]         ROBERT EDMONDSON                         ACCOUNTS RECEIVABLE                        1121-000                 800.00                                  55,823.22
                                     122 W Ogden St
                                     Girardville, PA 17935

03/13/2017               [1]         BRIGID KOURY                             ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  55,873.22
                                     1124 WEST MARKET STREET
                                     POTTSVILLE, PA 17901

03/13/2017               [1]         EVELYN KOPINETZ                          ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  55,913.22
                                     356 HIGH ROAD
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals               1,069.81                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/13/2017               [1]         TAWNY BICKLEMAN                          ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  55,928.22
                                     517 W Norwegian St
                                     Pottsville, PA 17901

03/13/2017               [1]         ROSALEEN MCCRANN                         ACCOUNTS RECEIVABLE                        1121-000                  10.50                                  55,938.72
                                     P.O. BOX 822
                                     MINERSVILLE, PA 17954

03/13/2017               [1]         JEANNETTE MCKEON                         ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  55,988.72
                                     507 3RD STREET
                                     PORT CARBON , PA 17965

03/13/2017               [1]         GARY METZA                               ACCOUNTS RECEIVABLE                        1121-000                  50.04                                  56,038.76
                                     509 Schuylkill St
                                     Schuylkill Haven, PA 17972

03/13/2017               [1]         DONALD HORN                              ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  56,078.76
                                     239 SPRUCE STREET
                                     MINERSVILLE, PA 17954

03/13/2017               [1]         LISA KENENITZ                            ACCOUNTS RECEIVABLE                        1121-000                  22.58                                  56,101.34
                                     10 WEST CENTER STREET
                                     APT 1202
                                     MAHANOY CITY, PA 17948

03/13/2017               [1]         GARY MILLER                              ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  56,151.34
                                     1558 CENTER TURNPIKE
                                     PRWIGSBURG, PA 17961

                                                                                                                   Page Subtotals                 238.12                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                   Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction                Code             Deposits($)        Disbursements($)           Balance($)
03/13/2017               [1]         HOLLY FRANTZ                             ACCOUNTS RECEIVABLE                               1121-000                    10.00                                   56,161.34
                                     1105 WILLOW DRIVE
                                     ORWIGSBURG, PA 17961

03/13/2017               [1]         THERESA TULLY                            ACCOUNTS RECEIVABLE                               1121-000                    37.02                                   56,198.36


03/13/2017               [1]         VINCENT CAPARRO                          ACCOUNTS RECEIVABLE                               1121-000                    15.00                                   56,213.36


03/13/2017               [1]         RONALD KINTZEL                           ACCOUNTS RECEIVABLE                               1121-000                    71.50                                   56,284.86
                                     619 STONEY RUN ROAD
                                     POTTSVILLE, PA 17901

03/13/2017               [1]         JOAN ANTONIO                             ACCOUNTS RECEIVABLE                               1121-000                    10.00                                   56,294.86
                                     101 Mahantongo St
                                     Pottsville, PA 17901

03/13/2017               [1]         ROSE MARIE TURNITZA                      ACCOUNTS RECEIVABLE                               1121-000                   107.55                                   56,402.41
                                     614 SCHUYLKILL AVE
                                     POTTSVILLE, PA 17901

03/13/2017             51002         TROPP CONTRACTING, INC.                  REISSUED CHECK (INVOICE NO. 15682; PROPERTY       2990-000                                           287.00           56,115.41
                                     162 Brier City Rd                        MAINTENANCE)
                                     Pottsville, PA 17901

03/15/2017               [1]         NECA - ACCOUNTS RECEIVABLE               ACCOUNTS RECEIVABLE (ADJUSTMENT TO DEPOSIT        1121-000                   (2.00)                                   56,113.41
                                                                              #231)


                                                                                                                            Page Subtotals                 249.07                  287.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                               Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                    Bank Name: Texas Capital Bank
                                                                                                                                          Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction             Code             Deposits($)        Disbursements($)        Balance($)
03/16/2017             51003         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES (INVOICE NO. G248; MCGINTY,   2990-000                                      3,814.01           52,299.40
                                     PO BOX 98                                HOMA, WILLIAMSON & PA SALES TAX)
                                     PALMERTON, PA 18071

03/17/2017               [1]         THE MEDICAL PROTECTIVE CO                ACCOUNTS RECEIVABLE                            1121-000                4,402.00                                 56,701.40
                                     5814 REED ROAD
                                     P.O. BOX 15021
                                     FORT WAYNE, IN 46885

03/17/2017               [1]         COMMONWELATH OF PA                       ACCOUNTS RECEIVABLE                            1121-000                   572.08                                57,273.48
                                     MEDICAL ASSISTANCE

03/17/2017               [1]         JENNIFER TORRACO                         ACCOUNTS RECEIVABLE                            1121-000                    20.00                                57,293.48
                                     17 COAL STREET
                                     POTTSVILLE, PA 17901

03/17/2017               [1]         COLONIAL PENN LIFE                       ACCOUNTS RECEIVABLE                            1121-000                    14.30                                57,307.78
                                     11825 N Pennsylvania St
                                     Carmel, IN 46032

03/17/2017               [1]         PLUMBERS & PIPEFITTERS LOCAL 520         ACCOUNTS RECEIVABLE                            1121-000                     5.15                                57,312.93
                                     P.O. BOX 6480
                                     HARRISBURG, PA 17112

03/17/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                            1121-000                    93.33                                57,406.26
                                     NORTHEAST

                                                                                                                         Page Subtotals              5,106.86              3,814.01




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/17/2017               [1]         AXIS INSURANCE COMPANY                   ACCOUNTS RECEIVABLE                        1121-000                  57.00                                  57,463.26
                                     994 Old Eagle School Rd
                                     STE 1005
                                     Wayne, PA 19087

03/17/2017               [1]         UNITED AMERICAN INSURANCE CO             ACCOUNTS RECEIVABLE                        1121-000                  55.27                                  57,518.53
                                     P.O. BOX 8080
                                     MCKINNEY, TX 75070

03/17/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  26.00                                  57,544.53
                                     NORTHEAST

03/17/2017               [1]         WILLIAM WHALEN                           ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 57,547.53


03/17/2017               [1]         CIGNA AMERICAN RETIREMENT                ACCOUNTS RECEIVABLE                        1121-000                 110.61                                  57,658.14
                                     LIFE INSURANCE PLAN
                                     P.O. BOX 30010
                                     AUSTIN , TX 78755

03/17/2017               [1]         GATEWAY HEALTH PLAN, INC                 ACCOUNTS RECEIVABLE                        1121-000                  49.00                                  57,707.14
                                     444 LIBERTY AVE
                                     SUITE 2100
                                     PITTSBURGH, PA 15222

03/17/2017               [1]         MUTUAL OF OMAHA INSURANCE CO             ACCOUNTS RECEIVABLE                        1121-000                  31.74                                  57,738.88
                                     MUTUAL OF OMAHA PLAZA
                                     OMAHA, NE 68175

                                                                                                                   Page Subtotals                 332.62                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/17/2017               [1]         NATIONAL ASSOCIATION OF LETTERS          ACCOUNTS RECEIVABLE                        1121-000                  10.53                                  57,749.41
                                     CARRIERS
                                     20547 Waverly Ct
                                     Ashburn, VA 20147

03/17/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE                        1121-000                  21.07                                  57,770.48
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

03/17/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE                        1121-000                  45.24                                  57,815.72
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

03/17/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE                        1121-000                  40.39                                  57,856.11
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

03/17/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 57,857.80
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

03/17/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                 118.40                                  57,976.20
                                     NORTHEAST

03/17/2017               [1]         HORIZON BLUE CROSS BLUE SHIELD OF        ACCOUNTS RECEIVABLE                        1121-000                  10.34                                  57,986.54
                                     NEW JERSEY
                                     P.O. BOX 420
                                     NEWARK, NJ 07101

                                                                                                                   Page Subtotals                 247.66                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/17/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                    7.50                                 57,994.04
                                     pENNSYLVANIA

03/17/2017               [1]         PHYLLIS KLINE                            ACCOUNTS RECEIVABLE                        1121-000                  89.54                                  58,083.58
                                     39 Upper Beechwood Ave
                                     Pottsville, PA 17901

03/17/2017               [1]         JULIA BUCHINSKY                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  58,103.58
                                     202 FURNACE STRET
                                     SHENANDOAH, PA 17976

03/17/2017               [1]         GENEVIEVE PECINA                         ACCOUNTS RECEIVABLE                        1121-000                 108.60                                  58,212.18
                                     246 NORTH STREET
                                     MINERSVILLE, PA 17954

03/17/2017               [1]         ADRIANNE KURTAK                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  58,222.18
                                     1960 ELK AVE
                                     POTTSVILLE, PA 17901

03/17/2017               [1]         JACQUELINE LUPKIN                        ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  58,232.18
                                     P.O. BOX 1143
                                     POTTSVILLE, PA 17901

03/17/2017               [1]         ELIZABETH BRUCE                          ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  58,282.18
                                     321 POTTSVILLE STRETE
                                     MINERSVILLE, PA 17954

03/17/2017               [1]         BEAU BERNITSKY                           ACCOUNTS RECEIVABLE                        1121-000                 104.03                                  58,386.21
                                     12 NOTH VALLEY STREET
                                     NEW PHILADEPHIA, PA 17959

                                                                                                                   Page Subtotals                 399.67                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/17/2017               [1]         JEFFERY VOLUTZA                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  58,406.21
                                     25 N. NICHOLAS STREE
                                     APT 105
                                     SAINT CLAIR, PA 17970

03/17/2017               [1]         DEBORAH SALVADORE                        ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  58,511.55
                                     918 W. COAL STREET
                                     SHENANDOAH, PA 17976

03/17/2017               [1]         BRICKSTREET                              ACCOUNTS RECEIVABLE                        1121-000                  22.15                                  58,533.70
                                     PINNACLE POINT INSURANCE CO

03/17/2017               [1]         JUDY SHEELER                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  58,543.70
                                     413 PINE CREEK
                                     BARNESVILLE, PA 18214

03/17/2017               [1]         LYNN MORGAN                              ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  58,563.70
                                     48 WALNUT STREET
                                     CRESSONA, PA 17929

03/17/2017               [1]         LELAND LUNDERVOLD                        ACCOUNTS RECEIVABLE                        1121-000                    6.00                                 58,569.70
                                     105 ASPEN DRIVE
                                     AUBURN, PA 17922

03/17/2017               [1]         JACQUELINE ROSE                          ACCOUNTS RECEIVABLE                        1121-000                  80.00                                  58,649.70
                                     510 PINE STRETE
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 263.49                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/17/2017               [1]         KAREN MILLER                             ACCOUNTS RECEIVABLE                        1121-000                  34.35                                  58,684.05
                                     21 WOOD LANE
                                     SCHUYLKILL HAVEN, PA 17972

03/17/2017               [1]         JANET PROSPER                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  58,709.05
                                     101 Broad Ave
                                     SAINT CLAIR, PA 17970

03/17/2017               [1]         KIM FELTY                                ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  58,729.05
                                     1306 Mahantongo St
                                     Pottsville, PA 17901

03/17/2017               [1]         BRUCE FEHR                               ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  58,744.05
                                     175 BIRDSHILL ROAD
                                     PINE GROVE, PA 17963

03/17/2017               [1]         JUSTIN BEHRENT                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  58,754.05
                                     312 Sweet Arrow Lake Rd
                                     Pine Grove, PA 17963

03/17/2017               [1]         STEPHANIE CAULFIELD                      ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 58,759.05
                                     118 EAST CHESTNUT STREET
                                     FRACKVILLE, PA 17931

03/17/2017               [1]         RALPH HEFFNER                            ACCOUNTS RECEIVABLE                        1121-000                  12.00                                  58,771.05
                                     1615 PANTHER VALLEY ROAD
                                     PINE GROVE, PA 17963

                                                                                                                   Page Subtotals                 121.35                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/17/2017               [1]         CHARLENE BRENNAN                         ACCOUNTS RECEIVABLE                        1121-000                  13.09                                  58,784.14
                                     346 FRONT STREET
                                     POTTSVILLE, PA 17901

03/17/2017               [1]         LORI SCHUSTER                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  58,794.14
                                     15 DEER PARK DRIVE
                                     POTTSVILLE, PA 17901

03/17/2017               [1]         MARYBETH GUSCOTT                         ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  58,865.64
                                     1969 HOWARD AVE
                                     POTTSVILLE, PA 17901

03/17/2017               [1]         ALLEN NOLL                               ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  58,915.64
                                     1499 RED DAL ROAD
                                     ORWIGSBURG, PA 17961

03/17/2017               [1]         RALPH SCHNEK                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  58,925.64
                                     700 W. ARCH STREET
                                     POTTSVILLE, PA 17901

03/17/2017               [1]         MARY BICKELMAN                           ACCOUNTS RECEIVABLE                        1121-000                  58.63                                  58,984.27
                                     35 LOW ROAD
                                     POTTSVILLE, PA 17901

03/17/2017               [1]         ANN GAVALA                               ACCOUNTS RECEIVABLE                        1121-000                  85.98                                  59,070.25
                                     102 HILLSIDE DRIVE
                                     BARNESVILLE, PA 18214

                                                                                                                   Page Subtotals                 299.20                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/17/2017               [1]         ELIZABETH LENOSKY                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  59,095.25
                                     135 MAIN STREET
                                     P.O. BOX 4084
                                     SELTZER, PA 17974

03/17/2017               [1]         MARY ANN SEMANCHICK                      ACCOUNTS RECEIVABLE                        1121-000                  20.89                                  59,116.14
                                     236 B STREET
                                     GIRARDVILLE, PA 17935

03/17/2017               [1]         ELIZABETH MORGANS                        ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  59,221.48
                                     530 Willing St
                                     Tamaqua, PA 18252

03/17/2017               [1]         GARRY NUNEMACHER ESTATE                  ACCOUNTS RECEIVABLE                        1121-000                 111.25                                  59,332.73


03/17/2017               [1]         LINDA YEAGER                             ACCOUNTS RECEIVABLE                        1121-000                 112.92                                  59,445.65
                                     1728 Sweet Arrow Lake Rd
                                     Pottsville, PA 17901

03/17/2017               [1]         ROBERT CARL                              ACCOUNTS RECEIVABLE                        1121-000                  14.16                                  59,459.81
                                     122 SPRINGWOOD AVE
                                     POTTSVILLE, PA 17901

03/17/2017               [1]         GARY PARKHURST                           ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  59,484.81
                                     209 ARLENE STREET
                                     MINERSVILLE, PA 17954

                                                                                                                   Page Subtotals                 414.56                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                           5                     6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code             Deposits($)        Disbursements($)         Balance($)
03/17/2017               [1]         ANDREA PODA                              ACCOUNTS RECEIVABLE                        1121-000                     8.42                                 59,493.23
                                     1817 ELK AVE
                                     POTTSVILLE, PA 17901

03/17/2017               [1]         LAURA LICATA                             ACCOUNTS RECEIVABLE                        1121-000                   105.73                                 59,598.96
                                     337 VIRGINIA AVE
                                     SHENANDOAH, PA 17976

03/17/2017               [1]         DIANNE KUBICK                            ACCOUNTS RECEIVABLE                        1121-000                    35.12                                 59,634.08
                                     402 SOUTH SECOND STREET
                                     SAINT CLAIR, PA 17970

03/17/2017               [1]         DIANNE KUBICK                            ACCOUNTS RECEIVABLE                        1121-000                    52.75                                 59,686.83
                                     402 SOUTH SECOND STREET
                                     SAINT CLAIR, PA 17970

03/17/2017               [1]         SHERRY SLAPPEY                           ACCOUNTS RECEIVABLE                        1121-000                    55.36                                 59,742.19
                                     1358 Stag Dr
                                     Auburn, PA 17922

03/17/2017               [1]         DOLORES GALLO                            ACCOUNTS RECEIVABLE                        1121-000                    71.50                                 59,813.69
                                     423 W. POPLAR STREET
                                     SHENANDOAH, PA 17976

03/17/2017                           WELLS FARGO BANK                         PROFIT SHARING ACCOUNT (UNSCHEDULED)       1290-000                4,600.00                                  64,413.69
                                     P.O. BOX 39000
                                     SAN FRANCISCO, CA 94139

                                                                                                                     Page Subtotals              4,928.88                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/23/2017               [1]         BENEFITWALLET                            ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 64,416.99
                                     307 International Cir
                                     SUITE 200
                                     HUNT VALLEY, MD 21030

03/23/2017               [1]         STATE FARM MUTUAL AUTO INSURANCE         ACCOUNTS RECEIVABLE                        1121-000                  13.66                                  64,430.65
                                     CO
                                     HEALTH OPERATIONS CENTER EAST
                                     NEWARK , OH 43058

03/23/2017               [1]         TRICARE NORTH REGION                     ACCOUNTS RECEIVABLE                        1121-000                    2.40                                 64,433.05
                                     P.O. BOX 870141
                                     SURFSIDE BEACH, SC 29587

03/23/2017               [1]         GATEWAY HEALTH PLAN, INC                 ACCOUNTS RECEIVABLE                        1121-000                  75.85                                  64,508.90
                                     444 LIBERTY AVE
                                     SUITE 2100
                                     PITTSBURGH, PA 15222

03/23/2017               [1]         COMPASSUS                                ACCOUNTS RECEIVABLE                        1121-000               1,500.00                                  66,008.90
                                     CREEKSIDE CROSSING
                                     10 CADILLAC DR, STE 400
                                     BRENTWOOD, TN 37027

03/23/2017               [1]         INTEGRATED MEDICAL SOLUTIONS, LLC        ACCOUNTS RECEIVABLE                        1121-000                 126.00                                  66,134.90
                                     1485 HERITAGE PARKWAY
                                     MANSFIELD, TX 76063

                                                                                                                   Page Subtotals               1,721.21                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/23/2017               [1]         AEGIS SECURITY INSURANCE CO              ACCOUNTS RECEIVABLE                        1121-000                  37.34                                  66,172.24
                                     C/O CO-ORDINATED BENEFIT PLANS, LLC
                                     P.O. BOX 26222
                                     TAMAPA, FL 33623

03/23/2017               [1]         HOUSING & REDEVELOPMENT                  ACCOUNTS RECEIVABLE                        1121-000                  24.00                                  66,196.24
                                     INSURANCE EXCHANGE
                                     424 JEFFERSON AVE
                                     SCRANTON, PA 18510

03/23/2017               [1]         FRANK GOGNO                              ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  66,267.74


03/23/2017               [1]         GMP EMPLOYERS RETIREE TRUST              ACCOUNTS RECEIVABLE                        1121-000                    0.02                                 66,267.76
                                     5245 Big Pine Way, S.E.
                                     Fort Myers, FL 33907

03/23/2017               [1]         TRICARE NORTH REGION                     ACCOUNTS RECEIVABLE                        1121-000                  73.44                                  66,341.20
                                     P.O. BOX 870141
                                     SURFSIDE BEACH, SC 29587

03/23/2017               [1]         PLUMBERS & PIPEFITTERS LOCAL 520         ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 66,342.89
                                     P.O. BOX 6480
                                     HARRISBURG, PA 17112

03/23/2017               [1]         MARTIN ZIMMERMAN                         ACCOUNTS RECEIVABLE                        1121-000                  28.95                                  66,371.84
                                     5 SOUTH SPRUCE STREET
                                     FRIEDENSBURG, PA 17933

                                                                                                                   Page Subtotals                 236.94                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/23/2017               [1]         LOUISE RIEGEL                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  66,391.84
                                     371 Sweet Arrow Lake Rd
                                     Pine Grove, PA 17963

03/23/2017               [1]         CAROL MCSHAW                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  66,401.84
                                     164 STRAWBERRY LANE
                                     RINGTOWN, PA 17967

03/23/2017               [1]         BERNADENE MICHALIK                       ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  66,421.84
                                     234 S. WARREN STREET
                                     ORWIGSBURG, PA 17961

03/23/2017               [1]         SUSAN COSTY                              ACCOUNTS RECEIVABLE                        1121-000                  18.95                                  66,440.79
                                     227 MAIN STREET
                                     P.O. BOX 4153
                                     SELTZER, PA 17974

03/23/2017               [1]         ROBERT ALLISON                           ACCOUNTS RECEIVABLE                        1121-000                    9.30                                 66,450.09
                                     114 AVENUE C
                                     SCHUYLKILL HAVEN, PA 17972

03/23/2017               [1]         SHIRLEY DONTON                           ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  66,475.09
                                     400 Laurel Blvd
                                     APT 902
                                     Pottsville, PA 17901

03/23/2017               [1]         JOHN YEAGER                              ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  66,500.09
                                     1247 WEST MARKET STREET
                                     P.O. BOX 1033
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 128.25                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/23/2017               [1]         LISA HELLER                              ACCOUNTS RECEIVABLE                        1121-000                  35.00                                  66,535.09
                                     259 FRIEDEN MANOR
                                     SCHUYLKILL HAVEN, PA 17972

03/23/2017               [1]         JERRY MOYER                              ACCOUNTS RECEIVABLE                        1121-000                 176.84                                  66,711.93
                                     76 Schuylkill Mountain Rd
                                     Schuylkill Haven, PA 17972

03/23/2017               [1]         BONNIE LONG                              ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  66,751.93
                                     580 LAUREL TER
                                     POTTSVILLE, PA 17901

03/23/2017               [1]         ERLA MARTIN                              ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  66,791.93
                                     1020 EVERGREEN DRIVE
                                     TAMAQUA, PA 18252

03/23/2017               [1]         DEBRA MILLER                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  66,816.93
                                     1411 W. MARKET STREET
                                     POTTSVILLE, PA 17901

03/23/2017               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                        1121-000                  35.00                                  66,851.93
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

03/23/2017               [1]         SADIE WETZEL                             ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  66,891.93
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 391.84                   0.00




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                                     Case 5:17-bk-00641-RNO                Doc 193 Filed 06/25/19 Entered 06/25/19 09:36:40                              Desc
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/23/2017               [1]         CENTRAL PENNSYLVANIA TEAMSTERS           ACCOUNTS RECEIVABLE                        1121-000                  75.98                                  66,967.91
                                     P.O. BOX 15224
                                     READING, PA 15224

03/23/2017               [1]         WILLIAM DEMPSEY                          ACCOUNTS RECEIVABLE                        1121-000                  55.04                                  67,022.95
                                     100 MEMORIAL AVE
                                     SAINT CLAIR, PA 17970

03/23/2017               [1]         SUSAN RYON                               ACCOUNTS RECEIVABLE                        1121-000                  28.82                                  67,051.77
                                     510 RIDGE ROAD
                                     ORWIGSBURG, PA 17961

03/23/2017               [1]         MARK PUDDA                               ACCOUNTS RECEIVABLE                        1121-000                 140.00                                  67,191.77
                                     19 Sajer Rd
                                     Pottsville, PA 17901

03/24/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                  32.14                                  67,223.91
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

03/24/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                  21.09                                  67,245.00
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

03/24/2017               [1]         MANHATTAN LIFE INSURANCE                 ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  67,350.34
                                     P.O. BOX 925688
                                     HOUSTON, TX 77292

                                                                                                                   Page Subtotals                 458.41                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/24/2017               [1]         CENTRAL PENNSYLVANIA TEAMSTERS           ACCOUNTS RECEIVABLE                        1121-000                 131.36                                  67,481.70
                                     P.O. BOX 15224
                                     READING, PA 15224

03/24/2017               [1]         ANTHEM                                   ACCOUNTS RECEIVABLE                        1121-000                  21.07                                  67,502.77
                                     P.O. BOX 70000
                                     VAN NUYS, CA 91470

03/24/2017               [1]         THE HARTFORD                             ACCOUNTS RECEIVABLE                        1121-000                  14.30                                  67,517.07


03/24/2017               [1]         BRIAN YEAGER                             ACCOUNTS RECEIVABLE                        1121-000                  39.10                                  67,556.17
                                     1282 SCHUYLKILL MTN. ROAD
                                     SCHUYLKILL HAVEN, PA 179722

03/24/2017               [1]         TRICARE                                  ACCOUNTS RECEIVABLE                        1121-000                 275.69                                  67,831.86
                                     BOX 7889
                                     MADISON, WI 53707

03/24/2017               [1]         CIGNA AMERICAN RETIREMENT LIFE           ACCOUNTS RECEIVABLE                        1121-000                  21.07                                  67,852.93
                                     INSURANCE CO
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

03/24/2017               [1]         CISI                                     ACCOUNTS RECEIVABLE                        1121-000                    6.33                                 67,859.26
                                     CULTURAL INSURANCE SERVICES
                                     INTERNATIONAL

                                                                                                                   Page Subtotals                 508.92                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/24/2017               [1]         TRICARE                                  ACCOUNTS RECEIVABLE                        1121-000                  22.77                                  67,882.03
                                     BOX 7889
                                     MADISON, WI 53707

03/24/2017               [1]         DOROTHY STRAUSSER                        ACCOUNTS RECEIVABLE                        1121-000                  81.60                                  67,963.63
                                     623 FAIRVIEW STREET
                                     POTTSVILLE, PA 17901

03/24/2017               [1]         COMMONWEALTH OF PA                       ACCOUNTS RECEIVABLE                        1121-000                 183.43                                  68,147.06
                                     MEDICAL ASSISTANCE

03/24/2017               [1]         PETER ZUK                                ACCOUNTS RECEIVABLE                        1121-000                 121.88                                  68,268.94
                                     80 OLD MILL ROAD
                                     POTTSVILLE, PA 17901

03/24/2017               [1]         MARILYN VALOSIN                          ACCOUNTS RECEVABLE                         1121-000                  25.00                                  68,293.94
                                     505 NORTH WARREN STREET
                                     ORWIGSBURG, PA 17961

03/24/2017               [1]         GLORIA SHADLE                            ACCOUNTS RECEIVABLE                        1121-000                    8.42                                 68,302.36
                                     756 FIRST ST MECHANICSVILLE
                                     POTTSVILLE, PA 17901

03/24/2017               [1]         DIANE ENSMINGER                          ACCOUNTS RECEIVABLE                        1121-000                  28.42                                  68,330.78
                                     146 SCHUYLKILL STREET
                                     CRESSONA, PA 17929

03/24/2017               [1]         JOSEPH KULIKOSKY                         ACCOUNTS RECEIVABLE                        1121-000                 108.60                                  68,439.38
                                     121 N Greenview Rd
                                     Schuylkill Haven, PA 17972

                                                                                                                   Page Subtotals                 580.12                   0.00



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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/24/2017               [1]         BETH REED                                ACCOUNTS RECEIVABLE                        1121-000                 107.00                                  68,546.38
                                     143 Schuylkill Mountain Rd
                                     Schuylkill Haven, PA 17972

03/24/2017               [1]         PATRICIA SMITH                           ACCOUNTS RECEIVABLE                        1121-000                  21.60                                  68,567.98
                                     451 B EAST NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

03/24/2017               [1]         PATRICIA SMITH                           ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  68,607.98
                                     451 B EAST NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

03/24/2017               [1]         SUSAN MCCORD                             ACCOUNTS RECEIVABLE                        1121-000                 275.00                                  68,882.98
                                     100 MAIN STREET, MT. CARBON
                                     POTTSVILLE, PA 17901

03/24/2017               [1]         LINDA SPOTTS                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  68,907.98
                                     1464 Wynonah Dr
                                     Auburn, PA 17922

03/24/2017               [1]         CIERRA SNYDER                            ACCOUNTS RECEIVABLE                        1121-000                    8.58                                 68,916.56
                                     113 CROSS CREEK DRIVE
                                     POTTSVILLE, PA 17901

03/24/2017               [1]         JOSEPH DOWD                              ACCOUNTS RECEIVABLE                        1121-000                 131.87                                  69,048.43
                                     417 E Mahanoy St
                                     Mahanoy City, PA 17948

                                                                                                                   Page Subtotals                 609.05                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/24/2017               [1]         JUDITH WEIST                             ACCOUNTS RECEIVABLE                        1121-000                    8.42                                 69,056.85
                                     1728 Sweet Arrow Lake Rd
                                     Pottsville, PA 17901

03/24/2017               [1]         DEBORAH MELENDEZ                         ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  69,076.85
                                     34 Schuylkill Rd
                                     New Ringgold, PA 17960

03/24/2017               [1]         TRACEY MILKESAVAGE                       ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  69,096.85
                                     123 HIGH ROAD
                                     POTTSVILLE, PA 17901

03/24/2017               [1]         TIMOTHY KILLEEN                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  69,106.85
                                     P.O. BOX 166
                                     FRIEDENSBURG, PA 17933

03/24/2017               [1]         LOUISE HARIG                             ACCOUNTS RECEIVABLE                        1121-000                  39.80                                  69,146.65
                                     225 JACKSON STREET
                                     PORT CARBON , PA 17965

03/24/2017               [1]         ROBERT SHANNON                           ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 69,151.65
                                     281 LOUISA AVE
                                     POTTSVILLE, PA 17901

03/24/2017               [1]         ELAINE RISKIS                            ACCOUNTS RECEIVABLE                        1121-000                 107.13                                  69,258.78
                                     1 Eagan St
                                     Pottsville, PA 17901

                                                                                                                   Page Subtotals                 210.35                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/24/2017               [1]         CHRISTINE MURHON                         ACCOUNTS RECEIVABLE                        1121-000                  73.03                                  69,331.81
                                     511 WEST RACE STREET
                                     POTTSVILLE, PA 17901

03/24/2017               [1]         DAVID WARTELLA                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  69,341.81
                                     716 PINEWOOD CIRCLE
                                     POTTSVILLE, PA 17901

03/24/2017               [1]         DEBORAH SCHWARTZ                         ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 69,346.81
                                     2010 WEST CENTER STREET
                                     TREMONT, PA 17981

03/24/2017               [1]         BARBARA ROSE                             ACCOUNTS RECEIVABLE                        1121-000                    8.09                                 69,354.90
                                     126 NORTH SECOND STREET
                                     SAINT CLAIR, PA 17970

03/24/2017               [1]         CURTIS LINK                              ACCOUNTS RECEIVABLE                        1121-000                    5.70                                 69,360.60
                                     204 Frisbee Rd
                                     Orwigsburg, PA 17961

03/24/2017               [1]         HENRY NYCE                               ACCOUNTS RECEIVABLE                        1121-000                  33.00                                  69,393.60
                                     610 JEFFERSON STREET
                                     POTTSVILLE, PA 17901

03/24/2017               [1]         IRENE SANTEE                             ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  69,433.60
                                     1359 SENCA STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 174.82                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                          Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                               Bank Name: Texas Capital Bank
                                                                                                                                     Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction         Code            Deposits($)        Disbursements($)         Balance($)
03/24/2017               [1]         KATIELYNN MILBRANDT-MONTAG               ACCOUNTS RECEIVABLE                        1121-000                  42.00                                  69,475.60
                                     206 NORTH FRONT STREET
                                     MINERSVILLE, PA 17954

03/24/2017               [1]         FRED MILLER                              ACCOUNTS RECEIVABLE                        1121-000                  35.00                                  69,510.60
                                     1415 Pottsville St
                                     Pottsville, PA 17901

03/24/2017               [1]         STEPHEN BOLUSKY                          ACCOUNTS RECEIVABLE                        1121-000                  15.04                                  69,525.64
                                     238 MAIN STREET
                                     GILBERTON, PA 17934

03/24/2017               [1]         MARGARET SHELLHAMMER                     ACCOUNTS RECEIVABLE                        1121-000                    7.20                                 69,532.84
                                     654 Port Carbon Saint Clair Hwy
                                     Pottsville, PA 17901

03/27/2017                           WELLS FARGO BANK                         401 (K) FUNDS                              1290-000               1,037.87                                  70,570.71


03/29/2017               [1]         MUTUAL OF OMAHA INSURANCE CO             ACCOUNTS RECEIVABLE                        1121-000                  31.73                                  70,602.44
                                     MUTUAL OF OMAHA PLAZA
                                     OMAHA, NE 68175

03/29/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE                        1121-000                  24.38                                  70,626.82
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

                                                                                                                    Page Subtotals              1,193.22                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/29/2017               [1]         OAK HEALTH & REHAB CENTERS               ACCOUNTS RECEIVABLE                        1121-000               1,400.00                                  72,026.82
                                     1665 Palm Beach Lakes Blvd
                                     SUITE 600
                                     West Palm Beach, FL 33401

03/29/2017               [1]         TRICARE NORTH REGION                     ACCOUNTS RECEIVABLE                        1121-000                  73.50                                  72,100.32
                                     P.O. BOX 870141
                                     SURFSIDE BEACH, SC 29587

03/29/2017               [1]         STATE FARM MUTUAL AUTO INSURANCE         ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 72,102.01
                                     CO
                                     HEALTH OPERATIONS CENTER EAST
                                     NEWARK , OH 43058

03/29/2017               [1]         MANHATTAN LIFE INSURANCE                 ACCOUNTS RECEIVABLE                        1121-000                  14.30                                  72,116.31
                                     P.O. BOX 925688
                                     HOUSTON, TX 77292

03/29/2017               [1]         RAILROAD MAINTENANCE & INDUSTRIAL        ACCOUNTS RECEIVABLE                        1121-000                  93.63                                  72,209.94
                                     HEALTH & WELFARE FUND
                                     2725 WEST MONROE STREET
                                     SPRINGFIELD, IL 62704

03/29/2017               [1]         CIGNA LOYAL AMERICAN LIFE INSURANCE ACCOUNTS RECEIVABLE                             1121-000                    1.69                                 72,211.63
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

03/29/2017               [1]         CHARLES EVANS                            ACCOUNTS RECEIVABLE                        1121-000                 107.00                                  72,318.63
                                     1138 SENECA STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals               1,691.81                   0.00



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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/29/2017               [1]         ALBERT MATAKONIS                         ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 72,323.63
                                     441 WEST MT. VERNON STREET
                                     SHENANDOAH, PA 17976

03/29/2017               [1]         ESTHER TETER                             ACCOUNTS RECEIVABLE                        1121-000                  41.45                                  72,365.08
                                     453 PHEASANT RUN ROAD
                                     ORWIGSBURG, PA 17961

03/29/2017               [1]         SHAWN SCHOFFSTALL                        ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  72,405.08
                                     736 BUNTING STREET
                                     POTTSVILLE, PA 17901

03/29/2017               [1]         JULIE BELL                               ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  72,420.08
                                     323 INDIANA AVE
                                     SHENANDOAH, PA 17976

03/29/2017               [1]         DEBORAH BUBECK                           ACCOUNTS RECEIVABLE                        1121-000                  55.00                                  72,475.08
                                     814 SCHULKILL MTN ROAD
                                     SCHUYLKILL HAVEN, PA 17972

03/29/2017               [1]         APRIL WYTOVICH                           ACCOUNTS RECEIVABLE                        1121-000                 157.06                                  72,632.14
                                     2429 SHARP MNT. ROAD
                                     # 10
                                     POTTSVILLE, PA 17901

03/29/2017               [1]         JOANNE DOYNE                             ACCOUNTS RECEIVABLE                        1121-000                 221.54                                  72,853.68
                                     2018 ELK AVE
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 535.05                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/29/2017               [1]         DIANE HARDOCK                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  72,878.68
                                     8 FIRST AVE
                                     WEST WEST TERRACE
                                     POTTSVILLE, PA 17901

03/29/2017               [1]         JAMES STRAUSSER                          ACCOUNTS RECEIVABLE                        1121-000                  29.87                                  72,908.55
                                     33 Strossertown Rd
                                     Pottsville, PA 17901

03/29/2017               [1]         MICHAEL MCFADDEN                         ACCOUNTS RECEIVABLE                        1121-000                    6.45                                 72,915.00
                                     303 NORTH 20TH STREET
                                     POTTSVILLE, PA 17901

03/29/2017               [1]         CHRISTINE STEELE                         ACCOUNTS RECEIVABLE                        1121-000                  17.95                                  72,932.95
                                     78 ROSE AVE
                                     PORT CARBON, PA 17965

03/29/2017               [1]         ROBERT DELPH                             ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  72,947.95
                                     307 NORTH GEORGE STREET
                                     POTTSVILLE, PA 17901

03/29/2017               [1]         LARRY FUTCHKO                            ACCOUNTS RECEIVABLE                        1121-000                  45.23                                  72,993.18
                                     512 SOUTH FRONT STREET
                                     SAITN CLAIR, PA 17970

03/29/2017               [1]         MARY L. COLIHAN                          ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  73,098.52
                                     1974 WEST MARKET STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 244.84                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/29/2017               [1]         TOM DE NAPOLI COMMUNICATIONS             ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 73,103.52
                                     140 N. MILL STREET
                                     ST. CLAIR, PA 17970

03/29/2017               [1]         JENNIFER TORRACO                         ACCOUNTS RECEIVABLE                        1121-000                  10.19                                  73,113.71
                                     17 COAL STREET
                                     POTTSVILLE, PA 17901

03/29/2017               [1]         UPMC BENEFIT MANAGEMENT SERVICES         ACCOUNTS RECEIVABLE                        1121-000                  92.68                                  73,206.39
                                     600 GRANT STREET
                                     PITTSBURGH, PA 15219

03/29/2017               [1]         COMMONWEALTH OF PA                       ACCOUNTS RECEIVABLE                        1121-000                 135.04                                  73,341.43
                                     MEDICAL ASSISTANCE

03/29/2017               [1]         NECA                                     ACCOUNTS RECEIVABLE                        1121-000                  50.39                                  73,391.82
                                     IBEW LOCAL 607 HEALTH & WELFARE
                                     FUND
                                     P.O. BOX 6480
                                     HARRISBURG, PA 17112

03/29/2017               [1]         LEEANN STRENCOSKY                        ACCOUNTS RECEIVABLE                        1121-000                  89.54                                  73,481.36
                                     4106 BROOKSIDE COURT
                                     ORWIGSBURG, PA 17961

03/29/2017               [1]         THOMAS MIERSKY                           ACCOUNTS RECEIVABLE                        1121-000                    5.68                                 73,487.04
                                     225 Mount Olive Blvd
                                     Shenandoah, PA 17976

                                                                                                                   Page Subtotals                 388.52                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/29/2017               [1]         MARGARET STEDNITZ                        ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  73,592.38
                                     565 E Lawton St
                                     Saint Clair, PA 17970

03/29/2017               [1]         NANCY LECHLEITNER                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  73,617.38
                                     320 Mauch Chunk St
                                     Pottsville, PA 17901

03/29/2017               [1]         DOROTHY CONWAY                           ACCOUNTS RECEIVABLE                        1121-000                  57.20                                  73,674.58
                                     717 W Norwegian St
                                     Pottsville, PA 17901

03/29/2017               [1]         JENNIFER KOONS                           ACCOUNTS RECEIVABLE                        1121-000                 138.40                                  73,812.98
                                     2121 W Norwegian St
                                     Pottsville, PA 17901

03/29/2017               [1]         JOHN CARROLL                             ACCOUNTS RECEIVABLE                        1121-000                  22.00                                  73,834.98
                                     564 PINE STREET
                                     POTTSVILLE, PA 17901

03/29/2017               [1]         JOHN KEATING                             ACCOUNTS RECEIVABLE                        1121-000                  17.64                                  73,852.62
                                     1701 Mahantongo St
                                     Pottsville, PA 17901

03/29/2017               [1]         HOLLY DELINKO                            ACCOUNTS RECEIVABLE                        1121-000                  99.82                                  73,952.44
                                     P.O. BOX 4176
                                     SELTZER , PA 17974

                                                                                                                   Page Subtotals                 465.40                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/29/2017               [1]         VANCO GEORGEVIC                          ACCOUNTS RECEIVABLE                        1121-000                  28.21                                  73,980.65
                                     412 HARRISON STREET
                                     POTTSVILLE, PA 17901

03/29/2017               [1]         JOSEPH POST                              ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 73,985.65
                                     443 NORTH STRETE
                                     MINERSVILLE, PA 17954

03/29/2017               [1]         CYNTHIA VAN STONE                        ACCOUNTS RECEIVABLE                        1121-000                  14.16                                  73,999.81
                                     624 Seltzer Rd
                                     Pottsville, PA 17901

03/29/2017               [1]         GERALDINE DELINKO                        ACCOUNTS RECEIVABLE                        1121-000                  58.63                                  74,058.44
                                     511 WILLOW STREET
                                     POTTSVILLE, PA 17901

03/29/2017               [1]         WILLIAM MARTIN                           ACCOUNTS RECEIVABLE                        1121-000                  20.89                                  74,079.33
                                     400 Laurel Blvd
                                     APT 802
                                     Pottsville, PA 17901

03/29/2017               [1]         DAVID HUMMEL                             ACCOUNTS RECEIVABLE                        1121-000                  65.04                                  74,144.37
                                     1283 SCHUYLKILL MTN ROAD
                                     SCHUYLKILL HAVEN, PA 17972

03/29/2017               [1]         PAULINE SCHULER                          ACCOUNTS RECEIVABLE                        1121-000                  58.72                                  74,203.09
                                     108 S Morris St
                                     ST. CLAIR, PA 17970

                                                                                                                   Page Subtotals                 250.65                   0.00




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                                     Case 5:17-bk-00641-RNO                Doc 193 Filed 06/25/19 Entered 06/25/19 09:36:40                              Desc
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                               Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                    Bank Name: Texas Capital Bank
                                                                                                                                          Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                Separate bond (if applicable): 0.00

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                                                                                                                             Uniform
Transaction           Check or                                                                                                Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction             Code             Deposits($)        Disbursements($)        Balance($)
03/29/2017               [1]         DEBRA ULICNY                             ACCOUNTS RECEIVABLE                            1121-000                    10.48                                74,213.57
                                     138 Swatara Rd
                                     Shenandoah, PA 17976

03/29/2017               [1]         ROOFERS LOCAL 30                         ACCOUNTS RECEIVABLE                            1121-000                    60.64                                74,274.21
                                     COMBINED HEALTH & WELFARE FUND

03/29/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                            1121-000                    73.64                                74,347.85
                                     NORTHEAST

03/29/2017               [1]         CATHERINE ROWE                           ACCOUNTS RECEIVABLE                            1121-000                    12.91                                74,360.76
                                     31 FOREST AVE
                                     BARNESVILLE, PA 18214

03/29/2017               [1]         STEPHEN WARD                             ACCOUNTS RECEIVABLE                            1121-000                    25.00                                74,385.76
                                     1527 OAK ROAD
                                     POTTSVILLE, PA 17901

03/29/2017               [1]         WILLIAM SAURAZAS                         ACCOUNTS RECEIVABLE                            1121-000                    10.00                                74,395.76
                                     1529 BUNTING STREET
                                     POTTSVILLE, PA 17901

03/29/2017             51004         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES (INVOICE NO. G255; MCGINTY,   2990-000                                      4,446.71           69,949.05
                                     PO BOX 98                                HOMA, WILLIAMSON & PA SALES TAX)
                                     PALMERTON, PA 18071

*03/29/2017            51005         W.B. MASON CO., INC.                     PAYROLL SERVICES (INVOICE NO. G255; MCGINTY,   2990-000                                      4,446.71           65,502.34
                                     59 CENTRE STREET                         HOMA, WILLIAMSON & PA SALES TAX)
                                     BROCKTON, MA 02301

                                                                                                                         Page Subtotals                 192.67             8,893.42




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                 Case No: 17-00641                                                                                                               Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                    Bank Name: Texas Capital Bank
                                                                                                                                          Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                               5                     6                     7
                                                                                                                             Uniform
Transaction           Check or                                                                                                Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction             Code             Deposits($)        Disbursements($)           Balance($)
*03/29/2017                          W.B. MASON CO., INC.                     PAYROLL SERVICES (INVOICE NO. G255; MCGINTY,   2990-000                                     (4,446.71)             69,949.05
                                     59 CENTRE STREET                         HOMA, WILLIAMSON & PA SALES TAX)
                                     BROCKTON, MA 02301

03/29/2017             51006         W.B. MASON CO., INC.                     ACCOUNTS RECEIVABLE "DEPOSIT ONLY" STAMPER     2990-000                                            32.85           69,916.20
                                     59 CENTRE STREET                         (INVOICE NO. I42692227; CUSTOMER NO.
                                     BROCKTON, MA 02301                       C2422742; REFERENCE NO. I42692227; ORDER NO.
                                                                              S046469883)

03/29/2017             51007         TROPP CONTRACTING, INC.                  PROPERTY MAINTENANCE (PLOWING AND SALTING      2990-000                                           985.00           68,931.20
                                     162 Brier City Rd                        FOR SNOW REMOVAL) (INVOICE NO. 15698)
                                     Pottsville, PA 17901

03/31/2017             51008         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES (INVOICE NO. G264; MCGINTY,   2990-000                                      4,101.24              64,829.96
                                     PO BOX 98                                HOMA, WILLIAMSON & PA SALES TAX)
                                     PALMERTON, PA 18071

04/03/2017               [1]         JESSICA LEONARD                          ACCOUNTS RECEIVABLE                            1121-000                   10.00                                    64,839.96
                                     505 FOREST LANE
                                     POTTSVILLE, PA 17901

04/03/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE                            1121-000                   21.07                                    64,861.03
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

04/03/2017               [1]         LEONA SHEIPE                             ACCOUNTS RECEIVABLE                            1121-000                   17.99                                    64,879.02
                                     411 PERSHING AVE
                                     FRACKVILLE, PA 17931

                                                                                                                         Page Subtotals                 49.06                   672.38




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/03/2017               [1]         DOROTHY LAVIN                            ACCOUNTS RECEIVABLE                        1121-000                 121.88                                  65,000.90
                                     P.O. BOX 692
                                     MINERSVILLE, PA 17954

04/03/2017               [1]         PETER VERBA                              ACCOUNTS RECEIVABLE                        1121-000                  52.37                                  65,053.27
                                     10 Sajer Rd
                                     Pottsville, PA 17901

04/03/2017               [1]         DIANE MCDONALD                           ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  65,068.27
                                     2503 WATER STREET
                                     MAHANOY CITY, PA 17949

04/03/2017               [1]         BETTY ROBERTS                            ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 65,073.27
                                     44 NORTH 4TH STREET
                                     CRESSONA, PA 17929

04/03/2017               [1]         MICHAEL KOST                             ACCOUNTS RECEIVABLE                        1121-000                    9.00                                 65,082.27
                                     221 SOUTH 2ND STREET
                                     FRACKVILLE, PA 17931

04/03/2017               [1]         JENNIFER BOWEN                           ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  65,097.27
                                     1103 VILLAGE ROAD
                                     ORWIGSBURG, PA 17961

04/03/2017               [1]         MARY ALICE ROSS                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  65,117.27
                                     1640 LITTLE MOUNTAIN RD
                                     ORWIGSBURG, PA 17961

                                                                                                                   Page Subtotals                 238.25                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/03/2017               [1]         NATALIE THOMAS                           ACCOUNTS RECEIVABLE                        1121-000                 121.15                                  65,238.42
                                     445 SOUTH MILL STREET
                                     SAINT CLAIR, PA 17970

04/03/2017               [1]         CHARLENE FREEZE                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  65,263.42
                                     114 OIKE STREET
                                     PORT CARBON, PA 17965

04/03/2017               [1]         FRANCES SHELDON                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  65,273.42
                                     402 Frieden Mnr
                                     Schuylkill Haven, PA 17972

04/03/2017               [1]         ANNA MAE VIDZICKI                        ACCOUNTS RECEIVABLE                        1121-000                  41.76                                  65,315.18
                                     51 MACLOMB STREET
                                     NEW PHILADELPHIA, PA 17959

04/03/2017               [1]         SUSAN FANOK                              ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  65,335.18
                                     569 Rawhide Dr
                                     Auburn, PA 17922

04/03/2017               [1]         BRUCE KILLIAN                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  65,360.18
                                     24 Phoenix Park Rd
                                     Pottsville, PA 17901

04/03/2017               [1]         SUSAN WAGNER                             ACCOUNTS RECEIVABLE                        1121-000                  76.00                                  65,436.18
                                     554 TUNNEL ROAD
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 318.91                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/03/2017               [1]         PEGGY ANN UNDERWOOD                      ACCOUNTS RECEIVABLE                        1121-000                  94.77                                  65,530.95
                                     69 LONGVIEW DRIVE
                                     SCHUYLKILL HAVEN, PA 17972

04/03/2017               [1]         DAVID BRENNAN                            ACCOUNTS RECEIVABLE                        1121-000                  22.77                                  65,553.72
                                     824 BUNTING STREET
                                     POTTSVILLE, PA 17901

04/03/2017               [1]         CIGNA HEALTH AND LIFE INSURANCE CO       ACCOUNTS RECEIVABLE                        1121-000                    7.30                                 65,561.02
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

04/03/2017               [1]         MICHAEL MACCARONE                        ACCOUNTS RECEIVABLE                        1121-000                  24.23                                  65,585.25
                                     2 JACKSON ROAD
                                     POTTSVILLE, PA 17901

04/03/2017               [1]         COLLEEN AGOSTI                           ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  65,600.25
                                     728 BROAD STREET
                                     P.O. BOX 167
                                     TUSCARORA, PA 17982

04/03/2017               [1]         MARY MARBERGER                           ACCOUNTS RECEIVABLE                        1121-000                  24.18                                  65,624.43
                                     16 CHESTNUT STREET
                                     APT 4
                                     CRESSONA, PA 17929

04/03/2017               [1]         KIMBERLY MALIS                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  65,634.43
                                     175 LAVELLE ROAD
                                     BOX 264
                                     LAVELLE, PA 17943

                                                                                                                   Page Subtotals                 198.25                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/03/2017               [1]         MICHELE PELESCHAK                        ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  65,654.43
                                     2137 Mahantongo St
                                     Pottsville, PA 17901

04/03/2017               [1]         SAUNDRA LOFTUS                           ACCOUNTS RECEIVABLE                        1121-000                  20.73                                  65,675.16
                                     809 EAST PINE STREET
                                     MAHANOY CITY, PA 17948

04/03/2017               [1]         LEO BAZAR                                ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  65,746.66
                                     20 Schuylkill St
                                     Cressona, PA 17929

04/03/2017               [1]         HELENE YUTKO                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  65,771.66
                                     212 SUMMER VALLEY ROAD
                                     ORWIGSBURG, PA 17961

04/03/2017               [1]         KIMBERLY MOYER                           ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  65,791.66
                                     17 DEERFIELD DR
                                     POTTSVILLE, PA 17901

04/03/2017               [1]         JEANNETTE MCKEON                         ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  65,811.66
                                     507 3RD STREET
                                     PORT CARBON , PA 17965

04/03/2017               [1]         JANET TOWEY                              ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  65,841.66
                                     305 MCKNIGHT STREET
                                     GORDON, PA 17936

                                                                                                                   Page Subtotals                 207.23                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/03/2017               [1]         LOREN REICHERT                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  65,851.66
                                     51 NORTH 4TH STREET
                                     CRESSONA, PA 17929

04/03/2017               [1]         JOHN QUINN                               ACCOUNTS RECEIVABLE                        1121-000                  67.20                                  65,918.86
                                     356 EAST BACON STREET
                                     POTTSVILLE, PA 17901

04/03/2017               [1]         T.A.GAYDOS                               ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 65,923.86


04/03/2017               [1]         GLORIA HUTSKO                            ACCOUNTS RECEIVABLE                        1121-000                 142.10                                  66,065.96
                                     25 WILLOW LANE
                                     POTTSVILLE, PA 17901

04/03/2017               [1]         FRANK ODONNELL                           ACCOUNTS RECEIVABLE                        1121-000                  87.24                                  66,153.20
                                     510 W Norwegian St
                                     APT 406
                                     Pottsville, PA 17901

04/03/2017               [1]         LINDA MINNICH                            ACCOUNTS RECEIVABLE                        1121-000                 102.00                                  66,255.20
                                     111 S. WOLFE STREET
                                     POTTSVILLE, PA 17901

04/03/2017               [1]         BRADD QUINTER                            ACCOUNTS RECEIVABLE                        1121-000                 111.00                                  66,366.20
                                     357 SOUTH WAYNE STREET
                                     ORWIGSBURG, PA 17961

                                                                                                                   Page Subtotals                 524.54                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                              Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                         Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                               Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                               Separate bond (if applicable): 0.00

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                                                                                                                            Uniform
Transaction           Check or                                                                                               Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction           Code             Deposits($)        Disbursements($)           Balance($)
04/03/2017               [1]         CORALEE MUNLEY                           ACCOUNTS RECEIVABLE                           1121-000                    95.98                                   66,462.18
                                     148
                                     SCHUYLKILL AVE
                                     SHENANDOAH, PA 17976

04/03/2017             51009         GREENWAY                                 HEALTH COVERAGE (CUSTOMER NO. 1922212160;     2990-000                                      2,769.24              63,692.94
                                     PO BOX 203658                            INVOICE NO. 06398068)
                                     DALLAS, TX 75320-3658

04/03/2017             51010         COMCAST                                  COMCAST BUSINESS (ACCT. NO. 8993 11 252       2990-000                                           301.00           63,391.94
                                     PO BOX 3001                              0172227; BILLING DATE 3/18/17)
                                     SOUTHEASTERN, PA 19398-3001

04/03/2017                           Texas Capital Bank                       Bank Service Fee                              2600-000                                            85.22           63,306.72
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

04/06/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                           1121-000                    45.39                                   63,352.11
                                     NORTHEAST

04/06/2017               [1]         BARBARA MILLER                           ACCOUNTS RECEIVABLE                           1121-000                   121.15                                   63,473.26
                                     109 FRONT STREET
                                     CRESSONA, PA 17929

04/06/2017               [1]         KIMBERLY CONVILLE                        ACCOUNTS RECEIVABLE                           1121-000                    30.00                                   63,503.26
                                     605 NORTH FRONT STREET
                                     MINERSVILLE, PA 17954

                                                                                                                        Page Subtotals                 292.52             3,155.46




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/06/2017               [1]         GEORGE WOLFF                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  63,513.26
                                     9 S FRONT STREET
                                     SAINT CLAIR, PA 17970

04/06/2017               [1]         PLUMBERS & PIPEFITTERS LOCAL 520         ACCOUNTS RECEIVABLE                        1121-000                  13.97                                  63,527.23
                                     P.O. BOX 6480
                                     HARRISBURG, PA 17112

04/06/2017               [1]         LORETTA SKOUFALOS                        ACCOUNTS RECEIVABLE                        1121-000                  59.10                                  63,586.33
                                     311 FIRST STREET
                                     PORT CARBON, PA 17965

04/06/2017               [1]         DEBRA MATTA                              ACCOUNTS RECEIVABLE                        1121-000                 120.00                                  63,706.33
                                     215 TIMBER ROAD
                                     POTTSVILLE, PA 17901

04/06/2017               [1]         JAN GENTRY                               ACCOUNTS RECEIVABLE                        1121-000                 169.13                                  63,875.46
                                     218 NORTH 18TH STREET
                                     POTTSVILLE, PA 17901

04/06/2017               [1]         GEORGE WOLFF                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  63,885.46
                                     9 S FRONT STREET
                                     SAINT CLAIR, PA 17970

04/06/2017               [1]         JOSEPH FEENEY                            ACCOUNTS RECEIVABLE                        1121-000                 176.84                                  64,062.30
                                     417 S. MILL STREET
                                     SAINT CLAIR, PA 17970

                                                                                                                   Page Subtotals                 559.04                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/06/2017               [1]         CAROL ARTZ                               ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  64,167.64
                                     1740 WEST END AVE
                                     POTTSVILLE, PA 17901

04/06/2017               [1]         AUDREY DREHER                            ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  64,197.64
                                     19 QUEEN AVE
                                     ORWIGSBURG, PA 17961

04/06/2017               [1]         JOHN PURCELL                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  64,207.64
                                     25 N Nicholas St
                                     APT 305
                                     Saint Clair, PA 17970

04/06/2017               [1]         JOEL YESALUSKY                           ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  64,232.64
                                     297 Tielman Rd
                                     Ashland, PA 17921

04/06/2017               [1]         HELEN BOVA                               ACCOUNTS RECEIVABLE                        1121-000                  38.45                                  64,271.09
                                     370 ROOSEVELT DRIVE
                                     NEW BOSTON, PA 17948

04/06/2017               [1]         ROBERT HAUGHNEY                          ACCOUNTS RECEIVABLE                        1121-000                 100.00                                  64,371.09
                                     2157 WOODGLEN ROAD
                                     POTTSVILLE, PA 17901

04/06/2017               [1]         COLBY POWELL                             ACCOUNTS RECEIVABLE                        1121-000                 174.00                                  64,545.09
                                     3301 VILLAGE ROAD
                                     ORWIGSBURG, PA 17961

                                                                                                                   Page Subtotals                 482.79                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/06/2017               [1]         LINDA MONTGOMERY                         ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 64,550.09
                                     710 WEST JOHN STREET
                                     FRACKVILLE, PA 17931

04/06/2017               [1]         BEVERLY STINE                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  64,560.09
                                     805 W. WASHINGTON STREET
                                     FRACKVILLE, PA 17931

04/06/2017               [1]         SARAH SMITH                              ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  64,580.09
                                     86 GRIST MILL ROAD
                                     ORWIGSBURG, PA 17961

04/07/2017               [1]         MARY BORAN                               ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 64,585.09
                                     413 WEST MARKET STREE
                                     ORWIGSBURG, PA 17961

04/07/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  64,600.09
                                     NORTHEAST

04/07/2017               [1]         ALLSTATE INSURANCE CO                    ACCOUNTS RECEIVABLE                        1121-000                    9.28                                 64,609.37


04/07/2017               [1]         HORIZON BLUE CROSS BLUE SHIELD OF        ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 64,611.06
                                     NEW JERSEY
                                     P.O. BOX 420
                                     NEWARK, NJ 07101

                                                                                                                   Page Subtotals                  65.97                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/07/2017               [1]         NATIONAL AUTOMATIC SPRINKLER             ACCOUNTS RECEIVABLE                        1121-000                    2.54                                 64,613.60
                                     INDUSTRY WELFARE FUND
                                     8000 CORPORATE
                                     LANDOVER, MD 20785

04/07/2017               [1]         TRICARE NORTH REGION                     ACCOUNTS RECEIVABLE                        1121-000                  71.60                                  64,685.20
                                     P.O. BOX 870141
                                     SURFSIDE BEACH, SC 29587

04/07/2017               [1]         PATRICIA MAKARA                          ACCOUNTS RECEIVABLE                        1121-000                  57.20                                  64,742.40
                                     743 FOREST LANE
                                     POTTSVILLE, PA 17901

04/07/2017               [1]         THOMAS COLLINS                           ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 64,747.40
                                     809 Barnesville Dr
                                     Barnesville, PA 18214

04/07/2017               [1]         JOSEPH QUIRK                             ACCOUNTS RECEIVABLE                        1121-000                 142.50                                  64,889.90
                                     606 FAIRVIEW STREET
                                     POTTSVILLE, PA 17901

04/07/2017               [1]         CHERYL RIOTTO                            ACCOUNTS RECEIVABLE                        1121-000                  14.30                                  64,904.20
                                     124 LAKE FRONT DRIVE
                                     ORWIGSBURG, PA 17961

04/07/2017               [1]         DEANNA JONES                             ACCOUNTS RECEIVABLE                        1121-000                  57.00                                  64,961.20
                                     15 Teaberry Hill Rd
                                     Minersville, PA 17954

                                                                                                                   Page Subtotals                 350.14                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/07/2017               [1]         BETTY HUMMEL                             ACCOUNTS RECEIVABLE                        1121-000                  12.66                                  64,973.86
                                     615 Gap St
                                     Hegins, PA 17938

04/07/2017               [1]         PATRICIA YAAG                            ACCOUNTS RECEIVABLE                        1121-000                  43.46                                  65,017.32
                                     612 GREENWOOD AVE
                                     POTTSVILLE, PA 17901

04/07/2017               [1]         JENNIFER MCGINLEY                        ACCOUNTS RECEIVABLE                        1121-000                  63.61                                  65,080.93
                                     638 EDWARDS AVE
                                     POTTSVILLE, PA 17901

04/07/2017               [1]         HENRY KOTULA                             ACCOUNTS RECEIVABLE                        1121-000                  11.72                                  65,092.65
                                     46 Bryn Mawr Ave
                                     POTTSVILLE, PA 17901

04/07/2017               [1]         TARA RHOADS                              ACCOUNTS RECEIVABLE                        1121-000                  54.42                                  65,147.07
                                     536 WEST SPRUCE STREET
                                     MAHANOY CITY, PA 17948

04/07/2017               [1]         DIANE KOVACH                             ACCOUNTS RECEIVABLE                        1121-000                  12.66                                  65,159.73
                                     461 MT. OLIVE BLVD
                                     P.O. BOX 81
                                     LOST CREEK, PA 17946

04/07/2017               [1]         BEVERLY STABINSKY                        ACCOUNTS RECEIVABLE                        1121-000                 121.88                                  65,281.61
                                     14 SUNSET STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 320.41                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/07/2017               [1]         MARY BETH HOUTZ                          ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  65,331.61
                                     726 DEIBERTS VALLEY ROAD
                                     SCHUYLKILL HAVEN, PA 17972

04/07/2017               [1]         ROSE NORDALL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  65,356.61
                                     422 Birds Hill Rd
                                     Pine Grove, PA 17963

04/07/2017               [1]         ANNMARIE RICCIO                          ACCOUNTS RECEIVABLE                        1121-000                  58.60                                  65,415.21
                                     215 WILLING STREET
                                     LLEWELLYN, PA 17944

04/07/2017               [1]         KAREN CHRIN                              ACCOUNTS RECEIVABLE                        1121-000                  55.50                                  65,470.71
                                     51 HOLLY ROAD
                                     BARNESVILLE, PA 18214

04/07/2017               [1]         TRICARE                                  ACCOUNTS RECEIVABLE                        1121-000                 141.69                                  65,612.40
                                     BOX 7889
                                     MADISON, WI 53707

04/07/2017               [1]         NATIONAL ASSOCIATION OF LETTERS          ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 65,614.09
                                     CARRIERS
                                     20547 Waverly Ct
                                     Ashburn, VA 20147

04/07/2017               [1]         COMMONWELATH OF PA                       ACCOUNTS RECEIVABLE                        1121-000                  71.21                                  65,685.30
                                     MEDICAL ASSISTANCE

                                                                                                                   Page Subtotals                 403.69                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/07/2017               [1]         UPMC INSURANCE SERVICES                  ACCOUNTS RECEIVABLE                        1121-000                  10.38                                  65,695.68
                                     600 GRANT STREET
                                     PITTSBUGH, PA 15219

04/07/2017               [1]         CENTRAL PENNSYLVANIA TEAMSTERS           ACCOUNTS RECEIVABLE                        1121-000                    7.68                                 65,703.36
                                     P.O. BOX 15224
                                     READING, PA 15224

04/07/2017               [1]         HEALTH NET FEDERAL SERVICES, LLC         ACCOUNTS RECEIVABLE                        1121-000                  13.23                                  65,716.59
                                     P.O. BOX 2890
                                     RANCHO CORDOVA, CA 95741

04/07/2017               [1]         JAMIE TEIJARO                            ACCOUNTS RECEIVABLE                        1121-000                  65.04                                  65,781.63
                                     221 Paxson Ave
                                     Schuylkill Haven, PA 17972

04/07/2017               [1]         JAMIE TEIJARO                            ACCOUNTS RECEIVABLE                        1121-000                  20.89                                  65,802.52
                                     221 Paxson Ave
                                     Schuylkill Haven, PA 17972

04/07/2017               [1]         BETTY FEGLEY                             ACCOUNTS RECEIVABLE                        1121-000                  58.63                                  65,861.15
                                     255 PARKWAY
                                     APT 709
                                     SCHUYLKILL HAVEN, PA 17972

04/07/2017               [1]         HELEN JONES                              ACCOUNTS RECEIVABLE                        1121-000                  17.76                                  65,878.91
                                     517 CARBON STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 193.61                   0.00




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                                     Case 5:17-bk-00641-RNO                Doc 193 Filed 06/25/19 Entered 06/25/19 09:36:40                              Desc
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                   Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction                Code             Deposits($)        Disbursements($)           Balance($)
04/07/2017               [1]         VINCENT MATALAVAGE                       ACCOUNTS RECEIVABLE                               1121-000                    40.00                                   65,918.91
                                     258 S. SPENCER STREET
                                     FRACKVILLE, PA 17931

04/07/2017               [1]         JOAN REPELLA                             ACCOUNTS RECEIVABLE                               1121-000                    23.37                                   65,942.28
                                     214 NORTH GEORGE STREET
                                     POTTSVILLE, PA 17901

04/07/2017               [1]         LAVONDA POPISH                           ACCOUNTS RECEIVABLE                               1121-000                   107.00                                   66,049.28
                                     232 Brandonville Rd
                                     Ringtown, PA 17967

04/07/2017               [1]         RONALD SCHELL                            ACCOUNTS RECEIVABLE                               1121-000                    10.00                                   66,059.28
                                     127 N. LIBERTY STREET
                                     ORWIGSBURG, PA 17961

04/07/2017             51011         TRUSTEE INSURANCE AGENCY                 INSURANCE PREMIUM (INVOICE NO. 1451; 106 S.       2990-000                                           507.50           65,551.78
                                     2813 WEST MAIN                           CLAUDE A. BLVD., POTTSVILLE)
                                     KALAMAZOO, MI 49006

04/07/2017             51012         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR W/E 4/1/17 (INVOICE NO.      2990-000                                      4,160.87              61,390.91
                                     PO BOX 98                                G264; MCGINTY, HOMA, WILLIAMSON & PA SALES
                                     PALMERTON, PA 18071                      TAX)


04/12/2017               [1]         LOUISE ANN KELLY                         ACCOUNTS RECEIVABLE                               1121-000                    25.00                                   61,415.91
                                     623 WASHINGTON STREET
                                     SHENANDOAH, PA 17976

                                                                                                                            Page Subtotals                 205.37             4,668.37




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/12/2017               [1]         DIANE BORIS                              ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 61,420.91
                                     121 N Nicholas St
                                     Saint Clair, PA 17970

04/12/2017               [1]         JANET SEIDERS                            ACCOUNTS RECEIVABLE                        1121-000                  60.46                                  61,481.37
                                     18 UNION STREET
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         MARTIN MALIS                             ACCOUNTS RECEIVABLE                        1121-000                  51.72                                  61,533.09
                                     13 CHESTNUT STREET
                                     CRESSONA, PA 17929

04/12/2017               [1]         ROSE MEYERS                              ACCOUNTS RECEIVABLE                        1121-000                  76.76                                  61,609.85
                                     205 E Bacon St
                                     PALO ALTO
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         SADIE WETZEL                             ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  61,629.85
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         ELIZABETH SCHAAR                         ACCOUNTS RECEIVABLE                        1121-000                  78.18                                  61,708.03
                                     173 STATE ROAD
                                     BARNESVILLE, PA 18214

04/12/2017               [1]         ANTOINETTE OPELLA                        ACCOUNTS RECEIVABLE                        1121-000                  51.72                                  61,759.75
                                     10 WEST CENTRE STREET
                                     APT 301
                                     MAHANOY CITY, PA 17948

                                                                                                                   Page Subtotals                 343.84                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/12/2017               [1]         EARL MACE                                ACCOUNTS RECEIVABLE                        1121-000                  34.66                                  61,794.41
                                     2009 EAST CENTER STREET
                                     TREMONT, PA 17981

04/12/2017               [1]         MARCIA JACAVAGE                          ACCOUNTS RECEIVABLE                        1121-000                  12.06                                  61,806.47
                                     29 S Jardin St
                                     Shenandoah, PA 17976

04/12/2017               [1]         OAK HRC BROAD MTN., LLC                  ACCOUNTS RECEIVABLE                        1121-000                  50.70                                  61,857.17
                                     500 WEST LAUREL STREET
                                     FRACKVILLE, PA 17931

04/12/2017               [1]         SARA BOWERS                              ACCOUNTS RECEIVABLE                        1121-000                 147.83                                  62,005.00
                                     101 Mahantongo St
                                     Pottsville, PA 17901

04/12/2017               [1]         MARY DEMBINSKY                           ACCOUNTS RECEIVABLE                        1121-000                  51.72                                  62,056.72
                                     400 Beurys Rd
                                     Ashland, PA 17921

04/12/2017               [1]         ROBERT ANTHONY                           ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  62,128.22
                                     465 Route 61 S
                                     Schuylkill Haven, PA 17972

04/12/2017               [1]         KATHLEEN JUDD                            ACCOUNTS RECEIVABLE                        1121-000                  19.55                                  62,147.77
                                     149 S Nice St
                                     Frackville, PA 17931

                                                                                                                   Page Subtotals                 388.02                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/12/2017               [1]         KAREN SPIELES                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  62,157.77
                                     101 EAST CHESTNUT STREET
                                     APT 307
                                     FRACKVILLE, PA 17931

04/12/2017               [1]         RALPH CLARK                              ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 62,162.77
                                     365 Phineyville Rd
                                     Ringtown, PA 17967

04/12/2017               [1]         ALBERTA PUKAVAGE                         ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  62,212.77
                                     P.O. BOX 235
                                     RINGTOWN, PA 17967

04/12/2017               [1]         JOHN DRESCH                              ACCOUNTS RECEIVABLE                        1121-000                  89.54                                  62,302.31
                                     218 SOUTH THIRD STREET
                                     ST. CLAIR, PA 17970

04/12/2017               [1]         TERRY SHAY                               ACCOUNTS RECEIVABLE                        1121-000                 107.00                                  62,409.31
                                     907 FAIRMONT AVE
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         ELIAS BERETSKY                           ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  62,514.65
                                     625 FOREST LANE
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         MARIA ROWLANDS                           ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  62,539.65
                                     212 Norwegian Woods Dr
                                     Pottsville, PA 17901

                                                                                                                   Page Subtotals                 391.88                   0.00




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                                     Case 5:17-bk-00641-RNO                Doc 193 Filed 06/25/19 Entered 06/25/19 09:36:40                              Desc
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/12/2017               [1]         THOMAS NAWROCKI                          ACCOUNTS RECEIVABLE                        1121-000                 104.38                                  62,644.03
                                     20 NORTH VALLEY STREET
                                     NEW PHILA, PA 17959

04/12/2017               [1]         ANNETTE MATTHEWS                         ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 62,649.03
                                     2076 W. MARKET STREET
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         RUTH DAVIDSON                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  62,659.03
                                     111 Mahantongo Dr
                                     Pottsville, PA 17901

04/12/2017               [1]         ROSEMARY MCCOACH                         ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  62,764.37
                                     100 Arnot St
                                     Saint Clair, PA 17970

04/12/2017               [1]         JEAN STILLWAGNER                         ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 62,769.37
                                     PO Box 444
                                     CUMBOLA, PA 17930

04/12/2017               [1]         GERALD SPOTTS                            ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  62,840.87
                                     10 SOUTH 25TH STREET
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         EUGENE STOHN                             ACCOUNTS RECEIVABLE                        1121-000                  19.55                                  62,860.42
                                     308 S Hoffman Blvd
                                     Ashland, PA 17921

                                                                                                                   Page Subtotals                 320.77                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/12/2017               [1]         HOLLY FRIE                               ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  62,870.42
                                     218 NORTH 10 TH STREET
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         DAVID GOTTSCHALL                         ACCOUNTS RECEIVABLE                        1121-000                    9.00                                 62,879.42
                                     P.O. BOX 33
                                     MARLIN, PA 17951

04/12/2017               [1]         DELORIS STEIN                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  62,889.42
                                     1117 CHESTNUT ROAD
                                     ORWIGSBURG, PA 17961

04/12/2017               [1]         AUDREY SPANGLER                          ACCOUNTS RECEIVABLE                        1121-000                  39.55                                  62,928.97
                                     1048 MAPLE STREET
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         AUDREY SPANGLER                          ACCOUNTS RECEIVABLE                        1121-000                  28.24                                  62,957.21
                                     1048 MAPLE STREET
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         MARY JANE LINDENMUTH                     ACCOUNTS RECEIVABLE                        1121-000                    6.60                                 62,963.81
                                     583 AIRPORT ROAD
                                     ASHLAND, PA 17921

04/12/2017               [1]         JAMES BARRETT                            ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  63,003.81
                                     1417 MARKET STREET
                                     ASHLAND, PA 17921

                                                                                                                   Page Subtotals                 143.39                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/12/2017               [1]         PAULINE ELTRINGHAM                       ACCOUNTS RECEIVABLE                        1121-000                 182.84                                  63,186.65
                                     503 RYAN LANE
                                     MINERSVILLE, PA 17954

04/12/2017               [1]         ROBERT KEENER                            ACCOUNTS RECEIVABLE                        1121-000                  14.72                                  63,201.37
                                     100 BROAD STREET
                                     ASHLAND, PA 17921

04/12/2017               [1]         BERNARD KOVICH                           ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  63,226.37
                                     350 NEW CASTLE STREET
                                     MINERSVILLE, PA 17954

04/12/2017               [1]         CYNTHIA HERTZ                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  63,236.37
                                     107 SOUTH FRONT STREET
                                     SAINT CLAIR, PA 17970

04/12/2017               [1]         THOMAS PELLISH-ATTY AT LAW               ACCOUNTS RECEIVABLE                        1121-000                  52.17                                  63,288.54
                                     306 Mahantongo St
                                     Pottsville, PA 17901

04/12/2017               [1]         JAMES DEL CONTE                          ACCOUNTS RECEIVABLE                        1121-000                 105.54                                  63,394.08
                                     723 SOUTH ROUTE 183
                                     SCHUYLKILL HAVEN, PA 17972

04/12/2017               [1]         LEONARD SCHUMACK                         ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  63,499.42
                                     277 VIRGINIA AVE
                                     SHENANDOAH, PA 17976

                                                                                                                   Page Subtotals                 495.61                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/12/2017               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  63,549.42
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         ELIZABETH LESKIE                         ACCOUNTS RECEIVABLE                        1121-000                  75.40                                  63,624.82
                                     449 WEST JOHN STREET
                                     FRAKVILLE, PA 17931

04/12/2017               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  63,674.82
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         KORISSA EVANS                            ACCOUNTS RECEIVABLE                        1121-000                  60.31                                  63,735.13
                                     19 GROVE STREET
                                     CRESSONA, PA 17929

04/12/2017               [1]         ETHEL ELLEX                              ACCOUNTS RECEIVABLE                        1121-000                 259.00                                  63,994.13
                                     733 GARFIELD AVE
                                     SCHUYLKILL HAVEN, PA 17972

04/12/2017               [1]         RAYMOND WILLIAMS                         ACCOUNTS RECEIVABLE                        1121-000                 118.52                                  64,112.65
                                     552 MAPLE STREET
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         CARMEN MURHON                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  64,122.65
                                     1516 NORTH NORWEGIAN STREET
                                     POTTSVILLE, PA 17902

                                                                                                                   Page Subtotals                 623.23                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/12/2017               [1]         ANN TOBIN                                ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  64,227.99
                                     1414 MOUNT HOPE AVE
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         GAYLE GIBBONS                            ACCOUNTS RECEIVABLE                        1121-000                  30.72                                  64,258.71
                                     101 Mahantongo St
                                     Pottsville, PA 17901

04/12/2017               [1]         BETTY FERRIER                            ACCOUNTS RECEIVABLE                        1121-000                  57.20                                  64,315.91
                                     62 SPRUCE STREET
                                     CRESSONA, PA 17929

04/12/2017               [1]         MARY ANN BATZ                            ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  64,365.91
                                     211 Vaux Ave
                                     Tremont, PA 17981

04/12/2017               [1]         LOUISE BALICKI                           ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  64,380.91
                                     1416 SENECA STREET
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         INTEGRATED MEDICAL SOLUTIONS, LLC        ACCOUNTS RECEIVABLE                        1121-000                 232.10                                  64,613.01
                                     1485 HERITAGE PARKWAY
                                     MANSFIELD, TX 76063

04/12/2017               [1]         COMBINED INSURANCE CO.                   ACCOUNTS RECEIVABLE                        1121-000                    3.38                                 64,616.39
                                     P.O. BOX 14207
                                     CLEARWATER, FL 33766

                                                                                                                   Page Subtotals                 493.74                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/12/2017               [1]         SUSQUEHANNA LABORERS                     ACCOUNTS RECEIVABLE                        1121-000                  40.39                                  64,656.78
                                     COMBINED HEALTH & WELFARE FUND
                                     P.O. BOX 6480
                                     HARRISBURG, PA 17112

04/12/2017               [1]         THE SALVATION ARMY                       ACCOUNTS RECEIVABLE                        1121-000                    6.91                                 64,663.69


04/12/2017               [1]         COMMONWELATH OF PA                       ACCOUNTS RECEIVABLE                        1121-000                  28.92                                  64,692.61
                                     MEDICAL ASSISTANCE

04/12/2017               [1]         RIDGEVIEW OPERATIONS, LLC                ACCOUNTS RECEIVABLE                        1121-000                  84.03                                  64,776.64
                                     14 WALL STREET STE 5B
                                     NEW YORK, NY 10005

04/12/2017               [1]         RIDGEVIEW OPERATIONS, LLC                ACCOUNTS RECEIVABLE                        1121-000                  50.39                                  64,827.03
                                     14 WALL STREET STE 5B
                                     NEW YORK, NY 10005

04/12/2017               [1]         CHRISTINE RODICHOK                       ACCOUNTS RECEIVABLE                        1121-000                 121.88                                  64,948.91
                                     300 SOUTH THIRD STREET
                                     TOWER CITY, PA 17980

04/12/2017               [1]         CATHERINE GUERS                          ACCOUNTS RECEIVABLE                        1121-000                  12.99                                  64,961.90
                                     185 OHIO AVE
                                     SHENANDOAH, PA 17976

04/12/2017               [1]         WILLIAM SHAFRANSKY                       ACCOUNTS RECEIVABLE                        1121-000                  21.07                                  64,982.97
                                     21 Trailer Rd
                                     Ringtown, PA 17967

                                                                                                                   Page Subtotals                 366.58                   0.00



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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/12/2017               [1]         MARK PUDDU                               ACCOUNTS RECEIVABLE                        1121-000                 110.00                                  65,092.97
                                     19 Sajer Rd
                                     Pottsville, PA 17901

04/12/2017               [1]         KAREN MILLER                             ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  65,142.97
                                     21 WOOD LANE
                                     SCHUYLKILL HAVEN, PA 17972

04/12/2017               [1]         GEORGENE JONES                           ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  65,172.97
                                     101 WEST PATTERSON STREET
                                     SAINT CLAIR, PA 17970

04/12/2017               [1]         CHARLES DROSKINIS                        ACCOUNTS RECEIVABLE                        1121-000                    8.30                                 65,181.27
                                     409 LYTLE STREET
                                     MINERSVILLE, PA 17954

04/12/2017               [1]         TIMOTHY BOSACK                           ACCOUNTS RECEIVABLE                        1121-000                    7.00                                 65,188.27
                                     175 New Philadelphia Rd
                                     Orwigsburg, PA 17961

04/12/2017               [1]         JOHN KUNIGONIS                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  65,198.27
                                     60 4TH AVE
                                     POTTSVILLE, PA 17901

04/12/2017               [1]         SHAWN LAZOVI                             ACCOUNTS RECEIVABLE                        1121-000                  38.48                                  65,236.75
                                     361 HILL ROAD
                                     HEGINS, PA 17938

                                                                                                                   Page Subtotals                 253.78                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/12/2017               [1]         MARY MARKBERGER                          ACCOUNTS RECEIVABLE                        1121-000                  24.38                                  65,261.13
                                     16 CHESTNUT STREET
                                     APT 4
                                     CRESSONA, PA 17929

04/13/2017               [1]         OPTUM BANK                               ACCOUNTS RECEIVABLE                        1121-000                    9.10                                 65,270.23
                                     FOR PAUL MCCABE
                                     P.O. BOX 271629
                                     SALT LAKE CITY, UT 84127

04/13/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE                        1121-000                    1.44                                 65,271.67
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

04/13/2017               [1]         UNITED WORLD LIFE INSURANCE CO           ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 65,273.36
                                     3316 FARNAM STREET
                                     OMAHA, NE 68175

04/13/2017               [1]         MUTUAL OF OMAHA INSURANCE CO             ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 65,275.05
                                     MUTUAL OF OMAHA PLAZA
                                     OMAHA, NE 68175

04/13/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  35.00                                  65,310.05
                                     NORTHEAST

04/13/2017               [1]         GATEWAY HEALTH PLAN, INC                 ACCOUNTS RECEIVABLE                        1121-000                  53.29                                  65,363.34
                                     444 LIBERTY AVE
                                     SUITE 2100
                                     PITTSBURGH, PA 15222

                                                                                                                   Page Subtotals                 126.59                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/13/2017               [1]         HEALTH NET FEDERAL SERVICES, LLC         ACCOUNTS RECEIVABLE                        1121-000                  84.15                                  65,447.49
                                     P.O. BOX 2890
                                     RANCHO CORDOVA, CA 95741

04/13/2017               [1]         KIM MURPHY                               ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  65,472.49
                                     133 S 25TH STREET
                                     POTTSVILLE, PA 17901

04/13/2017               [1]         PLUMBERS & PIPEFITTERS LOCAL 520         ACCOUNTS RECEIVABLE                        1121-000                    5.25                                 65,477.74
                                     P.O. BOX 6480
                                     HARRISBURG, PA 17112

04/13/2017               [1]         NATIONAL ASSOCIATION OF LETTERS          ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 65,479.43
                                     CARRIERS
                                     20547 Waverly Ct
                                     Ashburn, VA 20147

04/13/2017               [1]         LOIS HALL                                ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  65,509.43
                                     11 QUEEN STREET
                                     SCHUYLKILL HAVEN, PA 17972

04/13/2017               [1]         LOIS HALL                                ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  65,539.43
                                     11 QUEEN STREET
                                     SCHUYLKILL HAVEN, PA 17972

04/13/2017               [1]         EUGENIA PERZ                             ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  65,579.43
                                     117 WEST WASHINGTON STREET

                                                                                                                   Page Subtotals                 216.09                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/13/2017               [1]         STANLEY SHUMSKI                          ACCOUNTS RECEIVABLE                        1121-000                  53.30                                  65,632.73
                                     2227 HIGH ROAD
                                     MAHANOY PLANE, PA 17949

04/13/2017               [1]         GARY MILLER                              ACCOUNTS RECEIVABLE                        1121-000                  55.50                                  65,688.23
                                     1558 CENTER TURNPIKE
                                     PRWIGSBURG, PA 17961

04/13/2017               [1]         PAMELA DREHER                            ACCOUNTS RECEIVABLE                        1121-000                  35.00                                  65,723.23
                                     29 EAST UNION STREET
                                     SCHUYLKILL HAVEN, PA 17972

04/13/2017               [1]         NANCY FRANTZ                             ACCOUNTS RECEIVABLE                        1121-000                  12.16                                  65,735.39
                                     31 HILL ROAD
                                     POTTSVILLE, PA 17901

04/13/2017               [1]         FRANCES BLUM                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  65,745.39
                                     500 PARK MEADOW DRIVE
                                     POTTSVILLE, PA 17901

04/13/2017               [1]         CONSTANCE DANATZKO                       ACCOUNTS RECEIVABLE                        1121-000                 105.54                                  65,850.93
                                     255 PARKWAY
                                     APT 1109
                                     SCHULYKILL HAVEN, PA 17972

04/13/2017               [1]         CHARLES NEIDLINGER                       ACCOUNTS RECEIVABLE                        1121-000                 136.16                                  65,987.09
                                     214 NORTH STREET
                                     MINERSVILLE, PA 17954

                                                                                                                   Page Subtotals                 407.66                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/13/2017               [1]         JOHN MENNIG                              ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  66,007.09
                                     111 Paxson Ave
                                     Schuylkill Haven, PA 17972

04/13/2017               [1]         DEBORAH BROWN                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  66,017.09
                                     4 DEER PARK DRIVE
                                     POTTSVILLE, PA 17901

04/13/2017               [1]         ANTOINETTE BALULIS                       ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  66,122.43
                                     319 LYTLE STREET
                                     MINERSVILLE, PA 17954

04/13/2017               [1]         HELEN VISLUSKY                           ACCOUNTS RECEIVABLE                        1121-000                 141.43                                  66,263.86
                                     321 VIRGINIA AVE
                                     SHENANDOAH, PA 17976

04/13/2017               [1]         ROBERT MCGUIGAN                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  66,273.86
                                     952 Pottsville St
                                     Pottsville, PA 17901

04/13/2017               [1]         WILLIAM VERBOSH                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  66,293.86
                                     1353 BUNTING STREET
                                     POTTSVILLE, PA 17901

04/13/2017               [1]         STATE FARM MUTUAL AUTO INSURANCE         ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 66,295.55
                                     CO
                                     HEALTH OPERATIONS CENTER EAST
                                     NEWARK , OH 43058

                                                                                                                   Page Subtotals                 308.46                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/13/2017               [1]         DAWN ROMANCZUK                           ACCOUNTS RECEIVABLE                        1121-000                    6.94                                 66,302.49
                                     409 WEST OAK STREET
                                     SHENANDOAH, PA 17976

04/13/2017               [1]         ROBIN LYNCH                              ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  66,327.49
                                     208 DOCK STREET
                                     APT # 9
                                     SCHUYLKILL HAVEN, PA 17972

04/13/2017               [1]         ROBIN BARTON                             ACCOUNTS RECEIVABLE                        1121-000                 100.00                                  66,427.49
                                     1966 W Norwegian St
                                     Pottsville, PA 17901

04/13/2017               [1]         WILLIAM PECINA                           ACCOUNTS RECEIVABLE                        1121-000                  85.34                                  66,512.83
                                     246 NORTH STREET
                                     MINERSVILLE, PA 17954

04/13/2017               [1]         FRANCIS MEKAILEK                         ACCOUNTS RECEIVABLE                        1121-000                    5.07                                 66,517.90
                                     48 NORTH SPENCER STREET
                                     FRACKVILLE, PA 17931

04/13/2017               [1]         MARK PICCIONI                            ACCOUNTS RECEIVABLE                        1121-000                 105.99                                  66,623.89
                                     1127 MARKET STREET
                                     POTTSVILLE, PA 17901

04/13/2017               [1]         LISA REVENIS                             ACCOUNTS RECEIVABLE                        1121-000                 150.00                                  66,773.89
                                     311 DELAWARE AVE
                                     P.O. BOX 4149
                                     SELTZER, PA 17974

                                                                                                                   Page Subtotals                 478.34                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/13/2017               [1]         MARGARET CAMPBELL                        ACCOUNTS RECEIVABLE                        1121-000                 121.88                                  66,895.77
                                     501 WEST JOHN STREET
                                     FRACKVILLE, PA 17931

04/13/2017               [1]         KARLA VOSKUHL                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  66,915.77
                                     35 S Nicholas St
                                     Saint Clair, PA 17970

04/13/2017               [1]         EILEEN KOSTA                             ACCOUNTS RECEIVABLE                        1121-000                  19.55                                  66,935.32
                                     555 MAPLE STREET
                                     POTTSVILLE, PA 17901

04/13/2017               [1]         MARY GEIST                               ACCOUNTS RECEIVABLE                        1121-000                  19.55                                  66,954.87
                                     11 NORTH BRIDGE STREET
                                     SHENANDOAH, PA 17976

04/13/2017               [1]         CHRISTIE JO SALEM                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  66,979.87
                                     133 NORTH THIRD STREET
                                     SAINT CLAIR, PA 17970

04/13/2017               [1]         WILLIAM SIMONS                           ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  66,999.87
                                     161 Bensinger Rd
                                     Pitman, PA 17964

04/13/2017               [1]         LISA DERRICK                             ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  67,029.87
                                     305 FOX HOLLOW ROAD
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 255.98                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                     Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                          Bank Name: Texas Capital Bank
                                                                                                                                                Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                      Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                      Separate bond (if applicable): 0.00

    1                     2                                 3                                         4                                                   5                     6                   7
                                                                                                                                   Uniform
Transaction           Check or                                                                                                      Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                   Description of Transaction                 Code             Deposits($)        Disbursements($)         Balance($)
04/13/2017               [1]         BRIGID KOURY                              ACCOUNTS RECEIVABLE                                 1121-000                    50.00                                 67,079.87
                                     1124 WEST MARKET STREET
                                     POTTSVILLE, PA 17901

04/13/2017               [1]         JOAN KREISER                              ACCOUNTS RECEIVABLE                                 1121-000                   121.88                                 67,201.75
                                     575 Indian Dr
                                     Auburn, PA 17922

04/13/2017               [15]        SANDRA PETUSKY                            PHOTO COPY CHARGES                                  1229-000                     5.98                                 67,207.73
                                     237 WEST 6TH STREET
                                     BLOOMSBURG, PA 17815

*04/13/2017            51013         JOB CONNECTION SERVICES, INC.             PAYROLL SERVICES FOR W/E 4/8/17 (INVOICE NO.        2990-000                                      4,257.58            62,950.15
                                     PO BOX 98                                 G279; MCGINTY, HOMA, WILLIAMSON, DAHM & PA
                                     PALMERTON, PA 18071                       SALES TAX)


*04/13/2017                          RAYMOND WLLIAMS                           ADJUSTMENT TO DEPOSIT NO. 610                       1121-003                   (0.05)                                 62,950.10


*04/13/2017                          INTEGRATED MEDICAL SOLUTIONS              ADJUSTMENT TO DEPOSIT NO. 617                       1121-003                   (0.09)                                 62,950.01


*04/14/2017                          on-line debit memo from Texas Capital     On-line Debit Memo 4 12 DEP 105.39 S B 105.34       9999-003                                           0.05           62,949.96
                                     Bank

*04/17/2017                          RAYMOND WLLIAMS                           ADJUSTMENT TO DEPOSIT NO. 610                       1121-003                     0.05                                 62,950.01


*04/17/2017                          INTEGRATED MEDICAL SOLUTIONS              ADJUSTMENT TO DEPOSIT NO. 617                       1121-003                     0.09                                 62,950.10


                                                                                                                               Page Subtotals                 177.86             4,257.63




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                     Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                          Bank Name: Texas Capital Bank
                                                                                                                                                Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                      Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                      Separate bond (if applicable): 0.00

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                                                                                                                                   Uniform
Transaction           Check or                                                                                                      Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                   Description of Transaction                 Code             Deposits($)         Disbursements($)          Balance($)
*04/17/2017                          JOB CONNECTION SERVICES, INC.             PAYROLL SERVICES FOR W/E 4/8/17 (INVOICE NO.        2990-000                                     (4,257.58)             67,207.68
                                     PO BOX 98                                 G279; MCGINTY, HOMA, WILLIAMSON, DAHM & PA
                                     PALMERTON, PA 18071                       SALES TAX)


04/17/2017               [15]        THOMAS, THOMAS, & HAFER                   PHOTO COPY CHARGES FOR LISA GEIGER                  1229-000                    161.68                                  67,369.36
                                     305 NORTH FRONT STREET
                                     P.O. BOX 999
                                     HARRISBURG, PA 17108

04/17/2017               [1]         RAYMOND WLLIAMS                           ADJUSTMENT TO DEPOSIT NO. 610                       1121-000                      0.05                                  67,369.41


04/17/2017               [1]         INTEGRATED MEDICAL SOLUTIONS              ADJUSTMENT TO DEPOSIT NO. 617                       1121-000                      0.09                                  67,369.50


04/17/2017                           JOB CONNECTION SERVICES, INC.             ADJUSTMENT TO CHECK NO. 51013 (JOB                  2990-000                                      4,257.58              63,111.92
                                                                               CONNECTIONS PAYROLL SERVICES FOR W/E 4/8/17;
                                                                               INVOICE NO. G279) REVERSED IN ERROR.

*04/18/2017                          on-line debit memo from Texas Capital     On-line Debit Memo 4 12 DEP 105.39 S B 105.34       9999-003                                           (0.05)           63,111.97
                                     Bank

04/18/2017                           Texas Capital Bank                        Bank Service Fee                                    2600-000                                            5.00            63,106.97
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

04/18/2017               [1]         CHARGEBACK ITEM FROM BANK                 CHARGEBACK ITEM 255 FROM BANK                       1121-000                   (147.83)                                 62,959.14


                                                                                                                               Page Subtotals                   13.99                  4.95




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                 Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                      Bank Name: Texas Capital Bank
                                                                                                                                            Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                  Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                  Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                 5                     6                     7
                                                                                                                               Uniform
Transaction           Check or                                                                                                  Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction              Code             Deposits($)        Disbursements($)           Balance($)
04/19/2017             51014         CARD SERVICES                            MISC. FILING & SERVICING FEES                    2990-000                                           327.49           62,631.65
                                     PO BOX 13337
                                     PHILADELPHIA, PA 19101-3337

*04/20/2017                          JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 4/15/17         2990-003                                     (3,626.39)             66,258.04
                                                                              (INVOICE NO. G288; MCGINTY, HOMA, DAHM, PA
                                                                              SALES TAX)

*04/20/2017                          JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 4/15/17         2990-003                                      3,626.39              62,631.65
                                                                              (INVOICE NO. G288; MCGINTY, HOMA, DAHM, PA
                                                                              SALES TAX)

04/20/2017             51015         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 4/15/17         2990-000                                      3,626.39              59,005.26
                                     PO BOX 98                                (INVOICE NO. G288; MCGINTY, HOMA, DAHM, PA
                                     PALMERTON, PA 18071                      SALES TAX)


04/21/2017               [15]        SAGER & SAGER ASSOCIATES                 PHOTO COPY CHARGES-BRENDA NORRIS (VRABEL)        1229-000                    73.12                                   59,078.38
                                     43 HIGH STREET
                                     POTTSTOWN, PA 17901

04/21/2017               [15]        ERIE INSURANCE EXCHANGE                  PHOTO COPY CHARGES-LINDSI MILLER                 1229-000                   180.40                                   59,258.78
                                     100 Erie Insurance Pl
                                     Erie, PA 16530

04/24/2017               [1]         JOSEPH KAMAROUSKY                        ACCOUNTS RECEIVABLE                              1121-000                     5.00                                   59,263.78
                                     512 W Nicholas St
                                     Frackville, PA 17931

                                                                                                                           Page Subtotals                 258.52             3,953.88




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/24/2017               [1]         DANEEN SEIGER                            ACCOUNTS RECEIVABLE                        1121-000                 425.49                                  59,689.27
                                     604 RIDGE AVE
                                     POTTSVILLE, PA 17901

04/24/2017               [1]         ROBERT CUNNINGHAM                        ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  59,699.27
                                     106 ASPEN DRIVE
                                     AUBURN, PA 17922

04/24/2017               [1]         MARY LAUDEMAN                            ACCOUNTS RECEIVABLE                        1121-000                  94.77                                  59,794.04
                                     719 LYTLE STREET
                                     MINERSVILLE, PA 17954

04/24/2017               [1]         LINDA MERVINE                            ACCOUNTS RECEIVABLE                        1121-000                  20.89                                  59,814.93
                                     18 N Wylam St
                                     Frackville, PA 17931

04/24/2017               [1]         LAVERNA BEARD                            ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  59,886.43
                                     829 FAIRVIEW STREET
                                     POTTSVILLE, PA 17901

04/24/2017               [1]         VETA FRANK                               ACCOUNTS RECEIVABLE                        1121-000                  54.28                                  59,940.71
                                     2558 PANTHER VALLEY ROAD
                                     POTTSVILLE, PA 17901

04/24/2017               [1]         LEROY CAMPION                            ACCOUNTS RECEIVABLE                        1121-000                  73.00                                  60,013.71
                                     515 HOWARD AVE
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 749.93                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/24/2017               [1]         CHRISTINE LAWSON                         ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  60,023.71
                                     32 FRITZ AVE
                                     SCHUYLKILL HAVEN, PA 17972

04/24/2017               [1]         CAROL FETTEROLF                          ACCOUNTS RECEIVABLE                        1121-000                  58.63                                  60,082.34
                                     26 Rolling Meadows Rd
                                     Ashland, PA 17921

04/24/2017               [1]         AUTUMN SMITH                             ACCOUNTS RECEIVABLE                        1121-000                 124.99                                  60,207.33
                                     423 FRIEDEN MANOR
                                     SCHUYLKILL HAVEN, PA 17972

04/24/2017               [1]         CHARLES BARNES                           ACCOUNTS RECEIVABLE                        1121-000                  50.04                                  60,257.37
                                     136 CREST STREET
                                     BARNESVILLE, PA 18214

04/24/2017               [1]         JOSEPHINE LAYCHOCK                       ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  60,362.71
                                     300 LEWIS STREET
                                     APT 407
                                     MINERSVILLE, PA 17954

04/24/2017               [1]         KATHLEEN KAHL                            ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 60,367.71
                                     2485 Papoose Dr
                                     Auburn, PA 17922

04/24/2017               [1]         EDITH HOFFMAN                            ACCOUNTS RECEIVABLE                        1121-000                 114.58                                  60,482.29
                                     113 VALLEY STREET
                                     BROCKTON, PA 17925

                                                                                                                   Page Subtotals                 468.58                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/24/2017               [1]         CLEMENT THATCHER                         ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 60,487.29
                                     229 FRIEDEN MANOR
                                     SCHUYLKILL HAVEN, PA 17972

04/24/2017               [1]         ELAINE MOYER                             ACCOUNTS RECEIVABLE                        1121-000                 105.32                                  60,592.61
                                     772 MOUNTAIN ROAD
                                     PINE GROVE, PA 17963

04/24/2017               [1]         BARBARA MOYER                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  60,602.61
                                     608 CANAL DRIVE
                                     PINE GROVE, PA 17963

04/24/2017               [1]         GARY PARKHURST                           ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  60,632.61
                                     209 ARLENE STREET
                                     MINERSVILLE, PA 17954

04/24/2017               [1]         MARY ANN HAUSER                          ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 60,637.61
                                     140 SOUTH CENTER STREET
                                     FRACKVILLE, PA 17901

04/24/2017               [1]         ELEANOR GICKING                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  60,662.61
                                     216 W Independence St
                                     APT 108
                                     Orwigsburg, PA 17961

04/24/2017               [1]         BETH ANN JONES                           ACCOUNTS RECEIVABLE                        1121-000                  51.29                                  60,713.90
                                     3 COTTAGE HILL WEST
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 231.61                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/24/2017               [1]         JEAN ANN HEFFNER                         ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  60,819.24
                                     336 LAKEFRONT DRIVE
                                     ORWIGSBURG, PA 17961

04/24/2017               [1]         STEPHANIE CAULFIELD                      ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  60,829.24
                                     118 EAST CHESTNUT STREET
                                     FRACKVILLE, PA 17931

04/24/2017               [1]         GEORGINE QUIRK                           ACCOUNTS RECEIVABLE                        1121-000                  95.94                                  60,925.18
                                     504 EDWARDS AVE
                                     POTTSVILE, PA 17901

04/24/2017               [1]         E. SUSAN LASCALA                         ACCOUNTS RECEIVABLE                        1121-000                 179.08                                  61,104.26
                                     36 AVENUE E
                                     SCHUYLKILL HAVEN, PA 17972

04/24/2017               [1]         NANCY HEFFNER                            ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  61,175.76
                                     21 DEWEY STREET
                                     SCHUYLKILL HAVEN, PA 17972

04/24/2017               [1]         PAUL LENGEL                              ACCOUNTS RECEIVABLE                        1121-000                    9.39                                 61,185.15
                                     481 WEST COLUMBIA STREET
                                     SCHUYLKILL HAVEN , PA 17972

04/24/2017               [1]         ESTHER KLECKNER                          ACCOUNTS RECEIVABLE                        1121-000                 142.10                                  61,327.25
                                     126 W Savory St
                                     Pottsville, PA 17901

                                                                                                                   Page Subtotals                 613.35                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/24/2017               [1]         JOSEPH FERHAT                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  61,347.25
                                     101 NORTH 12TH STREET
                                     APT 505
                                     POTTSVILLE, PA 18235

04/24/2017               [1]         JACQUELINE LUPKIN                        ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  61,357.25
                                     P.O. BOX 1143
                                     POTTSVILLE, PA 17901

04/24/2017               [1]         KATHLEEN ADAMS                           ACCOUNTS RECEIVABLE                        1121-000                  58.63                                  61,415.88
                                     129 EAST COAL STREET
                                     SHENANDOAH, PA 17976

04/24/2017               [1]         KURT JEFFERSON                           ACCOUNTS RECEIVABLE                        1121-000                 121.15                                  61,537.03
                                     29 GARDENIA BLVD
                                     GREENWOOD, DE 19950

04/24/2017               [1]         KIMBERLY GREIS                           ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  61,557.03


04/24/2017               [1]         PAULINE SCHULLER                         ACCOUNTS RECEIVABLE                        1121-000                 400.00                                  61,957.03
                                     108 S Morris St
                                     ST. CLAIR, PA 17970

04/24/2017               [1]         ROBERT SOPHY                             ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  62,007.03
                                     1134 EAGLE ROAD
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 679.78                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                     Bank Name: Texas Capital Bank
                                                                                                                                           Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                 Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                 Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                5                     6                     7
                                                                                                                              Uniform
Transaction           Check or                                                                                                 Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction              Code             Deposits($)        Disbursements($)           Balance($)
04/24/2017               [1]         TERI JO MILLER                           ACCOUNTS RECEIVABLE                             1121-000                    70.00                                   62,077.03
                                     1077 Clamtown Rd
                                     Tamaqua, PA 18252

04/24/2017               [1]         JAMES CLARK                              ACCOUNTS RECEIVABLE                             1121-000                    12.30                                   62,089.33
                                     6 COTTAGE HL.W
                                     POTTSVILLE, PA 17901

04/24/2017               [1]         MICHAEL SNYDER                           ACCOUNTS RECEIVABLE                             1121-000                   230.77                                   62,320.10
                                     17 Helfenstein Rd
                                     Pitman, PA 17964

04/24/2017               [1]         ROBERT MCLAUGHLIN                        ACCOUNTS RECEIVABLE                             1121-000                    28.30                                   62,348.40
                                     301 CHESTNUT STREET
                                     P.O. BOX 255
                                     MAR LIN, PA 17951

04/24/2017               [1]         EDITH TANNER                             ACCOUNTS RECEIVABLE                             1121-000                    20.00                                   62,368.40
                                     1368 LONG RUN ROAD
                                     P.O. BOX 114
                                     FRIEDENSBURG, PA 17933

04/25/2017             51016         MS. MARY M. MARBERGER                    REVERSED DEPOSIT (RETURN FUNDS TO               1121-000                   (24.38)                                  62,344.02
                                     16 CHESTNUT ST.                          PATIENT)(STATEMENT ID 225602; ACCOUNT NO.
                                     APARTMENT 4                              106470; RECIPIENT ID 106470; STATEMENT
                                                                              3/23/17)
                                     CRESSONA, PA 17929-1350

04/25/2017             51017         COMACAST                                 COMCAST CURRENT CHARGES (INVOICE NO.            2990-000                                           584.98           61,759.04
                                     PO BOX 37601                             51906822; ACCOUNT NO. 903111610)
                                     PHILADELPHIA, PA 19101-0601

                                                                                                                          Page Subtotals                 336.99                  584.98



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                   Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                        Bank Name: Texas Capital Bank
                                                                                                                                              Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                    Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                    Separate bond (if applicable): 0.00

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                                                                                                                                 Uniform
Transaction           Check or                                                                                                    Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                Code             Deposits($)         Disbursements($)          Balance($)
04/25/2017             51018         PENN KASHAR                               NET 10 DAYS (INVOICE NO. 12428; ACCOUNT NO.       2990-000                                           774.86           60,984.18
                                     1349 WEST MARKET STREET                   7034)
                                     POTTSVILLE, PA 17901

04/25/2017             51019         COMCAST                                   COMCAST CURRENT CHARGES (ACCOUNT NO. 8993         2990-000                                           534.67           60,449.51
                                     PO BOX 3001                               11 252 0151882)
                                     SOUTHEASTERN, PA 19398-3001

04/25/2017             51020         BUSINESS CARD SERVICES                    UCC SEARCHES                                      2990-000                                             9.00           60,440.51
                                     PO BOX 84030
                                     COLUMBUS , GA 31908-4030

04/25/2017               [1]         PAUL LENGEL                               ADJUSTMENT TO DEPOSIT NO. 709 (ACCOUNT            1121-000                     (0.01)                                 60,440.50
                                                                               RECEIVABLE)

*04/25/2017                          on-line debit memo from Texas Capital     ON-LINE DEBIT MEMO EE 200.00SB 20.00 4/24/17      1121-003                   (180.00)                                 60,260.50
                                     Bank                                      (ADJUSTMENT TO DEPOSIT)

*04/26/2017                          on-line debit memo from Texas Capital     ON-LINE DEBIT MEMO EE 200.00SB 20.00 4/24/17      1121-003                    180.00                                  60,440.50
                                     Bank                                      (ADJUSTMENT TO DEPOSIT)

04/26/2017               [15]        PFEIFFER, BROWN, DINICOLA & FRANTZ        PHOTO COPY CHARGES FOR REBECCA CHAPMAN            1229-000                     27.48                                  60,467.98
                                     1800 WEST END AVE
                                     POTTSVILLE, PA 17901

04/26/2017               [1]         CAPITAL BLUE                              ACCOUNTS RECEIVABLE                               1121-000                     21.69                                  60,489.67


                                                                                                                             Page Subtotals                   49.16            1,318.53




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/26/2017               [1]         ALLEGIANCE                               ACCOUNTS RECEIVABLE                        1121-000                    8.44                                 60,498.11
                                     CLAIMS TRUST ACCOUNT
                                     P.O. BOX 3018
                                     MISSOULA, MT 59806

04/26/2017               [15]        REORDTRAK                                PHOTO COPY CHARGES FOR JAMES BRADY         1229-000                 110.20                                  60,608.31
                                     651 ALLENDALE ROAD
                                     P.O. BOX 61591
                                     KING OF PRUSSIA, PA 19406

04/26/2017               [1]         RITA REPPY                               ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  60,623.31
                                     115 Pottsville St
                                     Cressona, PA 17929

04/26/2017               [1]         HEIDI WHITE                              ACCOUNTS RECEIVABLE                        1121-000                    7.68                                 60,630.99
                                     77 CHERRY STREET
                                     CRESSONA, PA 17929

04/26/2017               [1]         CECELIA BELAS                            ACCOUNTS RECEIVABLE                        1121-000                  51.72                                  60,682.71
                                     943 SUNBURY ROAD
                                     POTTSVILLE, PA 17901

04/26/2017               [1]         CECELIA BELAS                            ACCOUNTS RECEIVABLE                        1121-000                  19.55                                  60,702.26
                                     943 SUNBURY ROAD
                                     POTTSVILLE, PA 17901

04/26/2017               [1]         MARY ANN SMITH                           ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  60,742.26
                                     412 POPLAR STREET
                                     SHENANDOAH, PA 17976

                                                                                                                   Page Subtotals                 252.59                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/26/2017               [1]         FRANK PATRICK                            ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 60,747.26
                                     247 NORTH LINE STREET
                                     FRACKVILLE, PA 17931

04/26/2017               [1]         PATRICIA BUBNIS                          ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  60,818.76
                                     212 EAST OAK STREET
                                     SHENANDOAH, PA 17976

04/26/2017               [1]         JESSICA LEONARD                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  60,828.76
                                     505 FOREST LANE
                                     POTTSVILLE, PA 17901

04/26/2017               [1]         ADRIANNE KURTAK                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  60,838.76
                                     1960 ELK AVE
                                     POTTSVILLE, PA 17901

04/26/2017               [1]         R.K. FOODS OF PA                         ACCOUNTS RECEIVABLE                        1121-000                 197.60                                  61,036.36
                                     242 DEERFIELD DRIVE
                                     POTTSVILLE, PA 17901

04/26/2017               [1]         BARBARA BRIGHT                           ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  61,061.36
                                     120 MAIN STREET
                                     GILBERTON, PA 17934

04/26/2017               [1]         DENNIS SCHWALM                           ACCOUNTS RECEIVABLE                        1121-000                  46.86                                  61,108.22
                                     437 GROVE AVE
                                     HEGINS, PA 17938

                                                                                                                   Page Subtotals                 365.96                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/26/2017               [1]         ELIZABETH BRUCE                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  61,128.22
                                     321 POTTSVILLE STRETE
                                     MINERSVILLE, PA 17954

04/26/2017               [1]         STEPHEN BLACKWELL                        ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  61,148.22
                                     113 Tielman Rd
                                     Ashland, PA 17921

04/26/2017               [1]         CONNIE DAVIS                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  61,173.22
                                     545 FURNACE STREET
                                     SHEANDOAH, PA 17976

04/26/2017               [1]         RUTH ANN SHOENER                         ACCOUNTS RECEIVABLE                        1121-000                  94.77                                  61,267.99
                                     4726 UPPER ROAD
                                     SHAMOKIN, PA 17872

04/26/2017               [1]         JOSEPH COLLINS                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  61,277.99
                                     2119 WEST MARKET STREET
                                     POTTSVILE, PA 17901

04/26/2017               [1]         TRACY ZELINSKY                           ACCOUNTS RECEIVABLE                        1121-000                  78.60                                  61,356.59
                                     220 OAK STREET
                                     POTTSVILLE, PA 17901

04/26/2017               [1]         L. HAHNER                                ACCOUNTS RECEIVABLE                        1121-000                  59.94                                  61,416.53
                                     122 ACNOT STREET
                                     ST. CLAIR, PA 17970

                                                                                                                   Page Subtotals                 308.31                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/26/2017               [1]         MARLENE BORZOK                           ACCOUNTS RECEIVABLE                        1121-000                  11.06                                  61,427.59
                                     449 HIGH STREET
                                     FRACKVILLE, PA 17931

04/26/2017               [1]         WILMA UHLER                              ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  61,457.59
                                     100 SOUTH SEVENTH STREET
                                     APT 213
                                     TOWER CITY, PA 17980

04/26/2017               [1]         MARY BALKIEWICZ                          ACCOUNTS RECEIVABLE                        1121-000                  51.50                                  61,509.09
                                     137 EAST MAIN STREET
                                     P.O. BOX 121
                                     RINGTOWN, PA 17967

04/26/2017               [1]         DEBORAH SKRIPKO                          ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  61,549.09
                                     1144 Running Deer Dr
                                     Auburn, PA 17922

04/26/2017               [1]         PAULINE DEVITO                           ACCOUNTS RECEIVABLE                        1121-000                  70.00                                  61,619.09
                                     320 LAUREL ROAD
                                     ORWIGSBURG, PA 17961

04/26/2017               [1]         FRANCES LORENZ                           ACCOUNTS RECEIVABLE                        1121-000                  46.67                                  61,665.76
                                     115 HICKORY DRIVE
                                     POTTSVILLE, PA 17901

04/26/2017               [1]         JACQUELINE DRUM                          ACCOUNTS RECEIVABLE                        1121-000                  53.60                                  61,719.36
                                     333 VALLEY STREET
                                     NEW PHILADELPHIA, PA 17959

                                                                                                                   Page Subtotals                 302.83                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/26/2017               [1]         TRICARE                                  ACCOUNTS RECEIVABLE                        1121-000                  10.14                                  61,729.50
                                     BOX 7889
                                     MADISON, WI 53707

04/26/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                    7.50                                 61,737.00
                                     NORTHEAST

04/26/2017               [1]         JUNE GOWDY                               ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  61,808.50
                                     44 STRAWBERRY LANE
                                     RINGTOWN, PA 17967

04/26/2017               [1]         TRAVELERS                                ACCOUNTS RECEIVABLE                        1121-000                  44.96                                  61,853.46
                                     P.O. BOX 13485
                                     READING, PA 19612

04/26/2017               [1]         GRETA DERBES                             ACCOUNTS RECEIVABLE                        1121-000                  39.10                                  61,892.56
                                     1516 HOWARD AVE
                                     APT A
                                     POTTSVILLE, PA 17901

04/26/2017               [1]         ROSEANN KENNEY                           ACCOUNTS RECEIVABLE                        1121-000                 100.00                                  61,992.56
                                     911 Sillyman St
                                     Pottsville, PA 17901

04/26/2017               [1]         FRED BREIDIGAN                           ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  62,064.06
                                     P.O. BOX 228
                                     FRIEDENSBURG, PA 17933

                                                                                                                   Page Subtotals                 344.70                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/26/2017               [1]         BARBARA HORNBERGER                       ACCOUNTS RECEIVABLE                        1121-000                 100.60                                  62,164.66
                                     45 Graeff St
                                     Cressona, PA 17929

04/26/2017               [1]         ROSEANN GIBSON                           ACCOUNTS RECEIVABLE                        1121-000                  10.15                                  62,174.81


04/26/2017               [1]         JOAN WEBER                               ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  62,246.31
                                     283 Moyers Station Rd
                                     Schuylkill Haven, PA 17972

04/26/2017               [1]         DARLENE REBLOCK                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  62,256.31
                                     60 MILL ROAD
                                     ASHLAND, PA 17921

04/26/2017               [1]         ROSEANNE MALINOSKI                       ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  62,266.31
                                     308 WEST CHERRY STREE
                                     SHENANDOAH, PA 17976

04/26/2017               [1]         STEVEN FIELD                             ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  62,296.31
                                     25 HICKORY COURT
                                     ORWIGSBURG, PA 17961

04/26/2017               [1]         GLADYS KLINGER                           ACCOUNTS RECEIVABLE                        1121-000                    8.42                                 62,304.73
                                     2693 WEST MAIN STREET
                                     SPRING GLEN, PA 17978

04/26/2017               [1]         MAUREEN ADAMS                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  62,314.73
                                     737 WALNUT STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 250.67                   0.00



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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/26/2017               [1]         JOSEPH NOLTER                            ACCOUNTS RECEIVABLE                        1121-000                  60.78                                  62,375.51
                                     1225 EAST MAHANOY AVE
                                     MAHANOY CITY, PA 17948

04/26/2017               [1]         JOHN THOMAS                              ACCOUNTS RECEIVABLE                        1121-000                 142.10                                  62,517.61
                                     717 Laurel Blvd
                                     Pottsville, PA 17901

04/26/2017               [1]         LISA GOLBA                               ACCOUNTS RECEIVABLE                        1121-000                  16.37                                  62,533.98
                                     410 WEST ATLANTIC STREET
                                     SHENANDOAH, PA 17976

04/26/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  62,639.32


04/26/2017               [1]         LEONARD MICKLO                           ACCOUNTS RECEIVABLE                        1121-000                  51.14                                  62,690.46
                                     217 EAST OAK STREET
                                     MINERSVILLE, PA 17954

04/26/2017               [1]         DAVID WILLIAMS                           ACCOUNTS RECEIVABLE                        1121-000                 103.92                                  62,794.38
                                     1036 PEACH MT. ROAD
                                     POTTSVILLE, PA 17901

04/26/2017               [1]         JAMES CALLAGHAN                          ACCOUNTS RECEIVABLE                        1121-000                  90.94                                  62,885.32
                                     566 VALLEY ROAD
                                     POTTSVILLE, PA 17901

04/26/2017               [1]         DEBORAH MELENDEZ                         ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  62,905.32
                                     34 Schuylkill Rd
                                     New Ringgold, PA 17960

                                                                                                                   Page Subtotals                 590.59                   0.00



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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/26/2017               [1]         ROSEANN O'CONNELL                        ACCOUNTS RECEIVABLE                        1121-000                  20.52                                  62,925.84
                                     1422 Centre St
                                     Ashland, PA 17921

04/26/2017               [1]         CYNTHIA SEWASTYNOWICZ                    ACCOUNTS RECEIVABLE                        1121-000                  31.73                                  62,957.57
                                     80 Trailer Rd
                                     Ringtown, PA 17967

04/26/2017               [1]         JOSEPH NEBISTINSKY                       ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  63,007.57
                                     221 EAST WILSON STREET
                                     SCHUYLKILL HAVEN, PA 17972

04/26/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  22.50                                  63,030.07
                                     NORTHEAST

04/26/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                    7.50                                 63,037.57
                                     NORTHEAST

04/26/2017               [1]         INTEGRATED MEDICAL SOLUTIONS, LLC        ACCOUNTS RECEIVABLE                        1121-000                  69.47                                  63,107.04
                                     1485 HERITAGE PARKWAY
                                     MANSFIELD, TX 76063

04/26/2017               [1]         PLUMBERS & PIPEFITTERS LOCAL 520         ACCOUNTS RECEIVABLE                        1121-000                  38.68                                  63,145.72
                                     P.O. BOX 6480
                                     HARRISBURG, PA 17112

04/26/2017               [1]         HEALTH NET FEDERAL SERVICES, LLC         ACCOUNTS RECEIVABLE                        1121-000                  84.15                                  63,229.87
                                     P.O. BOX 2890
                                     RANCHO CORDOVA, CA 95741

                                                                                                                   Page Subtotals                 324.55                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/26/2017               [1]         NATIONAL AUTOMATIC SPRINKLER             ACCOUNTS RECEIVABLE                        1121-000                    1.27                                 63,231.14
                                     INDUSTRY WELFARE FUND
                                     8000 CORPORATE
                                     LANDOVER, MD 20785

04/26/2017               [1]         HEALTH NET FEDERAL SERVICES, LLC         ACCOUNTS RECEIVABLE                        1121-000                  86.55                                  63,317.69
                                     P.O. BOX 2890
                                     RANCHO CORDOVA, CA 95741

04/27/2017               [1]         MARILYN VALOSIN                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  63,342.69
                                     505 NORTH WARREN STREET
                                     ORWIGSBURG, PA 17961

04/27/2017               [1]         CHARLES ROBERTS                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  63,352.69
                                     P.O. BOX 712
                                     MINERSVILLE, PA 17954

04/27/2017               [1]         JOHN CANTWELL                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  63,362.69
                                     ONE OAK TERRACE
                                     POTTSVILLE, PA 17901

04/27/2017               [1]         RANDY DUNCAN                             ACCOUNTS RECEIVABLE                        1121-000                  20.60                                  63,383.29
                                     220 MAIN STREET
                                     P.O. BOX 4173
                                     SELTZER, PA 17974

04/27/2017               [1]         ROBERT EDMONDSON                         ACCOUNTS RECEIVABLE                        1121-000                 825.00                                  64,208.29
                                     122 W Ogden St
                                     Girardville, PA 17935

                                                                                                                   Page Subtotals                 978.42                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/27/2017               [1]         BARBARA ANN FERNBACH                     ACCOUNTS RECEIVABLE                        1121-000                 142.10                                  64,350.39
                                     88 BACH STREET
                                     P.O. BOX 88
                                     MARY D, PA 17952

04/27/2017               [1]         MELANIE LAZOVI                           ACCOUNTS RECEIVABLE                        1121-000                  65.04                                  64,415.43
                                     361 HILL ROAD
                                     HEGINS, PA 17938

04/27/2017               [1]         MICHELLE KALYAN                          ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 64,420.43
                                     1760 RUNNING DEER ROAD
                                     AUBURN, PA 17922

04/27/2017               [1]         CAROLYN HEFFNER                          ACCOUNTS RECEIVABLE                        1121-000                  20.49                                  64,440.92
                                     301 NORTH 20TH STREET
                                     POTTSVILLE, PA 17901

04/27/2017               [1]         DIVYA VORA                               ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  64,455.92
                                     46 KELSEY DRIVE
                                     SCHUYLKILL HAVEN, PA 17972

04/27/2017               [1]         DIVYA VORA                               ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  64,470.92
                                     46 KELSEY DRIVE
                                     SCHUYLKILL HAVEN, PA 17972

04/27/2017               [1]         DOROTHEA KULL                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  64,490.92
                                     218 NORTH STREET
                                     MINERSVILLE, PA 17954

                                                                                                                   Page Subtotals                 282.63                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/27/2017               [1]         MARTHA GERA                              ACCOUNTS RECEIVABLE                        1121-000                  22.80                                  64,513.72
                                     135 MILLERS ROAD
                                     SCHUYLKILL HAVEN, PA 17972

04/27/2017               [1]         STACEY A. PAUTIENUS, ESQUIRE             ACCOUNTS RECEIVABLE                        1121-000                 104.38                                  64,618.10
                                     336 E Wiconisco Ave
                                     Tower City, PA 17980

04/27/2017               [1]         NANCY BAUMGARD                           ACCOUNTS RECEIVABLE                        1121-000                  55.33                                  64,673.43
                                     33 PINE CONE DRIVE
                                     PINE GROVE , PA 17963

04/27/2017               [1]         MARY BICKELMAN                           ACCOUNTS RECEIVABLE                        1121-000                  15.43                                  64,688.86
                                     35 LOW ROAD
                                     POTTSVILLE, PA 17901

04/27/2017               [1]         ANNE MARIE WALSH                         ACCOUNTS RECEIVABLE                        1121-000                  46.91                                  64,735.77
                                     236 E Savory St
                                     Pottsville, PA 17901

04/27/2017               [1]         KENNETH NAGLE                            ACCOUNTS RECEIVABLE                        1121-000                 121.88                                  64,857.65
                                     1389 Teepee Dr
                                     Auburn, PA 17922

04/27/2017               [1]         J. NATISHAK                              ACCOUNTS RECEIVABLE                        1121-000                  90.38                                  64,948.03


04/27/2017               [1]         CHRIS TRETTER                            ACCOUNTS RECEIVABLE                        1121-000                    5.10                                 64,953.13
                                     79 S Berne St
                                     Schuylkill Haven, PA 17972

                                                                                                                   Page Subtotals                 462.21                   0.00



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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/27/2017               [1]         GREGORY A. YUTKO                         ACCOUNTS RECEIVABLE                        1121-000                  21.09                                  64,974.22
                                     266 SUMMER VALLEY ROAD
                                     ORWIGSBURG, PA 17961

04/27/2017               [1]         DENNIS TROUP                             ACCOUNTS RECEIVABLE                        1121-000                 136.88                                  65,111.10
                                     31 PEACOCK STREET
                                     POTTSVILLE, PA 17901

04/27/2017               [1]         HELENE CALABRESE                         ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  65,161.10
                                     308 WOODLAND ROAD
                                     BROCKTON, PA 17925

04/27/2017               [1]         RENEE TRUSCOTT                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  65,171.10
                                     119 SOUTH JACKSON STREET
                                     POTTSVILLE, PA 17901

04/27/2017               [1]         JANIS HOCKER                             ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 65,176.10
                                     2 SOUTH SECOND STREET
                                     SAINT CLAIR, PA 17970

04/27/2017               [1]         CHESTER ARNOLD                           ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  65,191.10
                                     160 Red Horse Rd
                                     Pottsville, PA 17901

04/27/2017               [1]         PATRICIA MERTZ                           ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  65,211.10
                                     360 SOUTH FRONT STREET
                                     SCHUYLKILL HAVEN, PA 17972

                                                                                                                   Page Subtotals                 257.97                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/27/2017               [1]         JACKIE ROSE                              ACCOUNTS RECEIVABLE                        1121-000                  60.78                                  65,271.88
                                     510 PINE STREET
                                     POTTSVILLE, PA 17901

04/27/2017               [1]         CLARENCE WILSON                          ACCOUNTS RECEIVABLE                        1121-000                  37.50                                  65,309.38
                                     800-29 NORTH 2ND STREET
                                     POTTSVILLE, PA 17901

04/27/2017               [1]         JUDY SHEELER                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  65,319.38
                                     413 PINE CREEK
                                     BARNESVILLE, PA 18214

04/27/2017               [1]         JAMES BUCHKARIK                          ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  65,359.38
                                     BOX 264
                                     MINERSVILLE, PA 17954

04/27/2017               [1]         MARYANN WALSH                            ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  65,389.38
                                     285 ARIZONA AVE
                                     SHENANDOAH, PA 17976

04/27/2017               [1]         JEFFERY VOLUTZA                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  65,409.38
                                     25 N. NICHOLAS STREE
                                     APT 105
                                     SAINT CLAIR, PA 17970

04/27/2017               [1]         MARLENE RANDIG                           ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  65,424.38
                                     406 PITT STREET
                                     APT 119
                                     TAMAQUA, PA 18252

                                                                                                                   Page Subtotals                 213.28                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/27/2017               [1]         STEPHEN KARPA                            ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  65,439.38
                                     417 E Abbott St
                                     Lansford, PA 18232

04/27/2017               [1]         CIGNA HEALTH AND LIFE INSURANCE CO       ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 65,441.07
                                     P.O. BOX 30010
                                     AUSTIN, TX 78755

04/27/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  65,471.07
                                     NORTHEAST

04/27/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                    7.50                                 65,478.57
                                     NORTHEAST

04/27/2017               [1]         HENRY LESHER                             ACCOUNTS RECEIVABLE                        1121-000                  89.54                                  65,568.11
                                     1000 SENECA STREET
                                     POTTSVILLE, PA 17901

04/27/2017               [1]         ANDREA HAHNER                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  65,588.11
                                     223 MARKET SQUARE
                                     APT B 23
                                     POTTSVILLE, PA 17901

04/27/2017               [1]         STATE FARM MUTUAL AUTO INSURANCE         ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 65,589.80
                                     CO
                                     HEALTH OPERATIONS CENTER EAST
                                     NEWARK , OH 43058

04/27/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNT RECEIVABLES                        1121-000                  47.72                                  65,637.52


                                                                                                                   Page Subtotals                 213.14                   0.00



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                 Case No: 17-00641                                                                                                                      Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                           Bank Name: Texas Capital Bank
                                                                                                                                                 Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                        Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                        Separate bond (if applicable): 0.00

    1                     2                                 3                                            4                                                 5                      6                    7
                                                                                                                                      Uniform
Transaction           Check or                                                                                                         Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                       Description of Transaction                Code           Deposits($)         Disbursements($)          Balance($)
*04/28/2017              [1]         HIGH MARK BLUE SHIELD                         ACCOUNTS RECEIVABLE                                1121-003                  47.72                                   65,685.24


*04/28/2017              [1]         HIGH MARK BLUE SHIELD                         ACCOUNTS RECEIVABLE                                1121-003                 (47.72)                                  65,637.52


*04/28/2017              [1]         NANCY BAUMGARD                                ADJUSTMENT TO DEPOSIT NO. 800                      1121-003                  (2.00)                                  65,635.52


*04/28/2017              [1]         NANCY BAUMGARD                                ADJUSTMENT TO DEPOSIT NO. 800                      1121-003                    2.00                                  65,637.52


04/28/2017               [1]         NANCY BAUMGARD                                ADJUSTMENT TO DEPOSIT NO. 800                      1121-000                  (2.00)                                  65,635.52


05/01/2017             51021         JOB CONNECTION SERVICES, INC.                 PAYROLL SERVICES FOR WEEK ENDING 4/22/17           2990-000                                     2,444.98             63,190.54
                                     PO BOX 98                                     (INVOICE NO. G296; McGinty, Dahm, Williamson, PA
                                     PALMERTON, PA 18071                           Sales Tax)


05/01/2017             51022         DENA M. KISTLER, NOTARY                       NOTARIAL SERVICES (ASSIGNMENT OF TITLE OF          2990-000                                           5.00           63,185.54
                                                                                   2005 DODGE RAM TRUCK)

05/01/2017                           Pottsville Internists Associates, Inc.        From #####1797 To #####1813                        9999-000                                     5,637.87             57,547.67
                                                                                   TRANSFER OF FUNDS FROM GENERAL CHECKING
                                                                                   ACCT. TO 401(K) PLAN FUNDS ACCT. (ASSET NO. 14 -
                                                                                   WELLS FARGO BANK - PROFIT SHARING ACCT.)

05/03/2017                           Texas Capital Bank                            Bank Service Fee                                   2600-000                                          94.36           57,453.31
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

                                                                                                                                Page Subtotals                  (2.00)             8,182.21




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/04/2017               [1]         ROOFERS LOCAL 30                         ACCOUNTS RECEIVABLE                        1121-000                  14.30                                  57,467.61
                                     COMBINED HEALTH & WELFARE FUND

05/04/2017               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                        1121-000               5,622.76                                  63,090.37


05/04/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                 347.22                                  63,437.59


05/04/2017               [1]         KENDALL COOPER-KUNKEL                    ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  63,447.59
                                     226 ALDRICH STREET
                                     SCHUYLKILL HAVEN, PA 17972

05/04/2017               [1]         JOAN ANTONELLI                           ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  63,552.93
                                     24 DEER LANE
                                     POTTSVILLE, PA 17901

05/04/2017               [1]         BARBARA ZATKO                            ACCOUNTS RECEIVABLE                        1121-000                 100.00                                  63,652.93
                                     73 HILL TERRACE DRIVE
                                     POTTSVILLE, PA 17901

05/04/2017               [1]         CYNTHIA LUCKENBILLL                      ACCOUNTS RECEIVABLE                        1121-000                 107.00                                  63,759.93
                                     226 WEST RAILROAD STREET
                                     POTTSVILLE, PA 17901

05/04/2017               [1]         DANA MARIE JENKINS                       ACCOUNTS RECEIVABLE                        1121-000                 155.00                                  63,914.93
                                     151 MAHANTONGO STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals               6,461.62                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/04/2017               [1]         ASHLEY LEE BROWN                         ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  63,954.93
                                     53 Fort Lebanon Rd
                                     Auburn, PA 17922

05/04/2017               [1]         ELIZABETH WELIKONICH                     ACCOUNTS RECEIVABLE                        1121-000                  94.77                                  64,049.70
                                     436 WEST SPRING STREET
                                     FRACKVILLE, PA 17931

05/04/2017               [1]         STEPHEN KOVAL                            ACCOUNTS RECEIVABLE                        1121-000                  46.37                                  64,096.07
                                     938 EAST PINE STREET
                                     MAHANOY CITY, PA 17948

05/04/2017               [1]         CHRISTOPHER SPANGLER                     ACCOUNTS RECEIVABLE                        1121-000                  73.00                                  64,169.07
                                     202 CHESTNUT RIDGE DRIVE
                                     ORWIGSBURG, PA 17961

05/04/2017               [1]         JOHN LIPIEL                              ACCOUNTS RECEIVABLE                        1121-000                 275.00                                  64,444.07
                                     24 EAST PENN STREET
                                     SHENANDOAH, PA 17976

05/04/2017               [1]         MARY ALICE ROSS                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  64,454.07
                                     1640 LITTLE MOUNTAIN RD
                                     ORWIGSBURG, PA 17961

05/04/2017               [1]         DAVID FANNICK                            ACCOUNTS RECEIVABLE                        1121-000                 378.94                                  64,833.01
                                     612 W Arch St
                                     P.O. BOX 193
                                     Frackville, PA 17931

                                                                                                                   Page Subtotals                 918.08                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/04/2017               [1]         JODY BROSSMAN                            ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  64,848.01
                                     26 EAST WILLIAM STREET
                                     SCHUYLKILL HAVEN, PA 17972

05/04/2017               [1]         FRANCIS KUBICK                           ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  64,863.01
                                     402 SOUTH 2ND STREET
                                     SAINT CLAIR, PA 17970

05/04/2017               [1]         MARY ANN ANGELO                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  64,888.01
                                     136 BLACK DIAMOND ROAD
                                     POTTSVILLE, PA 17901

05/04/2017               [1]         RICHARD AMEDEN                           ACCOUNTS RECEIVABLE                        1121-000                  85.34                                  64,973.35
                                     25 CARBON STREET
                                     MINERSVILLE, PA 17954

05/04/2017               [1]         ANNABELLE MINNICH                        ACCOUNTS RECEIVABLE                        1121-000                 135.34                                  65,108.69
                                     3 FARM LANE
                                     HEGINS, PA 17938

05/04/2017               [1]         DIANE BOYER                              ACCOUNTS RECEIVABLE                        1121-000                 142.10                                  65,250.79
                                     22 HOPE AVENUE
                                     NEW RINGGOLD, PA 17960

05/04/2017               [1]         MARSHA BOHR                              ACCOUNTS RECEIVABLE                        1121-000                 100.08                                  65,350.87
                                     124 NORTH 18TH STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 517.86                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/04/2017               [1]         ROBERT DELPH                             ACCOUNTS RECEIVABLE                        1121-000                  27.37                                  65,378.24
                                     307 NORTH GEORGE STREET
                                     POTTSVILLE, PA 17901

05/04/2017               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                        1121-000                 235.85                                  65,614.09


05/04/2017               [1]         DANA NON UNION RETIREE VEBA TRUST        ACCOUNTS RECEIVABLE                        1121-000                  15.94                                  65,630.03
                                     1800 Walt Whitman Rd
                                     Melville, NY 11747

05/04/2017               [1]         COMMONWELATH OF PA                       ACCOUNTS RECEIVABLE                        1121-000                    5.13                                 65,635.16
                                     MEDICAL ASSISTANCE

05/04/2017               [1]         COMPASSUS                                ACCOUNTS RECEIVABLE                        1121-000               1,500.00                                  67,135.16
                                     CREEKSIDE CROSSING
                                     10 CADILLAC DR, STE 400
                                     BRENTWOOD, TN 37027

05/04/2017               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                        1121-000                 121.09                                  67,256.25


05/04/2017               [1]         ROOFERS LOCAL 30                         ACCOUNTS RECEIVABLE                        1121-000                  33.12                                  67,289.37
                                     COMBINED HEALTH & WELFARE FUND

05/04/2017               [1]         ROOFERS LOCAL 30                         ACCOUNTS RECEIVABLE                        1121-000                  12.66                                  67,302.03
                                     COMBINED HEALTH & WELFARE FUND

                                                                                                                   Page Subtotals               1,951.16                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/04/2017               [1]         AMERIGROUP REAL SOLUTIONS                ACCOUNTS RECEIVABLE                        1121-000                    0.04                                 67,302.07
                                     4425 Corporation Ln
                                     SUITE 100
                                     Virginia Beach, VA 23462

05/04/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                    2.48                                 67,304.55


05/04/2017               [1]         MARY JANE LINDENMUTH                     ACCOUNTS RECEIVABLE                        1121-000                    8.30                                 67,312.85
                                     583 AIRPORT ROAD
                                     ASHLAND, PA 17921

05/04/2017               [1]         BARBARA MATERN                           ACCOUNTS RECEIVABLE                        1121-000                  21.07                                  67,333.92
                                     101 EAST CHESTNUT STREET
                                     APT 108
                                     FRACKVILLE, PA 17931

05/04/2017               [1]         EDWARD STEPULITIS                        ACCOUNTS RECEIVABLE                        1121-000                    9.86                                 67,343.78
                                     315 McKnight St
                                     Ashland, PA 17921

05/04/2017               [1]         PHYLLIS MCHALE                           ACCOUNTS RECEIVABLE                        1121-000                  77.66                                  67,421.44
                                     314 COAL STREET
                                     PORT CARBON, PA 17965

05/04/2017               [1]         BARBARA MILLER                           ACCOUNTS RECEIVABLE                        1121-000                  33.30                                  67,454.74
                                     109 FRONT STREET
                                     CRESSONA, PA 17929

                                                                                                                   Page Subtotals                 152.71                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/04/2017               [1]         IDA BLANKENHORN                          ACCOUNTS RECEIVABLE                        1121-000                 121.88                                  67,576.62
                                     106 Schwartz Valley Rd
                                     Schuylkill Haven, PA 17972

05/04/2017               [1]         MICHAEL ARIETA                           ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  67,626.62
                                     39 WEST BERTSCH STREET
                                     LANSFORD, PA 18232

05/04/2017               [1]         BEVERLY STABINSKY                        ACCOUNTS RECEIVABLE                        1121-000                  73.27                                  67,699.89
                                     14 SUNSET STREET
                                     POTTSVILLE, PA 17901

05/05/2017               [1]         KIMBERLY KEGLOVITZ                       ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  67,729.89
                                     511 CARBON STREET
                                     POTTSVILLE, PA 17901

05/05/2017               [1]         ARLENE MILLER                            ACCOUNTS RECEIVABLE                        1121-000                 105.54                                  67,835.43
                                     101 S Main St
                                     MOUNT CARBON
                                     POTTSVILLE, PA 17901

05/05/2017               [1]         ERNEST WINK                              ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 67,840.43
                                     42 S Saint Peter St
                                     Schuylkill Haven, PA 17972

05/05/2017               [1]         DOLORES TACELOSKY                        ACCOUNTS RECEIVABLE                        1121-000                  52.75                                  67,893.18
                                     100 SOUTH MAIN STREET
                                     APT 405
                                     SHENANDOAH, PA 17976

                                                                                                                   Page Subtotals                 438.44                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/05/2017               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                        1121-000                  35.00                                  67,928.18
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

05/05/2017               [1]         CHARLENE FREEZE                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  67,953.18
                                     114 PIKE STREET
                                     PORT CARBON, PA 17965

05/05/2017               [1]         NATALIE GLUNZ                            ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 67,958.18
                                     1401 LONG RUN ROAD
                                     FRIEDENSBURG, PA 17933

05/05/2017               [1]         ELEANOR BERGAN                           ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  68,029.68
                                     245 BULLS HEAD ROAD
                                     POTTSVILLE, PA 17901

05/05/2017               [1]         COMMONWEALTH OF PA                       ACCOUNTS RECEIVABLE                        1121-000                  13.17                                  68,042.85
                                     MEDICAL ASSISTANCE

05/05/2017               [1]         JAMES WILLIAMS                           ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  68,082.85
                                     256 LOUISA AVE
                                     POTTSVILLE, PA 17901

05/05/2017               [1]         NICOLE GETZ                              ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  68,102.85
                                     261 CHESTNUT STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 209.67                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/05/2017               [1]         ELIZABETH LENOSKY                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  68,127.85
                                     135 MAIN STREET
                                     P.O. BOX 4084
                                     SELTZER, PA 17974

05/05/2017               [1]         MARYELLEN O'DONNELL                      ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  68,233.19
                                     2121 WOODGLEN ROAD
                                     POTTSVILLE, PA 17901

05/05/2017               [1]         PHYLLIS DORMER                           ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  68,248.19
                                     1236 HOWARD AVE
                                     POTTSVILLE, PA 17901

05/05/2017               [1]         DEBORAH GAUKER                           ACCOUNTS RECEIVABLE                        1121-000                  23.77                                  68,271.96
                                     209 MORININGSIDE DRIVE
                                     POTTSVILLE, PA 17901

05/05/2017               [1]         DON DUNN EMERICH                         ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  68,281.96
                                     1205 VALLEY ROAD
                                     TAMAQUA, PA 18252

05/05/2017               [1]         ANNIE MOYER                              ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  68,353.46
                                     P.O. BOX 82
                                     FRIEDENSBURG, PA 17933

05/05/2017               [1]         KELLY ECKERT                             ACCOUNTS RECEIVABLE                        1121-000                  44.06                                  68,397.52
                                     1823 ELK AVE
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 294.67                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/05/2017               [1]         DAVID MARTIN                             ACCOUNTS RECEIVABLE                        1121-000                  21.07                                  68,418.59
                                     205 RONALD AVE
                                     ORWIGSBURG, PA 17961

05/05/2017               [1]         ELSIE HELOSKIE                           ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  68,468.59
                                     25 CENTRE LANE
                                     ORWIGSBURG, PA 17961

05/05/2017               [1]         JOHN REDMAN                              ACCOUNTS RECEIVABLE                        1121-000                  65.00                                  68,533.59
                                     104 AVE B
                                     SCHUYLKILL HAVEN, PA 17972

05/05/2017               [1]         LOUISE MIROCKE                           ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  68,638.93
                                     100 SOUTH MAIN STREET
                                     APT 102
                                     SHENANDOAH, PA 17976

05/05/2017               [1]         GENE FEGLEY                              ACCOUNTS RECEIVABLE                        1121-000                  37.67                                  68,676.60
                                     1284 Sweet Arrow Lake Rd
                                     Pine Grove, PA 17963

05/05/2017               [1]         DEBRA ULICNY                             ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  68,716.60
                                     138 Swatara Rd
                                     Shenandoah, PA 17976

05/05/2017               [1]         ROBERT GEHRES                            ACCOUNTS RECEIVABLE                        1121-000                  28.60                                  68,745.20
                                     117 WEST RAILROAD STREET
                                     DONALDSON, PA 17981

                                                                                                                   Page Subtotals                 347.68                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/05/2017               [1]         CHRISTINE ELLEX                          ACCOUNTS RECEIVABLE                        1121-000                  19.41                                  68,764.61
                                     910 PARK AVE
                                     PORT CARBON, PA 17965

05/05/2017               [1]         CYNTHIA BROWER                           ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  68,804.61
                                     404 Moonhill Dr
                                     Schuylkill Haven, PA 17972

05/05/2017               [1]         SANDRA DAVIS                             ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  68,909.95
                                     810 E Norwegian St
                                     Pottsville, PA 17901

05/05/2017               [1]         LUCILLE MYRO                             ACCOUNTS RECEIVABLE                        1121-000                  17.01                                  68,926.96
                                     146 Arnot St
                                     Saint Clair, PA 17970

05/05/2017               [1]         LUCILLE MYRO                             ACCOUNTS RECEIVABLE                        1121-000                  17.01                                  68,943.97
                                     146 Arnot St
                                     Saint Clair, PA 17970

05/05/2017               [1]         MARY BETH HOUTZ                          ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  68,993.97
                                     726 DEIBERTS VALLEY ROAD
                                     SCHUYLKILL HAVEN, PA 17972

05/05/2017               [1]         DONALD RENTSCHLER                        ACCOUNTS RECEIVABLE                        1121-000                 110.94                                  69,104.91
                                     103 MAIN STREET
                                     RINGTOWN, PA 17967

                                                                                                                   Page Subtotals                 359.71                   0.00




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                                     Case 5:17-bk-00641-RNO                Doc 193 Filed 06/25/19 Entered 06/25/19 09:36:40                              Desc
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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/05/2017               [1]         COLLEEN FOWLER                           ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 69,109.91
                                     1310 CATAWISSA CREEK ROAD
                                     ZION GROVE, PA 17985

05/05/2017               [1]         KAREN CORRELL                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  69,134.91
                                     230 NEW PHILADELPHIA ROAD
                                     KASKA, PA 17959

05/05/2017               [1]         LORETTA DALLAZIA                         ACCOUNTS RECEIVABLE                        1121-000                  51.72                                  69,186.63
                                     128 NORTH WEST STREET
                                     SHENANDOAH, PA 17976

05/05/2017               [1]         CURTIS LINK                              ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  69,291.97
                                     204 Frisbee Rd
                                     Orwigsburg, PA 17961

05/05/2017               [1]         LOUISA MALEY                             ACCOUNTS RECEIVABLE                        1121-000                  62.14                                  69,354.11
                                     22 COAL STREET
                                     PORT CARBON, PA 17965

05/05/2017               [1]         ANN BRENTARI                             ACCOUNTS RECEIVABLE                        1121-000                    7.20                                 69,361.31
                                     842 SUNBURY ROAD
                                     POTTSVILLE, PA 17901

05/05/2017               [1]         DORIS ZVORSKY                            ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  69,411.31
                                     325 LAUREL ROAD
                                     ORWIGSBURG, PA 17961

                                                                                                                   Page Subtotals                 306.40                   0.00




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                 Case No: 17-00641                                                                                                                 Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                      Bank Name: Texas Capital Bank
                                                                                                                                            Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

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                                                                                                                                 Uniform
Transaction           Check or                                                                                                    Trans.                                                    Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                Code           Deposits($)         Disbursements($)        Balance($)
05/05/2017               [1]         JAMES THOMPSON                           ACCOUNTS RECEIVABLE                                1121-000                  50.00                                 69,461.31
                                     521 LAUREL TERRACE
                                     POTTSVILLE, PA 17901

05/10/2017             51023         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 5/1/17            2990-000                                     3,056.22           66,405.09
                                     PO BOX 98                                (INVOICE NO. G302; McGinty, Dahm, Williamson, PA
                                     PALMERTON, PA 18071                      Sales Tax)


05/12/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                                1121-000                 237.60                                 66,642.69


05/12/2017               [1]         GEORGINE PIZZICO                         ACCOUNTS RECEIVABLE                                1121-000                    8.44                                66,651.13
                                     85 SUNDAY DRIVE
                                     POTTSVILLE, PA 17901

05/12/2017               [1]         CENTRAL PENNSYLVANIA TEAMSTERS           ACCOUNTS RECEIVABLE                                1121-000                  19.96                                 66,671.09
                                     P.O. BOX 15224
                                     READING, PA 15224

05/12/2017               [1]         THERESA SIDELLA                          ACCOUNTS RECEIVABLE                                1121-000                  28.60                                 66,699.69
                                     134 Valley Furnace Ave
                                     Port Carbon, PA 17965

05/12/2017               [1]         JOSEPHINE GOBER                          ACCOUNTS RECEIVABLE                                1121-000                 100.00                                 66,799.69
                                     89 HILL ROAD
                                     POTTSVILLE, PA 17901

05/12/2017               [1]         STEWART STROBLE                          ACCOUNTS RECEIVABLE                                1121-000                  13.82                                 66,813.51
                                     31 SOUTH WHITE STREET
                                     SHENANDOAH, PA 17976

                                                                                                                           Page Subtotals                 458.42              3,056.22



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/12/2017               [1]         ELSIE HELOSKIE                           ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  66,853.51
                                     25 CENTRE LANE
                                     ORWIGSBURG, PA 17961

05/12/2017               [1]         NANCY LECHLEITNER                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  66,878.51
                                     320 Mauch Chunk St
                                     Pottsville, PA 17901

05/12/2017               [1]         BEVERLY KOSTISHAK                        ACCOUNTS RECEIVABLE                        1121-000                  92.84                                  66,971.35
                                     401 SOUTH SECOND STREET
                                     SAINT CLAIR, PA 17970

05/12/2017               [1]         SADIE WETZEL                             ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  66,991.35
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

05/12/2017               [1]         SHEILA CONVILLE                          ACCOUNTS RECEIVABLE                        1121-000                    7.99                                 66,999.34
                                     205 Nittany St
                                     Pottsville, PA 17901

05/12/2017               [1]         MARVIN MOYER                             ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  67,070.84
                                     305 Sculps Hill Rd
                                     Auburn, PA 17922

05/12/2017               [1]         LOIS HALL                                ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  67,100.84
                                     11 QUEEN STREET
                                     SCHUYLKILL HAVEN, PA 17972

                                                                                                                   Page Subtotals                 287.33                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/12/2017               [1]         ROSE SNOWELL                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  67,110.84
                                     207 NORTH GEORGE STREET
                                     POTTSVILLE, PA 17901

05/12/2017               [1]         CARMEN MURHON                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  67,130.84
                                     1516 NORTH NORWEGIAN STREET
                                     POTTSVILLE, PA 17902

05/12/2017               [1]         DENNIS SHADLE                            ACCOUNTS RECEIVABLE                        1121-000                  73.00                                  67,203.84
                                     211 FOUNTAIN ROAD
                                     HEGINS, PA 17938

05/12/2017               [1]         KARL KRAMER                              ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  67,243.84
                                     739 EAST MARKET STREET
                                     MAHANOY CITY, PA 17948

05/12/2017               [1]         MICHAEL SOROKACH                         ACCOUNTS RECEIVABLE                        1121-000                  14.96                                  67,258.80
                                     20 OWL ROAD
                                     POTTSVILLE, PA 17901

05/12/2017               [1]         WENDY JO CORRELL                         ACCOUNTS RECEIVABLE                        1121-000                  84.77                                  67,343.57
                                     331 SOUTH FRONT STREET
                                     SCHUYLKILL HAVEN, PA 17972

05/12/2017               [1]         JOSEPH FEENEY                            ACCOUNTS RECEIVABLE                        1121-000                  46.87                                  67,390.44
                                     417 S. MILL STREET
                                     SAINT CLAIR, PA 17970

                                                                                                                   Page Subtotals                 289.60                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/12/2017               [1]         CAROL M. NICHOLAS                        ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  67,410.44
                                     118 SOUTH FOURTH STREET
                                     FRACKVILLE, PA 17931

05/12/2017               [1]         REV. PAUL ROPITSKY                       ACCOUNTS RECEIVABLE                        1121-000                  92.02                                  67,502.46
                                     24 Lia Rd
                                     Frackville, PA 17931

05/12/2017               [1]         LOREN REICHERT                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  67,512.46
                                     51 NORTH 4TH STREET
                                     CRESSONA, PA 17929

05/12/2017               [16]        DONEGAL INSURANCE GROUP                  REFUND OF CANCELLATION OF PROPERTY         1249-000               3,854.00                                  71,366.46
                                                                              INSURANCE

05/12/2017               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                        1121-000                 170.19                                  71,536.65


05/12/2017               [1]         DAVID LIPKO                              ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  71,566.65
                                     416 STEPHEN ROAD
                                     ORWIGSBURG, PA 17961

05/12/2017               [1]         COMMONWEALTH OF PA                       ACCOUNTS RECEIVABLE                        1121-000                    0.72                                 71,567.37
                                     MEDICAL ASSISTANCE

05/12/2017               [1]         PMCS                                     ACCOUNTS RECEIVABLE                        1121-000                    1.75                                 71,569.12
                                     9060 E Via Linda Ste 250
                                     Scottsdale, AZ 85258

                                                                                                                   Page Subtotals               4,178.68                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/12/2017               [1]         JOAN ANTONIO                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  71,579.12
                                     101 Mahantongo St
                                     Pottsville, PA 17901

05/12/2017               [1]         ROSE MARIE TURNITZA                      ACCOUNTS RECEIVABLE                        1121-000                  60.00                                  71,639.12
                                     614 SCHUYLKILL AVE
                                     POTTSVILLE, PA 17901

05/12/2017               [1]         GERARD BEVAN                             ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  71,659.12
                                     152 Mill Creek Ave
                                     Pottsville, PA 17901

05/12/2017               [1]         MARGARET WEIDERHOLD                      ACCOUNTS RECEIVABLE                        1121-000                    9.00                                 71,668.12
                                     160 LLEWELLYN ROAD
                                     POTTSVILLE, PA 17901

05/12/2017               [1]         GLORIA GEORGE                            ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 71,673.12
                                     401 CHESTNUT STREET
                                     P.O. BOX 82
                                     MAR-LIN, PA 17951

05/12/2017               [1]         THOMAS HAUPTLY                           ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 71,678.12
                                     410 WASHINGTON STREET
                                     POTTSVILLE, PA 17901

05/12/2017               [1]         HELEN BOVA                               ACCOUNTS RECEIVABLE                        1121-000                  31.72                                  71,709.84
                                     370 ROOSEVELT DRIVE
                                     NEW BOSTON, PA 17948

                                                                                                                   Page Subtotals                 140.72                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/12/2017               [1]         JUSTINE MCCLURE                          ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  71,724.84
                                     22 MAIN STREET
                                     KASKA, PA 17959

05/12/2017               [1]         CHARLES DROSKINIS                        ACCOUNTS RECEIVABLE                        1121-000                  89.40                                  71,814.24
                                     409 LYTLE STREET
                                     MINERSVILLE, PA 17954

05/12/2017               [1]         CYNTHIA MILLER                           ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  71,834.24
                                     337 Pine Hill Rd
                                     Andreas, PA 18211

05/12/2017               [1]         CAROLANN KRAMMER                         ACCOUNTS RECEIVABLE                        1121-000                  12.62                                  71,846.86
                                     500 HONEYSUCKLE COURT
                                     PINE GROVE, PA 17963

05/12/2017               [1]         IRENE ZAHARICK                           ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 71,851.86
                                     20 Rapp Rd
                                     Girardville, PA 17935

05/12/2017               [1]         JACQUELINE ALOIS                         ACCOUNTS RECEIVABLE                        1121-000                    8.60                                 71,860.46
                                     36 PARK STREET
                                     SCHUYLKILL HAVEN, PA 17972

05/12/2017               [1]         ROSE NORDALL                             ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  71,890.46
                                     422 Birds Hill Rd
                                     Pine Grove, PA 17963

                                                                                                                   Page Subtotals                 180.62                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/12/2017               [1]         RUBY HARRIS                              ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 71,895.46
                                     60 NEW MINES
                                     P.O. BOX 128
                                     BRANCH DALE , PA 17923

05/12/2017               [1]         JOSEPH POST                              ACCOUNTS RECEIVABLE                        1121-000                 173.00                                  72,068.46
                                     443 NORTH STREET
                                     MINERSVILLE, PA 17954

05/12/2017               [1]         DONEGAL INSURANCE GROUP                  ACCOUNTS RECEIVABLE                        1121-000                  88.64                                  72,157.10


05/12/2017               [1]         JOSEPH KOHUTKA                           ACCOUNTS RECEIVABLE                        1121-000                  39.10                                  72,196.20
                                     435 SUNBURY STREET
                                     MINERSVILLE, PA 17954

05/12/2017               [1]         JOHN PURCELL                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  72,206.20
                                     25 N Nicholas St
                                     APT 305
                                     Saint Clair, PA 17970

05/12/2017               [1]         SCOTT KLINE                              ACCOUNTS RECEIVABLE                        1121-000                 151.74                                  72,357.94
                                     1719 WEST MARKET STREET
                                     POTTSVILLE, PA 17901

05/12/2017               [1]         JULIA BUCHINSKY                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  72,377.94
                                     202 FURNACE STRET
                                     SHENANDOAH, PA 17976

                                                                                                                   Page Subtotals                 487.48                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/12/2017               [1]         ANGEL SABOL                              ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  72,387.94
                                     752 FOREST LANE
                                     POTTSVILLE, PA 17901

05/12/2017               [1]         JOY PETRICH                              ACCOUNTS RECEIVABLE                        1121-000                  12.00                                  72,399.94
                                     310 PARKWAY
                                     SCHUYLKILL HAVEN, PA 17972

05/12/2017               [1]         JOHN LANG                                ACCOUNTS RECEIVABLE                        1121-000                 165.64                                  72,565.58
                                     44 STATION STREET
                                     SCHUYLKILL HAVEN, PA 17972

05/12/2017               [1]         INTERNATIONAL UNION OF OPERATING         ACCOUNTS RECEIVABLE                        1121-000                    8.07                                 72,573.65
                                     ENGINEERS WELFARE FUND

05/12/2017               [1]         MARY ANN SHAPPELL                        ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  72,593.65
                                     1098 MAPLE STREET
                                     POTTSVILLE, PA 17901

05/12/2017               [1]         MICHAEL STOPPI                           ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 72,598.65


05/12/2017               [1]         MARIE BEAUCHAMP                          ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  72,670.15
                                     855 ALBERT DRIVE
                                     ORWIGSBURG, PA 17951

05/12/2017               [1]         BARBARA SHAPPELL                         ACCOUNTS RECEIVABLE                        1121-000                 142.10                                  72,812.25
                                     217 HAVEN STREET
                                     SCHUYLKILL HAVEN, PA 17972

                                                                                                                   Page Subtotals                 434.31                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/12/2017               [1]         KELLI CHILDS                             ACCOUNTS RECEIVABLE                        1121-000                  82.83                                  72,895.08
                                     228 HAVEN STREET
                                     SCHUYLKILL HAVEN, PA 17972

05/12/2017               [1]         MICHELLE CORBY                           ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 72,900.08
                                     1707 WEST MARKET STREET
                                     POTTSVILLE, PA 17901

05/12/2017               [1]         CHARLENE MILLER                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  72,925.08
                                     23 HIDDEN ACRES DRIVE
                                     PINE GROVE, PA 17963

05/12/2017               [1]         JOAN WEBER                               ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  72,996.58
                                     283 Moyers Station Rd
                                     Schuylkill Haven, PA 17972

05/12/2017               [1]         J L EVANS                                ACCOUNTS RECEIVABLE                        1121-000                    8.47                                 73,005.05
                                     26 HICKORY COURT
                                     ORWIGSBURG, PA 17961

05/12/2017               [1]         TEOFIL POLITOWSKI                        ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 73,010.05
                                     116 EAST CHESTNUT STREET
                                     FRACKVILLE, PA 17931

05/12/2017               [1]         GERALDINE YODER                          ACCOUNTS RECEIVABLE                        1121-000                  59.68                                  73,069.73
                                     116 LEWIS STREET
                                     MINERSVILLE, PA 17954

                                                                                                                   Page Subtotals                 257.48                   0.00




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                                     Case 5:17-bk-00641-RNO                Doc 193 Filed 06/25/19 Entered 06/25/19 09:36:40                              Desc
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                 Case No: 17-00641                                                                                                                 Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                      Bank Name: Texas Capital Bank
                                                                                                                                            Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                    Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                Code           Deposits($)         Disbursements($)           Balance($)
05/12/2017               [1]         JACQUELINE LUPKIN                        ACCOUNTS RECEIVABLE                                1121-000                  19.00                                    73,088.73
                                     P.O. BOX 1143
                                     POTTSVILLE, PA 17901

05/12/2017               [1]         THOMAS M. JOULWAN                        ACCOUNTS RECEIVABLE                                1121-000                 223.07                                    73,311.80
                                     117 NORTH WARREN STREET
                                     ORWIGSBURG, PA 17961

05/12/2017               [1]         SHARON STEDNITZ                          ACCOUNTS RECEIVABLE                                1121-000                  15.00                                    73,326.80
                                     567 FERNWOOD AVE
                                     SAINT CLAIR, PA 17970

05/12/2017               [1]         RAY BOLICH                               ACCOUNTS RECEIVABLE                                1121-000                  29.05                                    73,355.85
                                     846 BUNTING STREET
                                     POTTSVILLE, PA 17901

05/16/2017             51024         CARD SERVICES                            FILING/SERVICE FEE (MOTION TO APPROVE              2990-000                                          211.90           73,143.95
                                     PO BOX 13337                             STIPULATED ORDER - BB&T BANK)
                                     PHILADELPHIA, PA 19101-3337

05/16/2017             51025         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 5/6/17            2990-000                                     4,336.71              68,807.24
                                     PO BOX 98                                (INVOICE NO. G309; McGinty, Dahm, Williamson, PA
                                     PALMERTON, PA 18071                      Sales Tax)


05/16/2017             51026         COMCAST                                  COMCAST CURRENT CHARGES (ACCOUNT NO. 8993          2990-000                                          145.75           68,661.49
                                     PO BOX 3001                              11 252 0172227)
                                     SOUTHEASTERN, PA 19398-3001

                                                                                                                           Page Subtotals                 286.12              4,694.36




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                 Case No: 17-00641                                                                                                                Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                     Bank Name: Texas Capital Bank
                                                                                                                                           Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                 Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                 Separate bond (if applicable): 0.00

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                                                                                                                               Uniform
Transaction           Check or                                                                                                  Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction               Code            Deposits($)        Disbursements($)            Balance($)
05/16/2017             51027         COMCAST                                  COMCAST CURRENT CHARGES (ACCOUNT NO. 8993        2990-000                                     1,614.62               67,046.87
                                     PO BOX 3001                              11 252 0151882)
                                     SOUTHEASTERN, PA 19398-3001

05/17/2017               [13]        HOUSER AUCTIONEERS                       SALE OF REAL PROPERTY PER COURT ORDER DATED      1129-000               8,000.00                                     75,046.87
                                     106 Ridge Cup Rd                         04-28-17
                                     New Ringgold, PA 17960

05/17/2017             51028         HOUSER AUCTIONEERS                       AUCTIONEER FEES FOR SALE OF 2005 DODGE RAM                                                    1,025.00               74,021.87
                                                                              TRUCK (PER COURT ORDER DATED 4/28/17)

                                                                                                                    (800.00)   3610-000

                                                                                                                    (225.00)   3620-000

*05/17/2017            51029         ADMINISTRATIVE                           UPS OVERNIGHT MAILING (INVOICE NO. FE5895197;    2990-003                                           35.91            73,985.96
                                                                              SHIPPER NO. FE5895; CONTROL ID 9T52)

*05/17/2017                          ADMINISTRATIVE                           UPS OVERNIGHT MAILING (INVOICE NO. FE5895197;    2990-003                                          (35.91)           74,021.87
                                                                              SHIPPER NO. FE5895; CONTROL ID 9T52)

05/17/2017             51030         UPS                                      UPS OVERNIGHT MAILING (INVOICE NO. FE5895197;    2990-000                                           35.91            73,985.96
                                     PO BOX 7247-0244                         SHIPPER NO. FE5895; CONTROL ID 9T52)
                                     PHILADELPHIA, PA 19170-0001

05/18/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                              1121-000                  29.38                                     74,015.34
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

                                                                                                                          Page Subtotals              8,029.38              2,675.53




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                                                                                               FORM 2                                                                                    Page 145
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/18/2017               [1]         NATIONAL AUTOMATIC SPRINKLER             ACCOUNTS RECEIVABLE                        1121-000                    0.48                                 74,015.82
                                     INDUSTRY WELFARE FUND
                                     8000 CORPORATE
                                     LANDOVER, MD 20785

05/18/2017               [1]         JUDY SHEELER                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  74,025.82
                                     413 PINE CREEK
                                     BARNESVILLE, PA 18214

05/18/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                  32.14                                  74,057.96
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

05/18/2017               [1]         COMPASSUS                                ACCOUNTS RECEIVABLE                        1121-000               1,635.00                                  75,692.96
                                     CREEKSIDE CROSSING
                                     10 CADILLAC DR, STE 400
                                     BRENTWOOD, TN 37027

05/18/2017               [1]         JANICE DELEON                            ACCOUNTS RECEIVABLE                        1121-000                  45.00                                  75,737.96
                                     930 ALBERT AVE
                                     ORWIGSBURG, PA 17961

05/18/2017               [1]         MAMIE RESNICK                            ACCOUNTS RECEIVABLE                        1121-000                  24.03                                  75,761.99
                                     365 FRONT STREET
                                     POTTSVILLE, PA 17901

05/18/2017               [1]         MARIE MORGAN                             ACCOUNTS RECEIVABLE                        1121-000                  54.43                                  75,816.42
                                     512 PEACOCK STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals               1,801.08                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/18/2017               [1]         BARBARA FOLWEILER                        ACCOUNTS RECEIVABLE                        1121-000                  17.76                                  75,834.18
                                     628 CLAIRMONT AVE
                                     SCHUYLKILL HAVEN, PA 17972

05/18/2017               [1]         CAROL MCSHAW                             ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 75,839.18
                                     164 STRAWBERRY LANE
                                     RINGTOWN, PA 17967

05/18/2017               [1]         NERETTA BROBST                           ACCOUNTS RECEIVABLE                        1121-000                  10.15                                  75,849.33
                                     160 Red Horse Rd
                                     Pottsville, PA 17901

05/18/2017               [1]         HELENE CALABRESE                         ACCOUNTS RECEIVABLE                        1121-000                  55.34                                  75,904.67
                                     308 WOODLAND ROAD
                                     BROCKTON, PA 17925

05/18/2017               [1]         WILLIAM LAUDEMAN                         ACCOUNTS RECEIVABLE                        1121-000                 121.88                                  76,026.55
                                     236 S Jardin St
                                     Shenandoah, PA 17976

05/18/2017               [1]         KRISTINE PAVALKO                         ACCOUNTS RECEIVABLE                        1121-000                  90.00                                  76,116.55
                                     224 Frisbee Rd
                                     Orwigsburg, PA 17961

05/18/2017               [1]         COMMONWEALTH OF PA                       ACCOUNTS RECEIVABLE                        1121-000                    3.37                                 76,119.92
                                     MEDICAL ASSISTANCE

05/18/2017               [1]         SUSAN RYON                               ACCOUNTS RECEIVABLE                        1121-000                 111.18                                  76,231.10
                                     510 RIDGE ROAD
                                     ORWIGSBURG, PA 17961

                                                                                                                   Page Subtotals                 414.68                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/18/2017               [1]         ELAINE SCHWENK                           ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  76,336.44
                                     547 WOODLANE DRIVE
                                     AUBURN, PA 17922

05/18/2017               [1]         DAVID BIGG                               ACCOUNTS RECEIVABLE                        1121-000                  55.00                                  76,391.44
                                     291 CHESTNUT DRIVE
                                     POTTSVILLE, PA 17901

05/18/2017               [1]         HELEN FISHER                             ACCOUNTS RECEIVABLE                        1121-000                  29.48                                  76,420.92
                                     11 WOOD LANE
                                     SCHUYLKILL HAVEN, PA 17972

05/18/2017               [1]         JERRY MOYER                              ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  76,526.26
                                     76 Schuylkill Mountain Rd
                                     Schuylkill Haven, PA 17972

05/18/2017               [1]         DANETTE GOSHERT                          ACCOUNTS RECEIVABLE                        1121-000                    7.71                                 76,533.97
                                     119 Schuylkill St
                                     Cressona, PA 17929

05/18/2017               [1]         JAMES BARRETT                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  76,558.97
                                     1417 MARKET STREET
                                     ASHLAND, PA 17921

05/18/2017               [1]         JEFFREY KRAMER                           ACCOUNTS RECEIVABLE                        1121-000                  15.17                                  76,574.14
                                     1466 Summer Hill Rd
                                     Auburn, PA 17922

                                                                                                                   Page Subtotals                 343.04                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                     Bank Name: Texas Capital Bank
                                                                                                                                           Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                 Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                 Separate bond (if applicable): 0.00

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                                                                                                                              Uniform
Transaction           Check or                                                                                                 Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction              Code             Deposits($)        Disbursements($)        Balance($)
05/18/2017               [1]         ANNETTE TINA NALE                        ACCOUNTS RECEIVABLE                             1121-000                    50.00                                76,624.14
                                     133 RESERVIOR ROAD
                                     RINGTOWN, PA 17967

05/18/2017               [1]         MARYBETH SALATA                          ACCOUNTS RECEIVABLE                             1121-000                    50.00                                76,674.14
                                     105 JEFFERSON STREET
                                     SCHULYKILL HAVEN, PA 17972

05/18/2017               [1]         CHRISTIE JO SALEM                        ACCOUNTS RECEIVABLE                             1121-000                    25.00                                76,699.14
                                     133 NORTH THIRD STREET
                                     SAINT CLAIR, PA 17970

05/18/2017               [1]         BERNARD KOVICH                           ACCOUNTS RECEIVABLE                             1121-000                    25.00                                76,724.14
                                     350 NEW CASTLE STREET
                                     MINERSVILLE, PA 17954

05/18/2017               [1]         MARTIN MALIS                             ACCOUNTS RECEIVABLE                             1121-000                    94.18                                76,818.32
                                     13 CHARLES STREET
                                     CRESSONA, PA 17929

05/18/2017               [17]        IANNELLA AND MUMMOLO                     MEDICAL RECORDS FOR GIONGE STANLEY              1290-000                    29.09                                76,847.41
                                     55 COURT STREET
                                     BOSTON, MA 02108

05/22/2017             51031         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 5/13/17        2990-000                                      4,336.71           72,510.70
                                     PO BOX 98                                (INVOICE NO. G317; McGinty, Homa, Dahm,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


05/22/2017             51032         DIRECT ENERGY BUSINESS                   ENERGY BILL - INVOICE NO. 170750030399241       2990-000                                      3,848.46           68,662.24
                                                                              (ACCT. NO. 1085131)


                                                                                                                          Page Subtotals                 273.27             8,185.17



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                            Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                 Bank Name: Texas Capital Bank
                                                                                                                                       Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                             Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                             Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                             Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction         Code             Deposits($)        Disbursements($)           Balance($)
05/22/2017             51033         PPL ELECTRIC UTILITIES                   ELECTRIC BILL (ACCT. NO. 17713-2007)        2990-000                                           257.91           68,404.33


05/22/2017             51034         PPL ELECTRIC UTILITIES                   ELECTRIC BILL (ACCT. NO. 21174-01002)       2990-000                                            14.33           68,390.00


05/23/2017               [1]         JOHN MCGOVERN                            ACCOUNTS RECEIVABLE                         1121-000                    28.00                                   68,418.00
                                     1350 WEST NORWEIGAN STREET
                                     POTTSVILLE, PA 17901

05/23/2017               [1]         ALBERTA PUKAVAGE                         ACCOUNTS RECEIVABLE                         1121-000                    25.00                                   68,443.00
                                     P.O. BOX 235
                                     RINGTOWN, PA 17967

05/23/2017               [1]         BARBARA LEBO                             ACCOUNTS RECEIVABLE                         1121-000                   154.29                                   68,597.29
                                     131 WEST MAIN STREET
                                     TREMONT, PA 17981

05/23/2017               [1]         ELLEN LEFFLER                            ACCOUNTS RECEIVABLE                         1121-000                    27.30                                   68,624.59
                                     126 Albert Blvd
                                     Pottsville, PA 17901

05/23/2017               [1]         LELAND LUNDERVOLD                        ACCOUNTS RECEIVABLE                         1121-000                    68.00                                   68,692.59
                                     105 ASPEN DRIVE
                                     AUBURN, PA 17922

05/23/2017               [1]         NANCY WEIGAND                            ACCOUNTS RECEIVABLE                         1121-000                   105.34                                   68,797.93
                                     324 NORTH 18TH STREET
                                     POTTSVILLE, PA 17901

                                                                                                                      Page Subtotals                 407.93                  272.24




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
05/23/2017               [1]         ROBIN LYNCH                              ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  68,822.93
                                     208 DOCK STREET
                                     APT # 9
                                     SCHUYLKILL HAVEN, PA 17972

05/23/2017               [1]         ROBERT RZEPPLINSKI                       ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  68,872.93
                                     80 WESTON PLACE
                                     SHENANDOAH, PA 17976

05/23/2017               [1]         DWAIN BARLOW                             ACCOUNTS RECEIVABLE                        1121-000                  27.30                                  68,900.23


05/23/2017               [1]         GEORGE TICE                              ACCOUNTS RECEIVABLE                        1121-000                  81.60                                  68,981.83
                                     680 Cressona Rd
                                     Pottsville, PA 17901

05/23/2017               [1]         HOLLY FRANTZ                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  68,991.83
                                     1105 WILLOW DRIVE
                                     ORWIGSBURG, PA 17961

05/23/2017               [1]         IRENE CONWAY                             ACCOUNTS RECEIVABLE                        1121-000                 105.54                                  69,097.37
                                     860 Cressona Rd
                                     Pottsville, PA 17901

05/23/2017               [1]         ARLEEN DISARRO                           ACCOUNTS RECEIVABLE                        1121-000                  24.61                                  69,121.98
                                     307 LYTLE STREET
                                     MINERSVILLE, PA 17954

                                                                                                                   Page Subtotals                 324.05                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                               Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                    Bank Name: Texas Capital Bank
                                                                                                                                          Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                Separate bond (if applicable): 0.00

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                                                                                                                              Uniform
Transaction           Check or                                                                                                 Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction              Code            Deposits($)        Disbursements($)          Balance($)
05/23/2017               [1]         KATHLEEN JUDD                            ACCOUNTS RECEIVABLE                             1121-000                   18.93                                  69,140.91
                                     149 S Nice St
                                     Frackville, PA 17931

05/23/2017               [1]         ROBERT SOPHY                             ACCOUNTS RECEIVABLE                             1121-000                   50.00                                  69,190.91
                                     1134 EAGLE ROAD
                                     POTTSVILLE, PA 17901

05/23/2017               [1]         ROBERT ALLISON                           ACCOUNTS RECEIVABLE                             1121-000                    9.30                                  69,200.21
                                     114 AVENUE C
                                     SCHUYLKILL HAVEN, PA 17972

05/23/2017               [1]         MARY LEIBENSPERGER                       ACCOUNTS RECEIVABLE                             1121-000                  113.02                                  69,313.23
                                     225 NORTH WAYNE STREET
                                     ORWIGSBURG, PA 17961

05/23/2017             51035         BUSINESS CARD SERVICES                   COURT CALL (ID NO. 8314731)                     2990-000                                          51.00           69,262.23


05/24/2017             51036         UPS                                      UPS OVERNIGHT MAILING (INVOICE NO. FE5895207;   2990-000                                          35.74           69,226.49
                                     PO BOX 7247-0244                         SHIPPER NO. FE5895; CONTROL ID 0K76)
                                     PHILADELPHIA, PA 19170-0001

05/25/2017             51037         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 5/20/17        2990-000                                     4,319.12             64,907.37
                                     PO BOX 98                                (INVOICE NO. G322; McGinty, Homa, Dahm,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


                                                                                                                         Page Subtotals                 191.25             4,405.86




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                            Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                 Bank Name: Texas Capital Bank
                                                                                                                                       Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                             Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                             Separate bond (if applicable): 0.00

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                                                                                                                          Uniform
Transaction           Check or                                                                                             Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction          Code             Deposits($)        Disbursements($)         Balance($)
05/30/2017               [17]        JAMES ELISON                             MEDICAL RECORDS FOR JAMES ELISON            1290-000                    15.00                                 64,922.37
                                     1475 EDGEWOOD DRIVE
                                     APT 1G
                                     LIMA, OH 45805

05/30/2017               [17]        METZGER WICKERSHAM                       MEDICAL RECORDS FOR TORRES NILSA            1290-000                    78.88                                 65,001.25
                                     P.O. BOX 69200
                                     HARRISBURG, PA 17106

05/30/2017               [17]        LEVENTHAL SUTTON & GORNSTEIN             MEDICAL RECORDS FOR PATRICIA GALLUCCI       1290-000                    28.67                                 65,029.92
                                     3800 Horizon Blvd
                                     SUITE 101
                                     Feasterville Trevose, PA 19053

06/01/2017               [1]         BANKERS LIFE AND CASUALTY CO             ACCOUNTS RECEIVABLE                         1121-000                     1.69                                 65,031.61
                                     11825 N Pennsylvania St
                                     Carmel, IN 46032

06/01/2017               [1]         LILLIAN DOUBLESTEIN                      ACCOUNTS RECEIVABLE                         1121-000                    87.57                                 65,119.18
                                     1726 WEST END AVE
                                     POTTSVILLE, PA 17901

06/01/2017               [1]         JEFFERY VOLUTZA                          ACCOUNTS RECEIVABLE                         1121-000                    20.00                                 65,139.18
                                     25 N. NICHOLAS STREE
                                     APT 105
                                     SAINT CLAIR, PA 17970

06/01/2017               [1]         SADIE WETZEL                             ACCOUNTS RECEIVABLE                         1121-000                    20.00                                 65,159.18
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

                                                                                                                      Page Subtotals                 251.81                  0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
06/01/2017               [1]         GARY PARKHURST                           ACCOUNTS RECEIVABLE                        1121-000                  35.00                                  65,194.18
                                     209 ARLENE STREET
                                     MINERSVILLE, PA 17954

06/01/2017               [1]         WILMA UHLER                              ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  65,224.18
                                     100 SOUTH SEVENTH STREET
                                     APT 213
                                     TOWER CITY, PA 17980

06/01/2017               [1]         MARY BICKELMAN                           ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  65,244.18
                                     35 LOW ROAD
                                     POTTSVILLE, PA 17901

06/01/2017               [1]         JOAN KLINE                               ACCOUNTS RECEIVABLE                        1121-000                  14.16                                  65,258.34
                                     614 WEST BACON STREET
                                     POTTSVILLE, PA 17901

06/01/2017               [1]         JOSEPH SOUCHAK                           ACCOUNTS RECEIVABLE                        1121-000                  75.00                                  65,333.34
                                     1 BULLOCK STREET
                                     MINERSVILLE, PA 17954

06/01/2017               [1]         SANDRA RENNINGER                         ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 65,338.34
                                     33 RIVER STREET
                                     CRESSONA, PA 17929

06/01/2017               [1]         AMY MILLER                               ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  65,358.34
                                     312 Sweet Arrow Lake Rd
                                     Pine Grove, PA 17963

                                                                                                                   Page Subtotals                 199.16                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
06/01/2017               [1]         ROBERT RYAN                              ACCOUNTS RECEIVABLE                        1121-000                  73.00                                  65,431.34
                                     203 SCHUYLKILL AVE
                                     SHENANDOAH, PA 17976

06/01/2017               [1]         MARY COLEMAN                             ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 65,436.34
                                     520 Morea Rd
                                     Mahanoy City, PA 17948

06/01/2017               [1]         ELIZABETH LENOSKY                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  65,461.34
                                     135 MAIN STREET
                                     P.O. BOX 4084
                                     SELTZER, PA 17974

06/01/2017               [1]         CAROL ANN FARABAUGH                      ACCOUNTS RECEIVABLE                        1121-000                  14.96                                  65,476.30
                                     327 PAWNEE DRIVE
                                     AUBURN, PA 17922

06/01/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                  53.00                                  65,529.30


06/01/2017               [1]         FRANK GOGNO                              ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  65,600.80


06/01/2017               [1]         GEORGENE STUDLACK                        ACCOUNTS RECEIVABLE                        1121-000                 105.34                                  65,706.14
                                     39 KING STREET
                                     POTTSVILLE, PA 17901

06/01/2017               [1]         GAIL CHAKLOS                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  65,731.14
                                     76 ROSE AVE
                                     PORT CARBON, PA 17965

                                                                                                                   Page Subtotals                 372.80                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
06/01/2017               [1]         KASS RUBRIGHT                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  65,751.14
                                     142 JAMES STREET
                                     KASKA, PA 17959

06/01/2017               [1]         LISA DRANGINIS                           ACCOUNTS RECEIVABLE                        1121-000                  53.16                                  65,804.30
                                     139 COAL STREET
                                     CUMBOLA, PA 17930

06/01/2017               [1]         JEANNE ANGELO                            ACCOUNTS RECEIVABLE                        1121-000                    8.49                                 65,812.79
                                     301 ARLENE STREET
                                     MINERSVILLE, PA 17954

06/01/2017               [1]         SHIRLEY DONTON                           ACCOUNTS RECEIVABLE                        1121-000                  39.03                                  65,851.82
                                     400 Laurel Blvd
                                     APT 902
                                     Pottsville, PA 17901

06/01/2017               [1]         DOLORES MORGAN                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  65,861.82
                                     400 ORCHARD AVE
                                     SCHULKILL HAVEN, PA 17972

06/01/2017               [1]         ROSEANNE MALINOSKI                       ACCOUNTS RECEIVABLE                        1121-000                  13.92                                  65,875.74
                                     308 WEST CHERRY STREE
                                     SHENANDOAH, PA 17976

06/01/2017               [1]         JOHN KEATING                             ACCOUNTS RECEIVABLE                        1121-000                    7.82                                 65,883.56
                                     1701 Mahantongo St
                                     Pottsville, PA 17901

                                                                                                                   Page Subtotals                 152.42                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
06/01/2017               [1]         GARY MILLER                              ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  65,933.56
                                     1558 CENTER TURNPIKE
                                     PRWIGSBURG, PA 17961

06/01/2017               [1]         SUSAN FISHER                             ACCOUNTS RECEIVABLE                        1121-000                  92.00                                  66,025.56
                                     14 VERNON AVE
                                     POTTSVILLE, PA 17901

06/01/2017               [1]         GEORGE WOLFF                             ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  66,065.56
                                     9 S FRONT STREET
                                     SAINT CLAIR, PA 17970

06/01/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                  59.25                                  66,124.81


06/01/2017               [1]         RIDGEVIEW OPERATIONS, LLC                ACCOUNTS RECEIVABLE                        1121-000                  85.80                                  66,210.61
                                     14 WALL STREET STE 5B
                                     NEW YORK, NY 10005

06/01/2017               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                        1121-000                  43.37                                  66,253.98


06/01/2017               [1]         THERESA NEBISTINSKY                      ACCOUNTS RECEIVABLE                        1121-000                 105.00                                  66,358.98
                                     703 WEST RACE STREET
                                     POTTSVILLE, PA 17901

06/01/2017               [1]         CATHERINE SNOPEK                         ACCOUNTS RECEIVABLE                        1121-000                  35.37                                  66,394.35
                                     101 NORTH 12TH STREET
                                     APT 509
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 510.79                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
06/01/2017               [1]         DORIS ZVORSKY                            ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  66,444.35
                                     325 LAUREL ROAD
                                     ORWIGSBURG, PA 17961

06/01/2017               [1]         NANCY KLICK                              ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 66,449.35
                                     1296 Doe Dr
                                     P.O. BOX 193
                                     SUMMIT STATION, PA 17979

06/01/2017               [1]         NATALIE GLUNZ                            ACCOUNTS RECEIVABLE                        1121-000                 120.19                                  66,569.54
                                     1401 LONG RUN ROAD
                                     FRIEDENSBURG, PA 17933

06/01/2017               [1]         BRIGID KOURY                             ACCOUNTS RECEIVABLE                        1121-000                  53.28                                  66,622.82
                                     1124 WEST MARKET STREET
                                     POTTSVILLE, PA 17901

06/01/2017               [1]         MILDRED KARMOSKY                         ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  66,642.82
                                     209 VALLEY STREET
                                     BROCKTON, PA 17925

06/01/2017               [1]         DANIEL RUSSELL                           ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 66,647.82
                                     6 MOONLIGHT DRIVE
                                     HAMBURG, PA 19526

06/01/2017               [1]         DONNA KALOVCAK                           ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  66,672.82
                                     63 SOUTH MAPLE AVE
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 278.47                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
06/01/2017               [1]         LOIS BECKER                              ACCOUNTS RECEIVABLE                        1121-000                  19.95                                  66,692.77
                                     418 EAST UNION STREET
                                     SCHULYKILL HAVEN, PA 17972

06/01/2017               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                        1121-000                  35.00                                  66,727.77
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

06/01/2017               [1]         STACEY MINNICH                           ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  66,777.77
                                     209 N Keystone St
                                     Muir, PA 17957

06/01/2017               [1]         MARY BETH HOUTZ                          ACCOUNTS RECEIVABLE                        1121-000                 100.00                                  66,877.77
                                     726 DEIBERTS VALLEY ROAD
                                     SCHUYLKILL HAVEN, PA 17972

06/01/2017               [1]         JEFFREY KOSTYAL                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  66,897.77
                                     160 BULLSHEAD ROAD
                                     POTTSVILLE, PA 17901

06/01/2017               [1]         MARILYN VALOSIN                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  66,922.77
                                     505 NORTH WARREN STREET
                                     ORWIGSBURG, PA 17961

06/01/2017               [1]         ESTATE OF JOSEPH J. MURPHY               ACCOUNTS RECEIVABLE                        1121-000                  40.07                                  66,962.84
                                     816 Centre St
                                     Ashland, PA 17921

                                                                                                                   Page Subtotals                 290.02                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                               Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                    Bank Name: Texas Capital Bank
                                                                                                                                          Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                 Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction              Code            Deposits($)        Disbursements($)          Balance($)
06/01/2017               [1]         UNITED CONCORDIA LIFE AND                REFUND-EMPLOYEE DENTAL INSURANCE                1121-000                   40.53                                  67,003.37
                                     HEALTH INSURANCE CO

06/01/2017               [17]        HANDLER HENNING & ROSENBERG,LLC          MEDICAL RECORDS FRO RICHARD OSTACHUK            1290-000                  126.04                                  67,129.41
                                     1300 Linglestown Rd
                                     SUITE 2
                                     Harrisburg, PA 17110

06/01/2017               [17]        LENAHAN & DEMPSEY                        MEDICAL RECORDS FOR JESSICA QUERCIA             1290-000                  360.76                                  67,490.17
                                     116 NORTH WASHINGTON AVE
                                     SCRANTON, PA 18501

06/01/2017               [18]        VALLEY KIDNEY SPECIALIST,P.C.            SALE OF PERSONAL PROPERTY- SOLD PRIOR OF        1229-000               1,152.00                                   68,642.17
                                     1230 SOUTH CEDAR CREST BLVD              BANKRUPTCY
                                     SUITE 301
                                     ALLENTOWN, PA 18103

06/01/2017                           RDC CUSTOMER DEPOSIT                     CHECK DEPOSITED INTO WRONG ACCOUNT              1229-000                  709.00                                  69,351.17
                                                                              (ADJUSTMENT CREDITED BY BANK - MISAPPLY
                                                                              ERROR 6/1/17)

06/02/2017             51038         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 5/20/17        2990-000                                     4,336.71             65,014.46
                                     PO BOX 98                                (INVOICE NO. G328; McGinty, Homa, Dahm,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


06/02/2017             51039         US POSTMASTER                            POSTAGE (MEDICAL RECORDS - PAPER FILE & CD TO   2990-000                                          10.55           65,003.91
                                     LEHIGHTON, PA 18235                      JAMES ELISON)


                                                                                                                         Page Subtotals              2,388.33              4,347.26




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                              Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                         Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                               Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                               Separate bond (if applicable): 0.00

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                                                                                                                            Uniform
Transaction           Check or                                                                                               Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction            Code             Deposits($)        Disbursements($)           Balance($)
06/02/2017             51040         COMCAST                                  COMCAST (ACCT. NO. 8993 11 252 0172227)       2990-000                                           301.00           64,702.91
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

06/05/2017               [1]         DOLORES HILLEGEER                        ACCOUNTS RECEIVABLE                           1121-000                    40.00                                   64,742.91
                                     1 GREENVIEW LANE
                                     WILLIAMSON, NY 14589

06/05/2017               [1]         RAYMOND SMITH                            ACCOUNTS RECEIVABLE                           1121-000                    15.00                                   64,757.91
                                     1328 W Montgomery St
                                     Coal Township, PA 17866

06/05/2017               [1]         P. K. SALES                              ACCOUNTS RECEIVABLE                           1121-000                    45.24                                   64,803.15
                                     101 Mahantongo St
                                     APT 609
                                     Pottsville, PA 17901

06/05/2017               [1]         LINDA MINNICH                            ACCOUNTS RECEIVABLE                           1121-000                   114.00                                   64,917.15
                                     111 S. WOLFE STREET
                                     POTTSVILLE, PA 17901

06/05/2017               [1]         JOHN CORBACIO                            ACCOUNTS RECEIVABLE                           1121-000                    34.96                                   64,952.11
                                     264 FOREST ROAD
                                     POTTSVILLE, PA 17901

06/05/2017               [1]         JOYCE HAFER                              ACCOUNTS RECEIVABLE                           1121-000                    40.35                                   64,992.46
                                     25 LOG LANE
                                     SCHUYLKILL HAVEN , PA 17972

                                                                                                                        Page Subtotals                 289.55                  301.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                          Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                               Bank Name: Texas Capital Bank
                                                                                                                                     Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code            Deposits($)        Disbursements($)         Balance($)
06/05/2017               [1]         KATHERINE MACNUTT                        ACCOUNTS RECEIVABLE                        1121-000                   10.24                                 65,002.70
                                     209 S Tulpehocken St
                                     SUITE 3
                                     Pine Grove, PA 17963

06/05/2017               [1]         JASON CONWAY                             ACCOUNTS RECEIVABLE                        1121-000                   47.02                                 65,049.72
                                     202 NORTH CENTRE STREET
                                     APT 4
                                     POTTSVILLE, PA 17901

06/05/2017               [1]         SANDRA BERGER                            ACCOUNTS RECEIVABLE                        1121-000                  133.11                                 65,182.83
                                     207 AVENUE A
                                     SCHUYLKILL HAVEN, PA 17972

06/05/2017               [1]         AMERICAN FIDELITY HSA                    ACCOUNTS RECEIVABLE-RENEE DE ANGELO        1121-000                   15.00                                 65,197.83
                                     P.O. BOX 258886
                                     OKLAHOMA CITY, OK 73125

06/05/2017               [1]         DANA NON UNION RETIREE VEBA TRUST        ACCOUNTS RECEIVABLE                        1121-000                   26.79                                 65,224.62
                                     1800 Walt Whitman Rd
                                     Melville, NY 11747

06/05/2017               [1]         THOMAS SHAPPELL                          ACCOUNTS RECEIVABLE                        1121-000                   79.01                                 65,303.63
                                     305 Spruce St
                                     P.O. BOX 247
                                     MAR LIN, PA 17951

06/05/2017               [1]         JOYCE BURKE                              ACCOUNTS RECEIVABLE                        1121-000                   40.00                                 65,343.63
                                     525 W Mount Vernon St
                                     Shenandoah, PA 17976

                                                                                                                    Page Subtotals                 351.17                  0.00



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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
06/05/2017               [1]         RANDALL W. DAVEY                         ACCOUNTS RECEIVABLE                        1121-000                  55.00                                  65,398.63
                                     P.O. BOX 304
                                     SCHUYLKILL HAVEN, PA 17972

06/05/2017               [1]         MARY ANN ANGELO                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  65,423.63
                                     301 SUNBURY STRET
                                     APT 2-A
                                     MINERSVILLE, PA 17954

06/05/2017               [1]         HEALTH NET FEDERAL SERVICES, LLC         ACCOUNTS RECEIVABLE                        1121-000                 113.68                                  65,537.31
                                     P.O. BOX 2890
                                     RANCHO CORDOVA, CA 95741

06/05/2017               [1]         T. MARY RINALDO                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  65,547.31
                                     115 SOUTH 21ST STREET
                                     POTTSVILLE, PA 17901

06/05/2017               [17]        KRASNO, KRASNO & ONWUDINJO               MEDICAL RECORDS FOR JAMES JOYCE            1290-000                  51.57                                  65,598.88
                                     400 N. SECOND STREET
                                     POTTSVILLE, PA 17901

06/05/2017               [1]         ROSE NORDALL                             ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  65,628.88
                                     422 Birds Hill Rd
                                     Pine Grove, PA 17963

06/05/2017               [1]         HAROLD KNOLL                             ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  65,643.88
                                     2200 FIRST AVE
                                     ROOM 248
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 300.25                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                     Bank Name: Texas Capital Bank
                                                                                                                                           Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                 Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                 Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                5                     6                     7
                                                                                                                               Uniform
Transaction           Check or                                                                                                  Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction              Code            Deposits($)         Disbursements($)          Balance($)
06/05/2017                           Texas Capital Bank                       Bank Service Fee                                 2600-000                                          103.83           65,540.05
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

06/05/2017                           ONLINE DEBIT MEMO                        ADJUSTMENT TO FUNDS DEPOSITED INTO WRONG         1229-000                  (709.00)                                 64,831.05
                                                                              ACCOUNT ON 6/1/17 (MISAPPLY ERROR)

06/06/2017             51041         REPUBLICAN HERALD                        ADVERTISING FEE (INVOICE NO. 571354; ACCT. NO.   2990-000                                     1,245.00              63,586.05
                                                                              571354)

06/07/2017             51042         STAPLES                                  SUPPLIES (MEDICAL RECORDS)(ACCT. NO. 6035 5178   2990-000                                          673.26           62,912.79
                                                                              5003 9719)

06/07/2017             51043         US POSTMASTER                            POSTAGE (MEDICAL RECORDS REQUESTS W              2990-000                                            1.38           62,911.41
                                     LEHIGHTON, PA 18235                      INVOICES)(3x @ .46)

06/08/2017             51044         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 6/3/17          2990-000                                     4,336.71              58,574.70
                                     PO BOX 98                                (INVOICE NO. G335; McGinty, Homa, Dahm,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


06/09/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                              1121-000                    45.24                                  58,619.94


06/09/2017               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                              1121-000               5,196.42                                    63,816.36


06/09/2017               [1]         BENEFITWALLET                            ACCOUNTS RECEIVABLE                              1121-000                   138.40                                  63,954.76
                                     307 International Cir
                                     SUITE 200
                                     HUNT VALLEY, MD 21030

                                                                                                                          Page Subtotals              4,671.06              6,360.18



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
06/09/2017               [1]         INTEGRATED MEDICAL SOLUTIONS, LLC        ACCOUNTS RECEIVABLE                        1121-000                  48.15                                  64,002.91
                                     1485 HERITAGE PARKWAY
                                     MANSFIELD, TX 76063

06/09/2017               [1]         CHRISTINE LAWSON                         ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  64,012.91
                                     32 FRITZ AVE
                                     SCHUYLKILL HAVEN, PA 17972

06/09/2017               [1]         INTERNATIONAL UNION OF OPERATING         ACCOUNTS RECEIVABLE                        1121-000                  17.93                                  64,030.84
                                     ENGINEERS WELFARE FUND

06/09/2017               [1]         JEAN KORN                                ACCOUNTS RECEIVABLE                        1121-000                  41.37                                  64,072.21
                                     1195 Wynonah Dr
                                     Auburn, PA 17922

06/09/2017               [1]         BARBARA ZATKO                            ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  64,112.21
                                     73 HILL TERRACE DRIVE
                                     POTTSVILLE, PA 17901

06/09/2017               [1]         STEPHANIE CAULFIELD                      ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  64,122.21
                                     118 EAST CHESTNUT STREET
                                     FRACKVILLE, PA 17931

06/09/2017               [1]         LORRAINE FARRELL                         ACCOUNTS RECEIVABLE                        1121-000                 142.10                                  64,264.31
                                     363 VALLEY STREET
                                     NEW PHILADELPHIA, PA 17959

06/09/2017               [1]         WILLIAM POWANDA                          ACCOUNTS RECEIVABLE                        1121-000                 204.56                                  64,468.87
                                     418 Pottsville St
                                     Minersville, PA 17954

                                                                                                                   Page Subtotals                 514.11                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
06/09/2017               [1]         JAMES MCLAUGHLIN                         ACCOUNTS RECEIVABLE                        1121-000                  71.50                                  64,540.37
                                     124 EAST UNION STREET
                                     SCHUYLKILL HAVEN, PA 17972

06/09/2017               [1]         DAWN JEFFERSON                           ACCOUNTS RECEIVABLE                        1121-000                    5.08                                 64,545.45
                                     6201 NORTH 10TH STREET
                                     APT 428
                                     PHILADELPHIA, PA 19141

06/09/2017               [1]         SADIE WETZEL                             ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  64,565.45
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

06/09/2017               [1]         JAMES MARSHALL                           ACCOUNTS RECEIVABLE                        1121-000                  19.55                                  64,585.00
                                     233 GROVE STREET
                                     ORWIGSBURG, PA 17961

06/09/2017               [1]         MARY BURNS                               ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  64,605.00
                                     518 WEST RACE STREET
                                     POTTSVILLE, PA 17901

06/09/2017               [1]         ELIZABETH BRUCE                          ACCOUNTS RECEIVABLE                        1121-000                  19.10                                  64,624.10
                                     321 POTTSVILLE STRETE
                                     MINERSVILLE, PA 17954

06/09/2017               [17]        TERRI BLUM                               MEDICAL RECORDS- FOR TERRY BLUM            1290-000                    5.00                                 64,629.10
                                     101 Pottsville St
                                     Cressona, PA 17929

                                                                                                                   Page Subtotals                 160.23                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

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                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)         Balance($)
06/09/2017               [17]        MICHELE BENINCASA-SILBER                 MEDICAL RECORDS FOR MICHELE                         1290-000                   12.20                                  64,641.30
                                     34 W Peace Valley Rd
                                     Chalfont, PA 18914

06/12/2017               [17]        LEVENTHAL SUTTON & GORNSTEIN             MEDICAL RECORDS FOR ROBERT KLIPOLA                  1290-000                   30.81                                  64,672.11
                                     3800 Horizon Blvd
                                     SUITE 101
                                     Feasterville Trevose, PA 19053

06/13/2017             51045         US POSTMASTER                            POSTAGE (MEDICAL RECORDS - MICHELE M.               2990-000                                           7.20           64,664.91
                                     LEHIGHTON, PA 18235                      BENINCASA-SIBER)

06/13/2017             51046         COMCAST                                  COMCAST (ACCT. 8993 11 252 0151882)                 2990-000                                           0.91           64,664.00
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

06/13/2017             51047         COMCAST-ADM                              COMCAST INVOICE NO. 53669879 (ACCT. NO.             2990-000                                      1,774.53            62,889.47
                                                                              903111610)

06/13/2017                           BB&T ACCT REC BANK ACCT                  Collected Account Receiveable Applied by BB&T                                                                         62,889.47
                                                                              against security interest

                         [1]                                                  ACH Accts Rec - BB&T                  59,582.80     1121-000

                         [5]                                                  Bank Acct-Fully Secured               37,083.07     1149-000

                                                                              Sec Loan Distrbitution              (96,665.87)     4210-000


                                                                                                                              Page Subtotals                 43.01              1,782.64




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                               Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                    Bank Name: Texas Capital Bank
                                                                                                                                          Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction             Code             Deposits($)        Disbursements($)        Balance($)
06/15/2017             51048         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 6/10/17       2990-000                                      4,125.70           58,763.77
                                     PO BOX 98                                (INVOICE NO. G342; McGinty, Homa, Dahm,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


06/19/2017               [1]         GERALDINE YODER                          ACCOUNTS RECEIVABLE                            1121-000                    17.91                                58,781.68
                                     116 LEWIS STREET
                                     MINERSVILLE, PA 17954

06/19/2017               [1]         MARY POTHERING                           ACCOUNTS RECEIVABLE                            1121-000                   121.28                                58,902.96


06/19/2017               [1]         GLORIA KROBERT                           ACCOUNTS RECEIVABLE                            1121-000                    15.00                                58,917.96
                                     PO Box 34
                                     TOWER CITY, PA 17980

06/19/2017               [1]         KAREN CORRELL                            ACCOUNTS RECEIVABLE                            1121-000                    25.00                                58,942.96
                                     230 NEW PHILADELPHIA ROAD
                                     KASKA, PA 17959

06/19/2017               [1]         KELLY ANN MORAN                          ACCOUNTS RECEIVABLE                            1121-000                    31.56                                58,974.52
                                     550 FOREST LANE
                                     POTTSVILLE, PA 17901

06/19/2017               [1]         ROBERT DELPH                             ACCOUNTS RECEIVABLE                            1121-000                    15.00                                58,989.52
                                     307 NORTH GEORGE STREET
                                     POTTSVILLE, PA 17901

06/19/2017               [1]         DEBORAH MELENDEZ                         ACCOUNTS RECEIVABLE                            1121-000                    20.00                                59,009.52
                                     34 Schuylkill Rd
                                     New Ringgold, PA 17960

                                                                                                                         Page Subtotals                 245.75             4,125.70



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
06/19/2017               [1]         DANIELLE ERNST                           ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  59,049.52
                                     129 NORTH MAIN STREET
                                     APT 5
                                     SHENANDOAH, PA 17976

06/19/2017               [1]         RONALD BOYER                             ACCOUNTS RECEIVABLE                        1121-000                  64.16                                  59,113.68
                                     255 PARKWAY
                                     APT 201
                                     SHUYLKILL HAVEN, PA 17972

06/19/2017               [1]         MARK JAMES GAUNTLETT                     ACCOUNTS RECEIVABLE                        1121-000                  18.95                                  59,132.63
                                     367 FRONT STREET
                                     POTTSVILLE, PA 17901

06/19/2017               [1]         CHARLES EVANS                            ACCOUNTS RECEIVABLE                        1121-000                 142.50                                  59,275.13
                                     1138 SENECA STREET
                                     POTTSVILLE, PA 17901

06/19/2017               [1]         CAROLYN KOBACK                           ACCOUNTS RECEIVABLE                        1121-000                  56.59                                  59,331.72
                                     30 Codorus Rd
                                     Barnesville, PA 18214

06/19/2017               [1]         JOSEPHINE O'BRIEN                        ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  59,361.72
                                     304 SOUTH FIFTH STREET
                                     MINERSVILLE, PA 17954

06/19/2017               [1]         VERNON MILLER                            ACCOUNTS RECEIVABLE                        1121-000                  32.55                                  59,394.27
                                     P.O. BOX 206
                                     TAMAQUA, PA 18252

                                                                                                                   Page Subtotals                 384.75                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                               Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                    Bank Name: Texas Capital Bank
                                                                                                                                          Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                Separate bond (if applicable): 0.00

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                                                                                                                             Uniform
Transaction           Check or                                                                                                Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction              Code             Deposits($)        Disbursements($)        Balance($)
06/19/2017               [1]         KRISTIN PFLUGER                          ACCOUNTS RECEIVABLE                            1121-000                    25.00                                59,419.27
                                     44 GARVEY DRIVE
                                     PINE GROVE, PA 17963

06/19/2017               [1]         JESSICA BOYER                            ACCOUNTS RECEIVABLE                            1121-000                    23.31                                59,442.58
                                     22 2ND AVE
                                     POTTSVILLE, PA 17901

06/19/2017               [1]         CAROL REINEKE                            ACCOUNTS RECEIVABLE                            1121-000                    29.21                                59,471.79
                                     211 SOUTH FRONT STREET
                                     SCHUYLKILL HAVEN , PA 17972

06/19/2017               [1]         K.KOCHE                                  ACCOUNTS RECEIVABLE                            1121-000                     5.00                                59,476.79
                                     126 Mount Olive Blvd
                                     Shenandoah, PA 17976

06/19/2017               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                            1121-000                   110.53                                59,587.32


06/19/2017               [1]         COMMONWELATH OF PA                       ACCOUNTS RECEIVABLE                            1121-000                1,248.59                                 60,835.91
                                     MEDICAL ASSISTANCE

06/19/2017               [1]         MAC RISK MANAGEMENT                      ACCOUNTS RECEIVABLE                            1121-000                     7.53                                60,843.44
                                     P.O. BOX 200001
                                     WOODSTOCK, GA 30159

06/20/2017             51049         ATTN: LEKESHA JOHNSON, BUSINESS          REMAINDER OF ACCOUNT RECEIVABLES TO-DATE       4210-000                                      5,741.70           55,101.74
                                     SERVICE ASSISTANT                        (PER COURT ORDER DATED 6/14/17)
                                     BB&T ASSET RESOLUTION GROUP

                                                                                                                         Page Subtotals              1,449.17              5,741.70




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                  5                     6                     7
                                                                                                                                Uniform
Transaction           Check or                                                                                                   Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction                Code             Deposits($)        Disbursements($)           Balance($)
06/21/2017             51050         TRUSTEE INSURANCE AGENCY                 INSURANCE PREMIUM (INVOICE NO. 1545; 106 S.       2990-000                                           507.50           54,594.24
                                     2813 WEST MAIN                           CLAUDE A. BLVD., POTTSVILLE)
                                     KALAMAZOO, MI 49006

06/22/2017               [19]        GIVEN IMAGING, INC.                      REFUND- IMAGING                                   1121-000                5,000.00                                    59,594.24
                                     3555 Koger Blvd
                                     STE 200
                                     Duluth, GA 30096

06/22/2017             51051         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 6/10/17          2990-000                                      4,143.28              55,450.96
                                     PO BOX 98                                (INVOICE NO. G348; McGinty, Homa, Dahm,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


06/26/2017               [1]         JASMINE MILSTEAD                         ACCOUNTS RECEIVABLE                               1121-000                   45.50                                    55,496.46
                                     436 NORTH LOCUST STREET
                                     MOUNT CARMEL, PA 17851

06/26/2017               [1]         JEFFERY VOLUTZA                          ACCOUNTS RECEIVABLE                               1121-000                   20.00                                    55,516.46
                                     25 N. NICHOLAS STREE
                                     APT 105
                                     SAINT CLAIR, PA 17970

06/26/2017               [1]         GERALDINE HOMA                           ACCOUNTS RECEIVABLE                               1121-000                   10.00                                    55,526.46
                                     1034 ELM STREET
                                     POTTSVILLE, PA 17901

06/26/2017               [1]         JUDY SHEELER                             ACCOUNTS RECEIVABLE                               1121-000                   10.00                                    55,536.46
                                     413 PINE CREEK
                                     BARNESVILLE, PA 18214

                                                                                                                            Page Subtotals              5,085.50              4,650.78




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
06/26/2017               [1]         BENEFITWALLET                            ACCOUNTS RECEIVABLE                        1121-000                  94.77                                  55,631.23
                                     307 International Cir
                                     SUITE 200
                                     HUNT VALLEY, MD 21030

06/26/2017               [1]         BENEFITWALLET                            ACCOUNTS RECEIVABLE                        1121-000                  94.77                                  55,726.00
                                     307 International Cir
                                     SUITE 200
                                     HUNT VALLEY, MD 21030

06/26/2017               [1]         MAC RISK MANAGEMENT                      ACCOUNTS RECEIVABLE                        1121-000                  81.85                                  55,807.85
                                     P.O. BOX 200001
                                     WOODSTOCK, GA 30159

06/26/2017               [1]         COMMONWEALTH OF PA                       ACCOUNTS RECEIVABLE                        1121-000               1,271.55                                  57,079.40
                                     MEDICAL ASSISTANCE

06/26/2017               [1]         RODNEY MILLER                            ACCOUNTS RECEIVABLE                        1121-000                  41.50                                  57,120.90
                                     2532 PARK CIRCLE
                                     SLATINGTON, PA 18080

06/26/2017               [1]         ARTHUR HECKMAN                           ACCOUNTS RECEIVABLE                        1121-000                 160.00                                  57,280.90
                                     66 BACK ROAD
                                     BARNESVILLE, PA 18214

06/26/2017               [1]         CHARLENE FREEZE                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  57,305.90
                                     114 PIKE STREET
                                     PORT CARBON, PA 17965

                                                                                                                   Page Subtotals               1,769.44                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
06/26/2017               [1]         BARBARA LUKACH                           ACCOUNTS RECEIVABLE                        1121-000                  22.58                                  57,328.48
                                     32 Clay STREET
                                     NEW PHILADELPHIA, PA 17959

06/26/2017               [1]         JOHN INGALZO                             ACCOUNTS RECEIVABLE                        1121-000                  20.89                                  57,349.37
                                     19 W Pine Meadow Dr
                                     Pine Grove, PA 17963

06/26/2017               [1]         CAROL ROMANELLI                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  57,359.37
                                     P.O. BOX 424
                                     FRACKVILLE, PA 17931

06/26/2017               [1]         MARY ANN ANGELO                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  57,384.37
                                     301 SUNBURY STRET
                                     APT 2-A
                                     MINERSVILLE, PA 17954

06/26/2017               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  57,409.37
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

06/26/2017               [1]         CARMEN MURHON                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  57,429.37
                                     1516 NORTH NORWEGIAN STREET
                                     POTTSVILLE, PA 17902

06/26/2017               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  57,454.37
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 148.47                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
06/26/2017               [1]         MARGARET SITES                           ACCOUNTS RECEIVABLE                        1121-000                 200.00                                  57,654.37
                                     208 ROLLING VIEW DRIVE
                                     SCHUYLKILL HAVEN, PA 17972

06/26/2017               [1]         BRUCE LONG                               ACCOUNTS RECEIVABLE                        1121-000                  12.77                                  57,667.14
                                     255 PARKWAY
                                     APT 509
                                     SCHUYLKILL HAVEN, PA 17972

06/26/2017               [1]         JOHN PURCELL                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  57,677.14
                                     25 N Nicholas St
                                     APT 305
                                     Saint Clair, PA 17970

06/26/2017               [1]         RUTH KOCH                                ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  57,687.14
                                     895 Pole Rd
                                     Ringtown, PA 17967

06/26/2017               [1]         GARY MILLER                              ACCOUNTS RECEIVABLE                        1121-000                 100.00                                  57,787.14
                                     1558 CENTER TURNPIKE
                                     PRWIGSBURG, PA 17961

06/26/2017               [1]         INTEGRATED MEDICAL SOLUTIONS, LLC        ACCOUNTS RECEIVABLE                        1121-000                 102.79                                  57,889.93
                                     1485 HERITAGE PARKWAY
                                     MANSFIELD, TX 76063

06/26/2017               [1]         MCNRC, LP                                ACCOUNTS RECEIVABLE                        1121-000                 198.46                                  58,088.39
                                     1388 STATE ROUTE 487
                                     BLOOMSBURG, PA 17815

                                                                                                                   Page Subtotals                 634.02                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
06/26/2017               [1]         JAMES BARRETT                            ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  58,118.39
                                     1417 MARKET STREET
                                     ASHLAND, PA 17921

06/26/2017               [1]         SADIE WETZEL                             ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  58,138.39
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

06/26/2017               [1]         NANCY LECHLEITNER                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  58,163.39
                                     320 Mauch Chunk St
                                     Pottsville, PA 17901

06/26/2017               [1]         ISABEL STONE                             ACCOUNTS RECEIVABLE                        1121-000                 107.00                                  58,270.39
                                     508 Moyers Station Rd
                                     Schuylkill Haven, PA 17972

06/26/2017               [1]         SUSAN SCHRODING                          ACCOUNTS RECEIVABLE                        1121-000                  28.60                                  58,298.99
                                     219 VALLEY STREET
                                     NEW PHILADELPHIA, PA 17959

06/26/2017               [1]         CHRISTIE JO SALEM                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  58,323.99
                                     133 NORTH THIRD STREET
                                     SAINT CLAIR, PA 17970

06/26/2017               [1]         JESSICA LEONARD                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  58,333.99
                                     505 FOREST LANE
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 245.60                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                   Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                        Bank Name: Texas Capital Bank
                                                                                                                                              Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                    Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                    Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                    Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                Code             Deposits($)        Disbursements($)          Balance($)
06/26/2017               [1]         DEBORAH TYSON                            ACCOUNTS RECEIVABLE                                1121-000                    50.00                                  58,383.99
                                     813 GRANT STREET
                                     POTTSVILLE, PA 17901

06/26/2017               [17]        JULIA WEIGAND                            MEDICAL RECORDS                                    1290-000                     5.00                                  58,388.99
                                     21 MAPLE AVE
                                     BARNESVILLE, PA 18214

06/27/2017             51052         US POSTMASTER                            POSTAGE (MEDICAL RECORDS - Julia Weigand, Nilsa    2990-000                                            4.97           58,384.02
                                     LEHIGHTON, PA 18235                      Torres, Patricia Gallucci Bradford, Terri Blum)

06/28/2017             51053         COMPASSUS                                RETURN OF FUNDS RECEIVED IN ERROR (DEPOSIT         1121-000               (4,635.00)                                  53,749.02
                                                                              NOS. 981, 854 & 346)

06/29/2017             51054         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 6/24/17           2990-000                                      3,879.52             49,869.50
                                     PO BOX 98                                (INVOICE NO. G353; McGinty, Homa, Dahm,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


07/03/2017                           Texas Capital Bank                       Bank Service Fee                                   2600-000                                           93.19           49,776.31
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

07/05/2017                           Texas Capital Bank                       Bank Service Fee                                   2600-000                                            5.00           49,771.31
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

07/05/2017               [1]         CHARGEBACK ITEM FROM BANK                CHARGEBACK ITEM (Deposit No. 1148 - 6/26/17)       1121-000                   (41.50)                                 49,729.81


                                                                                                                             Page Subtotals             (4,621.50)             3,982.68



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
07/06/2017               [16]        TRAVELERS PROPERTY CASUALTY              REFUND- PROPERTY INSURANCE                 1249-000               2,507.00                                  52,236.81
                                     PA

07/06/2017               [1]         COMPASSUS                                ACCOUNTS RECEIVABLE                        1121-000               1,365.00                                  53,601.81
                                     CREEKSIDE CROSSING
                                     10 CADILLAC DR, STE 400
                                     BRENTWOOD, TN 37027

07/06/2017               [1]         CONNECT YOUR CARE, LLC                   ACCOUNTS RECEIVABLE                        1121-000                 247.17                                  53,848.98
                                     307 International Cir
                                     SUITE 200
                                     HUNT VALLEY, MD 21030

07/06/2017               [1]         THE ADVOCACY ALLIANCE                    ACCOUNTS RECEIVABLE                        1121-000                    5.03                                 53,854.01
                                     PO Box 1368
                                     SCRANTON, PA 18501

07/06/2017               [1]         BROOKE KALBACH                           ACCOUNTS RECEIVABLE                        1121-000                  97.00                                  53,951.01
                                     12 EAST WILLIAMS STREET
                                     SCHUYLKILL HAVEN, PA 17972

07/06/2017               [1]         FRANK ROMANELLI                          ACCOUNTS RECEIVABLE                        1121-000                 100.94                                  54,051.95
                                     500 WESTWOOD LANE
                                     FRACKVILLE, PA 17931

07/06/2017               [1]         ROBIN LYNCH                              ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  54,076.95
                                     208 DOCK STREET
                                     APT # 9
                                     SCHUYLKILL HAVEN, PA 17972

                                                                                                                   Page Subtotals               4,347.14                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
07/06/2017               [1]         GARY REAGER                              ACCOUNTS RECEIVABLE                        1121-000                  22.19                                  54,099.14
                                     25 LONGVIEW DRIVE
                                     SCHUYLKILL HAVEN, PA 17972

07/06/2017               [1]         ROSE MARIE TURNITZA                      ACCOUNTS RECEIVABLE                        1121-000                  51.22                                  54,150.36
                                     614 SCHUYLKILL AVE
                                     POTTSVILLE, PA 17901

07/06/2017               [1]         ALBERTA PUKAVAGE                         ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  54,175.36
                                     P.O. BOX 235
                                     RINGTOWN, PA 17967

07/06/2017               [1]         ROBIN BARTON                             ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  54,225.36
                                     1966 W Norwegian St
                                     Pottsville, PA 17901

07/06/2017               [1]         LOUISE RIEGEL                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  54,245.36
                                     371 Sweet Arrow Lake Rd
                                     Pine Grove, PA 17963

07/06/2017               [1]         EMIL FERYO                               ACCOUNTS RECEIVABLE                        1121-000                 122.08                                  54,367.44
                                     17B COTTAGE HILL WEST
                                     POTTSVILLE, PA 17901

07/06/2017               [1]         CAROL MCSHAW                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  54,377.44
                                     164 STRAWBERRY LANE
                                     RINGTOWN, PA 17967

                                                                                                                   Page Subtotals                 300.49                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
07/06/2017               [1]         DEBORAH FILLIAC                          ACCOUNTS RECEIVABLE                        1121-000                    6.60                                 54,384.04
                                     31 CAROLINE AVE
                                     POTTSVILLE, PA 17901

07/06/2017               [1]         WILMA UHLER                              ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  54,414.04
                                     100 SOUTH SEVENTH STREET
                                     APT 213
                                     TOWER CITY, PA 17980

07/06/2017               [1]         HARRY RUSSELL                            ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 54,419.04
                                     777 WATER STREET
                                     APT 410
                                     POTTSVILLE, PA 17901

07/06/2017               [1]         CHARLES NARADKO                          ACCOUNTS RECEIVABLE                        1121-000                  11.39                                  54,430.43
                                     240 3RD STREET
                                     PORT CARBON, PA 17965

07/06/2017               [1]         MARGARET RENCH                           ACCOUNTS RECEIVABLE                        1121-000                  55.10                                  54,485.53
                                     523 WEST OAK STREET
                                     FRACKVILLE, PA 17931

07/06/2017               [1]         AMY MILLER                               ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  54,505.53
                                     312 Sweet Arrow Lake Rd
                                     Pine Grove, PA 17963

07/06/2017               [1]         STEPHANIE LONG                           ACCOUNTS RECEIVABLE                        1121-000                  13.16                                  54,518.69
                                     223 TUNNEL STREET
                                     WILLIAMSTOWN, PA 17098

                                                                                                                   Page Subtotals                 141.25                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                               Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                    Bank Name: Texas Capital Bank
                                                                                                                                          Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                               5                     6                    7
                                                                                                                             Uniform
Transaction           Check or                                                                                                Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction             Code             Deposits($)        Disbursements($)          Balance($)
07/06/2017               [1]         BRANDON HOLLYWOOD                        ACCOUNTS RECEIVABLE                            1121-000                    37.67                                  54,556.36
                                     1207 WEST MARKET STREET
                                     POTTSVILLE, PA 17901

07/06/2017               [1]         RIDGEVIEW OPERATIONS, LLC                ACCOUNTS RECEIVABLE                            1121-000                    87.14                                  54,643.50
                                     14 WALL STREET STE 5B
                                     NEW YORK, NY 10005

07/06/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                            1121-000                     8.07                                  54,651.57


07/06/2017               [1]         COMMONWEALTH OF PA                       ACCOUNTS RECEIVABLE                            1121-000                   697.05                                  55,348.62
                                     MEDICAL ASSISTANCE

07/06/2017             51055         STAPLES                                  SUPPLIES (MAILING MEDICAL RECORDS)(ACCT. NO.   2990-000                                           70.99           55,277.63
                                                                              6035 5178 5003 9719)

07/06/2017             51056         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 7/1/17        2990-000                                      4,336.71             50,940.92
                                     PO BOX 98                                (INVOICE NO. G358; McGinty, Homa, Dahm,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


07/11/2017               [1]         POTTSVILLE INTERNISTS ASSOC              ACCOUNTS RECEIVABLE W INTEREST                 1121-000                1,059.46                                   52,000.38
                                     106 S Claude a Lord Blvd
                                     Pottsville, PA 17901

07/11/2017               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                            1121-000                    83.73                                  52,084.11


07/11/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                            1121-000                   137.50                                  52,221.61


                                                                                                                         Page Subtotals              2,110.62              4,407.70




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
07/11/2017               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                        1121-000               4,932.69                                  57,154.30


07/11/2017               [1]         COMMONWEALTH OF PA                       ACCOUNTS RECEIVABLE                        1121-000                 169.89                                  57,324.19
                                     MEDICAL ASSISTANCE

07/11/2017               [1]         CHRISTINE LAWSON                         ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  57,334.19
                                     32 FRITZ AVE
                                     SCHUYLKILL HAVEN, PA 17972

07/11/2017               [1]         MICHAEL STOPPI                           ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 57,339.19


07/11/2017               [1]         RAILROAD MAINTENANCE & INDUSTRIAL        ACCOUNTS RECEIVABLE                        1121-000                    2.38                                 57,341.57
                                     HEALTH & WELFARE FUND
                                     2725 WEST MONROE STREET
                                     SPRINGFIELD, IL 62704

07/11/2017               [1]         ROBERT BERGER                            ACCOUNTS RECEIVABLE                        1121-000                  68.30                                  57,409.87
                                     1749 WEST END AVE
                                     POTTSVILLE, PA 17901

07/11/2017               [1]         ELIZABETH LENOSKY                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  57,434.87
                                     135 MAIN STREET
                                     P.O. BOX 4084
                                     SELTZER, PA 17974

07/11/2017               [1]         SADIE WETZEL                             ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  57,474.87
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals               5,253.26                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
07/11/2017               [1]         ROBERT SOPHY                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  57,499.87
                                     1134 EAGLE ROAD
                                     POTTSVILLE, PA 17901

07/11/2017               [1]         MARY BETH HOUTZ                          ACCOUNTS RECEIVABLE                        1121-000                 100.00                                  57,599.87
                                     726 DEIBERTS VALLEY ROAD
                                     SCHUYLKILL HAVEN, PA 17972

07/11/2017               [1]         ROOFERS LOCAL 30                         ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 57,601.56
                                     COMBINED HEALTH & WELFARE FUND

07/11/2017               [1]         KAREN HUFF                               ACCOUNTS RECEIVABLE                        1121-000                  76.58                                  57,678.14
                                     1802 Crazy Horse Dr
                                     Auburn, PA 17922

07/11/2017               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                        1121-000                  35.00                                  57,713.14
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

07/11/2017               [1]         JEFFREY CLARK                            ACCOUNTS RECEIVABLE                        1121-000                    7.84                                 57,720.98
                                     2027 LONG RUN ROAD
                                     SCHULKILL HAVEN, PA 17972

07/11/2017               [1]         ALLEN NOLL                               ACCOUNTS RECEIVABLE                        1121-000                  10.19                                  57,731.17
                                     1499 RED DAL ROAD
                                     ORWIGSBURG, PA 17961

                                                                                                                   Page Subtotals                 256.30                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
07/11/2017               [1]         DOREEN ENGLE                             ACCOUNTS RECEIVABLE                        1121-000                  19.51                                  57,750.68
                                     26 Molino Rd
                                     Orwigsburg, PA 17961

07/11/2017               [1]         RUPALBEN DESAI                           ACCOUNTS RECEIVABLE                        1121-000                    7.35                                 57,758.03
                                     15 MANOR ROAD
                                     SCHUYLKILL HAVEN, PA 17972

07/11/2017               [1]         DOUGLAS A. BROUGHTON                     ACCOUNTS RECEIVABLE                        1121-000                    6.74                                 57,764.77
                                     4 YORK ROAD
                                     POTTSVILLE, PA 17901

07/11/2017               [1]         EVELYN KOPINETZ                          ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  57,779.77
                                     356 HIGH ROAD
                                     POTTSVILLE, PA 17901

07/11/2017               [1]         DORIS ZVORSKY                            ACCOUNTS RECEIVABLE                        1121-000                  45.00                                  57,824.77
                                     325 LAUREL ROAD
                                     ORWIGSBURG, PA 17961

07/11/2017               [1]         ELSIE HELOSKIE                           ACCOUNTS RECEIVABLE                        1121-000                  46.94                                  57,871.71
                                     25 CENTRE LANE
                                     ORWIGSBURG, PA 17961

07/11/2017               [1]         ELAINE COLUCCI                           ACCOUNTS RECEIVABLE                        1121-000                  20.67                                  57,892.38
                                     422 FRIEDEN MANOR
                                     SCHUYLKILL HAVEN, PA 17972

                                                                                                                   Page Subtotals                 161.21                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

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                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)           Balance($)
07/11/2017               [1]         GALE MILLER                              ACCOUNTS RECEIVABLE                                 1121-000                    50.12                                   57,942.50
                                     204 E Lehigh St
                                     Summit Hill, PA 18250

07/11/2017               [1]         GREGORY A. YUTKO                         ACCOUNTS RECEIVABLE                                 1121-000                    20.00                                   57,962.50
                                     266 SUMMER VALLEY ROAD
                                     ORWIGSBURG, PA 17961

07/11/2017               [1]         EDWARD TOKASH                            ACCOUNTS RECEIVABLE                                 1121-000                    23.14                                   57,985.64
                                     702 Post Row
                                     Saint Clair, PA 17970

07/11/2017               [1]         DOROTHY MOORE                            ACCOUNTS RECEIVABLE                                 1121-000                    71.50                                   58,057.14
                                     640 HOPE AVE
                                     ORWIGSBURG, PA 17961

07/12/2017                           Texas Capital Bank                       Credit Memo from Bank - Refund of Service Fee       2600-000                                           (5.00)           58,062.14
                                                                              Charged for Returned Check - Not Sufficient Funds
                                                                              (Rodney MIller - Deposit No. 1148)

07/12/2017             51057         US POSTAL SERVICE                        6 MONTH P.O. BOX RENEWAL (POST OFFICE BOX           2990-000                                           274.00           57,788.14
                                                                              #269, POTTSVILLE, PA)

07/12/2017             51058         COMCAST                                  COMCAST (ACCT. 8993 11 252 0151882)                 2990-000                                           525.55           57,262.59
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

07/12/2017             51059         COMCAST-ADM                              COMCAST (ACCT. NO. 903111610)                       2990-000                                           586.01           56,676.58


                                                                                                                              Page Subtotals                 164.76             1,380.56




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                       Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                            Bank Name: Texas Capital Bank
                                                                                                                                                  Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                         Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                         Separate bond (if applicable): 0.00

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                                                                                                                                       Uniform
Transaction           Check or                                                                                                          Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                   Description of Transaction                     Code           Deposits($)         Disbursements($)           Balance($)
07/13/2017             51060         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 7/8/17                  2990-000                                     4,054.76              52,621.82
                                     PO BOX 98                                (INVOICE NO. G364; McGinty, Homa, Dahm,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


07/17/2017             51061         CARD SERVICES                            FILING FEES (COMPLAINT V. MUNIR; COMPLAINT V.            2990-000                                          700.00           51,921.82
                                                                              AKHTAR)

07/18/2017             51062         US POSTMASTER                            POSTAGE (1 Roll of Stamps - (401(k))                     2990-000                                           49.00           51,872.82
                                     LEHIGHTON, PA 18235

07/18/2017             51063         US POSTMASTER                            POSTAGE (Service of Order Setting Response               2990-000                                           21.28           51,851.54
                                     LEHIGHTON, PA 18235                      Deadline & Hearing Date and the Filed Motion to
                                                                              Sell Property Free & Clear with All Exhibits Upon List
                                                                              of Respondents)

07/19/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                                      1121-000                  53.00                                    51,904.54


07/19/2017               [1]         TERRIE KLINGER                           ACCOUNTS RECEIVABLE                                      1121-000                  94.77                                    51,999.31
                                     58 COAL STREET
                                     PORT CARBON, PA 17965

07/19/2017               [1]         UNITED HEALTH CARE SVS INC.              ACCOUNTS RECEIVABLE                                      1121-000                 210.00                                    52,209.31
                                     P.O. BOX 1459
                                     MINNEAPOLIS, MN 55440

07/19/2017               [1]         MARGARET LATSHAW                         ACCOUNTS RECEIVABLE                                      1121-000                  14.30                                    52,223.61
                                     P.O. BOX 156
                                     NEW RINGGOLD, PA 17960

                                                                                                                                 Page Subtotals                 372.07              4,825.04




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
07/19/2017               [1]         STEPHANIE CAULFIELD                      ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  52,233.61
                                     118 EAST CHESTNUT STREET
                                     FRACKVILLE, PA 17931

07/19/2017               [1]         SHIRLEY HOPKINS                          ACCOUNTS RECEIVABLE                        1121-000                  17.91                                  52,251.52
                                     P.O. BOX 21
                                     SUMMIT STATION, PA 17979

07/19/2017               [1]         JAMES THOMPSON                           ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  52,271.52
                                     521 LAUREL TERRACE
                                     POTTSVILLE, PA 17901

07/19/2017               [1]         MARK VOYDIK                              ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  52,301.52
                                     293 FRIEDEN MANOR
                                     SCHUYLKILL HAVEN, PA 17972

07/19/2017               [1]         JANET PROSPER                            ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  52,351.52
                                     101 Broad Ave
                                     SAINT CLAIR, PA 17970

07/19/2017               [1]         NANCY LECHLEITNER                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  52,376.52
                                     320 Mauch Chunk St
                                     Pottsville, PA 17901

07/19/2017               [1]         JULIANN SMITH                            ACCOUNTS RECEIVABLE                        1121-000                 121.15                                  52,497.67
                                     256 E Savory St
                                     Pottsville, PA 17901

                                                                                                                   Page Subtotals                 274.06                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
07/19/2017               [1]         ROBERT YEAGER                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  52,507.67
                                     1411 BUNTING STREET
                                     POTTSVILLE, PA 17901

07/19/2017               [1]         RALPH SCHNEK                             ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 52,512.67
                                     700 W. ARCH STREET
                                     POTTSVILLE, PA 17901

07/19/2017               [1]         JOHN QUINN                               ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  52,522.67
                                     356 EAST BACON STREET
                                     POTTSVILLE, PA 17901

07/19/2017               [1]         ROBERT FAUST                             ACCOUNTS RECEIVABLE                        1121-000                  68.30                                  52,590.97
                                     BOX 132
                                     AUBURN, PA 17922

07/19/2017               [1]         DANIEL GANGLOFF                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  52,600.97


07/19/2017               [1]         JUDY FREDERICKS MORAN                    ACCOUNTS RECEIVABLE                        1121-000                  89.54                                  52,690.51
                                     406 Baber St
                                     Pottsville, PA 17901

07/19/2017               [1]         PATRICIA HUGHES                          ACCOUNTS RECEIVABLE                        1121-000                    1.78                                 52,692.29
                                     7 CATHEDRAL AVE
                                     GARDEN CITY, NY 11530

07/19/2017               [1]         PATRICK WHITAKER                         ACCOUNTS RECEIVABLE                        1121-000                  27.00                                  52,719.29
                                     522 Morea Rd
                                     Mahanoy City, PA 17948

                                                                                                                   Page Subtotals                 221.62                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
07/19/2017               [1]         BARBARA ZATKO                            ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  52,749.29
                                     73 HILL TERRACE DRIVE
                                     POTTSVILLE, PA 17901

07/19/2017               [1]         JOHN MILLER                              ACCOUNTS RECEIVABLE                        1121-000                  38.77                                  52,788.06
                                     407 DOCK STREET
                                     APT A
                                     SCHUYLKILL HAVEN, PA 17972

07/19/2017               [1]         BARBARA BRIGHT                           ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  52,813.06
                                     120 MAIN STREET
                                     GILBERTON, PA 17934

07/19/2017               [1]         COMMONWEALTH OF PA                       ACCOUNTS RECEIVABLE                        1121-000                  81.27                                  52,894.33
                                     MEDICAL ASSISTANCE

07/19/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  52,924.33


07/19/2017               [1]         UNION TROWEL TRADES BENEFITS             ACCOUNTS RECEIVABLE                        1121-000                    9.12                                 52,933.45
                                     P.O. BOX 1058
                                     TROY, MI 48099

07/19/2017               [1]         DENISE WAGNER                            ACCOUNTS RECEIVABLE                        1121-000                 115.00                                  53,048.45
                                     18 PLUM CREEK ROAD
                                     SCHUYLKILL HAVEN, PA 17972

07/19/2017               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                        1121-000                  11.33                                  53,059.78


                                                                                                                   Page Subtotals                 340.49                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                      Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                           Bank Name: Texas Capital Bank
                                                                                                                                                 Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                       Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                       Separate bond (if applicable): 0.00

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                                                                                                                                    Uniform
Transaction           Check or                                                                                                       Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                   Code             Deposits($)        Disbursements($)           Balance($)
07/20/2017             51064         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 7/15/17              2990-000                                      4,597.77              48,462.01
                                     PO BOX 98                                (INVOICE NO. G371; McGinty, Homa, Dahm, Cassell,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


07/20/2017             51065         ATTN: LEKESHA JOHNSON, BUSINESS          2nd PORTION OF REMAINDER OF ACCOUNT                   4210-000                                      8,484.58              39,977.43
                                     SERVICE ASSISTANT                        RECEIVABLES TO-DATE (PER COURT ORDER DATED
                                     BB&T ASSET RESOLUTION GROUP              6/14/17)


07/24/2017             51066         BUSINESS CARD SERVICES                   FILING FEES (MOTION TO SELL PERSONAL PROPERTY         2990-000                                           181.00           39,796.43
                                                                              FREE & CLEAR)

07/28/2017             51067         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 7/22/17              2990-000                                      4,407.50              35,388.93
                                     PO BOX 98                                (INVOICE NO. G377; McGinty, Homa, Dahm, Cassell,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


07/28/2017             51068         US POSTMASTER                            POSTAGE (Miscellaneous Mailings and Services of       2990-000                                            17.55           35,371.38
                                     LEHIGHTON, PA 18235                      Court Documents)

08/02/2017               [1]         E.SHIRLEY RIEGEL                         ACCOUNTS RECEIVABLE                                   1121-000                    25.00                                   35,396.38
                                     174 Reedsville Rd
                                     Schuylkill Haven, PA 17972

08/02/2017               [1]         ALBERTA PUKAVAGE                         ACCOUNTS RECEIVABLE                                   1121-000                    25.00                                   35,421.38
                                     P.O. BOX 235
                                     RINGTOWN, PA 17967

08/02/2017               [1]         POTTSVILLE INTERNISTS ASSOC              PETTY CASH                                            1121-000                   106.00                                   35,527.38
                                     106 S Claude a Lord Blvd
                                     Pottsville, PA 17901

                                                                                                                                Page Subtotals                 156.00            17,688.40




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/02/2017               [1]         MARILYN VALOSIN                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  35,552.38
                                     505 NORTH WARREN STREET
                                     ORWIGSBURG, PA 17961

08/02/2017               [1]         DEBRA HRICHAK                            ACCOUNTS RECEIVABLE                        1121-000                  44.47                                  35,596.85
                                     210 NORTH STREET
                                     MINERSVILLE, PA 17954

08/02/2017               [1]         JACQUELINE BERGER, ADMIN                 ACCOUNTS RECEIVABLE                        1121-000                  19.75                                  35,616.60
                                     1751 MADISON AVE
                                     BETHLEHEM, PA 18017

08/02/2017               [1]         TRICARE                                  ACCOUNTS RECEIVABLE                        1121-000                 122.27                                  35,738.87
                                     BOX 7889
                                     MADISON, WI 53707

08/02/2017               [1]         CRYSTAL HINNERS, ADMIN                   ACCOUNTS RECEIVABLE                        1121-000                  12.66                                  35,751.53
                                     201 CHERRY STREET
                                     SAINT CLAIR, PA 17970

08/02/2017               [1]         TONYA YOB                                ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  35,776.53
                                     875 SUNBURY ROAD
                                     P.O. BOX 395
                                     MINERSVILLE, PA 17954

08/02/2017               [1]         WILMA UHLER                              ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  35,801.53
                                     100 SOUTH SEVENTH STREET
                                     APT 213
                                     TOWER CITY, PA 17980

                                                                                                                   Page Subtotals                 274.15                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/02/2017               [1]         RANDY FEHR                               ACCOUNTS RECEIVABLE                        1121-000                 105.00                                  35,906.53
                                     702 VILLAGE ROAD
                                     ORWIGSBURG, PA 17961

08/02/2017               [1]         JESSICA LEONARD                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  35,926.53
                                     505 FOREST LANE
                                     POTTSVILLE, PA 17901

08/02/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                  35.86                                  35,962.39


08/02/2017               [1]         JOSEPH NEBISTINSKY                       ACCOUNTS RECEIVABLE                        1121-000                  39.54                                  36,001.93
                                     221 EAST WILSON STREET
                                     SCHUYLKILL HAVEN, PA 17972

08/02/2017               [1]         NATIONAL AUTOMATIC SPRINKLER             ACCOUNTS RECEIVABLE                        1121-000                  15.80                                  36,017.73
                                     INDUSTRY WELFARE FUND
                                     8000 CORPORATE
                                     LANDOVER, MD 20785

08/02/2017               [1]         CHRISTINE DAVIS                          ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  36,057.73
                                     17 LOWER STREET
                                     MAHANOY CITY, PA 17948

08/02/2017               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  36,082.73
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 281.20                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/02/2017               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  36,107.73
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

08/02/2017               [1]         CARMEN MURHON                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  36,127.73
                                     1516 NORTH NORWEGIAN STREET
                                     POTTSVILLE, PA 17902

08/02/2017               [1]         MARY FELSOCI                             ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  36,177.73
                                     1023 CENTER STREET
                                     HOMETOWN, PA 18252

08/02/2017               [1]         KRISTIAN HENNICK                         ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 36,182.73
                                     631 SECOND STREET
                                     PORT CARBON, PA 17965

08/02/2017               [1]         JOHN PURCELL                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  36,192.73
                                     25 N Nicholas St
                                     APT 305
                                     Saint Clair, PA 17970

08/02/2017               [1]         DEBORAH MELENDEZ                         ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  36,212.73
                                     34 Schuylkill Rd
                                     New Ringgold, PA 17960

08/02/2017               [1]         CHRISTIE JO SALEM                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  36,237.73
                                     133 NORTH THIRD STREET
                                     SAINT CLAIR, PA 17970

                                                                                                                   Page Subtotals                 155.00                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/02/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                  14.06                                  36,251.79
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

*08/02/2017              [1]         COMPASSUS                                ACCOUNTS RECEIVABLE                        1121-003               1,500.00                                  37,751.79
                                     CREEKSIDE CROSSING
                                     10 CADILLAC DR, STE 400
                                     BRENTWOOD, TN 37027

08/02/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                  11.45                                  37,763.24
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

08/02/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                  29.38                                  37,792.62
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

08/02/2017               [1]         DOROTHY WOLFE                            ACCOUNTS RECEIVABLE                        1121-000                  26.53                                  37,819.15
                                     7815 ORANGE WOOD LAKES
                                     NEW PORT RICHEY, FL 34653

08/02/2017               [1]         JUDY SHEELER                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  37,829.15
                                     413 PINE CREEK
                                     BARNESVILLE, PA 18214

08/02/2017               [1]         MARY BURNS                               ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  37,849.15
                                     518 WEST RACE STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals               1,611.42                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/02/2017               [1]         MARC RENN                                ACCOUNTS RECEIVABLE                        1121-000                  73.00                                  37,922.15
                                     79 Tamanend Rd
                                     Quakake, PA 18245

08/02/2017               [1]         CAROL MCSHAW                             ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 37,927.15
                                     164 STRAWBERRY LANE
                                     RINGTOWN, PA 17967

08/02/2017               [1]         BROOKE KALBACH                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  37,937.15
                                     12 EAST WILLIAMS STREET
                                     SCHUYLKILL HAVEN, PA 17972

08/02/2017               [1]         CHARLES HULL                             ACCOUNTS RECEIVABLE                        1121-000                  42.92                                  37,980.07
                                     631 EDWARDS AVE
                                     POTTSVILLE, PA 17901

08/02/2017               [1]         CAROL MUELLER                            ACCOUNTS RECEIVABLE                        1121-000                  83.90                                  38,063.97
                                     952 Pottsville St
                                     Pottsville, PA 17901

08/02/2017               [1]         ROSEANN KENNEY                           ACCOUNTS RECEIVABLE                        1121-000                 177.64                                  38,241.61
                                     911 Sillyman St
                                     Pottsville, PA 17901

08/02/2017               [1]         LOUISE RIEGEL                            ACCOUNTS RECEIVABLE                        1121-000                  33.63                                  38,275.24
                                     371 Sweet Arrow Lake Rd
                                     Pine Grove, PA 17963

                                                                                                                   Page Subtotals                 426.09                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                              Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                         Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                               Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                               Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                              5                     6                     7
                                                                                                                            Uniform
Transaction           Check or                                                                                               Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction            Code             Deposits($)        Disbursements($)           Balance($)
08/02/2017               [1]         JAMES REESE                              ACCOUNTS RECEIVABLE                           1121-000                     7.42                                   38,282.66
                                     1132 S. ROUTE 183
                                     SCHUYLKILL HAVEN, PA 17972

08/02/2017               [1]         CYNTHIA MULDOON                          MEDICAL RECORDS                               1121-000                    12.80                                   38,295.46
                                     1121 EAST CENTRE STRET
                                     MAHANOY CITY, PA 17948

08/02/2017               [17]        CHERYL GROSS                             MEDICAL RECORDS                               1290-000                     5.00                                   38,300.46
                                     8519 Joshire Pl
                                     CENTERVILLE, OH 45458

08/02/2017               [21]        GENWORTH FINANCIAL, INC                  UNSCHEDULED CLASS ACTION SETTLEMENT           1249-000                    28.93                                   38,329.39
                                     P.O. BOX 4199
                                     PORTLAND, OR 97208

08/02/2017               [21]        GENWORTH FINANCIAL, INC                  UNSCHEDULED CLASS ACTION SETTLEMENT           1249-000                    57.86                                   38,387.25
                                     P.O. BOX 4199
                                     PORTLAND, OR 97208

08/02/2017             51069         COMCAST                                  COMCAST (ACCT. 8993 11 252 0151882)           2990-000                                           525.55           37,861.70
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

08/02/2017             51070         COMCAST                                  COMCAST (ACCT. NO. 8993 11 252 0172227)       2990-000                                           145.75           37,715.95
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

                                                                                                                        Page Subtotals                 112.01                  671.30




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                   Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                        Bank Name: Texas Capital Bank
                                                                                                                                              Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                    Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                    Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                  5                     6                     7
                                                                                                                                 Uniform
Transaction           Check or                                                                                                    Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                Code             Deposits($)        Disbursements($)           Balance($)
08/03/2017             51071         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 7/29/17           2990-000                                      4,279.61              33,436.34
                                     PO BOX 98                                (INVOICE NO. G383; McGinty, Homa, Dahm, Cassell,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


08/03/2017                           Texas Capital Bank                       Bank Service Fee                                   2600-000                                            78.67           33,357.67
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

08/04/2017                           Texas Capital Bank                       Bank Service Fee                                   2600-000                                             5.00           33,352.67
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

08/07/2017             51072         STAPLES                                  SUPPLIES (CD-R's & ENVELOPES)(ACCT. NO. 6035       2990-000                                           317.84           33,034.83
                                                                              5178 5003 9719)

*08/07/2017              [1]         COMPASSUS                                ACCOUNTS RECEIVABLE                                1121-003               (1,500.00)                                   31,534.83
                                     CREEKSIDE CROSSING
                                     10 CADILLAC DR, STE 400
                                     BRENTWOOD, TN 37027

08/08/2017               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                                1121-000                4,820.80                                    36,355.63


08/08/2017               [1]         FRANCIS O'CONNELL                        ACCOUNTS RECEIVABLE                                1121-000                   77.66                                    36,433.29
                                     1422 CENTER STREET
                                     ASHLAND, PA 17921

                                                                                                                             Page Subtotals              3,398.46              4,681.12




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/08/2017               [1]         CHARLENE FREEZE                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  36,453.29
                                     114 PIKE STREET
                                     PORT CARBON, PA 17965

08/08/2017               [1]         CHRISTINE LAWSON                         ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  36,463.29
                                     32 FRITZ AVE
                                     SCHUYLKILL HAVEN, PA 17972

08/08/2017               [1]         AETNA                                    ACCOUNTS RECEIVABLE                        1121-000             18,250.00                                   54,713.29
                                     151 FARMINGTON AVE
                                     HARTFORD, CT 06156

08/08/2017               [1]         MICHAEL FEGLEY                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  54,723.29
                                     234 SOUTH LIBERTY STREET
                                     ORWIGSBURG, PA 17961

08/08/2017               [1]         JEFFERY VOLUTZA                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  54,743.29
                                     25 N. NICHOLAS STREE
                                     APT 105
                                     SAINT CLAIR, PA 17970

08/08/2017               [1]         PEGGY GARLAND                            ACCOUNTS RECEIVABLE                        1121-000                  72.06                                  54,815.35
                                     2303 PANTHER VALLEY ROAD
                                     POTTSVILLE, PA 17901

08/08/2017               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                        1121-000                  35.00                                  54,850.35
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

                                                                                                                   Page Subtotals             18,417.06                    0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                 Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                      Bank Name: Texas Capital Bank
                                                                                                                                            Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                  Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                  Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                 5                     6                   7
                                                                                                                               Uniform
Transaction           Check or                                                                                                  Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction               Code             Deposits($)        Disbursements($)         Balance($)
08/08/2017               [1]         JOHN MALONY                              ACCOUNTS RECEIVABLE                              1121-000                     7.00                                 54,857.35
                                     30 S Bower St
                                     Shenandoah, PA 17976

08/08/2017               [1]         JOANNE JONES                             ACCOUNTS RECEIVABLE                              1121-000                   60.60                                  54,917.95
                                     603 FAIRVIEW STREET
                                     POTTSVILLE, PA 17901

08/08/2017               [1]         ROBERT SOPHY                             ACCOUNTS RECEIVABLE                              1121-000                   25.00                                  54,942.95
                                     1134 EAGLE ROAD
                                     POTTSVILLE, PA 17901

08/08/2017               [1]         KEVIN FESSLER                            ACCOUNTS RECEIVABLE                              1121-000                   50.32                                  54,993.27
                                     420 PLEASANT STREET
                                     MINERSVILLE, PA 17954

08/08/2017               [1]         JAMES THOMPSON                           ACCOUNTS RECEIVABLE                              1121-000                   25.00                                  55,018.27
                                     521 LAUREL TERRACE
                                     POTTSVILLE, PA 17901

08/08/2017               [1]         MARK FOX                                 ACCOUNTS RECEIVABLE                              1121-000                     9.41                                 55,027.68
                                     62 KELSEY DRIVE
                                     SCHUYLKILL HAVEN, PA 17972

08/09/2017             51073         COMPASSUS                                RETURN OF FUNDS RECEIVED IN ERROR (DEPOSIT       1121-000               (1,470.00)                                 53,557.68
                                     1001 James Drive                         NO. 1280)
                                     Suite B34
                                     Leesport, PA 19533

                                                                                                                           Page Subtotals             (1,292.67)                  0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                 5                     6                  7
                                                                                                                                 Uniform
Transaction           Check or                                                                                                    Trans.                                                    Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                Code            Deposits($)        Disbursements($)        Balance($)
08/10/2017             51074         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 8/5/17            2990-000                                     4,579.05           48,978.63
                                     PO BOX 98                                (INVOICE NO. G390; McGinty, Homa, Dahm, Cassell,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


08/14/2017               [1]         NATIONAL AUTOMATIC SPRINKLER             ACCOUNTS RECEIVABLE                                1121-000                    9.03                                48,987.66
                                     INDUSTRY WELFARE FUND
                                     8000 CORPORATE
                                     LANDOVER, MD 20785

08/14/2017               [1]         MARK FRANTZ                              ACCOUNTS RECEIVABLE                                1121-000                   30.00                                49,017.66
                                     62 NORTH CENTER STREET
                                     FRACKVILLE, PA 17931

08/14/2017               [1]         JUDITH DELINKO                           ACCOUNTS RECEIVABLE                                1121-000                    8.20                                49,025.86
                                     875 NORTH WASHINGTON STREET
                                     ORWIGSBURG, PA 17961

08/14/2017               [1]         KAREN CORRELL                            ACCOUNTS RECEIVABLE                                1121-000                   27.63                                49,053.49
                                     230 NEW PHILADELPHIA ROAD
                                     KASKA, PA 17959

08/14/2017               [1]         ANNA MAE VIDZICKI                        ACCOUNTS RECEIVABLE                                1121-000                   53.16                                49,106.65
                                     106 S Claude a Lord Blvd
                                     Pottsville, PA 17901

08/14/2017               [1]         KAREN MILLER                             ACCOUNTS RECEIVABLE                                1121-000                  150.00                                49,256.65
                                     21 WOOD LANE
                                     SCHUYLKILL HAVEN, PA 17972

                                                                                                                            Page Subtotals                 278.02             4,579.05




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/14/2017               [1]         ROSE NORDALL                             ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  49,286.65
                                     422 Birds Hill Rd
                                     Pine Grove, PA 17963

08/14/2017               [1]         CHARLENE MILLER                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  49,311.65
                                     23 HIDDEN ACRES DRIVE
                                     PINE GROVE, PA 17963

08/14/2017               [1]         SADIE WETZEL                             ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  49,351.65
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

08/14/2017               [1]         JOHN JOHNSON                             ACCOUNTS RECEIVABLE                        1121-000                    6.11                                 49,357.76
                                     3045 CHESTNUT STREET
                                     POTTSVILLE, PA 17901

08/14/2017               [1]         MARY ANN ANGELO                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  49,382.76
                                     301 SUNBURY STRET
                                     APT 2-A
                                     MINERSVILLE, PA 17954

08/14/2017               [1]         PAUL ROBERTS                             ACCOUNTS RECEIVABLE                        1121-000                 138.05                                  49,520.81
                                     12 CRYSTAL VIEW LANE
                                     POTTSVILLE, PA 17901

08/14/2017               [1]         JUDY MULDOWNEY                           ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  49,540.81
                                     905 NORTH THIRD STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 284.16                   0.00




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                 Case No: 17-00641                                                                                                                Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                     Bank Name: Texas Capital Bank
                                                                                                                                           Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                 Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                 Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                               5                     6                     7
                                                                                                                              Uniform
Transaction           Check or                                                                                                 Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction              Code             Deposits($)        Disbursements($)           Balance($)
08/14/2017               [1]         ELIZABETH LENOSKY                        ACCOUNTS RECEIVABLE                             1121-000                    25.00                                   49,565.81
                                     135 MAIN STREET
                                     P.O. BOX 4084
                                     SELTZER, PA 17974

08/14/2017               [1]         CHARLES THOMAS                           ACCOUNTS RECEIVABLE                             1121-000                    40.00                                   49,605.81
                                     113 MAIN STREET
                                     MARY D, PA 17952

08/14/2017               [1]         MICHELE STEPHENS                         ACCOUNTS RECEIVABLE                             1121-000                    10.53                                   49,616.34
                                     1673 LONG RUN ROAD
                                     B3
                                     SCHUYLKILL HAVEN, PA 17972

08/14/2017               [1]         LOIS HALL                                ACCOUNTS RECEIVABLE                             1121-000                    30.00                                   49,646.34
                                     11 QUEEN STREET
                                     SCHUYLKILL HAVEN, PA 17972

08/14/2017               [17]        KRASNO, KRASNO & ONWUDINJO               MEDICAL RECORDS (MARYANN DIXON)                 1290-000                    27.92                                   49,674.26
                                     400 N. SECOND STREET
                                     POTTSVILLE, PA 17901

08/15/2017             51075         COMCAST                                  COMCAST (ACCT. NO. 903111610)(INVOICE NO.       2990-000                                           586.49           49,087.77
                                     PO BOX 37601                             55502040)
                                     PHILADELPHIA, PA 19101-0601

08/16/2017             51076         CARD SERVICES                            MISC. SERVICING FEES                            2990-000                                           140.90           48,946.87
                                     PO BOX 13337
                                     PHILADELPHIA, PA 19101-3337

                                                                                                                          Page Subtotals                 133.45                  727.39




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/18/2017               [1]         MADELINE MCGEE                           ACCOUNTS RECEIVABLE                        1121-000                    1.51                                 48,948.38
                                     518 SOUTH CENTRE STREET
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         CAROL MCSHAW                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  48,958.38
                                     164 STRAWBERRY LANE
                                     RINGTOWN, PA 17967

08/18/2017               [1]         SANDRA JOHNSON                           ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 48,960.07
                                     306 Heritage Hts
                                     Pottsville, PA 17901

08/18/2017               [1]         PATRICK MOYER                            ACCOUNTS RECEIVABLE                        1121-000                    0.75                                 48,960.82
                                     127 SOUTH CENTER STREET
                                     FRACKVILLE, PA 17931

08/18/2017               [1]         CHARLES BARTHOLMEW                       ACCOUNTS RECEIVABLE                        1121-000                    2.25                                 48,963.07
                                     1826 SECOND AVE
                                     POTTSVILE, PA 17901

08/18/2017               [1]         WILLIAM HANDGES                          ACCOUNTS RECEIVABLE                        1121-000                    2.30                                 48,965.37
                                     215 WEST ARCH STREET
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         MICHELLE KALYAN                          ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 48,970.37
                                     1760 RUNNING DEER ROAD
                                     AUBURN, PA 17922

                                                                                                                   Page Subtotals                  23.50                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/18/2017               [1]         LOIS LAUDEMAN                            ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 48,972.06
                                     207 NORTH FRONT STREET
                                     MINERSVILLE, PA 17954

08/18/2017               [1]         KRISTA BEVAN                             ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 48,975.06
                                     1250 WEST SPRUCE STREET
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         VINCENT MURPHY                           ACCOUNTS RECEIVABLE                        1121-000                    1.50                                 48,976.56
                                     132 SPRINGWOOD AVE
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         JOANNE WELKER                            ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 48,979.56
                                     2201 WALNUT STREET
                                     ASHLAND, PA 17921

08/18/2017               [1]         ROBERT WOLFE                             ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 48,982.56
                                     203 BROAD STREET
                                     ASHLAND, PA 17921

08/18/2017               [1]         PAUL LESHER                              ACCOUNTS RECEIVABLE                        1121-000                    4.05                                 48,986.61
                                     113 RIDGE ROAD
                                     PITMAN, PA 17964

08/18/2017               [1]         ERMA PHILLIPS                            ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 48,989.61
                                     9 PHILLIPS ROAD
                                     SHUYLKILL HAVEN, PA 17972

                                                                                                                   Page Subtotals                  19.24                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/18/2017               [1]         DONNA BERKHEISER                         ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 48,992.91
                                     1102 FAIRMONT AVE
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         TERRY KILLIAN                            ACCOUNTS RECEIVABLE                        1121-000                    4.99                                 48,997.90
                                     879 GARFIELD AVE
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         SUYAPA ANTUNEZPUERTO                     ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  49,047.90
                                     404 WEST ATLANTIC STREET
                                     SHENANDOAH, PA 17901

08/18/2017               [1]         BONNIE LECHER                            ACCOUNTS RECEIVABLE                        1121-000                    3.29                                 49,051.19
                                     111 EAST PATTERSON STREET
                                     SAINT CLAIR, PA 17970

08/18/2017               [1]         LINDA WYTOVICH                           ACCOUNTS RECEIVABLE                        1121-000                    2.11                                 49,053.30
                                     1501 HOWARD AVE
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         DOROTHY HARVILICZ                        ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 49,056.30
                                     2 PEACOCK STREET
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         FRANCIS MUSEOUSKY                        ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 49,059.30
                                     107 Mahantongo Dr
                                     Pottsville, PA 17901

                                                                                                                   Page Subtotals                  69.69                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/18/2017               [1]         MARGARET BERNETSKIE                      ACCOUNTS RECEIVABLE                        1121-000                    3.60                                 49,062.90
                                     123 HICKORY DRIVE
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         WILLIAM ABRACHINSKY                      ACCOUNTS RECEIVABLE                        1121-000                    1.50                                 49,064.40
                                     1033 WEST CENTRE STREET
                                     SHENANDOAH, PA 17976

08/18/2017               [1]         CHERYL LECHER                            ACCOUNTS RECEIVABLE                        1121-000                    2.30                                 49,066.70
                                     2100 W Norwegian St
                                     APT 3J
                                     Pottsville, PA 17901

08/18/2017               [1]         WILLIAM ZIMMERMAN                        ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 49,068.39
                                     26 EAST OAK STREET
                                     SHENANDOAH, PA 17976

08/18/2017               [1]         DOLORES KULPCAVAGE                       ACCOUNTS RECEIVABLE                        1121-000                    3.06                                 49,071.45
                                     263 HIGH ROAD
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         JOANN SHADE                              ACCOUNTS RECEIVABLE                        1121-000                    0.41                                 49,071.86
                                     1003 CREEK ROAD
                                     VALLEY VIEW, PA 17983

08/18/2017               [1]         LOREEN MILLER                            ACCOUNTS RECEIVABLE                        1121-000                    4.18                                 49,076.04
                                     1718 BRECKENRIDGE ROAD
                                     ORWIGSBURG, PA 17961

                                                                                                                   Page Subtotals                  16.74                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/18/2017               [1]         JOHN THOMAS                              ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 49,077.73
                                     39 NORTH PRICE STREET
                                     SAINT CLAIR, PA 17970

08/18/2017               [1]         LOREEN MILLER                            ACCOUNTS RECEIVABLE                        1121-000                    3.17                                 49,080.90
                                     1718 BRECKENRIDGE ROAD
                                     ORWIGSBURG, PA 17961

08/18/2017               [1]         PATRICIA SHIVELY                         ACCOUNTS RECEIVABLE                        1121-000                    1.68                                 49,082.58
                                     106 CENTER AVE
                                     SCHUYLKILL HAVEN, PA 17972

08/18/2017               [1]         CHRISTOPHER BRAUER                       ACCOUNTS RECEIVABLE                        1121-000                    4.60                                 49,087.18
                                     113 WOODVIEW DRIVE
                                     ORWIGSBURG, PA 17961

08/18/2017               [1]         PENNY TROUTMAN                           ACCOUNTS RECEIVABLE                        1121-000                    1.50                                 49,088.68
                                     78 SMITH ROAD
                                     PITMAN, PA 17964

08/18/2017               [1]         BRUCE KOPPENHAVER                        ACCOUNTS RECEIVABLE                        1121-000                    3.60                                 49,092.28
                                     2707 WEST MAIN STREET
                                     SPRING GLEN, PA 17978

08/18/2017               [1]         GERALD MURACZEWSKI                       ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 49,093.97
                                     1 NEWTON ROAD
                                     SHENANDOAH, PA 17976

                                                                                                                   Page Subtotals                  17.93                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/18/2017               [1]         DALE LOVE                                ACCOUNTS RECEIVABLE                        1121-000                    2.25                                 49,096.22
                                     73 MOLLEYSTOWNE ROAD
                                     PINE GROVE, PA

08/18/2017               [1]         VICTOR ST. DENIS                         ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 49,097.91
                                     101 NORTH 12TH STREET
                                     APT 204
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         KIM LEVAN                                ACCOUNTS RECEIVABLE                        1121-000                    4.18                                 49,102.09
                                     10 BLOSSOM LANE
                                     SCHUYLKILL HAVEN, PA 17972

08/18/2017               [1]         ROBERT HASARA                            ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 49,103.78


08/18/2017               [1]         JENNIFER BRUEN                           ACCOUNTS RECEIVABLE                        1121-000                    2.30                                 49,106.08
                                     109 SOUTH WOLFE STREET
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         ALICIA KOWKER                            ACCOUNTS RECEIVABLE                        1121-000                    3.51                                 49,109.59
                                     339 S Line St
                                     Frackville, PA 17931

08/18/2017               [1]         MARY PROSPER                             ACCOUNTS RECEIVABLE                        1121-000                    3.02                                 49,112.61
                                     30 MOUNTAIN DRIVE
                                     P.O. BOX 883
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                  18.64                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/18/2017               [1]         MARGARET YARASHUS                        ACCOUNTS RECEIVABLE                        1121-000                    1.59                                 49,114.20
                                     408 SOUTH 2ND STREET
                                     SAINT CLAIR, PA 17970

08/18/2017               [1]         MARY PUDDU                               ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 49,117.50
                                     19 Sajer Rd
                                     Pottsville, PA 17901

08/18/2017               [1]         PEGGY HAMM                               ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 49,120.50
                                     1279 SOUTH ROUTE 183
                                     SCHUYLKILL HAVEN, PA 17972

08/18/2017               [1]         JOHN DEANGELO                            ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 49,122.19
                                     101 EAST CHESTNUT STREET
                                     APT 310
                                     FRACKVILLE, PA 17931

08/18/2017               [1]         M.C. ARBUSHITES                          ACCOUNTS RECEIVABLE                        1121-000                    4.84                                 49,127.03


08/18/2017               [1]         KAREN BILLMAN                            ACCOUNTS RECEIVABLE                        1121-000                    3.60                                 49,130.63
                                     250 MAIN STREET
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         SALLY ANN NOVACK                         ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 49,133.93
                                     54 4TH STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                  21.32                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/18/2017               [1]         KAREN LIEBNER                            ACCOUNTS RECEIVABLE                        1121-000                    2.30                                 49,136.23
                                     119 PIKE STREET
                                     PORT CARBON, PA 17965

08/18/2017               [1]         ESTATE OF NANCY FLAMMER                  ACCOUNTS RECEIVABLE                        1121-000                  17.29                                  49,153.52
                                     42 MOUNTAIN VALLEY ROAD
                                     BETHEL, PA 19507

08/18/2017               [1]         SALLY ANN SPOTTS                         ACCOUNTS RECEIVABLE                        1121-000                    1.07                                 49,154.59
                                     80 Albert Blvd
                                     Pottsville, PA 17901

08/18/2017               [1]         ANNE NONYARA                             ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 49,156.28
                                     1452 SUNBURY ROAD
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         ANNA MARIE GOETZ                         ACCOUNTS RECEIVABLE                        1121-000                    4.05                                 49,160.33
                                     307 EAST WILSON STREET
                                     1ST FLOOR
                                     SCHUYLKILL HAVEN, PA 17972

08/18/2017               [1]         JOSEPH OZOR                              ACCOUNTS RECEIVABLE                        1121-000                    3.38                                 49,163.71
                                     325 NORTH CENTER STREET
                                     FRACKVILLE, PA 17931

08/18/2017               [1]         PATRICIA WARTELLA                        ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 49,167.01
                                     716 PINEWOOD CIRCLE
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                  33.08                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/18/2017               [1]         J. WILLIAM JONES                         ACCOUNTS RECEIVABLE                        1121-000                    0.32                                 49,167.33
                                     712 NORTH 2ND STREET
                                     MINERSVILLE, PA 17954

08/18/2017               [1]         RICHARD BILNSKI                          ACCOUNTS RECEIVABLE                        1121-000                    3.82                                 49,171.15
                                     P.O. BOX 117
                                     PINE GROVE, PA 17963

08/18/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                  14.06                                  49,185.21
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

08/18/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                    7.03                                 49,192.24
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

08/18/2017               [1]         BARBARA ZATKO                            ACCOUNTS RECEIVABLE                        1121-000                  25.17                                  49,217.41
                                     73 HILL TERRACE DRIVE
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         JUDY SHEELER                             ACCOUNTS RECEIVABLE                        1121-000                  12.03                                  49,229.44
                                     413 PINE CREEK
                                     BARNESVILLE, PA 18214

08/18/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                  31.99                                  49,261.43
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

                                                                                                                   Page Subtotals                  94.42                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/18/2017               [1]         ANTOINETTE PURCELL                       ACCOUNTS RECEIVABLE                        1121-000                  22.75                                  49,284.18
                                     144 HIGH ROAD
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         KATHLEEN HAUGHNEY                        ACCOUNTS RECEIVABLE                        1121-000                  50.00                                  49,334.18
                                     2157 WOODGLEN ROAD
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         ALVIN WILE                               ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  49,364.18
                                     23 TIMBERLINE DRIVE
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         DEBRA OSATCHUCK                          ACCOUNTS RECEIVABLE                        1121-000                    7.20                                 49,371.38
                                     988 DEIBERTS VALLEY ROAD
                                     SCHUYLKILL HAVEN, PA 17972

08/18/2017               [1]         ANDREA HAHNER                            ACCOUNTS RECEIVABLE                        1121-000                  29.29                                  49,400.67
                                     223 MARKET SQUARE
                                     APT B 23
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         ELIZABETH EICH                           ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  49,430.67
                                     12 TALL OAKS DRIVE
                                     POTTSVILLE, PA 17901

08/18/2017               [1]         LAVINA DEAN                              ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  49,445.67
                                     1337 VALLEY ROAD
                                     TAMAQUA, PA 18252

                                                                                                                   Page Subtotals                 184.24                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                       Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                            Bank Name: Texas Capital Bank
                                                                                                                                                  Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                        Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                        Separate bond (if applicable): 0.00

    1                     2                                 3                                         4                                                     5                     6                  7
                                                                                                                                     Uniform
Transaction           Check or                                                                                                        Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                    Code             Deposits($)        Disbursements($)        Balance($)
08/18/2017               [1]         JOHN BARNES                              ACCOUNTS RECEIVABLE                                    1121-000                   100.00                                49,545.67
                                     376 EAST BACON STREET
                                     POTTSVILLE, PA 17901

08/22/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                                    1121-000                3,250.00                                 52,795.67


08/22/2017             51077         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 8/12/17               2990-000                                      4,161.88           48,633.79
                                     PO BOX 98                                (INVOICE NO. G398; McGinty, Homa, Dahm, Cassell,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


08/22/2017             51078         BB&T                                     PAYMENT OF SECURED CLAIM NO. 9B                        4210-000                                     34,400.00           14,233.79
                                     9 N Centre St
                                     Pottsville, PA 17901

08/23/2017                           Schuylkill Health System Medical Group   Cash Component of Purchase Price for the Sale of                              43,000.00                                 57,233.79
                                     Inc                                      Substantially All of the Assets of PIA to LVPG-S
                                     701 E Norwegian St
                                     Pottsville, PA 17901

                         [18]                                                                                        69,500.00       1229-000

                                                                              Moving of Medical Records              (7,500.00)      2990-000

                                                                              Storage of Medical Records           (19,000.00)       2990-000

08/25/2017             51079         KURTZMAN STEADY, LLC                     INTERIM COMPENSATION TO SPECIAL COUNSEL                3210-600                                      1,224.00           56,009.79
                                     401 S. 2ND ST., SUITE 301                (April 7, 217 through July 26, 2017) (PER COURT
                                     PHILADELPHIA, PA 19147                   ORDER DATED 8/23/17)


                                                                                                                                 Page Subtotals             46,350.00             39,785.88




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                      Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                           Bank Name: Texas Capital Bank
                                                                                                                                                 Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                       Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                       Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                       Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                   Code             Deposits($)        Disbursements($)          Balance($)
08/25/2017             51080         KURTZMAN STEADY, LLC                     OUT-OF-POCKET EXPENSES TO SPECIAL COUNSEL             3220-610                                           26.30           55,983.49
                                     401 S. 2ND ST., SUITE 301                (April 7, 217 through July 26, 2017) (PER COURT
                                     PHILADELPHIA, PA 19147                   ORDER DATED 8/23/17)


08/28/2017               [1]         JOHN DUDLEY                              ACCOUNTS RECEIVABLE                                   1121-000                     2.12                                  55,985.61
                                     23 EAST WILLIAM STREET
                                     SCHUYLKILL HAVEN, PA 17972

08/28/2017               [1]         MICHAEL SAMOLEWICZ                       ACCOUNTS RECEIVABLE                                   1121-000                     4.50                                  55,990.11
                                     438 INDIAN RUN ROAD
                                     NEW RINGGOLD, PA 17960

08/28/2017               [1]         ROBERT ZARETSKIE                         ACCOUNTS RECEIVABLE                                   1121-000                     3.00                                  55,993.11
                                     305 WEST CHERRY STREET
                                     SHENANDOAH, PA 17976

08/28/2017               [1]         PAMELA DONOVAN                           ACCOUNTS RECEIVABLE                                   1121-000                     0.33                                  55,993.44
                                     4301 BROOKSIDE CT
                                     ORWIGSBURG, PA 17961

08/28/2017               [1]         MARK STRIPE                              ACCOUNTS RECEIVABLE                                   1121-000                     2.25                                  55,995.69
                                     2327 Little Sorrel Ct
                                     Vienna, VA 22180

08/28/2017               [1]         DANIEL RUDY                              ACCOUNTS RECEIVABLE                                   1121-000                     2.94                                  55,998.63
                                     201 EAST BROAD STREET
                                     APT 6E
                                     TAMAQUA, PA 18252

                                                                                                                                Page Subtotals                 15.14                   26.30




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/28/2017               [1]         JEAN STOFFEY                             ACCOUNTS RECEIVABLE                        1121-000                    1.64                                 56,000.27
                                     619 EAST BROAD STREET
                                     TAMAQUA, PA 18252

08/28/2017               [1]         ROBERT MCLAUGHLIN                        ACCOUNTS RECEIVABLE                        1121-000                    4.13                                 56,004.40
                                     58 ST. ANN ST.
                                     P.O. BOX 255
                                     BARNESVILLE, PA 18214

08/28/2017               [1]         DELTA HOYSOCK                            ACCOUNTS RECEIVABLE                        1121-000                    3.82                                 56,008.22
                                     25 MAPLE AVE
                                     P.O. BOX 84
                                     MAR LIN, PA 17951

08/28/2017               [1]         DONALD NEVENGLOSKY                       ACCOUNTS RECEIVABLE                        1121-000                    2.12                                 56,010.34
                                     4 Lee Ron Ln
                                     Tamaqua, PA 18252

08/28/2017               [1]         DENNIS DEVINE                            ACCOUNTS RECEIVABLE                        1121-000                    1.93                                 56,012.27
                                     4 WOODLAND DRIVE
                                     CONYGHAM, PA 18219

08/28/2017               [1]         PAUL SEIDERS                             ACCOUNTS RECEIVABLE                        1121-000                    3.92                                 56,016.19
                                     5 DOGWOOD ROAD
                                     SCHUYLKILL HAVEN, PA 17972

08/28/2017               [1]         ANTHONY MILESHOSKY                       ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 56,017.88
                                     204 OAK STREET
                                     MINERSVILLE, PA 17954

                                                                                                                   Page Subtotals                  19.25                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/28/2017               [1]         MONICA KOSTERY                           ACCOUNTS RECEIVABLE                        1121-000                    3.27                                 56,021.15
                                     1698 1ST AVE
                                     POTTSVILLE, PA 17901

08/28/2017               [1]         KATHRYN KRAMER                           ACCOUNTS RECEIVABLE                        1121-000                    0.30                                 56,021.45
                                     72 OVERLOOK DRIVE
                                     POTTSVILLE, PA 17901

08/28/2017               [1]         GRACE FEES                               ACCOUNTS RECEIVABLE                        1121-000                    0.48                                 56,021.93
                                     25 N Nicholas St
                                     Saint Clair, PA 17970

08/28/2017               [1]         VINCENT ALBO                             ACCOUNTS RECEIVABLE                        1121-000                    2.99                                 56,024.92
                                     P.O. BOX 4132
                                     SELTZER, PA 17974

08/28/2017               [1]         CLARA GAUGHAN                            ACCOUNTS RECEIVABLE                        1121-000                    2.95                                 56,027.87
                                     35 PAUL STREET
                                     ASHLAND, PA 17921

08/28/2017               [1]         JOHN URENKO                              ACCOUNTS RECEIVABLE                        1121-000                    3.60                                 56,031.47
                                     255 LOUISA AVE
                                     POTTSVILLE, PA 17901

08/28/2017               [1]         BRENDA KARKANICA                         ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 56,033.16
                                     148 WEST RAILROAD STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                  15.28                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/28/2017               [1]         LINETTE HUNYARA                          ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 56,036.46
                                     709 MAPLE STREET
                                     MINERSVILLE, PA 17954

08/28/2017               [1]         CARLENE BURLEY                           ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 56,039.46
                                     111 EAST MAINE STREET
                                     GIRARDVILLE, PA 17935

08/28/2017               [1]         MELINDA NEVILS                           ACCOUNTS RECEIVABLE                        1121-000                    3.96                                 56,043.42
                                     159 Pottsville St
                                     Cressona, PA 17929

08/28/2017               [1]         B. FLEMING                               ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 56,045.11
                                     1003 BERTRAM CT.
                                     AUGUSTA, GA 30909

08/28/2017               [1]         BRIAN CHIMAHUSKY                         ACCOUNTS RECEIVABLE                        1121-000                    3.60                                 56,048.71
                                     1066 MAPLE AVE
                                     POTTSVILLE, PA 17901

08/28/2017               [1]         DAVID RIEGER                             ACCOUNTS RECEIVABLE                        1121-000                    2.25                                 56,050.96
                                     401 STONEY MTN. ROAD
                                     AUBURN, PA 17922

08/28/2017               [1]         TARA MAHONEY                             ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 56,054.26
                                     1 NORTH 22ND STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                  21.10                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/28/2017               [1]         DOLORES DELIN                            ACCOUNTS RECEIVABLE                        1121-000                    0.15                                 56,054.41
                                     203 PHEASANT RUN ROAD
                                     ORWIGSBURG, PA 17961

08/28/2017               [1]         ASHLEY HEFFNER                           ACCOUNTS RECEIVABLE                        1121-000                    4.88                                 56,059.29
                                     981 SOUTH RT 183
                                     SUMMIT STATION, PA 17979

08/28/2017               [1]         MICHELLE LESCAVAGE                       ACCOUNTS RECEIVABLE                        1121-000                    3.60                                 56,062.89
                                     452 NEW CASTLE STREET
                                     MINERSVILLE, PA 17954

08/28/2017               [1]         TERRY BRENNAN                            ACCOUNTS RECEIVABLE                        1121-000                    3.96                                 56,066.85
                                     1107 W Norwegian St
                                     Pottsville, PA 17901

08/28/2017               [1]         DAVID WOLFE                              ACCOUNTS RECEIVABLE                        1121-000                    2.25                                 56,069.10
                                     1747 SUMMERHILL ROAD
                                     AUBURN, PA 17922

08/28/2017               [1]         MICHAEL FREDERICK                        ACCOUNTS RECEIVABLE                        1121-000                    1.76                                 56,070.86
                                     106 Schuylkill St
                                     Cressona, PA 17929

08/28/2017               [1]         SANDRA MULDOWNEY                         ACCOUNTS RECEIVABLE                        1121-000                    3.60                                 56,074.46
                                     230 WALLACE STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                  20.20                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/28/2017               [1]         DEBORAH FORMICA                          ACCOUNTS RECEIVABLE                        1121-000                    4.60                                 56,079.06
                                     126 ANGEL DRIVE
                                     NEW RINGGOLD, PA 17960

08/28/2017               [1]         JEAN BLOSS                               ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 56,080.75
                                     210 EAST LLOYD STREET
                                     SHENANDOAH, PA 17076

08/28/2017               [1]         KENNETH UMBENHAUER                       ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 56,082.44
                                     605 W Norwegian St
                                     APT 2
                                     Pottsville, PA 17901

08/28/2017               [1]         TRACY BARRY                              ACCOUNTS RECEIVABLE                        1121-000                    2.25                                 56,084.69
                                     1344 WEST MAPLE STREET
                                     P.O. BOX 618
                                     VALLEY VIEW, PA 17983

08/28/2017               [1]         KENNETH MATZ                             ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 56,087.69
                                     19 MAIN STREET MT. CARBON
                                     POTTSVILLE, PA 17901

08/28/2017               [1]         JOSEPH MAGER                             ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 56,089.38
                                     200 PINE STREET
                                     PORT CARBON, PA 17965

08/28/2017               [1]         DOLORES GELBUTIS                         ACCOUNTS RECEIVABLE                        1121-000                    2.30                                 56,091.68
                                     16 WEST BACON STREET
                                     PALO ALTO, PA 17901

                                                                                                                   Page Subtotals                  17.22                   0.00




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                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

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                                                                                                                                 Uniform
Transaction           Check or                                                                                                    Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                Code            Deposits($)        Disbursements($)           Balance($)
08/28/2017               [1]         DALE REIGLE                              ACCOUNTS RECEIVABLE                                1121-000                    3.30                                   56,094.98
                                     745 Stallion Dr
                                     Auburn, PA 17922

08/29/2017               [16]        THE MEDICAL PROTECTIVE CO                REFUND - INSURANCE- ASSET # 16                     1249-000               7,666.00                                    63,760.98
                                     5814 REED ROAD
                                     P.O. BOX 15021
                                     FORT WAYNE, IN 46885

08/29/2017             51081         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 8/19/17           2990-000                                     4,403.52              59,357.46
                                     PO BOX 98                                (INVOICE NO. G406; McGinty, Homa, Dahm, Cassell,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


08/29/2017             51082         BUSINESS CARD SERVICES                   FILING FEES (COMPLAINT V. NOVITAS)                 2990-000                                          350.00           59,007.46


08/30/2017               [17]        MCS GROUP, INC                           MEDICAL RECORDS FOR JOHN NUSH                      1290-000                  76.32                                    59,083.78
                                     1601 MARKET STREET
                                     SUITE 800
                                     PHILADELPHIA, PA 19103

08/30/2017               [1]         ANGELIQUE MAHMOD                         ACCOUNTS RECEIVABLE                                1121-000                    3.60                                   59,087.38
                                     214 WEST CENTRE STREET
                                     SHENANDOAH, PA 17976

08/30/2017               [1]         SCOTT PANZER                             ACCOUNTS RECEIVABLE                                1121-000                    4.50                                   59,091.88
                                     419 A LASELLE ST
                                     BERWICK, PA 18603

                                                                                                                            Page Subtotals              7,753.72              4,753.52




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/30/2017               [1]         MARY ANN KELLY-MERENDA                   ACCOUNTS RECEIVABLE                        1121-000                    1.06                                 59,092.94
                                     22 SOUTH STREET
                                     TAMAQUA, PA 18252

08/30/2017               [1]         KATIE ROMANO                             ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 59,095.94


08/30/2017               [1]         ANNA DONORIS                             ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 59,097.63
                                     313 NEW CASTLE STREET
                                     MINERSVILLE, PA 17954

08/30/2017               [1]         ROSEMARY WOLFGANG                        ACCOUNTS RECEIVABLE                        1121-000                    3.34                                 59,100.97
                                     1154 EAST MAIN STREET
                                     HEGINS, PA 17938

08/30/2017               [1]         SUELLEN BURKHARDT                        ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 59,104.27
                                     160 NORTH LAUREL STREET
                                     HAZLETON, PA 18210

08/30/2017               [1]         LEON LENICK                              ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 59,105.96
                                     1043 LONG RUN ROAD
                                     PINE GROVE, PA 17963

08/30/2017               [1]         LORRAINE SCINTO                          ACCOUNTS RECEIVABLE                        1121-000                    0.98                                 59,106.94
                                     147 W Savory St
                                     Pottsville, PA 17901

08/30/2017               [1]         RACHAEL BOSACK                           ACCOUNTS RECEIVABLE                        1121-000                    2.75                                 59,109.69
                                     15 NW Lawn Rd
                                     Pottsville, PA 17901

                                                                                                                   Page Subtotals                  17.81                   0.00



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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/30/2017               [1]         CHARLES LUCAS                            ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 59,111.38
                                     10 MAIN STREET
                                     ASHLAND, PA 17921

08/30/2017               [1]         RYAN ANDERSON                            ACCOUNTS RECEIVABLE                        1121-000                    3.54                                 59,114.92
                                     7 FAIRWAY DRIVE
                                     ASHLAND, PA 17921

08/30/2017               [1]         EUGENE WERLEY                            ACCOUNTS RECEIVABLE                        1121-000                    2.25                                 59,117.17
                                     2353 Stallion Dr
                                     Auburn, PA 17922

08/30/2017               [1]         ELIZABETH SIMINTUS                       ACCOUNTS RECEIVABLE                        1121-000                    3.27                                 59,120.44
                                     7 BLUE LANE
                                     POTTSVILLE, PA 17901

08/30/2017               [1]         MICHAEL BELOVESICK                       ACCOUNTS RECEIVABLE                        1121-000                    2.30                                 59,122.74
                                     90 ALBERT BLVD
                                     POTTSVILLE, PA 17901

08/30/2017               [1]         DOMINIC CARTELLA                         ACCOUNTS RECEIVABLE                        1121-000                    0.60                                 59,123.34
                                     636 WEST PENN STREET
                                     SHENANDOAH, PA 17976

08/30/2017               [1]         NANCY MALTAIS                            ACCOUNTS RECEIVABLE                        1121-000                    2.25                                 59,125.59


08/30/2017               [1]         GAIL CHAKLOS                             ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 59,128.59
                                     76 ROSE AVE
                                     PORT CARBON, PA 17965

                                                                                                                   Page Subtotals                  18.90                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/30/2017               [1]         JEFFERY VOLUTZA                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  59,148.59
                                     25 N. NICHOLAS STREE
                                     APT 105
                                     SAINT CLAIR, PA 17970

08/30/2017               [1]         ANTHONY KOCHOL                           ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 59,150.28
                                     383 SOUTH CENTER STREET
                                     POTTSVILLE, PA 17901

08/30/2017               [1]         CHARLES BREISCH                          ACCOUNTS RECEIVABLE                        1121-000                    1.50                                 59,151.78
                                     455 NICHOLS STREET
                                     POTTSVILLE, PA 17901

08/30/2017               [1]         SAMANTHA LUSCAVAGE                       ACCOUNTS RECEIVABLE                        1121-000                    3.80                                 59,155.58
                                     425 MAIN STREET
                                     P.O. BOX 4164
                                     SELTZER, PA 17974

08/30/2017               [1]         KAREN ALBAN                              ACCOUNTS RECEIVABLE                        1121-000                    3.91                                 59,159.49
                                     2063 KING AVE
                                     POTTSVILLE, PA 17901

08/30/2017               [1]         ROBERT PARTHE                            ACCOUNTS RECEIVABLE                        1121-000                    1.77                                 59,161.26
                                     98 MARCELLA ROAD
                                     MARY D, PA 17952

08/30/2017               [1]         WANDA HARRIS                             ACCOUNTS RECEIVABLE                        1121-000                    1.50                                 59,162.76
                                     15 Road View Ln
                                     Pine Grove, PA 17963

                                                                                                                   Page Subtotals                  34.17                   0.00




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                                     Case 5:17-bk-00641-RNO                Doc 193 Filed 06/25/19 Entered 06/25/19 09:36:40                              Desc
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/30/2017               [1]         OLIVE HOY                                ACCOUNTS RECEIVABLE                        1121-000                    4.80                                 59,167.56
                                     216 W Independence St
                                     APT 202
                                     Orwigsburg, PA 17961

08/30/2017               [1]         CONSTANCE TETER                          ACCOUNTS RECEIVABLE                        1121-000                    4.99                                 59,172.55
                                     1693 LITTLE MOUNTAIN ROAD
                                     ORWIGSBURG, PA 17961

08/30/2017               [1]         DALE WAGNER                              ACCOUNTS RECEIVABLE                        1121-000                    1.54                                 59,174.09
                                     P.O. BOX 343
                                     134 MARKET STREET
                                     AUBURN, PA 17922

08/30/2017               [1]         BRITTANY NOECKER                         ACCOUNTS RECEIVABLE                        1121-000                    3.27                                 59,177.36
                                     86 Browns Church Rd
                                     Schuylkill Haven, PA 17972

08/30/2017               [1]         LORA MCDONALD                            ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 59,180.66
                                     39 GREY HAWK DRIVE
                                     ORWIGSBURG, PA 17961

08/30/2017               [1]         THOMAS BARR                              ACCOUNTS RECEIVABLE                        1121-000                    3.27                                 59,183.93
                                     619 LYTLE STREET
                                     MINERSVILLE, PA 17954

08/30/2017               [1]         JOHN LURWICK                             ACCOUNTS RECEIVABLE                        1121-000                    1.54                                 59,185.47
                                     215 PIKE STREET
                                     PORT CARBON, PA 17965

                                                                                                                   Page Subtotals                  22.71                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/30/2017               [1]         JOHN GURECKI                             ACCOUNTS RECEIVABLE                        1121-000                    2.30                                 59,187.77
                                     29 Pine Swamp Rd
                                     Ringtown, PA 17967

08/30/2017               [1]         ANNA HORVATH                             ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 59,192.77
                                     404 WEST WASHINGTON STREET
                                     FRACKVILLE, PA 17931

08/30/2017               [1]         SANDRA BAVER                             ACCOUNTS RECEIVABLE                        1121-000                    2.00                                 59,194.77
                                     21 APPLEWOOD CIRCLE
                                     ORWIGSBURG, PA 17961

08/30/2017               [1]         HENRY BUZZA                              ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 59,197.77
                                     515 EAST UNION STREET
                                     SCHUYLKILL HAVEN, PA 17972

08/30/2017               [1]         STEPHANIE CAULFIELD                      ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  59,207.77
                                     118 EAST CHESTNUT STREET
                                     FRACKVILLE, PA 17931

08/30/2017               [1]         ROBIN LYNCH                              ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  59,232.77
                                     208 DOCK STREET
                                     APT # 9
                                     SCHUYLKILL HAVEN, PA 17972

08/30/2017               [1]         JOHN CONSUGAR                            ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 59,236.07
                                     2048 WEST MARKET STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                  50.60                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/30/2017               [1]         THOMAS JAMES                             ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 59,237.76
                                     154 NORTH CENTER STREET
                                     FRACKVILLE, PA 17931

08/30/2017               [1]         SUSAN FISHER                             ACCOUNTS RECEIVABLE                        1121-000                    3.78                                 59,241.54
                                     P.O. BOX 62
                                     FRIEDENSBURG, PA 17933

08/30/2017               [1]         BARBARA WIRTH                            ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  59,271.54
                                     1992 Moccasin Dr
                                     Auburn, PA 17922

08/30/2017               [1]         SUSAN MCGOVERN                           ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 59,274.84
                                     1119 Pottsville St
                                     Pottsville, PA 17901

08/30/2017               [1]         AUSTIN MYERS                             ACCOUNTS RECEIVABLE                        1121-000                 130.00                                  59,404.84
                                     421 New Schaefferstown Rd
                                     Bernville, PA 19506

08/30/2017               [1]         JOHANNE MARTZ                            ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 59,406.53
                                     125 ROCKLAND DRIVE
                                     ORWIGSBURG, PA 17961

08/30/2017               [1]         WILLIAM VERBOSH                          ACCOUNTS RECEIVABLE                        1121-000                    3.27                                 59,409.80
                                     1353 BUNTING STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 173.73                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/30/2017               [1]         MARY SANTAI                              ACCOUNTS RECEIVABLE                        1121-000                    1.08                                 59,410.88
                                     202 MAPLE AVE
                                     MAR LIN, PA 17951

08/30/2017               [1]         DEBRA WALTERS                            ACCOUNTS RECEIVABLE                        1121-000                    3.38                                 59,414.26
                                     126 OAK HILL STREET
                                     P.O. BOX 4172
                                     SELTZER, PA 17974

08/30/2017               [1]         JOSEPH KOSTURA                           ACCOUNTS RECEIVABLE                        1121-000                    2.00                                 59,416.26
                                     240 Teaberry Hill Rd
                                     Minersville, PA 17954

08/30/2017               [1]         CYNTHIA TRUESDALE                        ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 59,417.95
                                     233 LAUREL COURT
                                     PINE GROVE, PA 17963

08/30/2017               [1]         CHARLES TRAPANI                          ACCOUNTS RECEIVABLE                        1121-000                    2.12                                 59,420.07
                                     1737 WEST END AVE
                                     POTTSVILLE, PA 17901

08/30/2017               [1]         FRANCIS FRANKENSTEIN                     ACCOUNTS RECEIVABLE                        1121-000                    3.80                                 59,423.87
                                     745 EASTON ROAD
                                     APT 2
                                     HELLERTOWN, PA 18055

08/30/2017               [1]         BETTY MOYER                              ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 59,426.87
                                     109 WASHINGTON STREET
                                     P.O. BOX 23
                                     MIDDLEPORT, PA 17953

                                                                                                                   Page Subtotals                  17.07                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/30/2017               [1]         ANGIE DEANGELO                           ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 59,429.87
                                     611 WALBERT STREET
                                     ASHLAND, PA 17921

08/30/2017               [1]         WANDA MAURER                             ACCOUNTS RECEIVABLE                        1121-000                    2.25                                 59,432.12
                                     1639 EAST MOUNTAIN ROAD
                                     HEGINS, PA 17938

08/30/2017               [1]         SUSAN KANEZO                             ACCOUNTS RECEIVABLE                        1121-000                    1.41                                 59,433.53
                                     45 Moorenoll St
                                     Schuylkill Haven, PA 17972

08/30/2017               [1]         ANN LEE SCHLEGEL                         ACCOUNTS RECEIVABLE                        1121-000                    0.96                                 59,434.49
                                     629 LEONARD STREET
                                     SCHUYLKILL HAVEN, PA 17972

08/30/2017               [1]         VERA WITCONIS                            ACCOUNTS RECEIVABLE                        1121-000                    0.70                                 59,435.19
                                     77 ORCHARD ROAD
                                     BARNESVILLE, PA 18214

08/30/2017               [1]         WALTER WEBER                             ACCOUNTS RECEIVABLE                        1121-000                    1.41                                 59,436.60
                                     1423 SENECA STREET
                                     POTTSVILLE, PA 17901

08/30/2017               [1]         JOHN MASKERINES                          ACCOUNTS RECEIVABLE                        1121-000                    2.44                                 59,439.04
                                     225 TIMBER ROAD
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                  12.17                   0.00




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                                     Case 5:17-bk-00641-RNO                Doc 193 Filed 06/25/19 Entered 06/25/19 09:36:40                              Desc
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
08/30/2017               [1]         JODI HUMMEL                              ACCOUNTS RECEIVABLE                        1121-000                    1.54                                 59,440.58
                                     1283 SCHUYLKILL MT. RD
                                     SCHUYKILL HAVEN, PA 17972

08/30/2017               [1]         DENNIS MALEY                             ACCOUNTS RECEIVABLE                        1121-000                    2.25                                 59,442.83
                                     121 NORTH HARDING AVE
                                     MORRISVILLE, PA

08/30/2017               [1]         KIMBERLY GRECO                           ACCOUNTS RECEIVABLE                        1121-000                    1.41                                 59,444.24
                                     321 EAST MAIN STREET
                                     GIRARDVILLE, PA 17935

08/30/2017               [1]         KATHRYN HARVEY                           ACCOUNTS RECEIVABLE                        1121-000                    1.50                                 59,445.74
                                     285 EAST SECOND MTN. RD
                                     POTTSVILLE, PA 17901

08/30/2017               [1]         ROBERT WEITZ                             ACCOUNTS RECEIVABLE                        1121-000                    3.60                                 59,449.34
                                     205 NORTH CENTER STREET
                                     FRACKVILLE, PA 17931

08/30/2017               [1]         CHARLES ORTH                             ACCOUNTS RECEIVABLE                        1121-000                    2.21                                 59,451.55
                                     801 WALNUT STREET
                                     ASHLAND, PA 17921

08/30/2017               [1]         DEBORAH DASCH                            ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 59,454.85
                                     29 HICKORY STREET
                                     P.O. BOX 70
                                     FRIEDENSBURG, PA 17933

                                                                                                                   Page Subtotals                  15.81                   0.00




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                                     Case 5:17-bk-00641-RNO                Doc 193 Filed 06/25/19 Entered 06/25/19 09:36:40                              Desc
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                 5                     6                     7
                                                                                                                                 Uniform
Transaction           Check or                                                                                                    Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                Code            Deposits($)        Disbursements($)           Balance($)
08/30/2017             51083         UPS                                      UPS OVERNIGHT MAILING (INVOICE NO. FE5895347;      2990-000                                           56.86           59,397.99
                                     PO BOX 7247-0244                         SHIPPER NO. FE5895; CONTROL ID 840W)
                                     PHILADELPHIA, PA 19170-0001

08/30/2017             51084         COMCAST                                  COMCAST (ACCT. NO. 8993112520172227)               2990-000                                          145.75           59,252.24
                                     PO BOX 37601
                                     PHILADELPHIA, PA 19101-0601

08/31/2017             51085         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 8/26/17           2990-000                                     4,525.46              54,726.78
                                     PO BOX 98                                (INVOICE NO. G412; McGinty, Homa, Dahm, Cassell,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


09/01/2017               [1]         HIGHMARK                                 ACCOUNTS RECEIVABLE                                1121-000                  290.00                                   55,016.78


09/01/2017               [1]         JAMES KRAUSE                             ACCOUNTS RECEIVABLE                                1121-000                    1.26                                   55,018.04
                                     242 Mohave Dr
                                     Auburn, PA 17922

09/01/2017               [1]         JACQUELYN MARTIN                         ACCOUNTS RECEIVABLE                                1121-000                    3.30                                   55,021.34
                                     5334 FOUR POINT ROAD
                                     BETHEL, PA 19507

09/01/2017               [1]         JEREMY SEIDERS                           ACCOUNTS RECEIVABLE                                1121-000                    2.30                                   55,023.64
                                     622 EDWARD AVE
                                     POTTSVILLE, PA 17901

09/01/2017               [1]         LORRAINE MACUNAS                         ACCOUNTS RECEIVABLE                                1121-000                    3.82                                   55,027.46
                                     1248 MOUNT HOPE AVE
                                     POTTSVILLE, PA 17901

                                                                                                                            Page Subtotals                 300.68             4,728.07



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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/01/2017               [1]         PAMELA MALLICK                           ACCOUNTS RECEIVABLE                        1121-000                    0.38                                 55,027.84
                                     201 E Broad St
                                     APT 3J
                                     TAMAQUA, PA 18252

09/01/2017               [1]         BRENDA PHILLIPS                          ACCOUNTS RECEIVABLE                        1121-000                    2.25                                 55,030.09
                                     219 SOUTH THIRD STREET
                                     P.O. BOX 385
                                     AUBURN, PA 17922

09/01/2017               [1]         MICHQUELENA POTLUNAS                     ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 55,033.39
                                     25 WARWICK COURT
                                     READING, PA 19606

09/01/2017               [1]         PATRICIA KAUFFMAN                        ACCOUNTS RECEIVABLE                        1121-000                    3.82                                 55,037.21
                                     1111 WEST MARKET STREET
                                     SCHUYLKILL HAVEN, PA 17972

09/01/2017               [1]         ROSE MARY PACE                           ACCOUNTS RECEIVABLE                        1121-000                    1.50                                 55,038.71
                                     1353 BUNTING STREET
                                     POTTSVILLE, PA 17901

09/01/2017               [1]         ALICE KRAMER                             ACCOUNTS RECEIVABLE                        1121-000                    2.99                                 55,041.70
                                     101 Mahantongo St
                                     APT 204
                                     Pottsville, PA 17901

09/01/2017               [1]         MARY JANE HOLLYWOOD                      ACCOUNTS RECEIVABLE                        1121-000                    1.97                                 55,043.67
                                     321 VALLEY STREET
                                     PORT CARBON , PA 17965

                                                                                                                   Page Subtotals                  16.21                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/01/2017               [1]         CHARLES BARNES                           ACCOUNTS RECEIVABLE                        1121-000                    2.48                                 55,046.15
                                     136 CREST STREET
                                     BARNESVILLE, PA 18214

09/01/2017               [1]         IRIS WELLER                              ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 55,049.15
                                     MARGARET AVE
                                     P.O. BOX 162
                                     ORWIGSBURG, PA 17961

09/01/2017               [1]         GREGORY YUTKO                            ACCOUNTS RECEIVABLE                        1121-000                  27.63                                  55,076.78
                                     266 SUMMER VALLEY
                                     ORWIGSBURG, PA 17961

09/01/2017               [1]         JOSEPHINE DRAZENARCH                     ACCOUNTS RECEIVABLE                        1121-000                    3.82                                 55,080.60
                                     20 NORTH FRONT STREET
                                     MINERSVILLE, PA 17954

09/01/2017               [1]         JULIA O'CONNOR                           ACCOUNTS RECEIVABLE                        1121-000                  29.14                                  55,109.74
                                     304 SOUTH FIFTH STREET
                                     MINERSVILLE, PA 17954

09/01/2017               [1]         EUGENE LONG                              ACCOUNTS RECEIVABLE                        1121-000                    2.82                                 55,112.56
                                     15 SUFFOLK
                                     MAHANOY CITY, PA 17948

09/01/2017               [1]         THERESA KNIPE                            ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 55,115.86
                                     P.O. BOX 16
                                     SHENANDOAH, PA 17976

                                                                                                                   Page Subtotals                  72.19                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/01/2017               [1]         JOAN RENNICK                             ACCOUNTS RECEIVABLE                        1121-000                    3.62                                 55,119.48
                                     39 SOUTH MORRIS STREET
                                     SAINT CLAIR, PA 17970

09/01/2017               [1]         DAVID LINKCHORST                         ACCOUNTS RECEIVABLE                        1121-000                    3.82                                 55,123.30
                                     802 Barnesville Dr
                                     Barnesville, PA 18214

09/01/2017               [1]         COLETTE MARKIEWICZ                       ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 55,126.60
                                     1414 EAST CENTRE STREET
                                     MAHANOY CITY, PA 179438

09/01/2017               [1]         J.K. STRAUSSER                           ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 55,129.60
                                     229 1ST STREET
                                     PORT CARBON , PA 17965

09/01/2017               [1]         J.K. STRAUSSER                           ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 55,132.60
                                     229 1ST STREET
                                     PORT CARBON , PA 17965

09/01/2017               [1]         KAZIMIERA HORNBERGER                     ACCOUNTS RECEIVABLE                        1121-000                    3.82                                 55,136.42
                                     200 E Mahanoy St
                                     Mahanoy City, PA 17948

09/01/2017               [1]         JAMES BARRETT                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  55,161.42
                                     1417 MARKET STREET
                                     ASHLAND, PA 17921

                                                                                                                   Page Subtotals                  45.56                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/01/2017               [1]         WILLIAM WASSER                           ACCOUNTS RECEIVABLE                        1121-000                    2.25                                 55,163.67
                                     221 E Mahanoy St
                                     P.O. BOX 275
                                     Mahanoy City, PA 17948

09/01/2017               [1]         KATHIE WARD                              ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 55,168.67
                                     2002 ELM STREET
                                     POTTSVILLE, PA 17901

09/01/2017               [1]         ROBERT LOHIN                             ACCOUNTS RECEIVABLE                        1121-000                    3.60                                 55,172.27
                                     202 ARLENE STREET
                                     MINERSVILLE, PA 17954

09/01/2017               [1]         TAMMY GERBER                             ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 55,175.57
                                     2154 MAIN STREET
                                     POTTSVILLE, PA 17901

09/01/2017               [1]         TAMMY GERBER                             ACCOUNTS RECEIVABLE                        1121-000                    3.80                                 55,179.37
                                     2154 MAIN STREET
                                     POTTSVILLE, PA 17901

09/01/2017               [1]         EDWIN BOWE                               ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 55,182.37
                                     91 Pottsville St
                                     Cressona, PA 17929

09/01/2017               [1]         CHERYL WYCHUNAS                          ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 55,184.06
                                     301 WEST ARCH STREET
                                     P.O. BOX 1296
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                  22.64                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/01/2017               [1]         JOHN PURCELL                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  55,194.06
                                     25 N Nicholas St
                                     APT 305
                                     Saint Clair, PA 17970

09/01/2017               [1]         JENNY SCHAFER                            ACCOUNTS RECEIVABLE                        1121-000                    2.30                                 55,196.36
                                     58 4TH AVENUE
                                     POTTSVILLE, PA 17901

09/01/2017               [1]         CHRISTOPHER KUTRUFF                      ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 55,199.36
                                     478 MOORE STREET
                                     MILLERSBURG, PA 17061

09/01/2017               [1]         DANIEL EISENHAUER                        ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 55,201.05
                                     1820 LONG RUN ROAD
                                     SCHUYLKILL HAVEN, PA 17972

09/01/2017               [1]         ANTHONY PACE                             ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 55,204.05
                                     527 WEST CHESTNUT STREET
                                     FRACKVILLE, PA 17931

09/01/2017               [1]         DORIS LETTICH                            ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 55,205.74
                                     109 WEST MAPLE STREET
                                     VALLEY VIEW, PA 17983

09/01/2017               [1]         MARK VERNON                              ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 55,208.74
                                     312 LAUREL STREET
                                     MINESVILLE, PA 17954

                                                                                                                   Page Subtotals                  24.68                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/01/2017               [1]         SCOTT GAPINSKI                           ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 55,212.04
                                     211 SUNBURY STREET
                                     APT 1
                                     MINERSVILLE, PA 17954

09/01/2017               [1]         RICHARD GLINCOSKY                        ACCOUNTS RECEIVABLE                        1121-000                    3.60                                 55,215.64
                                     68 AVENUE D
                                     SCHUYLKILL HAVEN, PA 17972

09/01/2017               [1]         ANN MARIE WEICIKOSKY                     ACCOUNTS RECEIVABLE                        1121-000                    3.28                                 55,218.92
                                     P.O. BOX 98
                                     MIDDLEPORT, PA 17953

09/01/2017               [1]         CHRISTIE JO SALEM                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  55,243.92
                                     133 NORTH THIRD STREET
                                     SAINT CLAIR, PA 17970

09/01/2017               [1]         DEBORAH MELENDEZ                         ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  55,263.92
                                     34 Schuylkill Rd
                                     New Ringgold, PA 17960

09/01/2017               [1]         LOIS HEWES                               ACCOUNTS RECEIVABLE                        1121-000                    2.30                                 55,266.22
                                     224 SOUTH 3RD STREET
                                     SAINT CLAIR, PA 17970

09/01/2017               [17]        LEONARD SCHUMACK                         MEDICAL RECORDS                            1290-000                  13.00                                  55,279.22
                                     277 VIRGINIA AVE
                                     SHENANDOAH, PA 17976

                                                                                                                   Page Subtotals                  70.48                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/05/2017               [1]         KIM FETTEROLF                            ACCOUNTS RECEIVABLE                        1121-000                    3.38                                 55,282.60
                                     162 Brier City Rd
                                     Pottsville, PA 17901

09/05/2017               [1]         KATHLEEN TONE                            ACCOUNTS RECEIVABLE                        1121-000                    1.50                                 55,284.10
                                     823 W Norwegian St
                                     Pottsville, PA 17901

09/05/2017               [1]         JAMES DIX                                ACCOUNTS RECEIVABLE                        1121-000                    4.18                                 55,288.28
                                     106 PINE RIDGE DRIVE
                                     PONE GROVE, PA 17963

09/05/2017               [1]         JAMES DIX                                ACCOUNTS RECEIVABLE                        1121-000                    4.18                                 55,292.46
                                     106 PINE RIDGE DRIVE
                                     PONE GROVE, PA 17963

09/05/2017               [1]         MALCOLM EUBERT                           ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 55,295.76
                                     14 GRACE AVE
                                     SCHUYLKILL HAVEN, PA 17972

09/05/2017               [1]         CLYDE WRIGHT                             ACCOUNTS RECEIVABLE                        1121-000                    2.12                                 55,297.88
                                     124 LONG AVE
                                     ORWIGSBURG, PA 17961

09/05/2017               [1]         KEEN HERMANY                             ACCOUNTS RECEIVABLE                        1121-000                    3.38                                 55,301.26
                                     266 Frieden Mnr
                                     Schuylkill Haven, PA 17972

                                                                                                                   Page Subtotals                  22.04                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/05/2017               [1]         CHARLOTTE BABCOCK                        ACCOUNTS RECEIVABLE                        1121-000                    4.18                                 55,305.44
                                     612 E Norwegian St
                                     Pottsville, PA 17901

09/05/2017               [1]         NANCY LECHLEITNER                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  55,330.44
                                     320 Mauch Chunk St
                                     Pottsville, PA 17901

09/05/2017               [1]         PATRICIA ROEDER                          ACCOUNTS RECEIVABLE                        1121-000                    3.60                                 55,334.04
                                     125 NORTH WEST STREET
                                     SHENANDOAH, PA 17976

09/05/2017               [1]         ALFRED DEVITO                            ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 55,335.73
                                     130 SOUTH 2ND STREET
                                     FRACKVILLE, PA 17931

09/05/2017               [1]         SUSAN TRESHOCK                           ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 55,337.42
                                     90 RAVEN RUN ROAD
                                     LOST CREEK, PA 17946

09/05/2017               [1]         LUANNE ZAHORCHAK                         ACCOUNTS RECEIVABLE                        1121-000                    2.50                                 55,339.92
                                     598 CALIFORNIA AVE
                                     SHENANDOAH, PA 17976

09/05/2017               [1]         SANDRA SCHLEMMER                         ACCOUNTS RECEIVABLE                        1121-000                    1.18                                 55,341.10
                                     330 WEST CENTRE STREET
                                     SHENANDOAH, PA 17976

                                                                                                                   Page Subtotals                  39.84                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/05/2017               [1]         CAROL MAJIKAS                            ACCOUNTS RECEIVABLE                        1121-000                    4.62                                 55,345.72
                                     1238 Pottsville St
                                     Pottsville, PA 17901

09/05/2017               [1]         FRANCIS TRYNOSKY                         ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 55,347.41
                                     248 SOUTH MIDDLE STREET
                                     FRACKVILLE, PA 17931

09/05/2017               [1]         DEBRA SCHANE                             ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 55,349.10
                                     175 MARKET STREET
                                     CUMBOLA, PA 17930

09/05/2017               [1]         CHARLES SENKUS                           ACCOUNTS RECEIVABLE                        1121-000                    0.59                                 55,349.69
                                     55 EAST WASHINGTON STREET
                                     PORT CARBON, PA 17965

09/05/2017               [1]         E. HAINES                                ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 55,351.38
                                     208 WEST OAK STREET
                                     SHENANDOAH, PA 17976

09/05/2017               [1]         THEODORE PALKO                           ACCOUNTS RECEIVABLE                        1121-000                    4.60                                 55,355.98
                                     13 SHADE STREET
                                     MIDDLEPORT, PA 17953

09/05/2017               [1]         MELVA GINGRICH                           ACCOUNTS RECEIVABLE                        1121-000                    4.50                                 55,360.48
                                     13 MEADOW BROOK DRIVE
                                     SCHUYLKILL HAVEN, PA 17972

09/05/2017               [1]         BRIAN FRITZ                              ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 55,363.48


                                                                                                                   Page Subtotals                  22.38                   0.00



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                                     Case 5:17-bk-00641-RNO                Doc 193 Filed 06/25/19 Entered 06/25/19 09:36:40                              Desc
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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/05/2017               [1]         MICHAEL SHPAKOVSKY                       ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 55,366.48
                                     122 NORTH 7TH STREET
                                     FRACKVILLE, PA 17931

09/05/2017               [1]         MARY FLANAGAN                            ACCOUNTS RECEIVABLE                        1121-000                    0.96                                 55,367.44
                                     320 COAL STREET
                                     PORT CARBON, PA 17965

09/05/2017               [1]         THOMAS HAUSMAN                           ACCOUNTS RECEIVABLE                        1121-000                    4.55                                 55,371.99
                                     319 WEST WALNUT STREET
                                     VALLEY VIEW, PA 17983

09/05/2017               [1]         SUSAN HENNINGER                          ACCOUNTS RECEIVABLE                        1121-000                    1.50                                 55,373.49
                                     1801 MARKET STREET
                                     ASHLAND, PA 17921

09/05/2017               [1]         SUSAN SERFASS                            ACCOUNTS RECEIVABLE                        1121-000                    1.53                                 55,375.02
                                     248 WEST BROAD STREET
                                     TAMAQUA, PA 18252

09/05/2017               [1]         SANDRA SEIDERS                           ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 55,378.02
                                     10 MAPLE STREET
                                     CRESSONA, PA 17929

09/05/2017               [1]         DANA MOYER                               ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 55,381.32
                                     251 CHESTNUT STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                  17.84                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/05/2017               [1]         ROBERT JONES                             ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 55,383.01
                                     119 Suedberg Rd
                                     Pine Grove, PA 17963

09/05/2017               [1]         MARY MEKAILEK                            ACCOUNTS RECEIVABLE                        1121-000                    1.68                                 55,384.69
                                     48 N Spencer St
                                     Frackville, PA 17931

09/05/2017               [1]         VIRGINIA FRANKENSTEIN                    ACCOUNTS RECEIVABLE                        1121-000                    2.47                                 55,387.16
                                     101 NORTH THIRD STREET
                                     MINERSVILLE, PA 17954

09/05/2017               [1]         GEORGINE PIZZICO                         ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 55,390.16
                                     85 SUNDAY DRIVE
                                     POTTSVILLE, PA 17901

09/05/2017               [1]         DARLENE SINGLETON                        ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 55,393.46
                                     14 Pottsville St
                                     Port Carbon, PA 17965

09/05/2017               [1]         BARBARA BRIGHT                           ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  55,418.46
                                     120 MAIN STREET
                                     GILBERTON, PA 17934

09/05/2017               [1]         J. THEODORE WOLPERT                      ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 55,420.15
                                     1514 HOWARD AVE
                                     APT C
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                  38.83                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/05/2017               [1]         LAURIE RUCH                              ACCOUNTS RECEIVABLE                        1121-000                 158.51                                  55,578.66
                                     99 NORTH TREMONT STREET
                                     TREMONT , PA 17981

09/05/2017               [1]         GERALDINE SALATA                         ACCOUNTS RECEIVABLE                        1121-000                    4.64                                 55,583.30
                                     147 S Nicholas St
                                     Saint Clair, PA 17970

09/05/2017               [1]         TINA DREY                                ACCOUNTS RECEIVABLE                        1121-000                    1.64                                 55,584.94
                                     255 PARKWAY
                                     APT 208
                                     SCHUYKILL HAVEN, PA 17972

09/05/2017               [1]         CHRISTINE CZACHOR                        ACCOUNTS RECEIVABLE                        1121-000                    1.50                                 55,586.44
                                     512 WEST CARROLL STREET
                                     SAINT CLAIR , PA 17970

09/05/2017               [1]         TERRY FRONK                              ACCOUNTS RECEIVABLE                        1121-000                    1.50                                 55,587.94
                                     111 Grand St
                                     DANVILLE, PA 17821

09/05/2017               [1]         ROBERT LONGBERGER                        ACCOUNTS RECEIVABLE                        1121-000                    4.50                                 55,592.44
                                     22 AVENUE A
                                     SCHUYLKILL HAVEN, PA 17972

09/05/2017               [1]         PAUL SCHNOKE                             ACCOUNTS RECEIVABLE                        1121-000                    3.60                                 55,596.04
                                     19 CENTER AVE
                                     SCHUYLKILL HAVEN, PA 17972

                                                                                                                   Page Subtotals                 175.89                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                    Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                    Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                     Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code           Deposits($)         Disbursements($)          Balance($)
09/05/2017                           ADJUSTMENT IN                            ADJUSTMENT IN (DEPOSITED INTO WRONG BANK            1280-000                 465.00                                   56,061.04
                                                                              ACCOUNT)

09/05/2017                           ADJUSTMENT IN                            ADJUSTMENT IN (DEPOSITED INTO WRONG BANK            1280-000               4,614.69                                   60,675.73
                                                                              ACCOUNT)

09/05/2017                           ADJUSTMENT IN                            ADJUSTMENT IN (DEPOSITED INTO WRONG BANK            1280-000               5,500.97                                   66,176.70
                                                                              ACCOUNT)

09/05/2017                           ADJUSTMENT IN                            ADJUSTMENT IN (DEPOSITED INTO WRONG BANK            1280-000                 317.15                                   66,493.85
                                                                              ACCOUNT)

09/05/2017                           ADJUSTMENT IN                            ADJUSTMENT IN (DEPOSITED INTO WRONG BANK            1280-000                 420.00                                   66,913.85
                                                                              ACCOUNT)

09/05/2017                           Texas Capital Bank                       Bank Service Fee                                    2600-000                                          78.94           66,834.91
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

09/06/2017             51086         APARTMENTS & ACQUISITIONS LP             ADJUSTMENT - FUNDS DEPOSITED INTO WRONG             1280-000            (11,317.81)                                   55,517.10
                                                                              BANK ACCOUNT (Deposited into PIA Acct. - Should
                                                                              be A&A Acct.) (Apartments & Acquisitions Funds
                                                                              from Proceeds - Sale of 135 S. Franklin St.,,
                                                                              Shamokin 917-919 & 921-923 Center St., Ashland, &
                                                                              27 N. Nice St., Frackville)

09/07/2017             51087         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 9/2/17             2990-000                                     4,177.83             51,339.27
                                     PO BOX 98                                (INVOICE NO. G420; McGinty, Homa, Dahm, Cassell,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


                                                                                                                            Page Subtotals                    0.00             4,256.77




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/08/2017               [17]        VIOLA LUCAS                              MEDICAL RECORDS                            1290-000                  12.20                                  51,351.47
                                     36 CHURCH ROAD
                                     POTTSVILLE, PA 17901

09/08/2017               [17]        JOAN WIYDA                               MEDICAL RECORDS                            1290-000                    7.66                                 51,359.13
                                     197 LLEWELLYN ROAD
                                     POTTSVILLE, PA 17901

09/08/2017               [17]        TERE BATES                               MEDICAL RECORDS                            1290-000                  12.00                                  51,371.13
                                     2787 SYCAMORE ROAD
                                     QUINCY, FL 32351

09/08/2017               [1]         ELAINE CLARKSON                          ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 51,374.43
                                     252 HIGH ROAD
                                     POTTSVILLE, PA 17901

09/08/2017               [1]         WASSIL DI CASIMIRRO                      ACCOUNTS RECEIVABLE                        1121-000                    4.22                                 51,378.65
                                     454 ROOSEVELT DRIVE
                                     MAHANOY CITY, PA 17948

09/08/2017               [1]         SADIE WETZEL                             ACCOUNTS RECEIVABLE                        1121-000                  40.00                                  51,418.65
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

09/08/2017               [1]         MARIAN FRANK                             ACCOUNTS RECEIVABLE                        1121-000                    2.00                                 51,420.65
                                     1007 NEWBOLD STREET
                                     P.O. BOX 3
                                     TUSCARORA, PA 17982

                                                                                                                   Page Subtotals                  81.38                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/08/2017               [1]         MICHELE AYELLO                           ACCOUNTS RECEIVABLE                        1121-000                    5.60                                 51,426.25
                                     1154 Running Deer Dr
                                     Auburn, PA 17922

09/08/2017               [1]         LORI CECIL                               ACCOUNTS RECEIVABLE                        1121-000                    1.15                                 51,427.40
                                     1823 WEST PARKWAY DRIVE
                                     APT A
                                     PIQUA, OH 45356

09/08/2017               [1]         DAVID BRENNAN                            ACCOUNTS RECEIVABLE                        1121-000                  42.88                                  51,470.28
                                     824 BUNTING STREET
                                     POTTSVILLE, PA 17901

09/08/2017               [1]         LARRY KLINGER                            ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 51,471.97
                                     27 AIRPORT ROAD
                                     PINE GROVE, PA 17963

09/08/2017               [1]         JAMES BLACKWELL                          ACCOUNTS RECEIVABLE                        1121-000                    2.11                                 51,474.08
                                     501 SOUTH LINE STREERT
                                     FRACKVILLE, PA 17931

09/08/2017               [1]         BEVERLY KOSTISHAK                        ACCOUNTS RECEIVABLE                        1121-000                    4.72                                 51,478.80
                                     401 SOUTH SECOND STREET
                                     SAINT CLAIR, PA 17970

09/08/2017               [1]         GWEN SPOTTS                              ACCOUNTS RECEIVABLE                        1121-000                    1.50                                 51,480.30
                                     1330 SHADY LANE
                                     TAMAQUA, PA 18252

                                                                                                                   Page Subtotals                  59.65                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/08/2017               [1]         ALLISON VALENTINE                        ACCOUNTS RECEIVABLE                        1121-000                    2.25                                 51,482.55
                                     418 STONEY RUN ROAD
                                     POTTSVILLE, PA 17901

09/08/2017               [1]         BONNIE DAVIS                             ACCOUNTS RECEIVABLE                        1121-000                    2.99                                 51,485.54
                                     607 WEST RACE STREET
                                     POTTSVILLE, PA 17901

09/08/2017               [1]         TERRY PUGH                               ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 51,487.23
                                     223 EAST WILSON STREET
                                     APT 1
                                     SCHUYLKILL HAVEN, PA 17972

09/08/2017               [1]         NANCY FELLOWS                            ACCOUNTS RECEIVABLE                        1121-000                    0.46                                 51,487.69
                                     166 SOUTH 24TH STREET
                                     POTTSVILLE, PA 17901

09/08/2017               [1]         CHRISTINE LAWSON                         ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  51,497.69
                                     32 FRITZ AVE
                                     SCHUYLKILL HAVEN, PA 17972

09/08/2017               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                        1121-000                  58.62                                  51,556.31


09/08/2017               [1]         JOHN PAUL                                ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 51,558.00
                                     970 FOUNTAIN STREET
                                     ASHLAND, PA 17921

                                                                                                                   Page Subtotals                  77.70                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/08/2017               [1]         LILLIAN GATTONE                          ACCOUNTS RECEIVABLE                        1121-000                  64.72                                  51,622.72
                                     3734 Oakwood Trl
                                     Allentown, PA 18103

09/08/2017               [1]         ACCESS SERVICE INC                       ACCOUNTS RECEIVABLE                        1121-000                    0.65                                 51,623.37
                                     500 Office Center Dr
                                     STE 100
                                     Fort Washington, PA 19034

09/08/2017               [1]         CRYSTAL OCHS                             ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 51,626.37
                                     366 WEST ROSE STREET
                                     TREMONT, PA 17981

09/08/2017               [1]         MARILYN VALOSIN                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  51,651.37
                                     505 NORTH WARREN STREET
                                     ORWIGSBURG, PA 17961

09/08/2017               [1]         LAURIE WARD                              ACCOUNTS RECEIVABLE                        1121-000                    2.05                                 51,653.42
                                     2201 W Norwegian St
                                     Pottsville, PA 17901

09/08/2017               [1]         GLENDA REICHERT                          ACCOUNTS RECEIVABLE                        1121-000                    1.50                                 51,654.92
                                     50 PEBBLE LANE
                                     PINE GROVE, PA 17963

09/08/2017               [1]         TARA JO EVITTS                           ACCOUNTS RECEIVABLE                        1121-000                  25.41                                  51,680.33
                                     214 N Margaretta St
                                     Schuylkill Haven, PA 17972

                                                                                                                   Page Subtotals                 122.33                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/08/2017               [1]         KEVIN MCELVANEY                          ACCOUNTS RECEIVABLE                        1121-000                    3.60                                 51,683.93
                                     121 WOODVIEW DRIVE
                                     ORWIGSBURG, PA 17961

09/08/2017               [1]         KENNETH BRENNAN                          ACCOUNTS RECEIVABLE                        1121-000                    2.30                                 51,686.23
                                     28 CHESTNUT STREET
                                     CRESSONA, PA 17929

09/08/2017               [1]         WAYNE MORRIS                             ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  51,701.23
                                     220 DEERFIELD DRIVE
                                     POTTSVILLE, PA 17901

09/08/2017               [1]         BARBARA BRIGHT                           ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  51,726.23
                                     120 MAIN STREET
                                     GILBERTON, PA 17934

09/08/2017               [1]         DONNA MELOCHICK                          ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 51,727.92
                                     2 WOODBRIDGE ROAD
                                     ORWIGSBURG, PA 17961

09/08/2017               [1]         ROSE NORDALL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  51,752.92
                                     422 Birds Hill Rd
                                     Pine Grove, PA 17963

09/08/2017               [1]         MICHELE GIPE                             ACCOUNTS RECEIVABLE                        1121-000                    3.60                                 51,756.52
                                     111 EAST LIBERTY STEET
                                     P.O. BOX 192
                                     SCHUYLKILL HAVEN, PA 17972

                                                                                                                   Page Subtotals                  76.19                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/08/2017               [1]         KAREN PASONE                             ACCOUNTS RECEIVABLE                        1121-000                    1.00                                 51,757.52
                                     101 EAST CHESTNUT STREET
                                     APT 106
                                     FRACKVILLE, PA 17931

09/08/2017               [1]         CHERYL KERNS                             ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 51,760.82
                                     46 SOUTH MORRIS STREET
                                     SAINT CLAIR, PA 17970

09/08/2017               [1]         KATHY COOPER                             ACCOUNTS RECEIVABLE                        1121-000                    2.78                                 51,763.60
                                     89 Molleystown Rd
                                     Pine Grove, PA 17963

09/08/2017               [1]         ANN MARIE YACOBACCI                      ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 51,766.90
                                     1333 WEST MARKET STREET
                                     POTTSVILLE, PA 17901

09/08/2017               [1]         LISA FULLER                              ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 51,769.90
                                     1745 WEST MAIN STREET
                                     VALLEY VIEW, PA 17983

09/08/2017               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                        1121-000                  35.00                                  51,804.90
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

09/08/2017               [1]         COLLEEN MILLER                           ACCOUNTS RECEIVABLE                        1121-000                    2.06                                 51,806.96
                                     33 Lower Beechwood Ave
                                     Pottsville, PA 17901

                                                                                                                   Page Subtotals                  50.44                   0.00




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                                     Case 5:17-bk-00641-RNO                Doc 193 Filed 06/25/19 Entered 06/25/19 09:36:40                              Desc
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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/08/2017               [1]         CAROLYN KUTZ                             ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 51,809.96
                                     943 SUMMERHILL ROAD
                                     AUBURN, PA 17922

09/08/2017               [1]         VELVET WEDDE                             ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 51,811.65
                                     803 WEST MAIN STREET
                                     VALLEY VIEW, PA 17983

09/08/2017               [1]         MICHELE PLESNARSKI                       ACCOUNTS RECEIVABLE                        1121-000                    2.25                                 51,813.90
                                     555 NORTH 3RD STREET
                                     MINERSVILLE, PA 17954

09/08/2017               [1]         DAVID DIAMOND                            ACCOUNTS RECEIVABLE                        1121-000                    2.99                                 51,816.89
                                     1CHRIS AMBER DRIVE
                                     ORWIGSBURG, PA 17961

09/08/2017               [1]         BETTY HENRY                              ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 51,818.58
                                     16 C FRIEDEN MANOR
                                     SCHUYLKILL HAVEN, PA 17972

09/08/2017               [1]         MARY BURNS                               ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  51,838.58
                                     518 WEST RACE STREET
                                     POTTSVILLE, PA 17901

09/08/2017               [1]         KIMBERLY CUMMINGS                        ACCOUNTS RECEIVABLE                        1121-000                    2.25                                 51,840.83
                                     875 SUMMER VALLEY ROAD
                                     NEW RINGGOLD, PA 17960

                                                                                                                   Page Subtotals                  33.87                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/08/2017               [1]         JOSEPH BRISH                             ACCOUNTS RECEIVABLE                        1121-000                    1.50                                 51,842.33
                                     313 NORTH COAL STREET
                                     PORT CARBON, PA 17965

09/08/2017               [1]         CHRISTOPHER THOMAS                       ACCOUNTS RECEIVABLE                        1121-000                    2.65                                 51,844.98
                                     1495 FAIR ROAD
                                     SCHUYLKILL HAVEN, PA 17972

09/08/2017               [1]         JEAN HECKMAN                             ACCOUNTS RECEIVABLE                        1121-000                    4.64                                 51,849.62
                                     267 LEHIGH STREET
                                     CUMBOLA, PA 17930

09/08/2017               [1]         PATRICIA FEDEROVICH                      ACCOUNTS RECEIVABLE                        1121-000                    2.40                                 51,852.02
                                     100 Schaeffer Hill Rd
                                     Pottsville, PA 17901

09/08/2017               [1]         GROUP HEALTH INCORPORATED                ACCOUNTS RECEIVABLE                        1121-000                  12.00                                  51,864.02
                                     P.O. BOX 2814
                                     NEW YORK, PA 10116

09/08/2017               [1]         ROBERT ENGLEMAN                          ACCOUNTS RECEIVABLE                        1121-000                 182.84                                  52,046.86
                                     58 York Farm Rd
                                     Pottsville, PA 17901

09/08/2017               [1]         DAVID SOUCHAK                            ACCOUNTS RECEIVABLE                        1121-000                    4.50                                 52,051.36
                                     1030 MAPLE STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 210.53                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                     Bank Name: Texas Capital Bank
                                                                                                                                           Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                 Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                 Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                5                     6                     7
                                                                                                                              Uniform
Transaction           Check or                                                                                                 Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction              Code             Deposits($)        Disbursements($)           Balance($)
09/08/2017               [1]         PATRICIA KURDINSKY                       ACCOUNTS RECEIVABLE                             1121-000                     3.38                                   52,054.74
                                     414 WEST CENTRE STREET
                                     MAHANOY CITY, PA 17948

09/08/2017               [1]         JANICE CANTWELL                          ACCOUNTS RECEIVABLE                             1121-000                     3.40                                   52,058.14
                                     319 WEST OAK STREET
                                     SHENANDOAH, PA 17976

09/08/2017               [1]         KATHRYN BREININGER                       ACCOUNTS RECEIVABLE                             1121-000                     3.60                                   52,061.74
                                     34 REAR EAST LIBERTY STREET
                                     SCHUYLKILL HAVEN, PA 17972

09/08/2017             51088         COMCAST                                  COMCAST (ACCT. 8993 11 252 0151882)             2990-000                                           525.55           51,536.19
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

*09/08/2017            51089         STAPLES                                  SUPPLIES (CD/DVD's & ENVELOPES & TOILETRY       2990-003                                           317.84           51,218.35
                                                                              SUPPLIES)(ACCT. NO. 6035 5178 5003 9719)

*09/08/2017                          STAPLES                                  SUPPLIES (CD/DVD's & ENVELOPES & TOILETRY       2990-003                                         (317.84)           51,536.19
                                                                              SUPPLIES)(ACCT. NO. 6035 5178 5003 9719)

09/08/2017             51090         STAPLES                                  SUPPLIES (CD/DVD's & ENVELOPES & TOILETRY       2990-000                                           354.78           51,181.41
                                                                              SUPPLIES)(ACCT. NO. 6035 5178 5003 9719)

09/08/2017             51091         BK ATTORNEY SERVICES, LLC                SERVICE OF MEDICAL RECORDS                      2200-000                                     31,190.24              19,991.17
                                     PO BOX 4590
                                     1917 W. A STREET
                                     PASCO, WA 99302-4590

                                                                                                                          Page Subtotals                 10.38             32,070.57




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

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                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)          Balance($)
09/13/2017               [1]         WELLS FARGO BANK                         ACCOUNTS RECEIVABLE                                 1121-000                3,000.00                                   22,991.17


09/13/2017             51092         US POSTMASTER                            POSTAGE (MEDICAL RECORDS - Viola Lucas, Terie       2990-000                                           31.52           22,959.65
                                     LEHIGHTON, PA 18235                      Bates, Joan Wiyda, Leondard G. Schumack, John
                                                                              Nush, Maryann Dixon, Andrew Weiner, & Renee
                                                                              Maryniuk)

09/18/2017             51093         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 9/9/17             2990-000                                      4,536.38             18,423.27
                                     PO BOX 98                                (INVOICE NO.G428; McGinty, Homa, Dahm, Cassell,
                                     PALMERTON, PA 18071                      Williamson, PA Sales Tax)


09/19/2017               [1]         C. LLOYD                                 ACCOUNTS RECEIVABLE                                 1121-000                     1.69                                  18,424.96
                                     247 NORTH 2ND STREET
                                     GIRARDVILLE, PA 17935

09/19/2017               [1]         PATRICIA KNIPE                           ACCOUNTS RECEIVABLE                                 1121-000                     3.18                                  18,428.14
                                     623 BIG MINE RUN ROAD
                                     ASHLAND, PA 17921

09/19/2017               [1]         KATHY SCHAEFFER                          ACCOUNTS RECEIVABLE                                 1121-000                     1.50                                  18,429.64
                                     401 S Saint Peter St
                                     Schuylkill Haven, PA 17972

09/19/2017               [1]         MONTENE MOYER                            ACCOUNTS RECEIVABLE                                 1121-000                     1.50                                  18,431.14
                                     112 Schuylkill St
                                     Cressona, PA 17929

                                                                                                                              Page Subtotals              3,007.87              4,567.90




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/19/2017               [1]         JAMES NOVATKA                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  18,451.14
                                     210 EAST PENN STREET
                                     SHENANDOAH, PA 17976

09/19/2017               [1]         ALBERTA PUKAVAGE                         ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  18,476.14
                                     P.O. BOX 235
                                     RINGTOWN, PA 17967

09/19/2017               [1]         JESSICA LEONARD                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  18,496.14
                                     505 FOREST LANE
                                     POTTSVILLE, PA 17901

09/19/2017               [1]         NATIONAL AUTOMATIC SPRINKLER             ACCOUNTS RECEIVABLE                        1121-000                  15.80                                  18,511.94
                                     INDUSTRY WELFARE FUND
                                     8000 CORPORATE
                                     LANDOVER, MD 20785

09/19/2017               [1]         LOUISE BALICKI                           ACCOUNTS RECEIVABLE                        1121-000                  15.00                                  18,526.94
                                     1416 SENECA STREET
                                     POTTSVILLE, PA 17901

09/19/2017               [1]         HEATHER GEIST                            ACCOUNTS RECEIVABLE                        1121-000                  17.48                                  18,544.42
                                     1607 CREEK ROAD
                                     PITMAN , PA 17964

09/19/2017               [1]         H. KESTEN                                ACCOUNTS RECEIVABLE                        1121-000                    1.60                                 18,546.02
                                     400 Laurel Blvd
                                     Pottsville, PA 17901

                                                                                                                   Page Subtotals                 114.88                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/19/2017               [1]         MICHAEL STOPPI                           ACCOUNTS RECEIVABLE                        1121-000                    5.00                                 18,551.02


09/19/2017               [1]         EDNA AUFFINGER                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  18,561.02
                                     214 FARNHAM AVE
                                     APT 1
                                     LODI, NJ 07644

09/19/2017               [1]         SHIRLEY MCFARLAND                        ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 18,562.71
                                     225 PIKE STREET
                                     PORT CARBON, PA 17965

09/19/2017               [1]         MARY METZGER                             ACCOUNTS RECEIVABLE                        1121-000                    0.33                                 18,563.04
                                     19 Bernhard Rd
                                     Barnesville, PA 18214

09/19/2017               [1]         ROBERT YEAGER                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  18,573.04
                                     1411 BUNTING STREET
                                     POTTSVILLE, PA 17901

09/19/2017               [1]         ROBERT KEITER                            ACCOUNTS RECEIVABLE                        1121-000                    1.82                                 18,574.86
                                     1608 Walnut Bottom Rd
                                     Newville, PA 17241

09/19/2017               [1]         LOUISA MALEY                             ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 18,577.86
                                     22 COAL STREET
                                     PORT CARBON, PA 17965

09/19/2017               [1]         MARGARET PURCELL                         ACCOUNTS RECEIVABLE                        1121-000                    4.18                                 18,582.04


                                                                                                                   Page Subtotals                  36.02                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/19/2017               [1]         BRENDA STECKLEY                          ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 18,583.73
                                     807 Suedberg Rd
                                     Pine Grove, PA 17963

09/19/2017               [1]         THE ADVOCACY ALLIANCE                    ACCOUNTS RECEIVABLE                        1121-000                    0.94                                 18,584.67
                                     PO Box 1368
                                     SCRANTON, PA 18501

09/19/2017               [1]         BOROUGH OF MINERSVILLE                   ACCOUNTS RECEIVABLE                        1121-000                    3.30                                 18,587.97
                                     TWO EAST SUNBURY STREET
                                     MINERSVILLE, PA 17954

09/19/2017               [1]         MARY FOLWEILER                           ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  18,607.97
                                     228 SOUTH SECOND STREET
                                     SAINT CLAIR, PA 17970

09/19/2017               [1]         WILLIAM ZETH                             ACCOUNTS RECEIVABLE                        1121-000                    3.40                                 18,611.37
                                     1468 BUNTING STREET
                                     POTTSVILLE, PA 17901

09/19/2017               [1]         RANDAL JERONIS                           ACCOUNTS RECEIVABLE                        1121-000                  28.45                                  18,639.82
                                     1613 CHERRY STREET
                                     POTTSVILLE, PA 17901

09/19/2017               [1]         REBEKAH TOLAR                            ACCOUNTS RECEIVABLE                        1121-000                    1.01                                 18,640.83
                                     1599 LIGHT FOOT DRIVE
                                     AUBURN, PA 17922

                                                                                                                   Page Subtotals                  58.79                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/19/2017               [1]         GEORGE BOXTER                            ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 18,642.52
                                     443 CHURCH STREET
                                     BARNESVILLE, PA 18214

09/19/2017               [1]         MARGUERITE FASNACHT                      ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 18,644.21
                                     300 LEWIS STREET
                                     APT 607
                                     MINERSVILLE, PA 17954

09/19/2017               [1]         ROBERT SOPHY                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  18,669.21
                                     1134 EAGLE ROAD
                                     POTTSVILLE, PA 17901

09/19/2017               [1]         CARMEN MURHON                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                  18,689.21
                                     1516 NORTH NORWEGIAN STREET
                                     POTTSVILLE, PA 17902

09/19/2017               [1]         HEIDI MAIDENFORD                         ACCOUNTS RECEIVABLE                        1121-000                    1.98                                 18,691.19
                                     117 Natures Rd
                                     Pine Grove, PA 17963

09/19/2017               [1]         MICHELLE SIMINITUS                       ACCOUNTS RECEIVABLE                        1121-000                    1.50                                 18,692.69
                                     110 BLACK DIAMOND ROAD
                                     POTTSVILLE, PA 17901

09/19/2017               [1]         MARY ANN ANGELO                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                  18,717.69
                                     301 SUNBURY STRET
                                     APT 2-A
                                     MINERSVILLE, PA 17954

                                                                                                                   Page Subtotals                  76.86                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/19/2017               [1]         FAYE KETNER                              ACCOUNTS RECEIVABLE                        1121-000                    3.00                                 18,720.69
                                     611 ORCHARD AVE
                                     SCHUYLKILL HAVEN, PA 17972

09/19/2017               [1]         STEPHANIE CAULFIELD                      ACCOUNTS RECEIVABLE                        1121-000                  10.00                                  18,730.69
                                     118 EAST CHESTNUT STREET
                                     FRACKVILLE, PA 17931

09/19/2017               [1]         JOSEPH CAREYVA                           ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 18,732.38
                                     25 GREEN MOUNTAIN ROAD
                                     RONGTOWN, PA 17967

09/19/2017               [1]         CHARLES THOMAS                           ACCOUNTS RECEIVABLE                        1121-000                  30.00                                  18,762.38
                                     113 MAIN STREET
                                     MARY D, PA 17952

09/19/2017               [1]         THOMAS WINGLE                            ACCOUNTS RECEIVABLE                        1121-000                    1.69                                 18,764.07
                                     404 ST. JOHNS STREET
                                     1ST FLOOR
                                     SCHUYLKILL HAVEN, PA 17972

09/19/2017               [1]         DOLORES BRADY                            ACCOUNTS RECEIVABLE                        1121-000                    3.95                                 18,768.02
                                     41 S Nicholas St
                                     Saint Clair, PA 17970

09/19/2017               [1]         AUSTIN BOLICH                            ACCOUNTS RECEIVABLE                        1121-000                  16.77                                  18,784.79
                                     406 CHESTNUT STREET
                                     MAR LIN, PA 17951

                                                                                                                   Page Subtotals                  67.10                   0.00




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                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

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                                                                                                                                Uniform
Transaction           Check or                                                                                                   Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction               Code             Deposits($)        Disbursements($)           Balance($)
09/19/2017             51094         BB&T                                     PAYMENT OF SECURED CLAIM NO. 9B                   4210-000                                      7,102.58              11,682.21


09/21/2017             51095         CARD SERVICES                            MISC. FILING & SERVICING FEES                     2990-000                                           546.02           11,136.19
                                     PO BOX 13337
                                     PHILADELPHIA, PA 19101-3337

09/21/2017             51096         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 9/16/17          2990-000                                      5,505.41                  5,630.78
                                     PO BOX 98                                (INVOICE NO.G436; McGinty, Homa, Dahm, Hartz,
                                     PALMERTON, PA 18071                      Zulick, Bainbridge, Williamson, PA Sales Tax)


09/21/2017             51097         TRUSTEE INSURANCE AGENCY                 INSURANCE PREMIUM (INVOICE NO. 1637; 106 S.       2990-000                                           507.50               5,123.28
                                     2813 WEST MAIN                           CLAUDE A. BLVD., POTTSVILLE)
                                     KALAMAZOO, MI 49006

09/25/2017               [1]         JEAN PAULUKONIS                          ACCOUNTS RECEIVABLE                               1121-000                     6.87                                       5,130.15
                                     123 EAST MAIN STREET
                                     GIRARDVILLE, PA 17953

09/25/2017               [1]         MARY LOU BUCHINSKY                       ACCOUNTS RECEIVABLE                               1121-000                   20.00                                        5,150.15
                                     215 PENNSYLVANIA AVE
                                     SHENANDOAH, PA 17976

09/25/2017               [1]         MARK FRANTZ                              ACCOUNTS RECEIVABLE                               1121-000                   30.00                                        5,180.15
                                     62 NORTH CENTER STREET
                                     FRACKVILLE, PA 17931

09/25/2017               [1]         CHARLES OTTERBEIN                        ACCOUNTS RECEIVABLE                               1121-000                     2.99                                       5,183.14
                                     263 FOREST ROAD
                                     POTTSVILLE, PA 17901

                                                                                                                            Page Subtotals                 59.86             13,661.51



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/25/2017               [1]         KATHRYN MALEY                            ACCOUNTS RECEIVABLE                        1121-000                    3.00                                     5,186.14
                                     1773 Running Deer Dr
                                     Auburn, PA 17922

09/25/2017               [1]         NANCY LECHLEITNER                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                      5,211.14
                                     320 Mauch Chunk St
                                     Pottsville, PA 17901

09/25/2017               [1]         MARGARET ROBISON                         ACCOUNTS RECEIVABLE                        1121-000                    0.94                                     5,212.08
                                     58 Wiggan St
                                     New Philadelphia, PA 17959

09/25/2017               [1]         WILLIAM WALLITSCH                        ACCOUNTS RECEIVABLE                        1121-000                    1.16                                     5,213.24
                                     8482 Starling Rd
                                     Breinigsville, PA 18031

09/25/2017               [1]         ELIZABETH LENOSKY                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                      5,238.24
                                     135 MAIN STREET
                                     P.O. BOX 4084
                                     SELTZER, PA 17974

09/25/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                  14.06                                      5,252.30
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

09/25/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                  35.15                                      5,287.45
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

                                                                                                                   Page Subtotals                 104.31                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/25/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                    8.48                                     5,295.93
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

09/25/2017               [1]         TERRI WILLARD                            ACCOUNTS RECEIVABLE                        1121-000                  94.77                                      5,390.70
                                     313 SECOND STREET
                                     PINE GROVE, PA 17963

09/25/2017               [1]         LAUREN BOORUJY                           ACCOUNTS RECEIVABLE                        1121-000                    0.94                                     5,391.64
                                     1204 Mahantongo St
                                     Pottsville, PA 17901

09/25/2017               [1]         CAROL MCSHAW                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                      5,401.64
                                     164 STRAWBERRY LANE
                                     RINGTOWN, PA 17967

09/25/2017               [1]         RONALD DAVENPORT                         ACCOUNTS RECEIVABLE                        1121-000                    1.51                                     5,403.15
                                     139 SOUTH MILL STREET
                                     SAINT CLAIR, PA 17970

09/25/2017               [1]         JEFFERY VOLUTZA                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                      5,423.15
                                     25 N. NICHOLAS STREE
                                     APT 105
                                     SAINT CLAIR, PA 17970

09/25/2017               [1]         DAVID FLAIL                              ACCOUNTS RECEIVABLE                        1121-000                    1.69                                     5,424.84
                                     429 WEST JOHN STREET
                                     FRACKVILLE, PA 17931

                                                                                                                   Page Subtotals                 137.39                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
09/25/2017               [1]         CHARLES J. WYLAM                         ACCOUNTS RECEIVABLE                        1121-000                  63.25                                      5,488.09
                                     221 SOUTH MORRIS STREET
                                     SAINT CLAIR, PA 17970

09/25/2017               [1]         MARIE SURFIELD                           ACCOUNTS RECEIVABLE                        1121-000                    0.89                                     5,488.98
                                     212 CHESTNUT STREET
                                     MARLIN, PA 17951

09/25/2017               [1]         MARIE SURFIELD                           ACCOUNTS RECEIVABLE                        1121-000                    0.03                                     5,489.01
                                     212 CHESTNUT STREET
                                     MARLIN, PA 17951

09/25/2017               [1]         MARIE SURFIELD                           ACCOUNTS RECEIVABLE                        1121-000                    2.79                                     5,491.80
                                     212 CHESTNUT STREET
                                     MARLIN, PA 17951

09/25/2017               [1]         MARIE SURFIELD                           ACCOUNTS RECEIVABLE                        1121-000                    2.99                                     5,494.79
                                     212 CHESTNUT STREET
                                     MARLIN, PA 17951

09/25/2017               [1]         MARIE SURFIELD                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                      5,504.79
                                     212 CHESTNUT STREET
                                     MARLIN, PA 17951

09/25/2017               [1]         KATIE CARR                               ACCOUNTS RECEIVABLE                        1121-000                    2.30                                     5,507.09
                                     439 SUNBURY STREET
                                     MINERSVILLE, PA 17954

                                                                                                                   Page Subtotals                  82.25                   0.00




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                 Case No: 17-00641                                                                                                                Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                     Bank Name: Texas Capital Bank
                                                                                                                                           Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                 Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                 Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                5                     6                     7
                                                                                                                              Uniform
Transaction           Check or                                                                                                 Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction              Code             Deposits($)        Disbursements($)           Balance($)
09/25/2017               [1]         SHANNON MUELLER                          ACCOUNTS RECEIVABLE                             1121-000                     1.69                                       5,508.78
                                     9 Krause St
                                     Bay Shore, NY 11706

09/25/2017               [1]         ROBIN LYNCH                              ACCOUNTS RECEIVABLE                             1121-000                   25.00                                        5,533.78
                                     208 DOCK STREET
                                     APT # 9
                                     SCHUYLKILL HAVEN, PA 17972

09/25/2017               [17]        SHIRLEY NASADOS                          MEDICAL RECORDS                                 1290-000                   12.20                                        5,545.98
                                     404 E Wiconisco Ave
                                     Tower City, PA 17980

09/25/2017               [23]        POTTSVILLE INTERNISTS ASSOC              401(K) OVER-PAYMENT (UNSCHEDULED)               1229-000               27,089.68                                    32,635.66
                                     106 S Claude a Lord Blvd
                                     Pottsville, PA 17901

09/25/2017             51098         COMCAST                                  COMCAST (ACCT. NO. 903111610)(INVOICE NO.       2990-000                                           586.49           32,049.17
                                     PO BOX 37601                             56443922)
                                     PHILADELPHIA, PA 19101-0601

09/26/2017             51099         BB&T                                     PAYMENT OF SECURED CLAIM NO. 9B                 4210-000                                     20,087.45              11,961.72


09/27/2017             51100         COMCAST                                  COMCAST (ACCT. NO. 8993112520172227)            2990-000                                           145.75           11,815.97
                                     PO BOX 37601
                                     PHILADELPHIA, PA 19101-0601

                                                                                                                          Page Subtotals             27,128.57             20,819.69




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                 Case No: 17-00641                                                                                                                        Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                             Bank Name: Texas Capital Bank
                                                                                                                                                   Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                         Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                         Separate bond (if applicable): 0.00

    1                     2                                 3                                          4                                                     5                     6                     7
                                                                                                                                      Uniform
Transaction           Check or                                                                                                         Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                   Description of Transaction                    Code             Deposits($)        Disbursements($)           Balance($)
09/27/2017             51101         UPS                                      UPS OVERNIGHT MAILING (INVOICE NO. FE5895387;           2990-000                                            32.49           11,783.48
                                     PO BOX 7247-0244                         SHIPPER NO. FE5895; CONTROL ID 0U07)
                                     PHILADELPHIA, PA 19170-0001

09/28/2017             51102         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 9/16/17                2990-000                                      3,476.46                  8,307.02
                                     PO BOX 98                                (INVOICE NO.G444; Williamson, Homa, Dahm,
                                     PALMERTON, PA 18071                      Cassell, Hartz, Zulick, Bainbridge, PA Sales Tax)


09/28/2017             51103         US POSTMASTER                            POSTAGE (MEDICAL RECORDS, NOTICES &                     2990-000                                           119.72               8,187.30
                                     LEHIGHTON, PA 18235                      MISCELLANEOUS MATTERS)

10/04/2017             51104         UPS                                      UPS OVERNIGHT MAILING (INVOICE NO. FE5895397;           2990-000                                            53.14               8,134.16
                                     PO BOX 7247-0244                         SHIPPER NO. FE5895; CONTROL ID 287Z)
                                     PHILADELPHIA, PA 19170-0001

10/04/2017                           Texas Capital Bank                       Bank Service Fee                                        2600-000                                            58.58               8,075.58
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

10/05/2017             51105         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 9/30/17                2990-000                                      5,788.81                  2,286.77
                                     PO BOX 98                                (INVOICE NO.G452; McGinty, Homa, Dahm, Cassell,
                                     PALMERTON, PA 18071                      Hartz, Zulick, Bainbridge, PA Sales Tax)


10/06/2017               [24]        CAROL MILLER SCHAEFFER,M.D.              DR.LITIGATION- SETTLEMENT PROCEEDS FOR CLAIM            1249-000               42,000.00                                    44,286.77
                                     23 WOODLAWN DRIVE                        # 24
                                     SCHUYLKILL HAVEN, PA 17972

                                                                                                                                  Page Subtotals             42,000.00              9,529.20




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                 Case No: 17-00641                                                                                                              Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                         Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                               Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                               Separate bond (if applicable): 0.00

    1                     2                                 3                                      4                                               5                     6                   7
                                                                                                                             Uniform
Transaction           Check or                                                                                                Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction             Code            Deposits($)        Disbursements($)         Balance($)
10/06/2017               [24]        MANISH MISHRA,M.D.                       DR.LITIGATION- SETTLEMENT PROCEEDS FOR CLAIM   1249-000              42,000.00                                  86,286.77
                                     4306 BROOKSIDE CT                        # 24
                                     ORWIGSBURG, PA 17961

10/06/2017               [24]        AMRIT NARULA, M.D.                       DR.LITIGATION- SETTLEMENT PROCEEDS FOR CLAIM   1249-000              55,000.00                                 141,286.77
                                     3014 RIDGE VIEW DRIVE                    # 24
                                     ORWIGSBURG, PA 17961

10/06/2017               [24]        TARIQ HAFIZ, M.D.                        DR.LITIGATION- SETTLEMENT PROCEEDS FOR CLAIM   1249-000              55,000.00                                 196,286.77
                                     4561 WOODBRUSH HAY                       # 24
                                     ALLENTOWN, PA 18104

10/06/2017               [24]        ALBERT EVANS, MD.                        DR.LITIGATION- SETTLEMENT PROCEEDS FOR CLAIM   1249-000              42,000.00                                 238,286.77
                                     63 AVENUE                                # 24
                                     SCHUYLKILL HAVEN, , PA 17972

10/06/2017               [24]        GEORGE HEFFNER, MD.                      DR.LITIGATION- SETTLEMENT PROCEEDS FOR CLAIM   1249-000              55,000.00                                 293,286.77
                                     1017 RIDGE VIEW ROAD                     # 24
                                     ORWIGSBURG, PA 17961

10/06/2017               [17]        R.J. MARZELLA ESQUIRE                    MEDICAL RECORDS FRO ANDREW WARNER, ESTATE      1290-000                  122.16                                293,408.93
                                     3513 NORTH FRONT STREET
                                     HARRISBURG, PA 171110

10/06/2017               [17]        THE MAZZA LAW GROUP                      MEDICAL RECORDS FOR JAMIE REED                 1290-000                   27.92                                293,436.85
                                     2790 W. COLLEGE AVE
                                     SUITE 800
                                     STATE COLLEGE, PA 16801

                                                                                                                        Page Subtotals            249,150.08                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
10/06/2017               [1]         HIGHMARK SENIOR HEALTH CO                ACCOUNTS RECEIVABLE                        1121-000                 166.35                                 293,603.20


10/06/2017               [1]         JOHN JOHNSON                             ACCOUNTS RECEIVABLE                        1121-000                    8.28                                293,611.48
                                     3045 CHESTNUT STREET
                                     POTTSVILLE, PA 17901

10/06/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                 108.84                                 293,720.32
                                     NORTHEAST

10/06/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                 104.92                                 293,825.24
                                     NORTHEAST

10/06/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  35.00                                 293,860.24
                                     NORTHEAST

10/06/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  35.00                                 293,895.24
                                     NORTHEAST

10/06/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  54.22                                 293,949.46
                                     NORTHEAST

10/06/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  96.27                                 294,045.73
                                     NORTHEAST

10/06/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  35.00                                 294,080.73
                                     NORTHEAST

10/06/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  30.00                                 294,110.73
                                     NORTHEAST

                                                                                                                   Page Subtotals                 673.88                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
10/06/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                  35.00                                 294,145.73
                                     NORTHEAST

10/06/2017               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                    7.50                                294,153.23
                                     NORTHEAST

10/06/2017               [1]         ANNA ROKOSKY                             ACCOUNTS RECEIVABLE                        1121-000                    3.30                                294,156.53
                                     715 FOREST LANE
                                     POTTSVILLE, PA 17901

10/06/2017               [1]         ROGER KRAMMES                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 294,181.53
                                     23 GROVE STREET
                                     CRESSONA, PA 17929

10/06/2017               [1]         DONNA KRAMMES                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 294,206.53
                                     23 GROVE STREET
                                     CRESSONA, PA 17929

10/06/2017               [1]         CHRISTINE LAWSON                         ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 294,216.53
                                     32 FRITZ AVE
                                     SCHUYLKILL HAVEN, PA 17972

10/06/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                  40.18                                 294,256.71


10/06/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                 250.76                                 294,507.47


                                                                                                                   Page Subtotals                 396.74                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
10/06/2017               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                        1121-000                  35.00                                 294,542.47
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

10/06/2017               [1]         MICHAEL BROWN                            ACCOUNTS RECEIVABLE                        1121-000                  14.68                                 294,557.15
                                     289 PLEASANT VALLEY RD
                                     PINE GROVE, PA 17963

10/06/2017               [1]         KAREN CORRELL                            ACCOUNTS RECEIVABLE                        1121-000                  27.63                                 294,584.78
                                     230 NEW PHILADELPHIA ROAD
                                     KASKA, PA 17959

10/06/2017               [1]         ROBERT SOPHY                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 294,609.78
                                     1134 EAGLE ROAD
                                     POTTSVILLE, PA 17901

10/06/2017               [1]         CHARLENE FREEZE                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 294,634.78
                                     114 PIKE STREET
                                     PORT CARBON, PA 17965

10/06/2017               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 294,659.78
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

10/06/2017               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 294,684.78
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 177.31                   0.00




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                 Case No: 17-00641                                                                                                              Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                         Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                               Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                               Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                              5                     6                   7
                                                                                                                             Uniform
Transaction           Check or                                                                                                Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction             Code            Deposits($)        Disbursements($)         Balance($)
10/06/2017               [1]         E. SHIRLEY RIEGEL                        ACCOUNTS RECEIVABLE                            1121-000                   20.00                                294,704.78
                                     174 Reedsville Rd
                                     Schuylkill Haven, PA 17972

10/06/2017               [1]         MICHELLE KALYAN                          ACCOUNTS RECEIVABLE                            1121-000                    5.00                                294,709.78
                                     1760 RUNNING DEER ROAD
                                     AUBURN, PA 17922

10/06/2017               [1]         ROBIN BARTON                             ACCOUNTS RECEIVABLE                            1121-000                   50.00                                294,759.78
                                     1966 W Norwegian St
                                     Pottsville, PA 17901

10/06/2017               [1]         JOANNE JONES                             ACCOUNTS RECEIVABLE                            1121-000                  148.60                                294,908.38
                                     603 FAIRVIEW STREET
                                     POTTSVILLE, PA 17901

10/06/2017               [1]         JOHN DAVISON                             ACCOUNTS RECEIVABLE                            1121-000                   10.00                                294,918.38
                                     808 VILLAGE ROAD
                                     ORWIGSBURG, PA 17961

10/06/2017               [24]        KAMLA MISHRA, M.D.                       DR.LITIGATION- SETTLEMENT PROCEEDS FOR CLAIM   1249-000              42,000.00                                 336,918.38
                                     1150 SUNSET DRIVE                        # 24
                                     ORWIGSBURG, PA 17961

10/06/2017               [17]        SEEGER WEISS LLP LAW FIRM                MEDICAL RECORDS FOR GEORGE RINDA               1290-000                  146.45                                337,064.83
                                     550 BROAD STREET, 9TH FLOOR
                                     NEWARK, NJ 07102

                                                                                                                        Page Subtotals             42,380.05                   0.00




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                 Case No: 17-00641                                                                                                                 Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                      Bank Name: Texas Capital Bank
                                                                                                                                            Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                  Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                  Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                 5                     6                     7
                                                                                                                               Uniform
Transaction           Check or                                                                                                  Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction               Code             Deposits($)        Disbursements($)           Balance($)
10/06/2017               [17]        ANNE FISHER                              MEDICAL RECORDS                                  1290-000                   13.50                                   337,078.33
                                     4506 BROOKSIDE CT
                                     ORWIGSBURG, PA 17961

10/06/2017               [17]        RALPH CLARK                              MEDICAL RECORDS                                  1290-000                     5.00                                  337,083.33
                                     365 Phineyville Rd
                                     Ringtown, PA 17967

10/06/2017               [17]        ROSE PRICE                               MEDICAL RECORDS                                  1290-000                   13.50                                   337,096.83
                                     56 NORTH 2ND STREET
                                     FRACKVILLE, PA 17931

10/06/2017               [17]        THERESA HOLMES                           MEDICAL RECORDS                                  1290-000                     5.00                                  337,101.83
                                     2211 W Fairview St
                                     Allentown, PA 18104

10/06/2017               [17]        EILEEN ROWLAND                           MEDICAL RECORDS                                  1290-000                   14.85                                   337,116.68
                                     515 W Mahanoy AVE
                                     GIRARDSVILLE, PA 17935

10/09/2017             51106         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0151882)      2990-000                                           513.83          336,602.85
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

10/09/2017             51107         US POSTMASTER                            POSTAGE (MEDICAL RECORDS - O'Brien; Rinda;       2990-000                                            41.27          336,561.58
                                     LEHIGHTON, PA 18235                      Holmes; Fisher; Clark; Rowland)

10/09/2017             51108         STAPLES                                  SUPPLIES (CD/DVD's & ENVELOPES)(ORDER            2990-000                                           317.84          336,243.74
                                                                              #9404293905; O9194007Y09A0T2TH)(ACCT. NO.
                                                                              6035 5178 5003 9719)


                                                                                                                           Page Subtotals                 51.85                   872.94



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                                                                                               FORM 2                                                                                                     Page 269
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                              Bank Name: Texas Capital Bank
                                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                          Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                          Separate bond (if applicable): 0.00

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                                                                                                                                       Uniform
Transaction           Check or                                                                                                          Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                   Description of Transaction                     Code             Deposits($)        Disbursements($)           Balance($)
10/10/2017               [24]        GUBBI RANGANATH, M.D.                    DR.LITIGATION- SETTLEMENT PROCEEDS FOR CLAIM             1249-000               42,000.00                                   378,243.74
                                     1179 TANGLEWOOD ROAD                     # 24
                                     ORWIGSBURG, PA 17961

10/12/2017             51109         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 9/30/17                 2990-000                                      4,126.15             374,117.59
                                     PO BOX 98                                (INVOICE NO.G460; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Cassell, Hartz, Zulick, Bainbridge, PA Sales
                                                                              Tax)

*10/12/2017            51110         COMCAST                                  COMCAST (INVOICE NO. 57402071) (ACCT. NO.                2990-003                                           586.01          373,531.58
                                     PO Box 37601                             903111610)
                                     Philadelphia, PA 19101-0601

*10/13/2017                          COMCAST                                  COMCAST (INVOICE NO. 57402071) (ACCT. NO.                2990-003                                         (586.01)          374,117.59
                                     PO Box 37601                             903111610)
                                     Philadelphia, PA 19101-0601

10/13/2017               [17]        VENUS BINDIE                             MEDICAL RECORDS                                          1290-000                     5.00                                  374,122.59
                                     644 WEST PENN STREET
                                     SHENANDOAH, PA 17976

10/13/2017               [17]        NEUFELD SCHECK & BRUSTIN, LLP            MEDICAL RECORDS FOR ANN HATCHETT                         1290-000                   51.39                                   374,173.98
                                     99 HUDSON STREET
                                     NEW YORK, NY 100013

10/13/2017               [1]         LOUISE SCHICKRAM                         ACCOUNTS RECEIVABLE                                      1121-000                     1.69                                  374,175.67
                                     27 TURKEY LANE
                                     AUBURN, PA 17922

                                                                                                                                   Page Subtotals             42,058.08              4,126.15




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
10/13/2017               [1]         BARBARA BRIGHT                           ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 374,200.67
                                     120 MAIN STREET
                                     GILBERTON, PA 17934

10/13/2017               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                        1121-000                  15.23                                 374,215.90


10/13/2017               [1]         KATHLEEN ULRICH                          ACCOUNTS RECEIVABLE                        1121-000                  15.00                                 374,230.90
                                     170 WESTON PLACE
                                     SHENANDOAH, PA 17976

10/13/2017               [1]         MARY ANN ANGELO                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 374,255.90
                                     301 SUNBURY STRET
                                     APT 2-A
                                     MINERSVILLE, PA 17954

10/13/2017               [1]         EDNA AUFFINGER                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 374,265.90
                                     214 FARNHAM AVE
                                     APT 1
                                     LODI, NJ 07644

10/13/2017               [1]         ROSE NORDALL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 374,290.90
                                     422 Birds Hill Rd
                                     Pine Grove, PA 17963

10/13/2017               [1]         JAMES BARRETT                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 374,315.90
                                     1417 MARKET STREET
                                     ASHLAND, PA 17921

                                                                                                                   Page Subtotals                 140.23                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
10/13/2017               [1]         SADIE WETZEL                             ACCOUNTS RECEIVABLE                        1121-000                  40.00                                 374,355.90
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

10/13/2017               [1]         MARY BETH HOUTZ                          ACCOUNTS RECEIVABLE                        1121-000                 100.00                                 374,455.90
                                     726 DEIBERTS VALLEY ROAD
                                     SCHUYLKILL HAVEN, PA 17972

10/13/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                    8.95                                374,464.85
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

10/13/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                  29.38                                 374,494.23
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

10/13/2017               [17]        BONNIE MARCOSKY                          MEDICAL RECORDS                            1290-000                    5.00                                374,499.23


10/13/2017               [17]        PAUL DELFIN                              MEDICAL RECORDS                            1290-000                    5.00                                374,504.23
                                     7 CRAIG DRIVE
                                     READING, PA 19606

10/13/2017               [17]        CHARLES ZERBY                            MEDICAL RECORDS                            1290-000                  11.65                                 374,515.88
                                     301 N Keystone St
                                     Muir, PA 17957

10/13/2017               [17]        PATRICIA YURKOVICH                       MEDICAL RECORDS                            1290-000                    5.00                                374,520.88
                                     507 FIFTH STREET
                                     NORTH CHARLEROI, PA 15022

                                                                                                                   Page Subtotals                 204.98                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                     Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                          Bank Name: Texas Capital Bank
                                                                                                                                                Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                      Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                      Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                    5                     6                     7
                                                                                                                                   Uniform
Transaction           Check or                                                                                                      Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                  Code             Deposits($)        Disbursements($)           Balance($)
10/13/2017             51111         COMCAST                                  COMCAST (INVOICE NO. 57402071) (ACCT. NO.            2990-000                                           587.79          373,933.09
                                     PO Box 37601                             903111610)
                                     Philadelphia, PA 19101-0601

10/17/2017               [1]         BB&T ACCT REC BANK ACCT                  ADJUSTMENTS - DIRECT DEPOSITS INTO BANK              1121-000                3,000.00                                   376,933.09
                                                                              ACCOUNT (RESTRICTED ACCOUNT)

10/17/2017                           BB&T ACCT REC BANK ACCT                  BANK WITHDRAWAL DIRECTLY FROM RESTRICTED             4210-000                                      3,000.00             373,933.09
                                                                              ACCT.

10/18/2017               [1]         BB&T ACCT REC BANK ACCT                  ADJUSTMENT - DIRECT DEPOSIT INTO BANK                1121-000                1,560.57                                   375,493.66
                                                                              ACCOUNT (ELECTRONIC TRANSACTION)

10/18/2017                           BB&T                                     BANK WITHDRAWAL DIRECTLY FROM ACCT.                  4210-000                                      1,560.57             373,933.09
                                     9 N Centre St                            (ELECTRONIC W/D)
                                     Pottsville, PA 17901

10/19/2017               [17]        GERMAN, GALLAGHER & MURTAGH              MEDICAL RECORDS FOR GARY BUSH                        1290-000                   119.41                                  374,052.50
                                     200 SOUTH BROAD STREET
                                     SUITE 500
                                     PHILADELPHIA, PA 19102

10/19/2017             51112         US POSTMASTER                            POSTAGE - MISC. MAILINGS/SERVICES/MEDICAL            2990-000                                            21.10          374,031.40
                                     LEHIGHTON, PA 18235                      RECORDS

10/19/2017             51113         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 10/14/17            2990-000                                      4,573.90             369,457.50
                                     PO BOX 98                                (INVOICE NO.G469; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, Zulick, Bainbridge, PA Sales Tax)


                                                                                                                               Page Subtotals              4,679.98              9,743.36




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                     4                                           5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
10/20/2017               [17]        LORAINE BROWN                            MEDICAL RECORDS                            1290-000                  13.50                                 369,471.00
                                     3 Fidler Ct
                                     Pine Grove, PA 17963

10/20/2017               [17]        PATRICIA MOODY                           MEDICAL RECORDS                            1290-000                  11.65                                 369,482.65
                                     865 EAST MAIN STREET
                                     APT G
                                     BIRDSBORO, PA 19508

10/20/2017               [17]        KRISTINE POPE                            MEDICAL RECORDS                            1290-000                    5.00                                369,487.65
                                     2240 Mahantongo St
                                     Pottsville, PA 17901

10/20/2017               [17]        PATRICIA BUBNIS                          MEDICAL RECORDS                            1290-000                    5.00                                369,492.65
                                     212 EAST OAK STREET
                                     SHENANDOAH, PA 17976

10/20/2017               [17]        KIM MARIE WEISS                          MEDICAL RECORDS                            1290-000                  12.80                                 369,505.45
                                     419 DEER ROAD
                                     FAWN GROVE, PA 17321

10/20/2017               [17]        ELAINE CLARKSON                          MEDICAL RECORDS                            1290-000                  13.50                                 369,518.95
                                     252 HIGH ROAD
                                     POTTSVILLE, PA 17901

10/20/2017               [17]        KATHERINE L. NIVEN & ASSOC               MEDICAL RECORDS FOR REBECCA MILLER         1290-000                  29.53                                 369,548.48
                                     1909 F. FRONT STREET
                                     2ND FLOOR, SUITE 1
                                     HARRISBURG, PA 17102

                                                                                                                   Page Subtotals                  90.98                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
10/20/2017               [1]         JANET PROSPER                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 369,573.48
                                     101 Broad Ave
                                     SAINT CLAIR, PA 17970

10/20/2017               [1]         NAVEEN SHARMA                            ACCOUNTS RECEIVABLE                        1121-000                 175.10                                 369,748.58
                                     4 COLONIAL DRIVE
                                     FAIRPORT, NY 14450

10/20/2017               [1]         JEFFERY VOLUTZA                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 369,768.58
                                     25 N. NICHOLAS STREE
                                     APT 105
                                     SAINT CLAIR, PA 17970

10/20/2017               [1]         KRYSTIN DODGE                            ACCOUNTS RECEIVABLE                        1121-000                    3.71                                369,772.29
                                     254 Tall Palms Way
                                     Little River, SC 29566

10/20/2017               [1]         DRISCOLL KARATE INSTITUTE                ACCOUNTS RECEIVABLE                        1121-000                    2.30                                369,774.59
                                     21 NORTH CENTRE STREET
                                     POTTSVILLE, PA 17901

10/20/2017               [1]         CATHERINE THOMAS                         ACCOUNTS RECEIVABLE                        1121-000                  35.34                                 369,809.93
                                     113 N Main St
                                     MARY D, PA 17952

10/20/2017               [1]         CYNTHIA DAVIS                            ACCOUNTS RECEIVABLE                        1121-000                    1.47                                369,811.40
                                     15 EAST HANCOCK STREET
                                     ST. CLAIR, PA 17970

                                                                                                                   Page Subtotals                 262.92                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
10/20/2017               [1]         STEPHANIE CAULFIELD                      ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 369,821.40
                                     118 EAST CHESTNUT STREET
                                     FRACKVILLE, PA 17931

10/20/2017               [1]         GURCHARN MANGAT                          ACCOUNTS RECEIVABLE                        1121-000                  40.00                                 369,861.40
                                     1016 HILLTOP COURT
                                     LEESPORT, PA 19533

10/20/2017               [1]         MARY BURNS                               ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 369,881.40
                                     518 WEST RACE STREET
                                     POTTSVILLE, PA 17901

10/20/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                  30.97                                 369,912.37
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

10/20/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                    7.03                                369,919.40
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

10/20/2017               [1]         UNITED HEALTHCARE COMMUNITY PLAN         ACCOUNTS RECEIVABLE                        1121-000                  35.15                                 369,954.55
                                     P.O. BOX 7550
                                     PHOENIX, AZ 85011

10/20/2017               [1]         JAMES THOMPSON                           ACCOUNTS RECEIVABLE                        1121-000                 130.07                                 370,084.62
                                     521 LAUREL TERRACE
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 273.22                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                 Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                      Bank Name: Texas Capital Bank
                                                                                                                                            Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

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                                                                                                                                 Uniform
Transaction           Check or                                                                                                    Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction                 Code           Deposits($)         Disbursements($)          Balance($)
10/20/2017               [1]         MARILYN VALOSIN                          ACCOUNTS RECEIVABLE                                1121-000                  25.00                                  370,109.62
                                     505 NORTH WARREN STREET
                                     ORWIGSBURG, PA 17961

10/20/2017               [1]         CHRISTIE JO SALEM                        ACCOUNTS RECEIVABLE                                1121-000                  25.00                                  370,134.62
                                     133 NORTH THIRD STREET
                                     SAINT CLAIR, PA 17970

10/20/2017               [1]         CARMEN MURHON                            ACCOUNTS RECEIVABLE                                1121-000                  10.00                                  370,144.62
                                     1516 NORTH NORWEGIAN STREET
                                     POTTSVILLE, PA 17902

10/20/2017               [1]         MEGAN NEITHERCOTT                        ACCOUNTS RECEIVABLE                                1121-000                  30.00                                  370,174.62
                                     1233 SPRING GARDEN STREET
                                     POTTSVILLE, PA 17901

10/23/2017             51114         BUSINESS CARD SERVICES                   COURT CALL (ID NO. 8632642)                        2990-000                                          51.00          370,123.62


10/24/2017               [17]        NANCY WEITZ                              MEDICAL RECORDS                                    1290-000                    5.00                                 370,128.62
                                     205 N. CENTER STREET
                                     FRACKVILLE, PA 17931

10/24/2017               [17]        ROBERT KOPPENHAVER                       MEDICAL RECORDS                                    1290-000                  12.20                                  370,140.82
                                     2743 WEST MAIN STREET
                                     SPRING GLEN, PA 17978

10/26/2017             51115         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 10/21/17          2990-000                                     4,017.11            366,123.71
                                     PO BOX 98                                (INVOICE NO.G476; Williamson, Homa, Dahm, Hartz,
                                     PALMERTON, PA 18071                      Zulick, Bainbridge, PA Sales Tax)


                                                                                                                           Page Subtotals                 107.20              4,068.11



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                              Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                         Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                              5                      6                     7
                                                                                                                              Uniform
Transaction           Check or                                                                                                 Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction             Code           Deposits($)         Disbursements($)           Balance($)
10/26/2017             51116         BB&T                                     PAYMENT OF SECURED CLAIM NO. 9B                 4210-000                                     4,146.93             361,976.78


10/30/2017             51117         COMCAST                                  COMCAST (ACCT. NO. 8993112520172227)            2990-000                                          145.75          361,831.03
                                     PO BOX 37601
                                     PHILADELPHIA, PA 19101-0601

11/01/2017               [17]        VALERIA SAJONE                           MEDICAL RECORDS                                 1290-000                  11.65                                   361,842.68
                                     935 WEST COAL STREET
                                     SHENANDOAH, PA 17976

11/01/2017               [17]        RICHARD WILHIDE                          MEDICAL RECORDS                                 1290-000                    5.00                                  361,847.68
                                     460 Wynonah Dr
                                     Auburn, PA 17922

11/01/2017               [17]        AUDREY LANTZ                             MEDICAL RECORDS                                 1290-000                    5.00                                  361,852.68
                                     48 EVERGREEN DRIVE
                                     NEW RINGGOLD, PA 17960

11/01/2017             51118         UPS                                      UPS OVERNIGHT MAILING (INVOICE NO. FE5895437;   2990-000                                           32.03          361,820.65
                                     PO BOX 7247-0244                         SHIPPER NO. FE5895; CONTROL ID 9R62)
                                     PHILADELPHIA, PA 19170-0001

11/03/2017                           Texas Capital Bank                       Bank Service Fee                                2600-000                                          435.27          361,385.38
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

                                                                                                                        Page Subtotals                  21.65              4,759.98




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                 Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                      Bank Name: Texas Capital Bank
                                                                                                                                            Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                 5                      6                  7
                                                                                                                                 Uniform
Transaction           Check or                                                                                                    Trans.                                                    Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction                 Code           Deposits($)         Disbursements($)        Balance($)
11/06/2017             51119         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 10/28/17          2990-000                                     3,712.32          357,673.06
                                     PO BOX 98                                (INVOICE NO.G482; Williamson, Homa, Dahm, Hartz,
                                     PALMERTON, PA 18071                      Zulick, Bainbridge, PA Sales Tax)


11/07/2017               [17]        SHANNON MOZDY                            MEDICAL RECORDS                                    1290-000                    5.00                               357,678.06
                                     227 S. MAIN STREET
                                     SHENANDOAH, PA 17976

11/07/2017               [17]        JUDY REBUCK                              MEDICAL RECORDS                                    1290-000                    5.00                               357,683.06
                                     401 WASHINGTON STREET
                                     POTTSVILLE, PA 17901

11/07/2017               [17]        DORIS HARIG                              MEDICAL RECORDS                                    1290-000                    5.00                               357,688.06
                                     34 Moyers Station Rd
                                     Schuylkill Haven, PA 17972

11/07/2017               [17]        MICHAEL KUPCHINSKY                       MEDICAL RECORDS                                    1290-000                    5.00                               357,693.06
                                     1740 PEHLHAM DRIVE
                                     YORK, PA 17406

11/07/2017               [17]        FRANK MCKENZIE                           MEDICAL RECORDS                                    1290-000                    7.24                               357,700.30
                                     423 WEST PINE STREET
                                     FRACKVILLE, PA 17931

11/07/2017               [17]        WENDY SCHIMPF                            MEDICAL RECORDS                                    1290-000                  13.50                                357,713.80
                                     114 CRYSTAL RIDGE ROAD
                                     KUTZTOWN, PA 19530

                                                                                                                           Page Subtotals                  40.74              3,712.32




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
11/07/2017               [17]        DONALD GOODMAN                           MEDICAL RECORDS                            1290-000                  15.40                                 357,729.20
                                     510 W Norwegian St
                                     APT 404
                                     Pottsville, PA 17901

11/07/2017               [1]         PREMERA BLUE CROSS                       ACCOUNTS RECEIVABLE                        1121-000                  21.07                                 357,750.27
                                     P.O. BOX 91059
                                     SEATTLE, WA 98111

11/07/2017               [1]         HEALTH PARTNERS PLANS                    ACCOUNTS RECEIVABLE                        1121-000                  42.88                                 357,793.15
                                     901 MARKET STREET
                                     SUITE 500
                                     PHILADELPHIA, PA 19107

11/07/2017               [1]         PROGRESSIVE                              ACCOUNTS RECEIVABLE                        1121-000                    8.25                                357,801.40
                                     ASHLAND, OH

11/07/2017               [1]         MICHAEL UDIT                             ACCOUNTS RECEIVABLE                        1121-000                 100.92                                 357,902.32
                                     45 N Nicholas St
                                     Saint Clair, PA 17970

11/07/2017               [1]         UPMC INSURANCE SERVICES                  ACCOUNTS RECEIVABLE                        1121-000                    0.20                                357,902.52
                                     600 GRANT STREET
                                     PITTSBUGH, PA 15219

11/07/2017               [1]         GENESIS ADMINISTRATIVE                   ACCOUNTS RECEIVABLE                        1121-000                  12.49                                 357,915.01
                                     SERVICES, LLC
                                     101 EAST STATE
                                     KENNETT SQUARE, PA 19348

                                                                                                                   Page Subtotals                 201.21                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
11/07/2017               [1]         CHARLENE FREEZE                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 357,940.01
                                     114 PIKE STREET
                                     PORT CARBON, PA 17965

11/07/2017               [1]         ROBIN BARTON                             ACCOUNTS RECEIVABLE                        1121-000                  40.00                                 357,980.01
                                     1966 W Norwegian St
                                     Pottsville, PA 17901

11/07/2017               [1]         ROBERT GARLAND                           ACCOUNTS RECEIVABLE                        1121-000                  33.14                                 358,013.15
                                     541 E Norwegian St
                                     Pottsville, PA 17901

11/07/2017               [1]         JOHN JOHNSON                             ACCOUNTS RECEIVABLE                        1121-000                    8.28                                358,021.43
                                     3045 CHESTNUT STREET
                                     POTTSVILLE, PA 17901

11/07/2017               [1]         ALBERTA PUKAVAGE                         ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 358,046.43
                                     P.O. BOX 235
                                     RINGTOWN, PA 17967

11/07/2017               [1]         NANCY STAUFFER                           ACCOUNTS RECEIVABLE                        1121-000                    1.69                                358,048.12
                                     1018 Catawissa Creek Rd
                                     Zion Grove, PA 17985

11/07/2017               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                        1121-000                  35.00                                 358,083.12
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

                                                                                                                   Page Subtotals                 168.11                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
11/07/2017               [1]         MICHELLE KALYAN                          ACCOUNTS RECEIVABLE                        1121-000                    5.00                                358,088.12
                                     1760 RUNNING DEER ROAD
                                     AUBURN, PA 17922

11/07/2017               [1]         ANNE KAYES                               ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 358,108.12
                                     531 WEST CENTRE STREET
                                     SHENANDOAH, PA 17976

11/07/2017               [1]         CONSTANCE BROPHY                         ACCOUNTS RECEIVABLE                        1121-000                    2.30                                358,110.42
                                     335 CHERRY STREET
                                     MINERSVILLE, PA 17954

11/07/2017               [1]         ELIZABETH LENOSKY                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 358,135.42
                                     135 MAIN STREET
                                     P.O. BOX 4084
                                     SELTZER, PA 17974

11/07/2017               [1]         JACQUELINE MCDONALD                      ACCOUNTS RECEIVABLE                        1121-000                  27.99                                 358,163.41
                                     103 MARKET STREET
                                     PORT CARBON, PA 17965

11/07/2017               [1]         J. STELMA                                ACCOUNTS RECEIVABLE                        1121-000                 100.00                                 358,263.41
                                     118 N. HICKORY STREET
                                     MT. CARMEL, PA 17851

11/07/2017               [1]         HELENA BAVER                             ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 358,283.41
                                     85 HICKORY DRIVE
                                     AUBURN, PA 17922

                                                                                                                   Page Subtotals                 200.29                   0.00




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                 Case No: 17-00641                                                                                                                 Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                      Bank Name: Texas Capital Bank
                                                                                                                                            Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                  Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                  Separate bond (if applicable): 0.00

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                                                                                                                               Uniform
Transaction           Check or                                                                                                  Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction               Code             Deposits($)        Disbursements($)           Balance($)
11/07/2017               [1]         KAREN HORNING                            ACCOUNTS RECEIVABLE                              1121-000                     3.29                                  358,286.70
                                     606 STONEY RUN ROAD
                                     POTTSVILLE, PA 17901

11/07/2017               [1]         JOSEPHINE BAGLEY                         ACCOUNTS RECEIVABLE                              1121-000                   30.40                                   358,317.10
                                     45 A SHEITHAUER ROAD
                                     POTTSVILLE, PA 17901

11/07/2017               [1]         WILLIAM EBERT                            ACCOUNTS RECEIVABLE                              1121-000                     1.50                                  358,318.60
                                     54 N 2ND STREET
                                     APT C
                                     SAINT CLAIR, PA 17970

11/07/2017             51120         STAPLES                                  SUPPLIES (CD/DVD's & ENVELOPES &                 2990-000                                           808.67          357,509.93
                                                                              TOILETRY)(ORDER #'s: 9404323275, 9404328820; &
                                                                              9404360533)(ACCT. NO. 6035 5178 5003 9719)

11/07/2017             51121         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0151882)      2990-000                                           514.15          356,995.78
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

11/09/2017             51122         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 10/28/17        2990-000                                      3,983.03             353,012.75
                                     PO BOX 98                                (INVOICE NO. G491; Williamson, Homa, Dahm,
                                     PALMERTON, PA 18071                      Hartz, Zulick, McGinty, PA Sales Tax)


11/13/2017               [1]         FRANCIS HEBOR                            ACCOUNTS RECEIVABLE                              1121-000                     4.07                                  353,016.82
                                     143 REBECCA DRIVE
                                     PITTSBURGH, PA 15237

                                                                                                                           Page Subtotals                 39.26              5,305.85




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
11/13/2017               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 353,041.82
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

11/13/2017               [1]         MARY ANN ANGELO                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 353,066.82
                                     301 SUNBURY STRET
                                     APT 2-A
                                     MINERSVILLE, PA 17954

11/13/2017               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 353,091.82
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

11/13/2017               [1]         MELANIE BOWERS                           ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 353,101.82
                                     2101 VILLAGE ROAD
                                     ORWIGSBURG, PA 17961

11/13/2017               [1]         JOSEPH POST                              ACCOUNTS RECEIVABLE                        1121-000                    5.00                                353,106.82
                                     443 NORTH STRETE
                                     MINERSVILLE, PA 17954

11/13/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                  67.75                                 353,174.57


11/13/2017               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                        1121-000                  31.73                                 353,206.30


                                                                                                                   Page Subtotals                 189.48                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
11/13/2017               [1]         LEONARD PRYZBYLIK                        ACCOUNTS RECEIVABLE                        1121-000                  52.50                                 353,258.80
                                     2051 MAIN STREET
                                     #103
                                     MAHANOY PLANE, PA 17949

11/13/2017               [1]         ALLEN JOHNS                              ACCOUNTS RECEIVABLE                        1121-000                  40.00                                 353,298.80
                                     429 NORTH STREET
                                     MINERSVILLE, PA 17954

11/13/2017               [1]         WAYNE SEIBERT                            ACCOUNTS RECEIVABLE                        1121-000                  55.85                                 353,354.65
                                     84 OAK ROAD
                                     PINE GROVE, PA 17963

11/13/2017               [1]         CYNTHIA HOLLEY                           ACCOUNTS RECEIVABLE                        1121-000                  85.34                                 353,439.99
                                     1938 HIGH PARK MANOR
                                     POTTSVILLE, PA 17901

11/13/2017               [1]         SARAH MARCONIS                           ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 353,459.99
                                     1915 Mahantongo St
                                     Pottsville, PA 17901

11/13/2017               [1]         JOHN PASIERB                             ACCOUNTS RECEIVABLE                        1121-000                  11.17                                 353,471.16
                                     611 STONEY RUN ROAD
                                     POTTSVILLE, PA 17901

11/13/2017               [1]         J. STELMA                                ACCOUNTS RECEIVABLE                        1121-000                 100.00                                 353,571.16
                                     118 N. HICKORY STREET
                                     MT. CARMEL, PA 17851

                                                                                                                   Page Subtotals                 364.86                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
11/13/2017               [1]         MEGAN FREED                              ACCOUNTS RECEIVABLE                        1121-000                  17.53                                 353,588.69
                                     183 SAINT CLAIR AVE
                                     POTTSVILLE, PA 17901

11/13/2017               [1]         DONNA SHERAKAS                           ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 353,608.69
                                     420 RESERVOIR ROAD
                                     RINGTOWN, PA 17967

11/13/2017               [1]         ANNA MAE VIDZICKI                        ACCOUNTS RECEIVABLE                        1121-000                  16.83                                 353,625.52
                                     51 MACLOMB STREET
                                     NEW PHILADELPHIA, PA 17959

11/13/2017               [1]         ANNA MAE VIDZICKI                        ACCOUNTS RECEIVABLE                        1121-000                  36.53                                 353,662.05
                                     51 MACLOMB STREET
                                     NEW PHILADELPHIA, PA 17959

11/13/2017               [1]         FRED MASKERINES                          ACCOUNTS RECEIVABLE                        1121-000                 190.81                                 353,852.86
                                     491 PEACOCK STREET
                                     POTTSVILLE, PA 17901

11/13/2017               [1]         SADIE WETZEL                             ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 353,872.86
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

11/13/2017               [1]         a                                        ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 353,882.86
                                     32 FRITZ AVE
                                     SCHUYLKILL HAVEN, PA 17972

                                                                                                                   Page Subtotals                 311.70                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
11/13/2017               [1]         JAMES BARRETT                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 353,907.86
                                     1417 MARKET STREET
                                     ASHLAND, PA 17921

11/13/2017               [1]         MARISA SOPHY                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 353,932.86
                                     1134 EAGLE HILL ROAD
                                     POTTSVILLE, PA 17901

11/13/2017               [1]         CHRISTIE JO SALEM                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 353,957.86
                                     133 NORTH THIRD STREET
                                     SAINT CLAIR, PA 17970

11/13/2017               [1]         MARILYN VALOSIN                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 353,982.86
                                     505 NORTH WARREN STREET
                                     ORWIGSBURG, PA 17961

11/13/2017               [1]         DIANNE DARCAS                            ACCOUNTS RECEIVABLE                        1121-000                  41.78                                 354,024.64
                                     24 PHRONA ROAD
                                     PINE GROVE, PA 17963

11/13/2017               [17]        ANN MARIE WEICIKOSKY                     MEDICAL RECORDS                            1290-000                    5.00                                354,029.64
                                     P.O. BOX 98
                                     MIDDLEPORT, PA 17953

11/13/2017               [17]        JODY MACK                                MEDICAL RECORDS                            1290-000                  15.00                                 354,044.64
                                     20 SUNSHINE LANE
                                     VALLEY VIEW, PA 17983

                                                                                                                   Page Subtotals                 161.78                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                     4                                           5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
11/13/2017               [17]        JUANITA SAGUSKY                          MEDICAL RECORDS                            1290-000                  12.20                                 354,056.84
                                     259 Dad Burnhams Rd
                                     Schuylkill Haven, PA 17972

11/13/2017               [17]        HEATHER PATRICK                          MEDICAL RECORDS                            1290-000                    7.66                                354,064.50
                                     797 VALLEY ROAD
                                     TAMAQUA, PA 18252

11/13/2017               [17]        STEPHEN KRIBBS                           MEDICAL RECORDS                            1290-000                  24.20                                 354,088.70
                                     479 MARTHA DRIVE
                                     MEADVILLE, PA 16335

11/13/2017               [17]        COLLEEN VAN HORN                         MEDICAL RECORDS                            1290-000                  13.50                                 354,102.20
                                     84 Domestic Way
                                     Martinsburg, WV 25401

11/13/2017               [17]        SOPHIE LOSKILL                           MEDICAL RECORDS                            1290-000                  16.05                                 354,118.25
                                     3 Fairway Village Ln
                                     Isle of Palms, SC 29451

11/13/2017               [17]        FRANK ROGERS                             MEDICAL RECORDS                            1290-000                  31.10                                 354,149.35
                                     19178 MALLARD DR
                                     FORT MILL, SC 29707

11/13/2017               [17]        MARTHA SHAY                              MEDICAL RECORDS                            1290-000                  11.65                                 354,161.00
                                     1956 THIRD STREET
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 116.36                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                   Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                        Bank Name: Texas Capital Bank
                                                                                                                                              Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                      Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                  Code           Deposits($)         Disbursements($)           Balance($)
11/13/2017               [17]        LEONARD BEENICK                          MEDICAL RECORDS                                      1290-000                  12.20                                   354,173.20
                                     40 SOUTH 4TH STREET
                                     RINGTOWN, PA 17967

11/13/2017               [17]        LYNN ZELLER                              MEDICAL RECORDS                                      1290-000                  11.65                                   354,184.85
                                     991 WEST BROAD STREET
                                     WILLIAMSTOWN, PA 17098

11/13/2017               [17]        LUCILLE BLICKLEY                         MEDICAL RECORDS                                      1290-000                  10.00                                   354,194.85
                                     255 PARKWAY APT 504
                                     SCHUYLKILL HAVEN, PA 17972

11/13/2017               [17]        LAWRENCE MARTIN                          MEDICAL RECORDS                                      1290-000                    5.00                                  354,199.85
                                     8 MOUNTAIN ROAD
                                     POTTSVILLE, PA 17901

11/15/2017             51123         US POSTMASTER                            POSTAGE (Re-Mailing of Medical Record Requests &     2990-000                                          215.10          353,984.75
                                     LEHIGHTON, PA 18235                      Release Forms; Mailing Medical Records for: Audrey
                                                                              Lantz, Richard Wilhide, Valarie Sajone, Patricia
                                                                              Moody, Patricia Bubnis, Kim Weiss, Kristina Pope,
                                                                              Elaine Clarkson, Andre Hattachet, Rebecca Miller,
                                                                              Jamie Reed, Gary Bush, Robert Koppenhaver, Nancy
                                                                              Weitz, Shannon Mozdy, Judy Rebuck, Doris Harig,
                                                                              Helen Kupchinsky, Donald Goodman, Frank
                                                                              McKensie, Wendy Schimpf)

11/16/2017             51124         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 11/11/17            2990-000                                     3,596.63             350,388.12
                                     PO BOX 98                                (INVOICE NO. G493; Williamson, Homa, Dahm,
                                     PALMERTON, PA 18071                      Hartz, Zulick, Bainbridge, PA Sales Tax)


                                                                                                                             Page Subtotals                  38.85              3,811.73




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                     Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)           Balance($)
11/16/2017             51125         CARD SERVICES                            MISC. FILING FEES (Complaint v. Valley Kidney       2990-000                                           350.00          350,038.12
                                     PO BOX 13337                             Specialists - Dr. Shah & Dr. Roa)
                                     PHILADELPHIA, PA 19101-3337

11/20/2017               [1]         NILSA TORRES                             ACCOUNTS RECEIVABLE                                 1121-000                    10.00                                  350,048.12
                                     312 S Ferguson St
                                     Shenandoah, PA 17976

11/20/2017               [1]         JEFFERY VOLUTZA                          ACCOUNTS RECEIVABLE                                 1121-000                    20.00                                  350,068.12
                                     25 N. NICHOLAS STREE
                                     APT 105
                                     SAINT CLAIR, PA 17970

11/20/2017               [1]         MAMIE RESNICK                            ACCOUNTS RECEIVABLE                                 1121-000                    20.00                                  350,088.12
                                     365 FRONT STREET
                                     POTTSVILLE, PA 17901

11/20/2017               [1]         JACKIE ROSE                              ACCOUNTS RECEIVABLE                                 1121-000                    35.27                                  350,123.39
                                     510 PINE STREET
                                     POTTSVILLE, PA 17901

11/20/2017               [1]         GARY HUMMEL                              ACCOUNTS RECEIVABLE                                 1121-000                     1.68                                  350,125.07
                                     1353 SENECA STREET
                                     POTTSVILLE, PA 17901

11/20/2017               [1]         NANCY FRANTZ                             ACCOUNTS RECEIVABLE                                 1121-000                    20.00                                  350,145.07
                                     31 HILL ROAD
                                     POTTSVILLE, PA 17901

                                                                                                                              Page Subtotals                 106.95                  350.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
11/20/2017               [1]         BARBARA BRIGHT                           ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 350,170.07
                                     120 MAIN STREET
                                     GILBERTON, PA 17934

11/20/2017               [1]         ARLENE FEHR                              ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 350,180.07
                                     624 STONEY RUN ROAD
                                     POTTSVILLE, PA 17901

11/20/2017               [1]         ROBERT YEAGER                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 350,190.07
                                     1411 BUNTING STREET
                                     POTTSVILLE, PA 17901

11/20/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                  32.56                                 350,222.63


11/20/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                  49.50                                 350,272.13


11/20/2017               [1]         VINCENT WYCHUNAS                         ACCOUNTS RECEIVABLE                        1121-000                 105.50                                 350,377.63
                                     1835 ELK AVE
                                     POTTSVILLE, PA 17901

11/20/2017               [1]         SADIE WETZEL                             ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 350,397.63
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

11/20/2017               [1]         HELEN ROBERTS                            ACCOUNTS RECEIVABLE                        1121-000                  43.35                                 350,440.98
                                     414 NORTH DELAWARE AVE
                                     MINERSVILLE, PA 17954

                                                                                                                   Page Subtotals                 295.91                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                   Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction                Code             Deposits($)        Disbursements($)        Balance($)
11/20/2017               [1]         MARY BURNS                               ACCOUNTS RECEIVABLE                               1121-000                   20.00                                350,460.98
                                     518 WEST RACE STREET
                                     POTTSVILLE, PA 17901

11/21/2017               [17]        JO PRICE                                 MEDICAL RECORDS                                   1290-000                   23.20                                350,484.18
                                     17813 Kingfisher Ridge Dr
                                     Lago Vista, TX 78645

11/21/2017               [17]        RANDALL ADAMS                            MEDICAL RECORDS                                   1290-000                     7.45                               350,491.63
                                     134 NORTH 8TH STREET
                                     SHAMOKIN, PA 17872

11/21/2017             51126         BB&T                                     PAYMENT OF SECURED CLAIM NO. 9B                   4210-000                                      2,120.23          348,371.40


11/21/2017             51127         SHRED-IT USA                             SHREDDING SERVICES (INVOICE NO. 8123556977;       2990-000                                      2,358.40          346,013.00
                                     28883 NETWORK PLACE                      CUSTOMER NO. 15930150)
                                     CHICAGO, IL 60673-1288

11/28/2017               [17]        BRADLEY COGAN                            MEDICAL RECORDS                                   1290-000                     5.00                               346,018.00
                                     4 Pirate Pl
                                     Berlin, MD 21811

11/28/2017               [17]        ROBERTA ZITKUS                           MEDICAL RECORDS                                   1290-000                   12.80                                346,030.80
                                     215 W Mifflin St
                                     Orwigsburg, PA 17961

11/28/2017               [17]        JOAN REIDLER                             MEDICAL RECORDS                                   1290-000                   12.20                                346,043.00
                                     P.O. BOX 285
                                     GORDON, PA 17936

                                                                                                                            Page Subtotals                 80.65              4,478.63



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
11/28/2017               [17]        MARGARET ANN TOBIAS                      MEDICAL RECORDS                            1290-000                  13.50                                 346,056.50
                                     621 E Norwegian St
                                     Pottsville, PA 17901

11/28/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                  92.00                                 346,148.50


11/28/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                 164.68                                 346,313.18


11/28/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                  53.47                                 346,366.65


11/28/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                 989.97                                 347,356.62


11/28/2017               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                        1121-000                  17.91                                 347,374.53


11/28/2017               [1]         BRIDGET MCDONALD                         ACCOUNTS RECEIVABLE                        1121-000                  92.00                                 347,466.53
                                     336 EAST MAIN STREET
                                     GIRARDVILLE, PA 17935

11/28/2017               [1]         STEPHANIE CAULFIELD                      ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 347,491.53
                                     118 EAST CHESTNUT STREET
                                     FRACKVILLE, PA 17931

11/28/2017               [1]         JOSEPH KULIKOSKY                         ACCOUNTS RECEIVABLE                        1121-000                  15.60                                 347,507.13
                                     121 N Greenview Rd
                                     Schuylkill Haven, PA 17972

                                                                                                                   Page Subtotals               1,464.13                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
11/28/2017               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                        1121-000                  35.00                                 347,542.13
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

11/28/2017               [1]         JEAN QUINN                               ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 347,552.13
                                     356 EAST BACON STREET
                                     POTTSVILLE, PA 17901

11/28/2017               [1]         ALBERTA PUKAVAGE                         ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 347,577.13
                                     P.O. BOX 235
                                     RINGTOWN, PA 17967

11/28/2017               [1]         ROBIN LYNCH                              ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 347,602.13
                                     208 DOCK STREET
                                     APT # 9
                                     SCHUYLKILL HAVEN, PA 17972

11/28/2017               [1]         KAREN FALKOWSKI                          ACCOUNTS RECEIVABLE                        1121-000                  50.00                                 347,652.13
                                     537 BUNTING STREET
                                     POTTSVILLE, PA 17901

11/28/2017               [1]         NANCY LECHLEITNER                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 347,677.13
                                     320 Mauch Chunk St
                                     Pottsville, PA 17901

11/28/2017               [1]         E.SHIRLEY RIEGEL                         ACCOUNTS RECEIVABLE                        1121-000                  20.48                                 347,697.61
                                     174 Reedsville Rd
                                     Schuylkill Haven, PA 17972

                                                                                                                   Page Subtotals                 190.48                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
11/28/2017               [1]         CHARLENE FREEZE                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 347,722.61
                                     114 PIKE STREET
                                     PORT CARBON, PA 17965

11/28/2017               [1]         MUTUAL OF OMAHA INSURANCE CO             ACCOUNTS RECEIVABLE                        1121-000                  11.72                                 347,734.33
                                     MUTUAL OF OMAHA PLAZA
                                     OMAHA, NE 68175

11/28/2017               [1]         MINNIE ENLOE                             ACCOUNTS RECEIVABLE                        1121-000                    5.00                                347,739.33
                                     128 W Ogden St
                                     Girardville, PA 17935

11/28/2017               [1]         KIM MARIE WEISS                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 347,749.33
                                     419 DEER ROAD
                                     FAWN GROVE, PA 17321

11/28/2017               [1]         ELIZABETH LENOSKY                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 347,774.33
                                     135 MAIN STREET
                                     P.O. BOX 4084
                                     SELTZER, PA 17974

11/28/2017               [1]         DEBBIE RYAN                              ACCOUNTS RECEIVABLE                        1121-000                  23.27                                 347,797.60
                                     402 HAZLE STREET
                                     TAMAQUA, PA 18252

11/28/2017               [1]         DONNA HASTY                              ACCOUNTS RECEIVABLE                        1121-000                 165.00                                 347,962.60
                                     303 ROOSEVELT DRIVE
                                     NEW BOSTON, PA 17948

                                                                                                                   Page Subtotals                 264.99                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                 Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                      Bank Name: Texas Capital Bank
                                                                                                                                            Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                  Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                  Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                   Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction               Code            Deposits($)        Disbursements($)           Balance($)
11/28/2017               [1]         STEPHEN FRANTZ                           ACCOUNTS RECEIVABLE                               1121-000                    0.77                                  347,963.37
                                     90 S Tulpehocken St
                                     Pine Grove, PA 17963

11/28/2017               [24]        RIFFAT AKHTAR                            DR. LITIGATION- SETTLEMENT PROCEEDS FOR           1249-000               7,500.00                                   355,463.37
                                     1768 TANGLEWOOD ROAD                     CLAIM # 24
                                     ORWIGSBURG, PA 17961

11/28/2017             51128         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 11/18/17         2990-000                                     3,617.62             351,845.75
                                     PO BOX 98                                (INVOICE NO. G500; Williamson, Homa, Dahm,
                                     PALMERTON, PA 18071                      Hartz, Zulick, Bainbridge, PA Sales Tax)


11/28/2017             51129         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0172227)       2990-000                                          145.75          351,700.00
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

11/28/2017                           BB&T ACCT REC BANK ACCT                  Secured A/R Direct Withdrawal                                                                                       351,700.00

                         [1]                                                                                         4,767.06   1121-000

                                                                                                                 (4,767.06)     4210-000

11/29/2017             51130         UPS                                      UPS OVERNIGHT MAILING (INVOICE NO. FE5895477;     2990-000                                           32.26          351,667.74
                                     PO BOX 7247-0244                         SHIPPER NO. FE5895; CONTROL ID D093`)
                                     PHILADELPHIA, PA 19170-0001

11/30/2017             51131         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 11/25/17         2990-000                                     3,035.80             348,631.94
                                     PO BOX 98                                (INVOICE NO. G507; Williamson, Homa, Dahm,
                                     PALMERTON, PA 18071                      Hartz, Zulick, Bainbridge, PA Sales Tax)


                                                                                                                           Page Subtotals              7,500.77              6,831.43




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                 Case No: 17-00641                                                                                                            Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                 Bank Name: Texas Capital Bank
                                                                                                                                       Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                             Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                             Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                            5                     6                     7
                                                                                                                          Uniform
Transaction           Check or                                                                                             Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction         Code             Deposits($)        Disbursements($)           Balance($)
12/04/2017               [17]        ATTY EDWARD BRENNAN                      MEDICAL RECORDS FOR MARTHA J. RODGERS       1290-000                   109.69                                  348,741.63
                                     306 Mahantongo St
                                     Pottsville, PA 17901

12/04/2017                           Texas Capital Bank                       Bank Service Fee                            2600-000                                           497.74          348,243.89
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

12/05/2017               [1]         DAVID POTHERING                          ACCOUNTS RECEIVABLE                         1121-000                   148.00                                  348,391.89


12/05/2017               [1]         JENNIFER BAINBRIDGE                      ACCOUNTS RECEIVABLE                         1121-000                    10.60                                  348,402.49
                                     221 SOUTH LIBERTY STREET
                                     ORWIGSBURG, PA 17961

12/05/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                         1121-000                1,319.84                                   349,722.33


12/05/2017               [1]         CARMEN MURHON                            ACCOUNTS RECEIVABLE                         1121-000                    10.00                                  349,732.33
                                     1516 NORTH NORWEGIAN STREET
                                     POTTSVILLE, PA 17902

12/05/2017               [17]        THEODORE GREEN                           MEDICAL RECORDS                             1290-000                     5.00                                  349,737.33


12/05/2017               [17]        KATHLEEN KRAMER                          MEDICAL RECORDS                             1290-000                    12.80                                  349,750.13
                                     13 PRINCESS ANN LANE
                                     SELBYVILLE, DE 19975

                                                                                                                      Page Subtotals              1,615.93                   497.74




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                     Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                          Bank Name: Texas Capital Bank
                                                                                                                                                Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                       Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                       Separate bond (if applicable): 0.00

    1                     2                                 3                                         4                                                   5                      6                     7
                                                                                                                                     Uniform
Transaction           Check or                                                                                                        Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                    Code           Deposits($)         Disbursements($)           Balance($)
12/05/2017             51132         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0151882)            2990-000                                          514.16          349,235.97
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

12/05/2017             51133         US POSTMASTER                            POSTAGE (Mailing of Medical Records & Re-Mailing       2990-000                                          118.48          349,117.49
                                     LEHIGHTON, PA 18235                      of Letters & Notices - Juanita Sagusky, Martha Shay,
                                                                              Frank & Rosalie Rogers, Ann & Frank Kribbs, Sophie
                                                                              Loskill, Lynn Zeller, Leonard Beenick, Colleen
                                                                              VanHorn, Heather Patrick, Larry Martin, John &
                                                                              Lucille Blickley, Kenneth Mack, Ann Marie
                                                                              Weicikosky, Jo Price, Randall Adams, Bradley Cogan,
                                                                              Margertn Tobias, Joan Reidler, Roberta Zitkus)

12/06/2017               [17]        SOCIAL SECURITY                          MEDICAL RECORDS FOR FRANCES NAZAR                      1290-000                  27.92                                   349,145.41
                                     COMMONWEALTH OF PA

12/07/2017             51134         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 12//17                2990-000                                     5,907.73             343,237.68
                                     PO BOX 98                                (INVOICE NO. G5; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, Zulick, Bainbridge, PA Sales Tax)


12/07/2017             51135         STAPLES                                  SUPPLIES (CD/DVD's & ENVELOPES & PAPER)(ORDER          2990-000                                          786.16          342,451.52
                                                                              #'s: 9404371584; 9404394851; 9404394851)(ACCT.
                                                                              NO. 6035 5178 5003 9719)

12/12/2017               [1]         COMPASSUS                                ACCOUNTS RECEIVABLE                                    1121-000               3,000.00                                   345,451.52
                                     CREEKSIDE CROSSING
                                     10 CADILLAC DR, STE 400
                                     BRENTWOOD, TN 37027

12/12/2017               [1]         HIGHMARK                                 ACCOUNTS RECEIVABLE                                    1121-000                    3.60                                  345,455.12


                                                                                                                               Page Subtotals               3,031.52              7,326.53



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                                                                                               FORM 2                                                                                    Page 298
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
12/12/2017               [1]         MARY BETH HOUTZ                          ACCOUNTS RECEIVABLE                        1121-000                  59.80                                 345,514.92
                                     726 DEIBERTS VALLEY ROAD
                                     SCHUYLKILL HAVEN, PA 17972

12/12/2017               [1]         MICHAEL STOPPI                           ACCOUNTS RECEIVABLE                        1121-000                    5.00                                345,519.92


12/12/2017               [1]         DAVID MCDONALD                           ACCOUNTS RECEIVABLE                        1121-000                    2.88                                345,522.80
                                     1221 OAK TERRACE LANE
                                     POTTSVILLE, PA 17901

12/12/2017               [1]         MARY ANN ANGELO                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 345,532.80
                                     301 SUNBURY STRET
                                     APT 2-A
                                     MINERSVILLE, PA 17954

12/12/2017               [1]         EUGENE MARKLE                            ACCOUNTS RECEIVABLE                        1121-000                    1.53                                345,534.33
                                     20 EAST NOBLE AVE
                                     SHOEMAKERSVILLE, PA 19555

12/12/2017               [1]         JANICE MADRIGAL                          ACCOUNTS RECEIVABLE                        1121-000                  40.00                                 345,574.33
                                     400 MINER STREET
                                     TREMONT, PA 17981

12/12/2017               [1]         MICHELLE KALYAN                          ACCOUNTS RECEIVABLE                        1121-000                    5.00                                345,579.33
                                     1760 RUNNING DEER ROAD
                                     AUBURN, PA 17922

                                                                                                                   Page Subtotals                 124.21                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
12/12/2017               [1]         VINCENT SHAY                             ACCOUNTS RECEIVABLE                        1121-000                  40.00                                 345,619.33
                                     63 FRONT STREET
                                     CRESSONA, PA 17929

12/12/2017               [1]         VIRGINIA FRANKENSTEIN                    ACCOUNTS RECEIVABLE                        1121-000                 142.30                                 345,761.63
                                     101 NORTH THIRD STREET
                                     MINERSVILLE, PA 17954

*12/13/2017              [17]        KAREN CHIMAHUSKY                         MEDICAL RECORDS                            1290-003                    5.00                                345,766.63
                                     723 LYTLE STREET
                                     MINERSVILLE, PA 17954

*12/13/2017              [17]        KAREN CHIMAHUSKY                         MEDICAL RECORDS                            1290-003                  (5.00)                                345,761.63
                                     723 LYTLE STREET
                                     MINERSVILLE, PA 17954

*12/13/2017              [17]        ROSALIE KERSCHNER                        MEDICAL RECORDS                            1290-003                    5.00                                345,766.63
                                     BOX 84
                                     NEW RINGGOLD, PA 17960

*12/13/2017              [17]        ROSALIE KERSCHNER                        MEDICAL RECORDS                            1290-003                  (5.00)                                345,761.63
                                     BOX 84
                                     NEW RINGGOLD, PA 17960

*12/13/2017              [17]        JAMES WALTER                             MEDICAL RECORDS                            1290-003                    5.00                                345,766.63
                                     12110 CYPRESS DRIVE
                                     FORT MYERS, FL 33908

                                                                                                                   Page Subtotals                 187.30                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                     Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                          Bank Name: Texas Capital Bank
                                                                                                                                                Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                      Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                      Separate bond (if applicable): 0.00

    1                     2                                 3                                         4                                                   5                     6                     7
                                                                                                                                   Uniform
Transaction           Check or                                                                                                      Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                  Code             Deposits($)        Disbursements($)           Balance($)
*12/13/2017              [17]        JAMES WALTER                             MEDICAL RECORDS                                      1290-003                   (5.00)                                  345,761.63
                                     12110 CYPRESS DRIVE
                                     FORT MYERS, FL 33908

12/13/2017               [17]        KAREN CHIMAHUSKY                         MEDICAL RECORDS                                      1290-000                     5.00                                  345,766.63
                                     723 LYTLE STREET
                                     MINERSVILLE, PA 17954

12/13/2017               [17]        ROSALIE KERSCHNER                        MEDICAL RECORDS                                      1290-000                     5.00                                  345,771.63
                                     BOX 84
                                     NEW RINGGOLD, PA 17960

12/13/2017               [17]        JAMES WALTER                             MEDICAL RECORDS                                      1290-000                     5.00                                  345,776.63
                                     12110 CYPRESS DRIVE
                                     FORT MYERS, FL 33908

12/13/2017             51136         COMCAST                                  COMCAST (INVOICE NO. 59370011) (ACCT. NO.            2990-000                                      1,175.58             344,601.05
                                     PO Box 37601                             903111610)
                                     Philadelphia, PA 19101-0601

12/14/2017             51137         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 12/9/17             2990-000                                      6,066.23             338,534.82
                                     PO BOX 98                                (INVOICE NO. G523; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, Zulick, Bainbridge, PA Sales Tax)


12/14/2017             51138         CARD SERVICES                            MISC. FILING & SERVICING FEES (Notice for the        2990-000                                           221.72          338,313.10
                                     PO BOX 13337                             Motion to Approve Settlement Agreement of
                                     PHILADELPHIA, PA 19101-3337              Chapter 5 Claims)


                                                                                                                               Page Subtotals                 10.00              7,463.53




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
12/18/2017               [17]        ERIE INSURANCE EXCHANGE                  MEDICAL RECORDS FOR KORRIE MCANNEY         1290-000                 123.73                                 338,436.83
                                     100 Erie Insurance Pl
                                     Erie, PA 16530

12/19/2017               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 338,461.83
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

12/19/2017               [1]         ELIZABETH EICH                           ACCOUNTS RECEIVABLE                        1121-000                  30.00                                 338,491.83
                                     12 TALL OAKS DRIVE
                                     POTTSVILLE, PA 17901

12/19/2017               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                 556.60                                 339,048.43


12/19/2017               [1]         DAVID ROMAN                              ACCOUNTS RECEIVABLE                        1121-000                  76.40                                 339,124.83
                                     133 N Nice St
                                     Frackville, PA 17931

12/19/2017               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 339,149.83
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

12/19/2017               [1]         COMPASSUS                                ACCOUNTS RECEIVABLE                        1121-000               1,500.00                                 340,649.83
                                     CREEKSIDE CROSSING
                                     10 CADILLAC DR, STE 400
                                     BRENTWOOD, TN 37027

                                                                                                                   Page Subtotals               2,336.73                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
12/19/2017               [1]         DARLENE PURCELL                          ACCOUNTS RECEIVABLE                        1121-000                    5.00                                340,654.83
                                     22 SHAFFERS HILL ROAD
                                     MINERSVILLE, PA 17954

12/19/2017               [1]         ANNA MAE TRAY                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 340,679.83
                                     905 W MARKET STREET
                                     POTTSVILLE, PA 17901

12/19/2017               [1]         ROBIN LYNCH                              ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 340,704.83
                                     208 DOCK STREET
                                     APT # 9
                                     SCHUYLKILL HAVEN, PA 17972

12/19/2017               [1]         JOSEPH DOWD                              ACCOUNTS RECEIVABLE                        1121-000                  40.00                                 340,744.83
                                     417 E Mahanoy St
                                     Mahanoy City, PA 17948

12/19/2017               [1]         RICHARD BARBETTA                         ACCOUNTS RECEIVABLE                        1121-000                  45.24                                 340,790.07
                                     1109 Sweet Arrow Lake Rd
                                     Pine Grove, PA 17963

12/19/2017               [1]         CHRISTIE JO SALEM                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 340,815.07
                                     133 NORTH THIRD STREET
                                     SAINT CLAIR, PA 17970

12/19/2017               [1]         JANET PROSPER                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 340,840.07
                                     101 Broad Ave
                                     SAINT CLAIR, PA 17970

                                                                                                                   Page Subtotals                 190.24                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                     Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                          Bank Name: Texas Capital Bank
                                                                                                                                                Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                      Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                      Separate bond (if applicable): 0.00

    1                     2                                 3                                         4                                                   5                     6                    7
                                                                                                                                   Uniform
Transaction           Check or                                                                                                      Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                  Code             Deposits($)        Disbursements($)          Balance($)
12/19/2017               [1]         BARBARA BRIGHT                           ACCOUNTS RECEIVABLE                                  1121-000                   25.15                                  340,865.22
                                     120 MAIN STREET
                                     GILBERTON, PA 17934

12/19/2017               [1]         JEFFERY VOLUTZA                          ACCOUNTS RECEIVABLE                                  1121-000                   20.00                                  340,885.22
                                     25 N. NICHOLAS STREE
                                     APT 105
                                     SAINT CLAIR, PA 17970

12/20/2017             51139         US POSTMASTER                            POSTAGE (Miscellaneous Filing/Service Fees and       2990-000                                           65.12          340,820.10
                                     LEHIGHTON, PA 18235                      Mailing of Medical Records & Re-Mailing of Letters
                                                                              & Notices)

12/21/2017               [17]        JAMES SIMATOS                            MEDICAL RECORDS                                      1290-000                   13.08                                  340,833.18
                                     905 Pottsville St
                                     Pottsville, PA 17901

12/21/2017               [17]        ELIZABETH KUFRO                          MEDICAL RECORDS                                      1290-000                   13.50                                  340,846.68
                                     107 SOUTH CENTER STREET
                                     FRACKVILLE, PA 17931

12/21/2017               [17]        SYLVIA EDLING                            MEDICAL RECORDS                                      1290-000                   10.00                                  340,856.68
                                     121 Fidler Ave
                                     Schuylkill Haven, PA 17972

12/21/2017               [17]        PETER LABARBERA                          MEDICAL RECORDS                                      1290-000                     5.00                                 340,861.68
                                     231 EAST MAIN STREET
                                     MYERSTOWN, PA 17067

                                                                                                                               Page Subtotals                 86.73                   65.12




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                     Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                          Bank Name: Texas Capital Bank
                                                                                                                                                Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                      Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                      Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                    5                     6                     7
                                                                                                                                   Uniform
Transaction           Check or                                                                                                      Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                  Code             Deposits($)        Disbursements($)           Balance($)
12/21/2017               [17]        WAYNE HAAS                               MEDICAL RECORDS                                      1290-000                   23.60                                   340,885.28
                                     607 Wynonah Dr
                                     Auburn, PA 17922

12/21/2017               [17]        KATHLEEN BURDA                           MEDICAL RECORDS                                      1290-000                     5.00                                  340,890.28
                                     70 New Hill Rd
                                     Pottsville, PA 17901

12/22/2017             51140         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 12/16/17            2990-000                                      5,779.58             335,110.70
                                     PO BOX 98                                (INVOICE NO. G530; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, Zulick, Bainbridge, PA Sales Tax)


12/22/2017             51141         TRUSTEE INSURANCE AGENCY                 INSURANCE PREMIUM (INVOICE NO. 1718; 106 S.          2990-000                                           507.50          334,603.20
                                     2813 WEST MAIN                           CLAUDE A. BLVD., POTTSVILLE)
                                     KALAMAZOO, MI 49006

12/27/2017             51142         BUSINESS CARD SERVICES                   CONFERENCING CALL FEE (08882890593)                  2990-000                                           162.90          334,440.30


12/28/2017             51143         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 12/23/17            2990-000                                      5,819.49             328,620.81
                                     PO BOX 98                                (INVOICE NO. G538; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, Zulick, Bainbridge, PA Sales Tax)


12/28/2017             51144         INTERNATIONAL SURETIES, LTD.             Bond Premium                                         2300-000                                           254.38          328,366.43
                                     SUITE 420
                                     701 POYDRAS STREET
                                     NEW ORLEANS, LA 70139

                                                                                                                               Page Subtotals                 28.60             12,523.85




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                     4                                           5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
01/02/2018               [17]        WILLIAM DANIS                            MEDICAL RECORDS                            1290-000                  25.00                                 328,391.43
                                     P.O. BOX 18
                                     304 PROSPECT AVE
                                     AVIS, PA 17721

01/02/2018               [17]        FRANCES MAURER                           MEDICAL RECORDS                            1290-000                  12.20                                 328,403.63
                                     464 YORKSHIRE DRIVE
                                     SEVERNA PARK, MD 21146

01/02/2018               [17]        GAIL LABARBERA                           MEDICAL RECORDS                            1290-000                  12.80                                 328,416.43
                                     231 EAST MAIN AVE
                                     MYERSTOWN, PA 17067

01/02/2018               [17]        JOANN STRAUSS                            MEDICAL RECORDS                            1290-000                  12.73                                 328,429.16
                                     108 WOODLAND DRIVE
                                     POTTSVILLE, PA 17901

01/02/2018               [17]        TRACY MIKA                               MEDICAL RECORDS                            1290-000                  11.65                                 328,440.81
                                     1726 BRECKENRIDGE ROAD
                                     ORWIGSBURG, PA 17961

01/02/2018               [17]        JACQUELINE ALOIS                         MEDICAL RECORDS                            1290-000                    5.00                                328,445.81
                                     36 PARK STREET
                                     SCHUYLKILL HAVEN, PA 17972

01/02/2018               [17]        TALITHA LEMKE                            MEDICAL RECORDS                            1290-000                    5.00                                328,450.81
                                     420 MOUNTAIN ROAD
                                     PINE GROVE, PA 17963

                                                                                                                   Page Subtotals                  84.38                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                   5                     6                     7
                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)           Balance($)
01/02/2018               [17]        GEORGE KOURY                             MEDICAL RECORDS                                     1290-000                     5.00                                  328,455.81
                                     231 EAST MAIN STREET
                                     MANSFIELD, PA 16933

01/02/2018               [17]        CIPRIANI & WERNER, P.C.                  MEDICAL RECORDS FOR MICHAEL ADAMS                   1290-000                    99.97                                  328,555.78
                                     650 WASHINGTON ROAD
                                     SUITE 700
                                     PITTSBURGH, PA 15228

01/03/2018                           Texas Capital Bank                       Bank Service Fee                                    2600-000                                           483.25          328,072.53
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

01/04/2018             51145         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 12/30/17           2990-000                                      5,338.97             322,733.56
                                     PO BOX 98                                (INVOICE NO. G545; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Zulick, Bainbridge, PA Sales Tax)


01/04/2018             51146         US POSTMASTER                            POSTAGE (Mailing of Medical Records & Re-Mailing    2990-000                                            67.25          322,666.31
                                     LEHIGHTON, PA 18235                      of Letters & Notices to Former Patients)

01/08/2018               [26]        LEHIGH VALLEY HOSPITAL                   REIMBURSEMENT OF COMCAST PAYMENTS                   1290-000               10,865.29                                   333,531.60
                                     700 E Norwegian St
                                     Pottsville, PA 17901

01/08/2018               [17]        MCS GROUP, INC                           MEDICAL RECORDS FOR LAVERNE HOLOHAN                 1290-000                   252.61                                  333,784.21
                                     1601 MARKET STREET
                                     SUITE 800
                                     PHILADELPHIA, PA 19103

                                                                                                                              Page Subtotals             11,222.87              5,889.47




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
01/08/2018               [1]         ANNE BIZUP                               ACCOUNTS RECEIVABLE                        1121-000                  23.60                                 333,807.81
                                     975 SUMMER VALLEY ROAD
                                     NEW RINGGOLD, PA 17960

01/08/2018               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                 298.05                                 334,105.86
                                     NORTHEAST

01/08/2018               [1]         MELANIE THOMPSON                         ACCOUNTS RECEIVABLE                        1121-000                 200.02                                 334,305.88
                                     33 PEAR STREET
                                     P.O. BOX 97
                                     LLEWELLYN, PA 17944

01/08/2018               [1]         ELIZABETH LENOSKY                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 334,330.88
                                     135 MAIN STREET
                                     P.O. BOX 4084
                                     SELTZER, PA 17974

01/08/2018               [1]         CAROL MCSHAW                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 334,340.88
                                     164 STRAWBERRY LANE
                                     RINGTOWN, PA 17967

01/08/2018               [1]         JAMES BARRETT                            ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 334,365.88
                                     1417 MARKET STREET
                                     ASHLAND, PA 17921

01/08/2018               [1]         JOHN STELINA                             ACCOUNTS RECEIVABLE                        1121-000                  54.00                                 334,419.88
                                     118 WEST HICKORY STREET
                                     MOUNT CARMEL, PA 17851

                                                                                                                   Page Subtotals                 635.67                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
01/08/2018               [1]         MICHAEL STOPPI                           ACCOUNTS RECEIVABLE                        1121-000                    5.00                                334,424.88


01/08/2018               [1]         MARK FRANTZ                              ACCOUNTS RECEIVABLE                        1121-000                  30.00                                 334,454.88
                                     62 NORTH CENTER STREET
                                     FRACKVILLE, PA 17931

01/08/2018               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                  89.54                                 334,544.42


01/08/2018               [1]         MICHELLE KALYAN                          ACCOUNTS RECEIVABLE                        1121-000                    5.00                                334,549.42
                                     1760 RUNNING DEER ROAD
                                     AUBURN, PA 17922

01/08/2018               [1]         ROBERT SOPHY                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 334,574.42
                                     1134 EAGLE ROAD
                                     POTTSVILLE, PA 17901

01/08/2018               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                 483.94                                 335,058.36


01/08/2018               [1]         CHARLENE FREEZE                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 335,083.36
                                     114 PIKE STREET
                                     PORT CARBON, PA 17965

01/08/2018               [1]         ALBERTA PUKAVAGE                         ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 335,108.36
                                     P.O. BOX 235
                                     RINGTOWN, PA 17967

                                                                                                                   Page Subtotals                 688.48                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
01/08/2018               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                        1121-000                  35.00                                 335,143.36
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

01/08/2018               [1]         WILLIAM HEFFNER                          ACCOUNTS RECEIVABLE                        1121-000                 102.00                                 335,245.36
                                     1000 W. RACE STREET
                                     POTTSVILLE, PA 17901

01/08/2018               [1]         STACEY MINNICH                           ACCOUNTS RECEIVABLE                        1121-000                  77.76                                 335,323.12
                                     209 N Keystone St
                                     Muir, PA 17957

01/08/2018               [17]        KAYE HANSEN                              MEDICAL RECORDS                            1290-000                    5.00                                335,328.12
                                     14701 Bartram Park Blvd
                                     904
                                     Jacksonville, FL 32258

01/08/2018               [17]        LINDA GALLO                              MEDICAL RECORDS                            1290-000                    5.00                                335,333.12
                                     523 Birds Hill Rd
                                     Pine Grove, PA 17963

01/08/2018               [17]        MARLENE POWELL                           MEDICAL RECORDS                            1290-000                    5.00                                335,338.12
                                     197 Fedor Rd
                                     Hunlock Creek, PA 18621

01/08/2018               [1]         STEPHANIE CAULFIELD                      ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 335,363.12
                                     118 EAST CHESTNUT STREET
                                     FRACKVILLE, PA 17931

                                                                                                                   Page Subtotals                 254.76                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                    5                     6                     7
                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)           Balance($)
01/08/2018             51147         STAPLES                                  SUPPLIES (CDR's, CDDVD's, Quilted Northern          2990-000                                           614.97          334,748.15
                                                                              Toiletry)(INVOICE #'s: 1957237741;
                                                                              1957237911)(ACCT. NO. 6035 5178 5003 9719)

01/11/2018             51148         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 1/6/18             2990-000                                      5,303.81             329,444.34
                                     PO BOX 98                                (INVOICE NO. G552; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, Bainbridge, PA Sales Tax)


01/12/2018               [17]        NANCY MCDONALD                           MEDICAL RECORDS                                     1290-000                     7.45                                  329,451.79
                                     559 Beeber Dr
                                     Muncy, PA 17756

01/12/2018               [17]        VASILIOS KONTOGIANNIS                    MEDICAL RECORDS                                     1290-000                    32.06                                  329,483.85


01/12/2018               [17]        HELEN PAIGE                              MEDICAL RECORDS                                     1290-000                    10.00                                  329,493.85
                                     31974 MOUNT HERMON ROAD
                                     SALISBURY, MD 21804

01/12/2018               [17]        JESSICA ADAMS-PETERS                     MEDICAL RECORDS                                     1290-000                     5.00                                  329,498.85
                                     911 NORTH THIRD STREET
                                     POTTSVILLE, PA 17901

01/12/2018               [1]         DONNA SELTZER                            ACCOUNTS RECEIVABLE                                 1121-000                   256.00                                  329,754.85
                                     246 NORTH 12TH STREET
                                     POTTSVILLE, PA 17901

                                                                                                                              Page Subtotals                 310.51             5,918.78




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
01/12/2018               [17]        JEFFERY VOLUTZA                          MEDICAL RECORDS                            1290-000                    5.00                                329,759.85
                                     25 N. NICHOLAS STREE
                                     APT 105
                                     SAINT CLAIR, PA 17970

01/12/2018               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                    1.69                                329,761.54


01/12/2018               [1]         NANCY LECHLEITNER                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 329,786.54
                                     320 Mauch Chunk St
                                     Pottsville, PA 17901

01/12/2018               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 329,811.54
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

01/12/2018               [1]         ESTATE OF CHARLES WYLAM                  ACCOUNTS RECEIVABLE                        1121-000                  63.25                                 329,874.79
                                     221 S. MORRIS STREET
                                     SAINT CLAIR, PA 17970

01/12/2018               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 329,899.79
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

01/12/2018               [1]         WILLIAM STOCK                            ACCOUNTS RECEIVABLE                        1121-000                  31.00                                 329,930.79
                                     138 N. MILL STREET
                                     SAINT CLAIR, PA 17970

                                                                                                                   Page Subtotals                 175.94                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
01/12/2018               [1]         ROSE SNOWELL                             ACCOUNTS RECEIVABLE                        1121-000                  18.65                                 329,949.44
                                     207 NORTH GEORGE STREET
                                     POTTSVILLE, PA 17901

01/12/2018               [1]         SADIE WETZEL                             ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 329,969.44
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

01/12/2018               [1]         JOHN KLITSCH                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 329,979.44
                                     215 TWIN STREET
                                     MINERSVILLE, PA 17954

01/12/2018               [1]         CHRISTINE LAWSON                         ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 329,989.44
                                     32 FRITZ AVE
                                     SCHUYLKILL HAVEN, PA 17972

01/12/2018               [1]         AMBER HUNTER                             ACCOUNTS RECEIVABLE                        1121-000                 119.76                                 330,109.20
                                     401 WEST LAUREL STREET
                                     TREMONT, PA 17981

01/12/2018               [1]         JESSICA LEONARD                          ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 330,129.20
                                     505 FOREST LANE
                                     POTTSVILLE, PA 17901

01/12/2018               [1]         KATHLEEN HAUGHNEY                        ACCOUNTS RECEIVABLE                        1121-000                 100.09                                 330,229.29
                                     2157 WOODGLEN ROAD
                                     POTTSVILLE, PA 17901

01/12/2018               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                  10.15                                 330,239.44


                                                                                                                   Page Subtotals                 308.65                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                     Bank Name: Texas Capital Bank
                                                                                                                                           Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                 Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                 Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                5                     6                     7
                                                                                                                              Uniform
Transaction           Check or                                                                                                 Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction              Code             Deposits($)        Disbursements($)           Balance($)
01/12/2018               [1]         GEISINGER HEALTH PLAN                    ACCOUNTS RECEIVABLE                             1121-000                     0.08                                  330,239.52
                                     DANVILLE, PA 17822

01/12/2018               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                             1121-000                     5.13                                  330,244.65


01/12/2018               [1]         J. NATISHAK                              ACCOUNTS RECEIVABLE                             1121-000                    10.00                                  330,254.65


01/12/2018               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                             1121-000                   281.47                                  330,536.12


01/12/2018               [1]         MARY BURNS                               ACCOUNTS RECEIVABLE                             1121-000                    40.00                                  330,576.12
                                     518 WEST RACE STREET
                                     POTTSVILLE, PA 17901

01/12/2018               [1]         CASSANDRA HOWELL                         ACCOUNTS RECEIVABLE                             1121-000                    59.39                                  330,635.51
                                     334 CLARK STREET
                                     P.O. BOX 533
                                     TAMAQUA, PA 18252

01/15/2018             51149         COMCAST                                  COMCAST (INVOICE NO. 60380415) (ACCT. NO.       2990-000                                           587.97          330,047.54
                                     PO Box 37601                             903111610)
                                     Philadelphia, PA 19101-0601

01/15/2018             51150         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0172227)     2990-000                                           145.75          329,901.79
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

                                                                                                                          Page Subtotals                 396.07                  733.72




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                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

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                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)           Balance($)
01/15/2018             51151         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0151882)         2990-000                                           483.41          329,418.38
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

*01/15/2018            51152         BB&T                                     PARTIAL PAYMENT OF SECURED CLAIM NO. 9B             4210-003                                      7,620.76             321,797.62


*01/15/2018                          BB&T                                     PARTIAL PAYMENT OF SECURED CLAIM NO. 9B             4210-003                                     (7,620.76)            329,418.38


*01/15/2018            51153         BB&T                                     PARTIAL PAYMENT OF SECURED CLAIM NO. 9B             4210-003                                      7,620.76             321,797.62


*01/15/2018                          BB&T                                     PARTIAL PAYMENT OF SECURED CLAIM NO. 9B             4210-003                                     (7,620.76)            329,418.38


01/15/2018             51154         BB&T                                     PARTIAL PAYMENT OF SECURED CLAIM NO. 9B             4210-000                                      7,620.76             321,797.62


01/15/2018               [1]         AMBER HUNTER                             ADJUSTMENT TO DEPOSIT NO. 2040 (Logged in           1121-000                   (1.00)                                  321,796.62
                                     401 WEST LAUREL STREET                   $1.00 too much)
                                     TREMONT, PA 17981

01/17/2018               [9]         WELLS FARGO BANK                         CLOSE OUT BANK ACCOUNT # 2000080931809              1129-000                   27.93                                   321,824.55


01/18/2018             51155         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 1/13/18            2990-000                                      5,117.54             316,707.01
                                     PO BOX 98                                (INVOICE NO. G560; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, PA Sales Tax)


01/18/2018             51156         US POSTMASTER                            POSTAGE (Mailing of Medical Records & Re-Mailing    2990-000                                            23.90          316,683.11
                                     LEHIGHTON, PA 18235                      of Letters & Notices to Former Patients)


                                                                                                                              Page Subtotals                 26.93             13,245.61



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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
01/19/2018               [17]        JACOB SCHEAFFER                          MEDICAL RECORDS                            1290-000                    5.00                                316,688.11
                                     45 WALNUT STREET
                                     P.O. BOX 84
                                     MIDDLEPORT, PA 17953

01/19/2018               [17]        KATHRYN PAYNE                            MEDICAL RECORDS                            1290-000                    5.00                                316,693.11
                                     200 WEST MAIN STREET
                                     #2
                                     TREMONT, PA 17981

01/19/2018               [17]        MARGARET PURCELL                         MEDICAL RECORDS                            1290-000                    5.00                                316,698.11


01/19/2018               [17]        RACHEL HARRIS                            MEDICAL RECORDS                            1290-000                    5.00                                316,703.11
                                     201 Edgevale Rd
                                     APT 1B
                                     Baltimore, MD 21210

01/19/2018               [17]        PATTI MCDEMUS                            MEDICAL RECORDS                            1290-000                  10.00                                 316,713.11
                                     480 SCHUYLKILL MT. ROAD
                                     SCHUYLKILL HAVEN, PA 17972

01/19/2018               [17]        MARGUERITE ZANUS                         MEDICAL RECORDS                            1290-000                    5.00                                316,718.11
                                     1538 FIRST STREET
                                     APT 308
                                     DANVILLE, PA 17821

01/19/2018               [17]        ELAINE PETTIS                            MEDICAL RECORDS                            1290-000                  12.80                                 316,730.91
                                     28 Stonecreek Ct
                                     Ephrata, PA 17522

                                                                                                                   Page Subtotals                  47.80                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
01/19/2018               [17]        CAROL ANDERSEN                           MEDICAL RECORDS                            1290-000                    5.00                                316,735.91
                                     8333 Charlise Rd
                                     Richmond, VA 23235

01/19/2018               [17]        DOROTHY VALENT                           MEDICAL RECORDS                            1290-000                  12.80                                 316,748.71
                                     88 HILL TERRACE DRIVE
                                     POTTSVILLE, PA 17901

01/19/2018               [1]         DARLENE PURCELL                          ACCOUNTS RECEIVABLE                        1121-000                    5.00                                316,753.71
                                     22 SHAFFERS HILL ROAD
                                     MINERSVILLE, PA 17954

01/19/2018               [1]         MICHELLE KALYAN                          ACCOUNTS RECEIVABLE                        1121-000                    7.50                                316,761.21
                                     1760 RUNNING DEER ROAD
                                     AUBURN, PA 17922

01/19/2018               [1]         MARY DEMBINSKY                           ACCOUNTS RECEIVABLE                        1121-000                  76.76                                 316,837.97
                                     400 Beurys Rd
                                     Ashland, PA 17921

01/19/2018               [1]         NANCY PYTOK                              ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 316,857.97
                                     344 WEST STREET
                                     SHENANDOAH, PA 17976

01/19/2018               [1]         JOAN KUTZ                                ACCOUNTS RECEIVABLE                        1121-000                  88.82                                 316,946.79
                                     8 Kutz Rd
                                     Pine Grove, PA 17963

                                                                                                                   Page Subtotals                 215.88                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                     Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                          Bank Name: Texas Capital Bank
                                                                                                                                                Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                      Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                      Separate bond (if applicable): 0.00

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                                                                                                                                   Uniform
Transaction           Check or                                                                                                      Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                  Code             Deposits($)        Disbursements($)          Balance($)
01/19/2018               [1]         THOMAS SANTAI                            ACCOUNTS RECEIVABLE                                  1121-000                    84.29                                 317,031.08
                                     202 MAPLE AVE
                                     MAR LIN, PA 17951

01/19/2018               [1]         GENEVIEVE CHUPAK                         ACCOUNTS RECEIVABLE                                  1121-000                    19.55                                 317,050.63
                                     20 TRENTON
                                     MAHANOY CITY, PA 17948

01/19/2018               [1]         VAL MENTZER                              ACCOUNTS RECEIVABLE                                  1121-000                    15.00                                 317,065.63
                                     213 CHESTNUT STREET
                                     POTTSVILLE, PA 17901

01/19/2018               [1]         JEFFERY VOLUTZA                          ACCOUNTS RECEIVABLE                                  1121-000                    20.00                                 317,085.63
                                     25 N. NICHOLAS STREE
                                     APT 105
                                     SAINT CLAIR, PA 17970

01/19/2018               [1]         ROBERT SOPHY                             ACCOUNTS RECEIVABLE                                  1121-000                    25.00                                 317,110.63
                                     1134 EAGLE ROAD
                                     POTTSVILLE, PA 17901

01/24/2018             51157         KURTZMAN STEADY, LLC                     SECOND INTERIM COMPENSATION TO SPECIAL               3210-600                                      4,680.00            312,430.63
                                     401 S. 2ND ST., SUITE 301                COUNSEL (July 27, 2017 through November 30,
                                     PHILADELPHIA, PA 19147                   2017) (PER COURT ORDER DATED 1/23/18)


01/24/2018             51158         KURTZMAN STEADY, LLC                     OUT-OF-POCKET EXPENSES TO SPECIAL COUNSEL            3220-610                                           26.30          312,404.33
                                     401 S. 2ND ST., SUITE 301                (July 27, 2017 through November 30, 2017) (PER
                                     PHILADELPHIA, PA 19147                   COURT ORDER DATED 1/23/18)


                                                                                                                               Page Subtotals                 163.84             4,706.30




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

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                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)          Balance($)
01/24/2018             51159         UPS                                      UPS OVERNIGHT MAILING (INVOICE NO. FE5895038;       2990-000                                           34.32          312,370.01
                                     PO BOX 7247-0244                         SHIPPER NO. FE5895; CONTROL ID M252)
                                     PHILADELPHIA, PA 19170-0001

01/25/2018             51160         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 1/20/18            2990-000                                      5,054.53            307,315.48
                                     PO BOX 98                                (INVOICE NO. G567; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, PA Sales Tax)


01/26/2018               [1]         DENISE KRAMER                            ACCOUNTS RECEIVABLE                                 1121-000                   199.91                                 307,515.39


01/26/2018               [17]        MICHELLE ANN ROSENBERGER                 MEDICALRECORDS                                      1290-000                    12.20                                 307,527.59
                                     1271 YARMOUTH LANE
                                     NEW CUMBERLAND, PA 17070

01/26/2018               [17]        BARBARA SALVADORE                        MEDICAL RECORDS                                     1290-000                     8.29                                 307,535.88
                                     10 WEST CENTRE STREET
                                     MAHANOY CITY , PA 17948

01/26/2018               [17]        DORIS NISSLY                             MEDICAL RECORDS                                     1290-000                     5.00                                 307,540.88
                                     275 FRIEDEN MONOR
                                     SCHUYLKILL HAVEN, PA 17972

01/26/2018               [17]        ELLEN MARIE POSTUPACK                    MEDICAL RECORDS                                     1290-000                     5.00                                 307,545.88
                                     215 W Mahanoy St
                                     Mahanoy City, PA 17948

01/26/2018               [1]         CLAIR YEASTED                            ACCOUNTS RECEIVABLE                                 1121-000                    58.21                                 307,604.09
                                     609 BOONE STREET
                                     POTTSVILLE, PA 17901

                                                                                                                              Page Subtotals                 288.61             5,088.85



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
01/26/2018               [1]         ELIZABETH SCHAAR                         ACCOUNTS RECEIVABLE                        1121-000                  29.92                                 307,634.01
                                     173 STATE ROAD
                                     BARNESVILLE, PA 18214

01/26/2018               [1]         BRENDA DENNING                           ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 307,654.01
                                     159 WALNUT STREET
                                     MARY D, PA 17952

01/26/2018               [1]         EDWARD WELSH                             ACCOUNTS RECEIVABLE                        1121-000                  28.42                                 307,682.43
                                     512 FAIRVIEW STREET
                                     POTTSVILLE, PA 17901

01/26/2018               [1]         VIRGINIA BRYK                            ACCOUNTS RECEIVABLE                        1121-000                  71.50                                 307,753.93
                                     122 MAIN BLVD
                                     RINGTOWN, PA 17967

01/26/2018               [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                        1121-000                  38.45                                 307,792.38


01/26/2018               [1]         CHARLENE FREEZE                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 307,817.38
                                     114 PIKE STREET
                                     PORT CARBON, PA 17965

01/26/2018               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                  67.00                                 307,884.38


01/26/2018               [1]         MICHAEL HOMOVICH                         ACCOUNTS RECEIVABLE                        1121-000                  21.07                                 307,905.45
                                     123 BROAD STREET
                                     SAINT CLAIR, PA 17970

                                                                                                                   Page Subtotals                 301.36                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
01/26/2018               [1]         MONETTE TREON                            ACCOUNTS RECEIVABLE                        1121-000                 133.11                                 308,038.56
                                     523 MAY DRIVE
                                     SCHUYLKILL HAVEN, PA 17972

01/26/2018               [1]         CHRISTIE JO SALEM                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 308,063.56
                                     133 NORTH THIRD STREET
                                     SAINT CLAIR, PA 17970

01/26/2018               [1]         JOHN PASIERB                             ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 308,073.56
                                     611 STONEY RUN ROAD
                                     POTTSVILLE, PA 17901

01/26/2018               [1]         CECILIA HOCK                             ACCOUNTS RECEIVABLE                        1121-000                  68.74                                 308,142.30
                                     616 EDWARD AVE
                                     POTTSVILLE, PA 17901

01/26/2018               [1]         CARMEN MURHON                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 308,152.30
                                     1516 NORTH NORWEGIAN STREET
                                     POTTSVILLE, PA 17902

01/26/2018               [1]         ANN MONAHAN                              ACCOUNTS RECEIVABLE                        1121-000                  40.34                                 308,192.64
                                     1734 WEST MARKET STREET
                                     POTTSVILLE, PA 17901

01/26/2018               [1]         ROBIN LYNCH                              ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 308,217.64
                                     208 DOCK STREET
                                     APT # 9
                                     SCHUYLKILL HAVEN, PA 17972

                                                                                                                   Page Subtotals                 312.19                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
01/26/2018               [1]         ANNA M. MALOCU                           ACCOUNTS RECEIVABLE                        1121-000                  47.20                                 308,264.84
                                     601 WEST PENN STREET
                                     SHENANDOAH, PA 17976

01/26/2018               [1]         STEPHANIE CAULFIELD                      ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 308,289.84
                                     118 EAST CHESTNUT STREET
                                     FRACKVILLE, PA 17931

01/26/2018               [1]         ERNEST DESROSIERS                        ACCOUNTS RECEIVABLE                        1121-000                  80.05                                 308,369.89
                                     2200 1ST AVE
                                     APT 222
                                     POTTSVILLE, PA 17901

01/26/2018               [1]         GEISINGER HEALTH PLAN                    ACCOUNTS RECEIVABLE                        1121-000                    0.06                                308,369.95
                                     DANVILLE, PA 17822

01/26/2018               [1]         FERNE FURMAN                             ACCOUNTS RECEIVABLE                        1121-000                  12.77                                 308,382.72
                                     503 W Main St
                                     VALLEY VIEW, PA 17983

01/26/2018               [1]         JOSHUA NOECKER                           ACCOUNTS RECEIVABLE                        1121-000                  15.00                                 308,397.72
                                     145 CHESTNUT STREET
                                     SAINT CLAIR, PA 17970

01/26/2018               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                  82.00                                 308,479.72


01/26/2018               [1]         JOSEPH KULIKOSKY                         ACCOUNTS RECEIVABLE                        1121-000                  43.49                                 308,523.21
                                     121 N Greenview Rd
                                     Schuylkill Haven, PA 17972

                                                                                                                   Page Subtotals                 305.57                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

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                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)           Balance($)
01/26/2018               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                                 1121-000                   316.50                                  308,839.71


01/26/2018               [1]         MELANIE DRONICK                          ACCOUNTS RECEIVABLE                                 1121-000                   142.10                                  308,981.81
                                     111 SOUTH THIRD STREET
                                     MINERSVILLE, PA 17954

01/26/2018               [1]         PEGGY GARLAND                            ACCOUNTS RECEIVABLE                                 1121-000                   141.00                                  309,122.81
                                     2303 PANTHER VALLEY ROAD
                                     POTTSVILLE, PA 17901

01/26/2018               [1]         JOANNE FOX                               ACCOUNTS RECEIVABLE                                 1121-000                   105.34                                  309,228.15
                                     435 Naffin Ave
                                     Schuylkill Haven, PA 17972

01/26/2018               [17]        JACQUELINE D. MOYLAN & DAVID J.          MEDICAL RECORDS                                     1290-000                    12.20                                  309,240.35
                                     MOYLAN, III
                                     713 STALLION DRIVE
                                     AUBURN, PA 17922-9567

01/26/2018             51161         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0172227)         2990-000                                           301.50          308,938.85
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

01/31/2018             51162         US POSTMASTER                            POSTAGE (Mailing of Tax Documents &                 2990-000                                            71.02          308,867.83
                                     LEHIGHTON, PA 18235                      Miscellaneous Matters)

02/01/2018             51163         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 1/27/18            2990-000                                      5,197.21             303,670.62
                                     PO BOX 98                                (INVOICE NO. G575; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, PA Sales Tax)


                                                                                                                              Page Subtotals                 717.14             5,569.73



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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
02/05/2018               [1]         BARBARA BRIGHT                           ACCOUNTS RECEIVABLE                        1121-000                  48.00                                 303,718.62
                                     120 MAIN STREET
                                     GILBERTON, PA 17934

02/05/2018               [1]         THOMAS MOLOCHNICK                        ACCOUNTS RECEIVABLE                        1121-000                  23.22                                 303,741.84
                                     26 LOW ROAD
                                     POTTSVILLE, PA 17901

02/05/2018               [1]         KATHLEEN FLEMING                         ACCOUNTS RECEIVABLE                        1121-000                  71.50                                 303,813.34
                                     147 S 24TH STREET
                                     POTTSVILLE, PA 17901

02/05/2018               [1]         JAMES IMSCHWEILER                        ACCOUNTS RECEIVABLE                        1121-000                 105.34                                 303,918.68
                                     3085 VILLAGE ROAD
                                     ORWIGSBURG, PA 17961

02/05/2018               [1]         RONDA MILLER                             ACCOUNTS RECEIVABLE                        1121-000                  50.00                                 303,968.68
                                     156 AVENUE E
                                     SCHUYLKILL HAVEN, PA 17972

02/05/2018               [1]         REV. PAUL ROPITSKY                       ACCOUNTS RECEIVABLE                        1121-000                  95.84                                 304,064.52
                                     24 Lia Rd
                                     Frackville, PA 17931

02/05/2018               [1]         JOAN DALTON                              ACCOUNTS RECEIVABLE                        1121-000                 105.34                                 304,169.86
                                     777 WATER STREET
                                     APT 506
                                     POTTSVILLE, PA 17901

                                                                                                                   Page Subtotals                 499.24                   0.00




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                 Case No: 17-00641                                                                                                                 Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                      Bank Name: Texas Capital Bank
                                                                                                                                            Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                  Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                  Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                  Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction              Code             Deposits($)        Disbursements($)           Balance($)
02/05/2018               [1]         AMY MILLER                               ACCOUNTS RECEIVABLE                              1121-000                    10.00                                  304,179.86
                                     312 Sweet Arrow Lake Rd
                                     Pine Grove, PA 17963

02/05/2018               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                              1121-000                    77.15                                  304,257.01


02/05/2018               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                              1121-000                    21.07                                  304,278.08


02/05/2018               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                              1121-000                    58.63                                  304,336.71


02/05/2018               [1]         KIM RUSSELL SEIBERT                      ACCOUNTS RECEIVABLE                              1121-000                   168.00                                  304,504.71
                                     131 CHERRY STREET
                                     PORT CARBON, PA 17965

02/05/2018               [1]         GUY FESSLER                              ACCOUNTS RECEIVABLE                              1121-000                    16.01                                  304,520.72
                                     775 SUMMERHILL ROAD
                                     AUBURN, PA 17922

02/05/2018                           Texas Capital Bank                       Bank Service Fee                                 2600-000                                           462.12          304,058.60
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

02/06/2018             51164         STAPLES                                  SUPPLIES (CDR's, CD/DVD's, CD BUBBLE             2990-000                                           617.98          303,440.62
                                                                              MAILER)(INVOICE #'s: 1957237741;
                                                                              1957237911)(ACCT. NO. 6035 5178 5003 9719)


                                                                                                                           Page Subtotals                 350.86             1,080.10




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                    5                     6                     7
                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)           Balance($)
02/06/2018             51165         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0151882)         2990-000                                           502.39          302,938.23
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

02/08/2018             51166         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 2/3/18             2990-000                                      5,234.06             297,704.17
                                     PO BOX 98                                (INVOICE NO. G581; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, PA Sales Tax)


02/09/2018               [17]        O'DWYER & BERNSTIEN, LLP                 MEDICAL RECORDS FOR KULDEEP SINGH                   1290-000                   105.37                                  297,809.54
                                     52 DUANE STREET
                                     FIFTH FLOOR
                                     NEW YORK, NY 10007

02/09/2018               [17]        JOANNE PELLEGRINO                        MEDICAL RECORDS                                     1290-000                     6.70                                  297,816.24
                                     533 EAST LLOYD STREET
                                     SHENANDOAH, PA 17976

02/09/2018               [1]         GEISINGER HEALTH PLAN                    ACCOUNTS RECEIVABLE                                 1121-000                     0.06                                  297,816.30
                                     DANVILLE, PA 17822

02/09/2018               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                                 1121-000                   127.50                                  297,943.80


02/09/2018               [1]         THERESA ALEXANDER                        ACCOUNTS RECEIVABLE                                 1121-000                    29.62                                  297,973.42
                                     616 GREENWOOD AVE
                                     POTTSVILLE, PA 17901

02/09/2018               [1]         LUCY BARKET                              ACCOUNTS RECEIVABLE                                 1121-000                   105.34                                  298,078.76
                                     1601 BIRCH ROAD
                                     POTTSVILLE, PA 17901

                                                                                                                              Page Subtotals                 374.59             5,736.45



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
02/09/2018               [1]         ANNA DIKUN                               ACCOUNTS RECEIVABLE                        1121-000                  10.34                                 298,089.10
                                     2200 1ST AVE ROOM 312
                                     POTTSVILLE, PA 17901

02/09/2018               [1]         ROBERT BODARSKY                          ACCOUNTS RECEIVABLE                        1121-000                 101.43                                 298,190.53
                                     215 W ATLANTIC
                                     SHEANANDOAH, PA 17976

02/09/2018               [1]         MARY ANN ANGELO                          ACCOUNTS RECEIVABLE                        1121-000                    8.92                                298,199.45
                                     301 SUNBURY STRET
                                     APT 2-A
                                     MINERSVILLE, PA 17954

02/09/2018               [1]         JOHN PREHL                               ACCOUNTS RECEIVABLE                        1121-000                 186.00                                 298,385.45
                                     64 WINDSOR LANE
                                     BENSALEM, PA 19020

02/09/2018               [1]         ALBERTA PUKAVAGE                         ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 298,410.45
                                     P.O. BOX 235
                                     RINGTOWN, PA 17967

02/09/2018               [1]         DELORES SHOLLENBERGER                    ACCOUNTS RECEIVABLE                        1121-000                 142.10                                 298,552.55
                                     1380 SENECA STREET
                                     POTTSVILLE, PA 17901

02/09/2018               [1]         CHRISTINE LAWSON                         ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 298,562.55
                                     32 FRITZ AVE
                                     SCHUYLKILL HAVEN, PA 17972

                                                                                                                   Page Subtotals                 483.79                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                     Bank Name: Texas Capital Bank
                                                                                                                                           Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                 Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                 Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                5                     6                     7
                                                                                                                              Uniform
Transaction           Check or                                                                                                 Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction              Code             Deposits($)        Disbursements($)           Balance($)
02/09/2018               [1]         HOWARD RUSSELL                           ACCOUNTS RECEIVABLE                             1121-000                    19.55                                  298,582.10
                                     1193 WYNONAH DRIVE
                                     AUBURN, PA 17922

02/09/2018               [1]         LAVERNE RHOADS ESTATE                    ACCOUNTS RECEIVABLE                             1121-000                    55.49                                  298,637.59


02/09/2018             51167         COMCAST                                  COMCAST (INVOICE NO. 61217853) (ACCT. NO.       2990-000                                           587.97          298,049.62
                                     PO Box 37601                             903111610)
                                     Philadelphia, PA 19101-0601

02/15/2018               [1]         MICHAEL BROWN                            ACCOUNTS RECEIVABLE                             1121-000                    50.00                                  298,099.62
                                     289 PLEASANT VALLEY RD
                                     PINE GROVE, PA 17963

02/15/2018               [1]         LORI ANN UHOLIK                          ACCOUNTS RECEIVABLE                             1121-000                    51.72                                  298,151.34
                                     333 EAST LLOYD STREET
                                     SHENANDOAH, PA 17976

02/15/2018               [1]         G.L. ROEDER                              ACCOUNTS RECEIVABLE                             1121-000                    33.12                                  298,184.46
                                     1492 MOUNTAIN ROAD
                                     PINE GROVE, PA 17963

02/15/2018               [1]         DEBORAH WERTZ                            ACCOUNTS RECEIVABLE                             1121-000                    20.00                                  298,204.46
                                     100 S 7TH STREET
                                     APT 206
                                     TOWER CITY, PA 17980

                                                                                                                          Page Subtotals                 229.88                  587.97




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
02/15/2018               [1]         GRACE SCHUETTLER                         ACCOUNTS RECEIVABLE                        1121-000                  21.07                                 298,225.53
                                     2200 1ST AVE
                                     APT 304
                                     POTTSVILLE, PA 17901

02/15/2018               [1]         SHANNON SACCO                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 298,245.53
                                     501 FURNACE STREET
                                     SHENANDOAH, PA 17976

02/15/2018               [1]         NICHOLE CUTTITTA                         ACCOUNTS RECEIVABLE                        1121-000                  55.45                                 298,300.98
                                     618 NORTH SECOND STREET
                                     MINERSVILLE, PA 17954

02/15/2018               [1]         DONNA SHERAKAS                           ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 298,320.98
                                     420 RESERVOIR ROAD
                                     RINGTOWN, PA 17967

02/15/2018               [1]         DIANE WARISCHALK                         ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 298,345.98
                                     2158 WOODGLEN ROAD
                                     POTTSVILLE, PA 17901

02/15/2018               [1]         GERALDINE WHITEASH                       ACCOUNTS RECEIVABLE                        1121-000                  71.50                                 298,417.48
                                     601 NORTH SECOND STREET
                                     MINERSVILLE, PA 17954

02/15/2018               [1]         ELIZABETH LENOSKY                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 298,442.48
                                     135 MAIN STREET
                                     P.O. BOX 4084
                                     SELTZER, PA 17974

                                                                                                                   Page Subtotals                 238.02                   0.00




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                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                   5                     6                  7
                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)        Balance($)
02/15/2018               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                                 1121-000                    17.64                               298,460.12
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

02/15/2018               [1]         CHARLES NOLL                             ACCOUNTS RECEIVABLE                                 1121-000                    20.50                               298,480.62
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

02/15/2018               [1]         DAVID SMILLIE                            ACCOUNTS RECEIVABLE                                 1121-000                   597.58                               299,078.20
                                     3101 VILLAGE ROAD
                                     ORWIGSBURG, PA 17961

02/15/2018               [17]        BRIDGET WISHNEFSKY                       MEDICAL RECORDS                                     1290-000                     5.00                               299,083.20
                                     30 DEWITT STREET
                                     PITTSON, PA 18640

02/15/2018               [17]        LORI HASKER                              MEDICAL RECORDS                                     1290-000                     5.00                               299,088.20
                                     423 WEST PINE STREET
                                     FRACKVILLE, PA 17931

02/15/2018             51168         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 2/10/18            2990-000                                      5,084.78          294,003.42
                                     PO BOX 98                                (INVOICE NO. G589; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, PA Sales Tax)


02/19/2018                           BB&T                                     ACCOUNTS RECEIVABLE                                                                                                 294,003.42
                                     9 N Centre St
                                     Pottsville, PA 17901
                                                                              Direct Withdrawal by
                                                                                                                      750.00      4210-000
                                                                              Secured Creditor

                                                                                                                              Page Subtotals                 645.72             5,084.78




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

    1                     2                                 3                                         4                                                  5                     6                     7
                                                                                                                                   Uniform
Transaction           Check or                                                                                                      Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                  Code            Deposits($)         Disbursements($)          Balance($)
                                                                              Direct Withdrawal by
                                                                                                                       (750.00)    4210-000
                                                                              Secured Crerdiitor

02/20/2018               [17]        METZGER WICKERSHAM                       MEDICAL RECORDS FOR KATHLEEN REPPERT                 1290-000                    30.09                                 294,033.51
                                     P.O. BOX 69200
                                     HARRISBURG, PA 17106

02/20/2018             51169         BB&T                                     PARTIAL PAYMENT OF SECURED CLAIM NO. 9B              4210-000                                     4,109.83             289,923.68


02/20/2018             51170         CARD SERVICES                            MISC. FILING & SERVICE FEES (Notice of 1st Interim   2990-000                                           53.94          289,869.74
                                     PO BOX 13337                             Fee Application to Attorney for Trustee)
                                     PHILADELPHIA, PA 19101-3337

02/22/2018             51171         US POSTMASTER                            POSTAGE (Mailing of Tax Documents, Medical           2990-000                                          132.87          289,736.87
                                     LEHIGHTON, PA 18235                      Records & Request Forms & Miscellaneous Matters)

02/26/2018                           adjustment - in                          adjustment in - deposited into wrong account (bank   1280-000                   675.00                                 290,411.87
                                                                              correcting error 2/28/18)

02/26/2018             51172         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 2/17/18             2990-000                                     5,316.86             285,095.01
                                     PO BOX 98                                (INVOICE NO. G597; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, PA Sales Tax)


02/28/2018                           adjustment - out                         adjustment out - deposited into wrong account        1280-000                  (675.00)                                284,420.01
                                                                              (bank correcting error 2/28/18)

03/01/2018               [17]        ANNA SNOICH                              MEDICAL RECORDS                                      1290-000                    12.20                                 284,432.21
                                     20 S Emerick St
                                     Shenandoah, PA 17976

                                                                                                                              Page Subtotals                   42.29            9,613.50




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/01/2018               [17]        ROSEMARY MALOCU                          MEDICAL RECORDS                            1290-000                  13.26                                 284,445.47
                                     609 W. WASHINGTON STREET
                                     SHEANDOAH, PA 17976

03/01/2018               [17]        ELIZABETH GLANZMANN                      MEDICAL RECORDS                            1290-000                  12.25                                 284,457.72
                                     105 B TAYLOR AVE
                                     WILDWOOD, NJ 08260

03/01/2018               [1]         GRACE RICHMOND                           ACCOUNTS RECEIVABLE                        1121-000                  90.39                                 284,548.11
                                     10 WEST CENTER STREET
                                     APT 1004
                                     MAHANOY CITY, PA 17948

03/01/2018               [1]         HIGHMARK                                 ACCOUNTS RECEIVABLE                        1121-000                 182.96                                 284,731.07


03/01/2018               [1]         SANDRA POLETTI                           ACCOUNTS RECEIVABLE                        1121-000                 388.16                                 285,119.23
                                     540 MAIN STREET
                                     HEGINS, PA 17938

03/01/2018               [1]         ESTHER M. KERWICK, EST                   ACCOUNTS RECEIVABLE                        1121-000                  48.24                                 285,167.47
                                     988 SUNBURY ROAD
                                     POTTSVILLE, PA 17901

03/01/2018               [1]         ROBIN LYNCH                              ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 285,192.47
                                     208 DOCK STREET
                                     APT # 9
                                     SCHUYLKILL HAVEN, PA 17972

                                                                                                                   Page Subtotals                 760.26                   0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/01/2018               [1]         JOYCE MORAN                              ACCOUNTS RECEIVABLE                        1121-000                 105.34                                 285,297.81
                                     705 PINE HILL STREET
                                     MINERSVILLE, PA 17954

03/01/2018               [1]         JOYCE MORAN                              ACCOUNTS RECEIVABLE                        1121-000                 105.34                                 285,403.15
                                     705 PINE HILL STREET
                                     MINERSVILLE, PA 17954

03/01/2018               [1]         MICHELLE KALYAN                          ACCOUNTS RECEIVABLE                        1121-000                    5.00                                285,408.15
                                     1760 RUNNING DEER ROAD
                                     AUBURN, PA 17922

03/01/2018               [1]         ROBERT YEAGER                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 285,418.15
                                     1411 BUNTING STREET
                                     POTTSVILLE, PA 17901

03/01/2018               [1]         AMERIHEALTH CARITAS                      ACCOUNTS RECEIVABLE                        1121-000                 790.20                                 286,208.35
                                     NORTHEAST

03/01/2018               [1]         STEPHANIE CAULFIELD                      ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 286,233.35
                                     118 EAST CHESTNUT STREET
                                     FRACKVILLE, PA 17931

03/01/2018               [1]         CHRISTIE JO SALEM                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 286,258.35
                                     133 NORTH THIRD STREET
                                     SAINT CLAIR, PA 17970

03/01/2018               [1]         GERALDINE GLOW                           ACCOUNTS RECEIVABLE                        1121-000                 104.36                                 286,362.71
                                     310 WEST MAIN STREET
                                     RINGTOWN, PA 17967

                                                                                                                   Page Subtotals               1,170.24                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                    5                     6                  7
                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)        Balance($)
03/01/2018               [1]         JESUS MEDINA                             ACCOUNTS RECEIVABLE                                 1121-000                    15.00                               286,377.71
                                     333 WEST CENTER STREET
                                     SHENANDOAH, PA 17976

03/01/2018               [1]         NANCY LECHLEITNER                        ACCOUNTS RECEIVABLE                                 1121-000                    25.00                               286,402.71
                                     320 Mauch Chunk St
                                     Pottsville, PA 17901

03/01/2018               [1]         ALBERTA PUKAVAGE                         ACCOUNTS RECEIVABLE                                 1121-000                    25.00                               286,427.71
                                     P.O. BOX 235
                                     RINGTOWN, PA 17967

03/01/2018               [1]         LEROY LONG                               ACCOUNTS RECEIVABLE                                 1121-000                    40.00                               286,467.71
                                     556 SOUTH 3RD STREET
                                     MINERSVILLE, PA 17954

03/01/2018               [1]         ROBERT MASSARI                           ACCOUNTS RECEIVABLE                                 1121-000                    40.62                               286,508.33
                                     767 Minersville Llewellyn Hwy
                                     Pottsville, PA 17901

03/01/2018               [1]         JESSICA LEONARD                          ACCOUNTS RECEIVABLE                                 1121-000                    20.00                               286,528.33
                                     505 FOREST LANE
                                     POTTSVILLE, PA 17901

03/01/2018             51173         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 2/24/18            2990-000                                      5,251.87          281,276.46
                                     PO BOX 98                                (INVOICE NO. G606; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, PA Sales Tax)


                                                                                                                              Page Subtotals                 165.62             5,251.87




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                              Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                         Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                              5                      6                     7
                                                                                                                              Uniform
Transaction           Check or                                                                                                 Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction             Code           Deposits($)         Disbursements($)           Balance($)
03/01/2018             51174         UPS                                      UPS OVERNIGHT MAILING (INVOICE NO. FE5895088;   2990-000                                           34.24          281,242.22
                                     PO BOX 7247-0244                         SHIPPER NO. FE5895; CONTROL ID 152Q)
                                     PHILADELPHIA, PA 19170-0001

03/05/2018               [17]        MEDICAL LEGAL REPRODUCTIONS              MEDICAL RECORDS FOR HEATHER MALEY               1290-000                 114.01                                   281,356.23
                                     4940 Disston St
                                     Philadelphia, PA 19135

03/05/2018                           Texas Capital Bank                       Bank Service Fee                                2600-000                                          423.47          280,932.76
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

03/06/2018               [17]        RELEASE POINT                            MEDICAL RECORDS- MATTHEW ONEILL                 1290-000                  87.69                                   281,020.45
                                     P.O. BOX 1390
                                     ST. PETERS, MO 63376

03/08/2018               [17]        NIVIA CRUZ                               MEDICAL RECORDS                                 1290-000                    5.00                                  281,025.45
                                     326 E Chelsea St
                                     Deland, FL 32724

03/08/2018               [17]        WILLIAM ZETH                             MEDICAL RECORDS                                 1290-000                    5.00                                  281,030.45
                                     1468 BUNTING STREET
                                     POTTSVILLE, PA 17901

03/08/2018               [17]        SHARON ZITKUS                            MEDICAL RECORDS                                 1290-000                    6.61                                  281,037.06
                                     22 MILL MTN ROAD
                                     NEW RINGGOLD, PA 17960

                                                                                                                        Page Subtotals                 218.31                   457.71




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/08/2018               [17]        SHARON BRADLEY                           MEDICAL RECORDS                            1290-000                  10.00                                 281,047.06
                                     723 PORT CARBON-ST CLAIR HWY
                                     POTTSVILLE, PA 17901

03/08/2018               [17]        IRENA CHAWLA                             MEDICAL RECORDS                            1290-000                  12.80                                 281,059.86
                                     35 KASI CIRCLE
                                     IVYLAND, PA 18974

03/08/2018               [17]        NANCY WALLICK                            MEDICAL RECORDS                            1290-000                  16.65                                 281,076.51
                                     1807 MACON ROAD
                                     APT 1705
                                     PERRY , GA 31069

03/08/2018               [1]         CARMEN MURHON                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 281,086.51
                                     1516 NORTH NORWEGIAN STREET
                                     POTTSVILLE, PA 17902

03/08/2018               [1]         MARION LINK                              ACCOUNTS RECEIVABLE                        1121-000                  35.00                                 281,121.51
                                     BOX 56
                                     TUSCARORA, PA 17982

03/08/2018               [1]         CHRISTINE LAWSON                         ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 281,131.51
                                     32 FRITZ AVE
                                     SCHUYLKILL HAVEN, PA 17972

03/08/2018               [1]         JULIE LUCKENBILL                         ACCOUNTS RECEIVABLE                        1121-000                  42.14                                 281,173.65
                                     740 Seltzer Rd
                                     Pottsville, PA 17901

                                                                                                                   Page Subtotals                 136.59                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/08/2018               [1]         E. SHIRLEY RIEGEL                        ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 281,193.65
                                     174 Reedsville Rd
                                     Schuylkill Haven, PA 17972

03/08/2018               [1]         MARILYN VALOSIN                          ACCOUNTS RECEIVABLE                        1121-000                  56.35                                 281,250.00
                                     505 NORTH WARREN STREET
                                     ORWIGSBURG, PA 17961

03/08/2018               [1]         SADIE WETZEL                             ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 281,270.00
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

03/08/2018               [1]         ROSE NORDALL                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 281,295.00
                                     422 Birds Hill Rd
                                     Pine Grove, PA 17963

03/08/2018               [1]         LINDA SEVINSKY                           ACCOUNTS RECEIVABLE                        1121-000                  15.60                                 281,310.60
                                     2 WOOD AVE
                                     BARNESVILLE, PA 18214

03/08/2018               [1]         MARY BURNS                               ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 281,330.60
                                     518 WEST RACE STREET
                                     POTTSVILLE, PA 17901

03/08/2018               [1]         THOMAS SANTAI                            ACCOUNTS RECEIVABLE                        1121-000                  60.78                                 281,391.38
                                     202 MAPLE AVE
                                     MAR LIN, PA 17951

                                                                                                                   Page Subtotals                 217.73                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/08/2018               [1]         ROBERT SOPHY                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 281,416.38
                                     1134 EAGLE ROAD
                                     POTTSVILLE, PA 17901

03/08/2018               [1]         SHIRLEY HOFFMAN                          ACCOUNTS RECEIVABLE                        1121-000                  32.50                                 281,448.88
                                     7 AVENUE D
                                     SCHUYLKILL HAVEN, PA 17972

03/08/2018               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                        1121-000                  35.00                                 281,483.88
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

03/08/2018               [1]         LEEANN STRENCOSKY                        ACCOUNTS RECEIVABLE                        1121-000                  18.50                                 281,502.38
                                     4106 BROOKSIDE COURT
                                     ORWIGSBURG, PA 17961

03/08/2018               [1]         MARY FELSOCI                             ACCOUNTS RECEIVABLE                        1121-000                  50.00                                 281,552.38
                                     1023 CENTER STREET
                                     HOMETOWN, PA 18252

03/08/2018               [1]         CHARLENE FREEZE                          ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 281,577.38
                                     114 OIKE STREET
                                     PORT CARBON, PA 17965

03/08/2018               [1]         DIANINE OGRODNICK                        ACCOUNTS RECEIVABLE                        1121-000                  17.53                                 281,594.91
                                     100 SOUTH MAIN STREET
                                     SHENANDOAH, PA 17976

                                                                                                                   Page Subtotals                 203.53                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                   5                     6                  7
                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)        Balance($)
03/08/2018               [1]         ROSALIE KERSCHNER                        ACCOUNTS RECEIVABLE                                 1121-000                    24.38                               281,619.29
                                     BOX 84
                                     NEW RINGGOLD, PA 17960

03/08/2018               [1]         ELIZABETH LENOSKY                        ACCOUNTS RECEIVABLE                                 1121-000                    53.95                               281,673.24
                                     135 MAIN STREET
                                     P.O. BOX 4084
                                     SELTZER, PA 17974

03/08/2018               [1]         JOHN RUSCAVAGE                           ACCOUNTS RECEIVABLE                                 1121-000                    13.50                               281,686.74
                                     1533 MOUNT HOPE AVE
                                     POTTSVILLE, PA 179901

03/08/2018               [1]         JANET PROSPER                            ACCOUNTS RECEIVABLE                                 1121-000                    25.00                               281,711.74
                                     101 Broad Ave
                                     SAINT CLAIR, PA 17970

03/08/2018             51175         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 3/3/18             2990-000                                      5,193.24          276,518.50
                                     PO BOX 98                                (INVOICE NO. G611; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, PA Sales Tax)


03/09/2018               [1]         adjustment - out                         adjustment to deposit #2186 (Linda Sevinsky         1121-000                   (0.60)                               276,517.90
                                                                              Accounts Receivable) ($0.60 too much logged into
                                                                              IQ7 account ledger)

03/12/2018             51176         William G. Schwab and Associates         FIRST INTERIM COMPENSATION TO ATTORNEY FOR          3110-000                                    115,302.50          161,215.40
                                                                              THE TRUSTEE (PER COURT ORDER DATED 3/8/18)


                                                                                                                              Page Subtotals                 116.23           120,495.74




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                       Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                            Bank Name: Texas Capital Bank
                                                                                                                                                  Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                        Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                        Separate bond (if applicable): 0.00

    1                     2                                 3                                         4                                                     5                     6                     7
                                                                                                                                     Uniform
Transaction           Check or                                                                                                        Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                    Code             Deposits($)        Disbursements($)           Balance($)
03/12/2018             51177         William G. Schwab and Associates         OUT-OF-POCKET EXPENSES TO ATTORNEY FOR THE             3120-000                                      2,242.58             158,972.82
                                     811-1 Blakeslee Blvd Drive East          TRUSTEE (FIRST INTERIM FEE APPLICATION)(PER
                                     PO Box 56                                COURT ORDER DATED 3/8/18)
                                     Lehighton, PA 18235

03/12/2018             51178         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0151882)            2990-000                                           502.39          158,470.43
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

03/12/2018             51179         US POSTMASTER                            POSTAGE (Mailing of Letters to Former Patients &       2990-000                                            83.98          158,386.45
                                     LEHIGHTON, PA 18235                      Medical Records Requested)

03/14/2018               [24]        LAW OFFICE OF STEPHEN T. CARPENITO       SETTLEMENT OF DR. LITIGATION PER COURT ORDER           1249-000               17,575.00                                   175,961.45
                                     200 Mahantongo St                        DATED 03-08-18 (5:17-AP-00109)
                                     SUITE 44
                                     Pottsville, PA 17901

03/15/2018             51180         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 3/12/18               2990-000                                      5,149.17             170,812.28
                                     PO BOX 98                                (INVOICE NO. G620; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, PA Sales Tax)


03/16/2018               [17]        CAROL CARTER                             MEDICAL RECORDS                                        1290-000                     6.61                                  170,818.89
                                     969 CENTRE STREET
                                     P.O. BOX 333
                                     SHEPPTON, PA 18248

03/16/2018               [17]        PATRICIA HORVATH                         MEDICAL RECORDS                                        1290-000                   19.85                                   170,838.74
                                     637 STONEY RUN ROAD
                                     POTTSVILLE, PA 17901

                                                                                                                                 Page Subtotals             17,601.46              7,978.12




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
03/16/2018               [17]        LUCILLE BLICKLEY                         MEDICAL RECORDS                            1290-000                    4.50                                170,843.24
                                     255 PARKWAY APT 504
                                     SCHUYLKILL HAVEN, PA 17972

03/16/2018               [17]        MARY SCHATZ                              MEDICAL RECORDS                            1290-000                    6.61                                170,849.85
                                     146 WILLOW STREET
                                     P.O. BOX 193
                                     DELANO, PA 18220

03/16/2018               [1]         NANCY LECHLEITNER                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 170,874.85
                                     320 Mauch Chunk St
                                     Pottsville, PA 17901

03/16/2018               [1]         MALLORY HYLKA                            ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 170,884.85
                                     20 EAST BACON STREET
                                     POTTSVILLE, PA 17901

03/16/2018               [1]         M. MARGARET STOPPI                       ACCOUNTS RECEIVABLE                        1121-000                 105.34                                 170,990.19
                                     2148 Mahantongo St
                                     Pottsville, PA 17901

03/16/2018               [1]         KARLA VOSKUHL                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 171,010.19
                                     35 S Nicholas St
                                     Saint Clair, PA 17970

03/16/2018               [1]         CHERYL ANN IMSCHWEILER                   ACCOUNTS RECEIVABLE                        1121-000                  43.86                                 171,054.05
                                     3085 VILLAGE ROAD
                                     ORWIGSBURG, PA 17961

                                                                                                                   Page Subtotals                 215.31                   0.00




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                 Case No: 17-00641                                                                                                                       Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                            Bank Name: Texas Capital Bank
                                                                                                                                                  Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                        Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                        Separate bond (if applicable): 0.00

    1                     2                                 3                                         4                                                     5                     6                     7
                                                                                                                                     Uniform
Transaction           Check or                                                                                                        Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                    Code             Deposits($)         Disbursements($)          Balance($)
03/16/2018               [1]         CHRIS YODER                              ACCOUNTS RECEIVABLE                                    1121-000                     40.00                                 171,094.05
                                     50 LONG LANE
                                     BARNESVILLE, PA 18214

03/16/2018               [1]         MAMIE RESNICK                            ACCOUNTS RECEIVABLE                                    1121-000                     60.00                                 171,154.05
                                     365 FRONT STREET
                                     POTTSVILLE, PA 17901

03/16/2018               [1]         ANTHONY BENEDICT                         ACCOUNTS RECEIVABLE                                    1121-000                    142.10                                 171,296.15
                                     131 CRAMER CIRCLE
                                     POTTSVILLE, PA 17901

03/16/2018               [1]         KRISTEN PERDEW                           ACCOUNTS RECEIVABLE                                    1121-000                     11.71                                 171,307.86
                                     28 S 25TH STREET
                                     ASHLAND, PA 17921

03/16/2018               [1]         MICHAEL STOPPI                           ACCOUNTS RECEIVABLE                                    1121-000                     31.61                                 171,339.47


03/16/2018               [1]         ANTHONY ZELINSKY                         ACCOUNTS RECEIVABLE                                    1121-000                    340.32                                 171,679.79
                                     1113 WEST MARKET STREET
                                     POTTSVILLE, PA 17901

03/16/2018             51181         COMCAST                                  COMCAST (INVOICE NO. 62266411) (ACCT. NO.              2990-000                                           587.97          171,091.82
                                     PO Box 37601                             903111610)
                                     Philadelphia, PA 19101-0601

*03/19/2018              [1]         adjustment to deposit #2215              adjustment to deposit no. 2215 (entered into IQ7       1121-003                   (100.00)                                170,991.82
                                                                              account ledger $100.00 too much)


                                                                                                                                 Page Subtotals                  525.74                 587.97




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                 Case No: 17-00641                                                                                                                       Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                            Bank Name: Texas Capital Bank
                                                                                                                                                  Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                        Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                        Separate bond (if applicable): 0.00

    1                     2                                 3                                         4                                                     5                     6                     7
                                                                                                                                     Uniform
Transaction           Check or                                                                                                        Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                    Code             Deposits($)         Disbursements($)          Balance($)
*03/19/2018              [1]         adjustment to deposit #2215              adjustment to deposit no. 2215 (entered into IQ7       1121-003                    100.00                                 171,091.82
                                                                              account ledger $100.00 too much)

03/19/2018               [1]         adjustment to deposit #2215              adjustment to deposit no. 2215 (entered into IQ7       1121-000                   (306.00)                                170,785.82
                                                                              account ledger)

03/22/2018             51182         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 3/12/18               2990-000                                      5,310.06             165,475.76
                                     PO BOX 98                                (INVOICE NO. G628; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, PA Sales Tax)


03/26/2018               [17]        CHRISTY KLATKA                           MEDICAL RECORDS                                        1290-000                      6.61                                 165,482.37
                                     17 ROSEMONT AVE
                                     BARNESVILLE, PA 18214

03/26/2018               [17]        KELLY BRENNAN                            MEDICAL RECORDS FOR HELEN BRENNAN                      1290-000                      6.61                                 165,488.98
                                     1390 Pheasant Hill Rd
                                     Dauphin, PA 17018

03/26/2018               [17]        NORMAN BARKET                            MEDICAL RECORDS                                        1290-000                      6.61                                 165,495.59
                                     602 3RD STREET
                                     PORT CARBON, PA 17965

04/02/2018             51183         TRUSTEE INSURANCE AGENCY                 INSURANCE PREMIUM (INVOICE NO. 1782; 106 S.            2990-000                                           257.00          165,238.59
                                     2813 WEST MAIN                           CLAUDE A. BLVD., POTTSVILLE)
                                     KALAMAZOO, MI 49006

04/02/2018             51184         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 3/12/18               2990-000                                      5,228.94             160,009.65
                                     PO BOX 98                                (INVOICE NO. G636; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, PA Sales Tax)


                                                                                                                                 Page Subtotals                 (186.17)          10,796.00




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                                                                                               FORM 2                                                                                                  Page 343
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                      Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                           Bank Name: Texas Capital Bank
                                                                                                                                                 Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                       Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                       Separate bond (if applicable): 0.00

    1                     2                                 3                                         4                                                    5                     6                     7
                                                                                                                                    Uniform
Transaction           Check or                                                                                                       Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                   Code             Deposits($)        Disbursements($)           Balance($)
04/03/2018                           Texas Capital Bank                       Bank Service Fee                                      2600-000                                           300.00          159,709.65
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

04/04/2018               [25]        YASHODA RAO                              SETTLEMENT ON DR. RAO PER COURT ORDER 03-             1249-000               25,000.00                                   184,709.65
                                     1791 TANGLEWOOD ROAD                     13-18
                                     ORWIGSBURG, PA 17961

04/06/2018               [25]        VALLEY KIDNEY SPECIALIST,P.C.            SETTLEMENT ON VALLEY KIDNEYS SPECIAL,P.C. PER         1249-000               40,000.00                                   224,709.65
                                     1230 SOUTH CEDAR CREST BLVD              COURT ORDER DATED 03-19-18
                                     SUITE 301
                                     ALLENTOWN, PA 18103

04/06/2018             51185         US POSTMASTER                            POSTAGE (Mailing of Letters to Former Patients,       2990-000                                            79.76          224,629.89
                                     LEHIGHTON, PA 18235                      Medical Records Requested & Miscellaneous
                                                                              Matters)

04/06/2018             51186         STAPLES                                  SUPPLIES (CD BUBBLE MAILER, TOILETRY)(INVOICE #       2990-000                                            44.79          224,585.10
                                     Dept. 51-7850039719                      2050571981)
                                     PO Box 78004
                                     Phoenix , AZ 85062-8004

04/06/2018             51187         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 3/31/18              2990-000                                      4,878.23             219,706.87
                                     PO BOX 98                                (INVOICE NO. G641; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, PA Sales Tax)


04/09/2018               [1]         CAROL MCSHAW                             ACCOUNTS RECEIVABLE                                   1121-000                   10.00                                   219,716.87
                                     164 STRAWBERRY LANE
                                     RINGTOWN, PA 17967

                                                                                                                                Page Subtotals             65,010.00              5,302.78



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
04/09/2018               [1]         TIFFANY YOUST                            ACCOUNTS RECEIVABLE                        1121-000                  20.00                                 219,736.87
                                     50 GRACE AVE
                                     SCHUYLKILL HAVEN, PA 17972

04/09/2018               [1]         PATRICIA WAGNER                          ACCOUNTS RECEIVABLE                        1121-000                  97.90                                 219,834.77
                                     301 W Biddle St
                                     Ashland, PA 17921

04/09/2018               [1]         KATHY CORBY                              ACCOUNTS RECEIVABLE                        1121-000                  70.00                                 219,904.77
                                     114 AVE C
                                     SCHUYLKILL HAVEN, PA 17972

04/09/2018               [1]         JANET PROSPER                            ACCOUNTS RECEIVABLE                        1121-000                  89.58                                 219,994.35
                                     101 Broad Ave
                                     SAINT CLAIR, PA 17970

04/09/2018               [1]         MARIE KORBOBO                            ACCOUNTS RECEIVABLE                        1121-000                  71.50                                 220,065.85
                                     148 CREEK DRIVE
                                     AUBURN, PA 17922

04/09/2018               [1]         MARGARET CARROLL                         ACCOUNTS RECEIVABLE                        1121-000                  19.38                                 220,085.23
                                     189 PENN STREET
                                     NORTHUMBERLAND, PA 17857

04/09/2018               [1]         MINNIE ENLOE                             ACCOUNTS RECEIVABLE                        1121-000                    5.00                                220,090.23
                                     128 W Ogden St
                                     Girardville, PA 17935

                                                                                                                   Page Subtotals                 373.36                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                          Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                               Bank Name: Texas Capital Bank
                                                                                                                                     Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                          5                     6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction         Code            Deposits($)        Disbursements($)         Balance($)
04/09/2018               [1]         CHRISTIE JO SALEM                        ACCOUNTS RECEIVABLE                        1121-000                   25.00                                220,115.23
                                     133 NORTH THIRD STREET
                                     SAINT CLAIR, PA 17970

04/09/2018               [1]         DARLENE PURCELL                          ACCOUNTS RECEIVABLE                        1121-000                   10.00                                220,125.23
                                     22 SHAFFERS HILL ROAD
                                     MINERSVILLE, PA 17954

04/09/2018               [1]         E.SHIRLEY RIEGEL                         ACCOUNTS RECEIVABLE                        1121-000                   28.00                                220,153.23
                                     174 Reedsville Rd
                                     Schuylkill Haven, PA 17972

04/09/2018               [1]         CARMEN MURHON                            ACCOUNTS RECEIVABLE                        1121-000                   10.00                                220,163.23
                                     1516 NORTH NORWEGIAN STREET
                                     POTTSVILLE, PA 17902

04/09/2018               [21]        JP MORGAN CHASE & CO                     UNSCHEDULED CLASS ACTION SUITE             1249-000                   91.20                                220,254.43
                                     C/O KCC CLASS ACTION SERVICES
                                     P.O. BOX 404001
                                     LOUISVILLE, KY 40233

04/09/2018               [17]        KRISTY PORAMBO                           MEDICAL RECORDS                            1290-000                    6.61                                220,261.04
                                     151 Rhedwood Ave
                                     Sugarloaf, PA 18249

04/09/2018               [17]        BARBARA DEWALD                           MEDICAL RECORDS                            1290-000                    6.61                                220,267.65
                                     1237 OAK ROAD
                                     POTTSVILLE, PA 17901

                                                                                                                    Page Subtotals                 177.42                  0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                   5                     6                     7
                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)           Balance($)
04/09/2018               [17]        LINDA BROWN                              MEDICAL RECORDS                                     1290-000                     9.71                                  220,277.36
                                     5101 SCHWABEN CREEK ROAD
                                     LECK KILL, PA 17836

04/09/2018               [17]        MARY ANN JALBERT                         MEDICAL RECORDS                                     1290-000                   13.86                                   220,291.22
                                     17616 Laoana Cir
                                     Eagle River, AK 99577

04/09/2018             51188         MICHAEL MCGINTY                          REIMBURSEMENT OF OUT-OF-POCKET EXPENSES             2990-000                                            63.59          220,227.63
                                     235 DEER FIELD DRIVE                     (Seagate 1TB PorTAB)
                                     POTTSVILLE, PA 17901

04/09/2018             51189         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0172227)         2990-000                                           145.75          220,081.88
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

04/12/2018               [24]        VALLEY KIDNEY SPECIALIST,P.C.            Dr. Syed G. Shah Settlement                         1249-000               30,000.00                                   250,081.88
                                     1230 SOUTH CEDAR CREST BLVD
                                     SUITE 301
                                     ALLENTOWN, PA 18103

04/13/2018             51190         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 4/7/18             2990-000                                      5,292.47             244,789.41
                                     PO BOX 98                                (INVOICE NO. G651; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, PA Sales Tax)


04/16/2018               [1]         EDWARD CUNNINGHAM                        Accounts Receivable                                 1121-000                   35.00                                   244,824.41
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

                                                                                                                              Page Subtotals             30,058.57              5,501.81




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                           5                     6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)        Disbursements($)         Balance($)
04/16/2018               [1]         ORPHA HARTER                             Accounts Receivable                        1121-000                    15.86                                244,840.27
                                     1430 Spruce Street
                                     Ashland, PA 17921

04/16/2018               [1]         KAREN FARBER                             Accounts Receivable                        1121-000                    15.00                                244,855.27
                                     115 N 5th Street
                                     Frackville, PA 17931

04/16/2018               [1]         PAUL D. FARBER                           Accounts Receivable                        1121-000                    15.00                                244,870.27
                                     115 N 5th Street
                                     Frackville, PA 17931

04/16/2018               [1]         MARY S. FELSOCI                          Accounts Receivable                        1121-000                    50.49                                244,920.76
                                     1023 Center Street
                                     Hometown, PA 18252

04/16/2018               [1]         JASON KAYLAN                             Accounts Receivable                        1121-000                     5.00                                244,925.76
                                     1760 Running Deer Dr.
                                     Auburn, PA 17922

04/16/2018               [1]         JULIE LUCKENBILL                         Accounts Receivable                        1121-000                    42.14                                244,967.90
                                     740 Seltzer Rd
                                     Pottsville, PA 17901

04/16/2018               [1]         ROSE NORDALL                             Accounts Receivable                        1121-000                    54.85                                245,022.75
                                     422 Birds Hill Rd
                                     Pine Grove, PA 17963

                                                                                                                     Page Subtotals                 198.34                  0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                           5                     6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)        Disbursements($)         Balance($)
04/16/2018               [1]         MARISA SOPHY                             Accounts Receivable                        1121-000                    25.00                                245,047.75
                                     1134 EAGLE HILL ROAD
                                     POTTSVILLE, PA 17901

04/16/2018               [1]         MARION LINK                              Accounts Receivable                        1121-000                    36.50                                245,084.25
                                     BOX 56
                                     TUSCARORA, PA 17982

04/16/2018               [1]         TINA NOLL                                Accounts Receivable                        1121-000                    15.00                                245,099.25
                                     1543 West Norwegian Street
                                     Pottsville, PA 17901

04/16/2018               [1]         CHARLES NOLL                             Accounts Receivable                        1121-000                    15.00                                245,114.25
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

04/16/2018               [1]         R. AHRENSFIELD                           Accounts Receivable                        1121-000                    20.00                                245,134.25
                                     37 R. St. John Street
                                     Schuylkill Haven , PA 17972

04/16/2018               [1]         CHRISTINE LAWSON                         Accounts Receivable                        1121-000                    10.00                                245,144.25
                                     32 FRITZ AVE
                                     SCHUYLKILL HAVEN, PA 17972

04/16/2018               [1]         RONALD NOEL                              Accounts Receivable                        1121-000                    38.00                                245,182.25
                                     26 Bryn Mawr Ave
                                     Pottsville, PA 17901

                                                                                                                     Page Subtotals                 159.50                  0.00




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                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                    5                     6                     7
                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)           Balance($)
04/16/2018             51191         COMCAST                                  COMCAST (INVOICE NO. 63534605) (ACCT. NO.           2990-000                                           586.29          244,595.96
                                     PO Box 37601                             903111610)
                                     Philadelphia, PA 19101-0601

04/18/2018               [17]        William Abbott                           Medical Records                                     1290-000                     7.31                                  244,603.27
                                     Sci Forest Inmate Welfare Fund
                                     153 Woodland Drive
                                     Marienville, PA 16239

04/20/2018             51192         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 4/14/18            2990-000                                      5,264.41             239,338.86
                                     PO BOX 98                                (INVOICE NO. G656; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, PA Sales Tax)


04/23/2018               [17]        Ellen M. Postupack                       Medical Records                                     1290-000                     8.31                                  239,347.17
                                     215 W. Mahanoy Sity
                                     Mahanoy City, PA 17948

04/23/2018               [17]        Jean Petrucka                            Medical Records                                     1290-000                     6.61                                  239,353.78
                                     15107 Ann's Choice Way
                                     Warmister, PA 18974

04/23/2018               [17]        Judy B. Rebuck                           Medical Records                                     1290-000                     4.29                                  239,358.07
                                     401 Washington Street
                                     Pottsville, PA 17901,

04/23/2018               [1]         Dolores Noonan                           Accounts Receivable                                 1121-000                   10.00                                   239,368.07
                                     101 E. Chestnut St. Apt 304
                                     Frackville, PA 17931

                                                                                                                              Page Subtotals                 36.52              5,850.70




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                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                           5                     6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)        Disbursements($)         Balance($)
04/23/2018               [1]         ROBIN LYNCH                              Accounts Receivable                        1121-000                    25.00                                239,393.07
                                     208 DOCK STREET
                                     APT # 9
                                     SCHUYLKILL HAVEN, PA 17972

04/23/2018               [1]         NANCY LECHLEITNER                        Accounts Receivable                        1121-000                    25.00                                239,418.07
                                     320 Mauch Chunk St
                                     Pottsville, PA 17901

04/23/2018               [1]         MICHAEL BROWN                            Accounts Receivable                        1121-000                    50.00                                239,468.07
                                     289 PLEASANT VALLEY RD
                                     PINE GROVE, PA 17963

04/23/2018               [1]         AMY MILLER                               Accounts Receivable                        1121-000                    20.00                                239,488.07
                                     312 Sweet Arrow Lake Rd
                                     Pine Grove, PA 17963

*04/23/2018              [1]         James Wetzel                             Accounts Receivable                        1121-003                     5.00                                239,493.07
                                     358 Front Street
                                     Pottsville, PA 17901

*04/23/2018              [1]         SADIE WETZEL                             Accounts Receivable                        1121-003                     5.00                                239,498.07
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

04/23/2018               [1]         MARY BURNS                               Accounts Receivable                        1121-000                    20.00                                239,518.07
                                     518 WEST RACE STREET
                                     POTTSVILLE, PA 17901

                                                                                                                     Page Subtotals                 150.00                  0.00




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                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                   5                     6                    7
                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)          Balance($)
04/23/2018               [1]         Michelle Petri                           Accounts Receivable                                 1121-000                    40.00                                 239,558.07
                                     634 E Mahanoy St
                                     Mahanoy City, PA 17948

04/23/2018               [1]         DONNA SHERAKAS                           Accounts Receivable                                 1121-000                    40.00                                 239,598.07
                                     420 RESERVOIR ROAD
                                     RINGTOWN, PA 17967

04/23/2018               [1]         Taylor Reedy                             Accounts Receivable                                 1121-000                    37.34                                 239,635.41
                                     238 N. 18th Street
                                     Pottsville , PA 17901

04/23/2018               [1]         Suzanne Fehr                             Accounts Receivable                                 1121-000                   200.00                                 239,835.41
                                     702 Village Road
                                     Orwigsburg , PA 17961

04/23/2018               [1]         CAROL MCSHAW                             Accounts Receivable                                 1121-000                    21.40                                 239,856.81
                                     164 STRAWBERRY LANE
                                     RINGTOWN, PA 17967

04/23/2018               [1]         Thomas O'Donnell                         Accounts Receivable                                 1121-000                    41.00                                 239,897.81
                                     22 Reedersville Road
                                     Schuylkill Haven, PA 17972

04/23/2018             51193         US POSTMASTER                            POSTAGE (Miscellaneous Mailings and Services)       2990-000                                           68.07          239,829.74
                                     LEHIGHTON, PA 18235

04/24/2018               [1]         JAMES E. WETZEL                          ACCOUNT RECEIVABLE                                  1121-000                    10.00                                 239,839.74
                                     SADIE E. WETZEL

                                                                                                                              Page Subtotals                 389.74                  68.07




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                                    5                     6                     7
                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)           Balance($)
*04/24/2018              [1]         SADIE WETZEL                             Accounts Receivable                                 1121-003                   (5.00)                                  239,834.74
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

*04/24/2018              [1]         James Wetzel                             Accounts Receivable                                 1121-003                   (5.00)                                  239,829.74
                                     358 Front Street
                                     Pottsville, PA 17901

04/26/2018             51194         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0151882)         2990-000                                           502.39          239,327.35
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

04/26/2018             51195         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 4/14/18            2990-000                                      5,332.46             233,994.89
                                     PO BOX 98                                (INVOICE NO. G667; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, PA Sales Tax)


04/27/2018               [1]         Lorraine Kantner                         Accounts Receivable                                 1121-000                   139.50                                  234,134.39
                                     180 West Second Mt Road
                                     Pottsville, PA 17901

04/27/2018               [1]         Lori Houtz                               Accounts Receivable                                 1121-000                    25.00                                  234,159.39
                                     681 Forest Lane
                                     Pottsville, PA 17901

04/27/2018               [1]         Martha Evans                             Accounts Receivable                                 1121-000                    15.00                                  234,174.39
                                     335 Colliery Avenue
                                     Tower City, PA 17980

                                                                                                                              Page Subtotals                 169.50             5,834.85




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                               Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                    Bank Name: Texas Capital Bank
                                                                                                                                          Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                               5                     6                  7
                                                                                                                             Uniform
Transaction           Check or                                                                                                Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction            Code             Deposits($)        Disbursements($)        Balance($)
04/27/2018               [1]         EDWARD CUNNINGHAM                        Accounts Receivable                            1121-000                    35.00                               234,209.39
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

04/27/2018               [1]         Michael Freeze                           Accounts Receivable                            1121-000                    25.00                               234,234.39
                                     114 Pike Street
                                     Port Carbon, PA 17965

04/27/2018               [1]         CHARLES NOLL                             Accounts Receivable                            1121-000                    85.00                               234,319.39
                                     1543 NORWEGIAN STREET
                                     POTTSVILLE, PA 17901

05/02/2018               [17]        JEANNE S. CARL                           MEDICAL RECORDS                                1290-000                     6.61                               234,326.00


05/02/2018               [17]        LYNN KORN                                MEDICAL RECORDS                                1290-000                     6.61                               234,332.61
                                     427 WEST BIDDLE STREET
                                     P.O. BOX 176
                                     GORDON, PA 17936

05/02/2018               [17]        EILEEN TURNBACH                          MEDICAL RECORDS                                1290-000                     6.61                               234,339.22
                                     41 Ashburg Dr
                                     SUITE 13
                                     Mechanicsburg, PA 17050

05/02/2018             51196         BB&T                                     PARTIAL PAYMENT OF SECURED CLAIM NO. 9B (for   4210-000                                      3,954.10          230,385.12
                                                                              the period 2/19/18 to 4/30/18)


                                                                                                                         Page Subtotals                 164.83             3,954.10




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                   5                     6                     7
                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)           Balance($)
05/02/2018             51197         US POSTMASTER                            POSTAGE (Miscellaneous Mailings and Services)       2990-000                                            39.80          230,345.32
                                     LEHIGHTON, PA 18235

05/03/2018             51198         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 4/28/18            2990-000                                      5,354.86             224,990.46
                                     PO BOX 98                                (INVOICE NO. G670; Williamson, McGinty, Homa,
                                     PALMERTON, PA 18071                      Dahm, Hartz, PA Sales Tax)


05/03/2018                           Texas Capital Bank                       Bank Service Fee                                    2600-000                                           321.57          224,668.89
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

05/04/2018               [26]        LEHIGH VALLEY NETWORK                    REIMBURSEMENT FOR COMCAST PAYMENTS                  1290-000                2,523.41                                   227,192.30
                                     700 E Norwegian St
                                     Pottsville, PA 17901

05/10/2018             51199         UPS                                      UPS OVERNIGHT MAILING (INVOICE NO. FE5895188;       2990-000                                            34.57          227,157.73
                                     PO BOX 7247-0244                         SHIPPER NO. FE5895; CONTROL ID 68T1)
                                     PHILADELPHIA, PA 19170-0001

05/10/2018             51200         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 5/5/18             2990-000                                      4,682.85             222,474.88
                                     PO BOX 98                                (INVOICE NO. G674; McGinty, Homa, Dahm, PA
                                     PALMERTON, PA 18071                      Sales Tax)


05/11/2018               [17]        MEGAN BENSINGER                          MEDICAL RECORDS                                     1290-000                     6.61                                  222,481.49
                                     34 NE SHUESTRING LANE
                                     SCHUYLKILL HAVEN, PA 17972

                                                                                                                              Page Subtotals              2,530.02             10,433.65




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                          Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                               Bank Name: Texas Capital Bank
                                                                                                                                     Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                      4                                           5                     6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction         Code            Deposits($)        Disbursements($)         Balance($)
05/11/2018               [17]        ANN MARIE MILYO                          MEDICAL RECORDS                            1290-000                    6.61                                222,488.10
                                     2666 WHITMAN DRIVE
                                     WILMINGTON, DE 19808

05/11/2018               [17]        SANDRA DUBENDORF                         MEDICAL RECORDS                            1290-000                    6.61                                222,494.71
                                     16 HILLCREST AVE
                                     SCHUYLKILL HAVEN, PA 17972

05/11/2018               [17]        ESTATE OF ESTHER WOODS                   MEDICAL RECORDS                            1290-000                   13.22                                222,507.93
                                     CLAIR KARLICEK, ADM
                                     P.O. BOX 421
                                     CLIFTON PARK, NY 12065

05/11/2018               [17]        WAYNE CHILDRESS                          MEDICAL RECORDS                            1290-000                   13.31                                222,521.24
                                     300 LEWIS STREET
                                     APT 205
                                     MINERSVILLE, PA 17954

05/11/2018               [17]        BONNIE MARCOSKY                          MEDICAL RECORDS                            1290-000                    8.31                                222,529.55


05/11/2018               [17]        MARIE TKACIK                             MEDICAL RECORDS                            1290-000                   15.11                                222,544.66
                                     2319 EVERGREEN AVE
                                     WARRINGTOM, PA 18976

05/11/2018               [17]        RECORDTRAK                               MEDICAL RECORDS FOR PATRICK QUIRK          1290-000                  107.81                                222,652.47
                                     651 ALLENDALE ROAD
                                     P.O. BOX 61591
                                     KING OF PRUSSIA, PA 19406

                                                                                                                    Page Subtotals                 170.98                  0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                          Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                               Bank Name: Texas Capital Bank
                                                                                                                                     Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                          5                     6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction         Code            Deposits($)        Disbursements($)         Balance($)
05/11/2018               [17]        FLORIO, PERRUCCI, STEINHARDT             MEDICAL RECORDS FOR CASEY STEFANICK        1290-000                  157.57                                222,810.04
                                     AND FADER, LLC
                                     235 BROUBALOW WAY
                                     PHILLIPSBURG, NJ 08865

05/11/2018               [1]         ANNETTE TINA NALE                        ACCOUNTS RECEIVABLE                        1121-000                   20.00                                222,830.04
                                     133 RESERVIOR ROAD
                                     RINGTOWN, PA 17967

05/11/2018               [1]         MICHELLE KALYAN                          ACCOUNTS RECEIVABLE                        1121-000                    5.00                                222,835.04
                                     1760 RUNNING DEER ROAD
                                     AUBURN, PA 17922

05/11/2018               [1]         MONICA MASSARI                           ACCOUNTS RECEIVABLE                        1121-000                  124.89                                222,959.93
                                     767 Minersville Llewellyn Hwy
                                     Pottsville, PA 17901

05/11/2018               [1]         CHRISTINE LAWSON                         ACCOUNTS RECEIVABLE                        1121-000                   10.00                                222,969.93
                                     32 FRITZ AVE
                                     SCHUYLKILL HAVEN, PA 17972

05/11/2018               [1]         SADIE WETZEL                             ACCOUNTS RECEIVABLE                        1121-000                   10.00                                222,979.93
                                     358 FRONT STREET
                                     POTTSVILLE, PA 17901

05/11/2018               [1]         CARMEN MURHON                            ACCOUNTS RECEIVABLE                        1121-000                   10.00                                222,989.93
                                     1516 NORTH NORWEGIAN STREET
                                     POTTSVILLE, PA 17902

                                                                                                                    Page Subtotals                 337.46                  0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                   5                     6                     7
                                                                                                                                  Uniform
Transaction           Check or                                                                                                     Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                 Code             Deposits($)        Disbursements($)           Balance($)
05/11/2018               [1]         MINNIE ERBE                              ACCOUNTS RECEIVABLE                                 1121-000                     5.00                                  222,994.93
                                     128 WEST OGDEN STREET
                                     GIRARDVILLE, PA 17935

05/11/2018               [1]         MARY BURNS                               ACCOUNTS RECEIVABLE                                 1121-000                   20.00                                   223,014.93
                                     518 WEST RACE STREET
                                     POTTSVILLE, PA 17901

05/14/2018               [17]        BETTY H. RUSSELL                         MEDICAL RECORDS                                     1290-000                     9.08                                  223,024.01


*05/14/2018            51201         BETTY H. RUSSELL                         MEDICAL RECORDS                                     1290-003                   (9.08)                                  223,014.93


*05/14/2018              [17]        BETTY H. RUSSELL                         MEDICAL RECORDS                                     1290-003                     9.08                                  223,024.01


05/14/2018             51202         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0151882)         2990-000                                           502.39          222,521.62
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

05/14/2018             51203         COMCAST                                  COMCAST (INVOICE NO. 64437420) (ACCT. NO.           2990-000                                           586.29          221,935.33
                                     PO Box 37601                             903111610)
                                     Philadelphia, PA 19101-0601

05/15/2018             51204         BARCLAYS                                 MISCELLANEOUS FILING/SERVICING FEES                 2990-000                                           186.18          221,749.15
                                     PO BOX 13337                             (REIMBURSEMENT TO CREDIT CARD)
                                     PHILADELPHIA, PA 19101-3337

05/16/2018             51205         US POSTMASTER                            POSTAGE (Mailing of Medical Records to Former       2990-000                                            35.22          221,713.93
                                     LEHIGHTON, PA 18235                      Patients)


                                                                                                                              Page Subtotals                 34.08              1,310.08



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                     Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                          Bank Name: Texas Capital Bank
                                                                                                                                                Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                      Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                      Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                    5                     6                     7
                                                                                                                                   Uniform
Transaction           Check or                                                                                                      Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                  Code             Deposits($)        Disbursements($)           Balance($)
05/17/2018             51206         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 5/12/18             2990-000                                      4,682.85             217,031.08
                                     PO BOX 98                                (INVOICE NO. G681; McGinty, Homa, Dahm, PA
                                     PALMERTON, PA 18071                      Sales Tax)


05/17/2018             51207         KURTZMAN STEADY, LLC                     FINAL COMPENSATION TO SPECIAL COUNSEL                3210-600                                      8,568.00             208,463.08
                                     401 S. 2ND ST., SUITE 301                (December 1, 2017 through April 17, 2018) (PER
                                     PHILADELPHIA, PA 19147                   COURT ORDER DATED 5/15/18)


05/17/2018             51208         KURTZMAN STEADY, LLC                     OUT-OF-POCKET EXPENSES TO SPECIAL COUNSEL            3220-610                                           104.15          208,358.93
                                     401 S. 2ND ST., SUITE 301                (December 1, 2017 through April 17, 2018) (PER
                                     PHILADELPHIA, PA 19147                   COURT ORDER DATED 5/15/18)


05/24/2018             51209         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 5/19/18             2990-000                                      4,297.09             204,061.84
                                     PO BOX 98                                (INVOICE NO. G687; McGinty, Homa, Dahm, PA
                                     PALMERTON, PA 18071                      Sales Tax)


05/31/2018             51210         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 5/26/18             2990-000                                      3,870.72             200,191.12
                                     PO BOX 98                                (INVOICE NO. G695; McGinty, Homa, PA Sales Tax)
                                     PALMERTON, PA 18071

05/31/2018             51211         FEGLEY & ASSOCIATES, P.C.                FIRST INTERIM COMPENSATION TO ACCOUNTANT             3410-000                                      3,723.75             196,467.37
                                     2250 HICKORY ROAD, SUITE 20              (PER COURT ORDER DATED 5/30/18)
                                     PLYMOUTH MEETING, PA 19462

06/04/2018               [1]         JEFFERY VOLUTZA                          ACCOUNTS RECEIVABLE                                  1121-000                   54.33                                   196,521.70
                                     25 N. NICHOLAS STREE
                                     APT 105
                                     SAINT CLAIR, PA 17970

                                                                                                                               Page Subtotals                 54.33             25,246.56




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
06/04/2018               [1]         ROBERT SOPHY                             ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 196,546.70
                                     1134 EAGLE ROAD
                                     POTTSVILLE, PA 17901

06/04/2018               [1]         CHRISTIE JO SALEM                        ACCOUNTS RECEIVABLE                        1121-000                  25.00                                 196,571.70
                                     133 NORTH THIRD STREET
                                     SAINT CLAIR, PA 17970

06/04/2018               [1]         AETNA                                    ACCOUNTS RECEIVABLE                        1121-000                 100.00                                 196,671.70
                                     151 FARMINGTON AVE
                                     HARTFORD, CT 06156

06/04/2018               [1]         RAYDELLE COLLER                          ACCOUNTS RECEIVABLE                        1121-000                  10.00                                 196,681.70
                                     63 GRANT STREET
                                     SCHUYLKILL HAVEN, PA 17972

06/04/2018               [1]         LINDA GOTTSCHALL                         ACCOUNTS RECEIVABLE                        1121-000                  85.00                                 196,766.70
                                     36 Gottschall Ln
                                     Schuylkill Haven, PA 17972

06/04/2018               [1]         AETNA                                    ACCOUNTS RECEIVABLE                        1121-000                 400.00                                 197,166.70
                                     151 FARMINGTON AVE
                                     HARTFORD, CT 06156

06/04/2018               [1]         ROBERT HOLZINGER                         ACCOUNTS RECEIVABLE                        1121-000                    0.75                                197,167.45
                                     298 Schwenks Rd
                                     Hegins, PA 17938

                                                                                                                   Page Subtotals                 645.75                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                          Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                               Bank Name: Texas Capital Bank
                                                                                                                                     Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                          5                     6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code            Deposits($)        Disbursements($)         Balance($)
06/04/2018               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                        1121-000                   35.00                                197,202.45
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

06/04/2018               [1]         ROBIN LYNCH                              ACCOUNTS RECEIVABLE                        1121-000                   25.00                                197,227.45
                                     208 DOCK STREET
                                     APT # 9
                                     SCHUYLKILL HAVEN, PA 17972

06/04/2018               [17]        MCS GROUP, INC                           MEDICAL RECORDS FOR THERESA CARROLL        1290-000                  166.57                                197,394.02
                                     1601 MARKET STREET
                                     SUITE 800
                                     PHILADELPHIA, PA 19103

06/04/2018               [17]        PAULA BENSINGER                          MEDICAL RECORDS                            1290-000                   10.13                                197,404.15
                                     237 WEBB STREET
                                     HAMMOND, NJ 46320

06/04/2018               [17]        SAMUEL FORAN                             MEDICAL RECORDS                            1290-000                    8.87                                197,413.02
                                     39429 TUSCANY COURT
                                     NOVI, MI 48375

06/04/2018               [17]        JESSE SHAY                               MEDICAL RECORDS                            1290-000                    9.29                                197,422.31
                                     2135 WEST MARKET STREET
                                     POTTSVILLE, PA 17901

06/04/2018               [17]        ELIZABETH LEWIS                          MEDICAL RECORDS                            1290-000                   10.13                                197,432.44
                                     1310 E CENTRE STREET
                                     MAHANOY CITY, PA 17948

                                                                                                                    Page Subtotals                 264.99                  0.00



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                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                 5                     6                     7
                                                                                                                                Uniform
Transaction           Check or                                                                                                   Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction               Code             Deposits($)        Disbursements($)           Balance($)
06/04/2018             51212         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0172227)       2990-000                                           301.50          197,130.94
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

06/04/2018                           Texas Capital Bank                       Bank Service Fee                                  2600-000                                           310.23          196,820.71
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

06/05/2018             51213         US POSTMASTER                            REIMBURSEMENT OF POSTAGE                          2990-000                                            48.33          196,772.38
                                     LEHIGHTON, PA 18235

06/08/2018             51214         REPUBLICAN HERALD                        PUBLICATION FEE (NOTICE OF MEDICAL RECORDS        2990-000                                           712.00          196,060.38
                                                                              TO FORMER PATIENTS) (REFERENCE NO. 82213547
                                                                              QU335)

06/08/2018             51215         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 6/2/18           2990-000                                      3,870.72             192,189.66
                                     PO BOX 98                                (INVOICE NO. G703; McGinty, Homa, PA Sales Tax)
                                     PALMERTON, PA 18071

06/14/2018             51216         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 6/9/18           2990-000                                      3,870.72             188,318.94
                                     PO BOX 98                                (INVOICE NO. G709; McGinty, Homa, PA Sales Tax)
                                     PALMERTON, PA 18071

06/18/2018               [17]        FABIANI COHEN & HALL, LLP                MEDICAL RECORDS FOR KULDEEP SINGH                 1290-000                   105.37                                  188,424.31
                                     570 LEXINGTON AVE
                                     4TH FLOOR
                                     NEW YORK, NY 10022

                                                                                                                            Page Subtotals                 105.37             9,113.50




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                              Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                         Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                               Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                               Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                              5                     6                     7
                                                                                                                            Uniform
Transaction           Check or                                                                                               Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction            Code             Deposits($)        Disbursements($)           Balance($)
06/18/2018               [1]         DEBRA LEIB                               ACCOUNTS RECEIVABLE                           1121-000                    15.86                                  188,440.17
                                     P.O. BOX 23
                                     325 MCKNIGHT STREET
                                     GORDON, PA 17936

06/18/2018               [1]         CHARLENE FREEZE                          ACCOUNTS RECEIVABLE                           1121-000                    25.00                                  188,465.17
                                     114 PIKE STREET
                                     PORT CARBON, PA 17965

06/18/2018               [1]         DEBRA PUTT                               ACCOUNTS RECEIVABLE                           1121-000                    30.00                                  188,495.17
                                     73 N Berne St
                                     Schuylkill Haven, PA 17972

06/18/2018               [1]         PAULA POGASH                             ACCOUNTS RECEIVABLE                           1121-000                   100.00                                  188,595.17
                                     161 HIGH ROAD
                                     POTTSVILLE, PA 17901

06/18/2018               [1]         JESSICA LEONARD                          ACCOUNTS RECEIVABLE                           1121-000                    10.00                                  188,605.17
                                     505 FOREST LANE
                                     POTTSVILLE, PA 17901

06/18/2018               [1]         HEATHER LEWIS                            ACCOUNTS RECEIVABLE                           1121-000                   140.00                                  188,745.17
                                     211 PENN STREET
                                     TOPTON, PA 19562

06/19/2018             51217         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0151882)   2990-000                                           511.89          188,233.28
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

                                                                                                                        Page Subtotals                 320.86                  511.89




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                 5                     6                     7
                                                                                                                                Uniform
Transaction           Check or                                                                                                   Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction               Code             Deposits($)        Disbursements($)           Balance($)
06/19/2018             51218         COMCAST                                  COMCAST (INVOICE NO. 64437420) (ACCT. NO.         2990-000                                           586.29          187,646.99
                                     PO Box 37601                             903111610)
                                     Philadelphia, PA 19101-0601

06/21/2018             51219         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 6/16/18          2990-000                                      3,870.72             183,776.27
                                     PO BOX 98                                (INVOICE NO. G717; McGinty, Homa, PA Sales Tax)
                                     PALMERTON, PA 18071

06/21/2018             51220         TRUSTEE INSURANCE AGENCY                 INSURANCE PREMIUM (INVOICE NO. 1855; 106 S.       2990-000                                           257.00          183,519.27
                                     2813 WEST MAIN                           CLAUDE A. BLVD., POTTSVILLE)
                                     KALAMAZOO, MI 49006

06/28/2018             51221         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 6/23/18          2990-000                                      3,870.72             179,648.55
                                     PO BOX 98                                (INVOICE NO. G723; McGinty, Homa, PA Sales Tax)
                                     PALMERTON, PA 18071

07/02/2018               [17]        MCS GROUP, INC                           MEDICAL RECORDS FOR JESSICA QUERCIA               1290-000                   389.41                                  180,037.96
                                     1601 MARKET STREET
                                     SUITE 800
                                     PHILADELPHIA, PA 19103

07/02/2018             51222         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0172227)       2990-000                                           145.75          179,892.21
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

07/03/2018                           Texas Capital Bank                       Bank Service Fee                                  2600-000                                           270.62          179,621.59
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

                                                                                                                            Page Subtotals                 389.41             9,001.10




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                 5                     6                     7
                                                                                                                                Uniform
Transaction           Check or                                                                                                   Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction               Code             Deposits($)        Disbursements($)           Balance($)
07/11/2018             51223         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 7/2/18           2990-000                                      3,870.72             175,750.87
                                     PO BOX 98                                (INVOICE NO. G730; McGinty, Homa, PA Sales Tax)
                                     PALMERTON, PA 18071

07/11/2018             51224         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 7/7/18           2990-000                                      3,870.72             171,880.15
                                     PO BOX 98                                (INVOICE NO. G737; McGinty, Homa, PA Sales Tax)
                                     PALMERTON, PA 18071

07/12/2018               [1]         AIG SECURITIES LITIGATION                ACCOUNTS RECEIVABLE                               1121-000                   184.40                                  172,064.55
                                     C/P RUST CONSULTING, INC
                                     P.O. BOX 8017
                                     FARIBAULT, MN 55021

07/12/2018               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                               1121-000                    35.00                                  172,099.55
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

07/12/2018             51225         COMCAST                                  COMCAST PAYMENT (ACCT. 8993 11 252 0151882)       2990-000                                           502.14          171,597.41
                                     PO BOX 3001
                                     SOUTHEASTERN, PA 19398-3001

07/16/2018             51226         US POSTMASTER                            REIMBURSEMENT OF POSTAGE/MISCELLANEOUS            2990-000                                             7.39          171,590.02
                                     LEHIGHTON, PA 18235                      FILING FEES

07/19/2018             51227         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 7/14/18          2990-000                                      3,870.72             167,719.30
                                     PO BOX 98                                (INVOICE NO. G743; McGinty, Homa, PA Sales Tax)
                                     PALMERTON, PA 18071

                                                                                                                            Page Subtotals                 219.40            12,121.69




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                 5                     6                     7
                                                                                                                                Uniform
Transaction           Check or                                                                                                   Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction               Code             Deposits($)        Disbursements($)           Balance($)
07/24/2018               [1]         James McGraw                             ACCOUNTS RECEIVABLE                               1121-000                    69.00                                  167,788.30
                                     1057 Peace Street
                                     Hazleton, PA 18202

07/24/2018               [1]         Dean Ritchie Sr.                         ACCOUNTS RECEIVABLE                               1121-000                    68.18                                  167,856.48
                                     216 Center Ave
                                     Schuylkill Haven, PA 17972

07/24/2018               [1]         ROBERT RZEPPLINSKI                       ACCOUNTS RECEIVABLE                               1121-000                    50.00                                  167,906.48
                                     80 WESTON PLACE
                                     SHENANDOAH, PA 17976

07/24/2018             51228         COMCAST                                  COMCAST (INVOICE NO. 66926302) (ACCT. NO.         2990-000                                           586.18          167,320.30
                                     PO Box 37601                             903111610)
                                     Philadelphia, PA 19101-0601

07/30/2018             51229         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 7/21/18          2990-000                                      3,870.72             163,449.58
                                     PO BOX 98                                (INVOICE NO. G749; McGinty, Homa, PA Sales Tax)
                                     PALMERTON, PA 18071

08/01/2018               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                               1121-000                    35.00                                  163,484.58
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

08/01/2018               [1]         E. SHIRLEY RIEGEL                        ACCOUNTS RECEIVABLE                               1121-000                    15.00                                  163,499.58
                                     174 Reedsville Rd
                                     Schuylkill Haven, PA 17972

                                                                                                                            Page Subtotals                 237.18             4,456.90




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                 5                     6                     7
                                                                                                                                Uniform
Transaction           Check or                                                                                                   Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction               Code             Deposits($)        Disbursements($)           Balance($)
08/01/2018               [1]         AETNA                                    ACCOUNTS RECEIVABLE                               1121-000                    30.00                                  163,529.58
                                     151 FARMINGTON AVE
                                     HARTFORD, CT 06156

08/02/2018             51230         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 7/28/18          2990-000                                      3,870.72             159,658.86
                                     PO BOX 98                                (INVOICE NO. G755; McGinty, Homa, PA Sales Tax)
                                     PALMERTON, PA 18071

08/02/2018             51231         MS. MARILYN HOMA                         REIMBURSEMENT OF OUT-OF-POCKET EXPENSES           2990-000                                             4.97          159,653.89
                                                                              (POSTAGE)

08/03/2018                           Texas Capital Bank                       Bank Service Fee                                  2600-000                                           246.10          159,407.79
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

08/07/2018               [1]         BB&T ACCT REC BANK ACCT                                                                    1121-000                   584.92                                  159,992.71


08/07/2018             51232         BB&T                                     PARTIAL PAYMENT OF SECURED CLAIM NO. 9B (final    4210-000                                      1,300.94             158,691.77
                                                                              payment)

08/07/2018                           BB&T                                                                                       4210-000                                           584.92          158,106.85
                                     9 N Centre St
                                     Pottsville, PA 17901

08/09/2018             51233         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 8/4/18           2990-000                                      3,870.72             154,236.13
                                     PO BOX 98                                (INVOICE NO. G765; McGinty, Homa, PA Sales Tax)
                                     PALMERTON, PA 18071

                                                                                                                            Page Subtotals                 614.92             9,878.37




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                 5                     6                     7
                                                                                                                                Uniform
Transaction           Check or                                                                                                   Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction               Code             Deposits($)        Disbursements($)           Balance($)
08/15/2018             51234         UPS                                      UPS OVERNIGHT MAILING (INVOICE NO. FE5895328;     2990-000                                            34.65          154,201.48
                                     PO BOX 7247-0244                         SHIPPER NO. FE5895; CONTROL ID: Q639)
                                     PHILADELPHIA, PA 19170-0001

08/20/2018             51235         JOB CONNECTION SERVICES, INC.            PAYROLL SERVICES FOR WEEK ENDING 8/11/18          2990-000                                      3,870.72             150,330.76
                                     PO BOX 98                                (INVOICE NO. G773; McGinty, Homa, PA Sales Tax)
                                     PALMERTON, PA 18071

08/20/2018             51236         SHRED-IT USA                             SHREDDING SERVICES (INVOICE NO.                   2990-000                                     14,285.11             136,045.65
                                     28883 NETWORK PLACE                      8125387488)(CUSTOMER NO. 15930150)
                                     CHICAGO, IL 60673-1288

08/21/2018             51237         BARCLAYS                                 MISCELLANEOUS FILING/SERVICING FEES               2990-000                                           145.29          135,900.36
                                     PO BOX 13337                             (REIMBURSEMENT TO CREDIT CARD)
                                     PHILADELPHIA, PA 19101-3337

08/28/2018             51238         US POSTMASTER                            REIMBURSEMENT OF POSTAGE (MISCELLANEOUS           2990-000                                            15.24          135,885.12
                                     LEHIGHTON, PA 18235                      FILING/SERVICE FEES)

08/30/2018               [31]        INTUIT                                   REFUND ON SOFTWARE                                1229-000                   295.84                                  136,180.96
                                     7535 Torrey Santa Fe Rd
                                     San Diego, CA 92129

08/30/2018               [1]         GAVIN ALLAN                              ACCOUNT RECEIVABLE                                1121-000                    16.41                                  136,197.37
                                     320 NORTH 10TH STREET
                                     POTTSVILLE, PA 17901

08/30/2018               [1]         MARISSA MCGOVERN                         ACCOUNTS RECEIVABLE                               1121-000                    95.00                                  136,292.37
                                     131 SPRINGWOOD AVE
                                     POTTSVILLE, PA 17901

                                                                                                                            Page Subtotals                 407.25            18,351.01



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                            Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                 Bank Name: Texas Capital Bank
                                                                                                                                       Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                             Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                             Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                           5                     6                     7
                                                                                                                           Uniform
Transaction           Check or                                                                                              Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction          Code            Deposits($)        Disbursements($)           Balance($)
09/04/2018             51239         PPL ELECTRIC UTILITIES                   ELECTRIC BILL (ACCT. NO. 21174-01002)        2990-000                                           28.90          136,263.47


09/04/2018                           Texas Capital Bank                       Bank Service Fee                             2600-000                                          219.27          136,044.20
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

09/07/2018             51240         FEGLEY & ASSOCIATES, P.C.                SECOND INTERIM COMPENSATION TO               3410-000                                     2,487.50             133,556.70
                                     2250 HICKORY ROAD, SUITE 20              ACCOUNTANT (PER COURT ORDER DATED 8/28/18)
                                     PLYMOUTH MEETING, PA 19462

09/10/2018               [26]        LEHIGH VALLEY HEALTH NETWORK             REIMBURSEMENT FOR COMCAST                    1290-000               4,811.11                                   138,367.81


09/10/2018               [1]         EDWARD CUNNINGHAM                        ACCOUNTS RECEIVABLE                          1121-000                  35.00                                   138,402.81
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

09/11/2018               [21]        STERICYCLE, STERI-SAFE LITIGATION        CLASS ACTION SETTLEMENT                      1249-000               2,241.94                                   140,644.75
                                     C/O GCG
                                     P.O. BOX 10515
                                     DUBLIN, OH 43017-1515

09/11/2018               [21]        STERICYCLE, STERI-SAFE LITIGATION        CLASS ACTION SETTLEMENT                      1249-000               2,269.49                                   142,914.24
                                     C/O GCG
                                     P.O. BOX 10515
                                     DUBLIN, OH 43017-1515

                                                                                                                      Page Subtotals              9,357.54              2,735.67




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                   Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                        Bank Name: Texas Capital Bank
                                                                                                                                              Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                    Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                    Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                  5                     6                     7
                                                                                                                                 Uniform
Transaction           Check or                                                                                                    Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                Code             Deposits($)        Disbursements($)           Balance($)
09/11/2018               [21]        STERICYCLE, STERI-SAFE LITIGATION         CLASS ACTION SETTLEMENT                           1249-000                2,973.97                                   145,888.21
                                     C/O GCG
                                     P.O. BOX 10515
                                     DUBLIN, OH 43017-1515

09/11/2018               [21]        STERICYCLE, STERI-SAFE LITIGATION         CLASS ACTION SETTLEMENT                           1249-000                9,194.30                                   155,082.51
                                     C/O GCG
                                     P.O. BOX 10515
                                     DUBLIN, OH 43017-1515

*09/24/2018            51241         TRUSTEE INSURANCE AGENCY                  INSURANCE PREMIUM (INVOICE NO. 1933; 106 S.       2990-004                                           257.00          154,825.51
                                     2813 WEST MAIN                            CLAUDE A. BLVD., POTTSVILLE)
                                     KALAMAZOO, MI 49006

*10/02/2018                          TRUSTEE INSURANCE AGENCY                  Stop Payment on Check 51241                       2990-004                                         (257.00)          155,082.51
                                     2813 WEST MAIN
                                     KALAMAZOO, MI 49006

10/04/2018               [21]        PFIZER, INC. SECURITIES LITIGATION        CLASS ACTION-SETTLEMENT                           1249-000                   45.31                                   155,127.82
                                     C/O GILARDI & CO., LLC
                                     P. O. BOX 404001
                                     LOUISVILLE, KY 40233-4001

10/04/2018               [21]        PFIZER, INC. SECURITIES LITIGATION        CLASS ACTION-SETTLEMENT                           1249-000                   79.29                                   155,207.11
                                     C/O GILARDI & CO., LLC
                                     P. O. BOX 404001
                                     LOUISVILLE, KY 40233-4001

                                                                                                                             Page Subtotals             12,292.87                     0.00




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                               Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                    Bank Name: Texas Capital Bank
                                                                                                                                          Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                              5                     6                   7
                                                                                                                             Uniform
Transaction           Check or                                                                                                Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction            Code             Deposits($)        Disbursements($)         Balance($)
10/04/2018               [21]        PFIZER, INC. SECURITIES LITIGATION        CLASS ACTION- SETTLEMENT                      1249-000                   237.86                                155,444.97
                                     C/O GILARDI & CO., LLC
                                     P. O. BOX 404001
                                     LOUISVILLE, KY 40233-4001

10/26/2018             51242         US POSTMASTER                             REIMBURSEMENT OF POSTAGE (MISCELLANEOUS       2990-000                                           5.86          155,439.11
                                     LEHIGHTON, PA 18235                       MAILINGS)

11/05/2018               [1]         EDWARD CUNNINGHAM                         ACCOUNTS RECEIVABLE                           1121-000                    35.00                                155,474.11
                                     819 WEST CENTER STREET
                                     APT 301
                                     ASHLAND, PA 17921

11/05/2018               [1]         a                                         ACCOUNTS RECEIVABLE                           1121-000                   328.00                                155,802.11
                                     100 N Academy Ave
                                     Danville, PA 17822

12/03/2018               [1]         VIBRA HEALTH PLAN                         ACCOUNTS RECEIVABLE                           1121-000                    77.72                                155,879.83
                                     P.O. BOX 853938
                                     RICHARDSON, TX 75085

12/10/2018               [1]         AETNA                                     ACCOUNTS RECEIVABLE                           1121-000                   125.00                                156,004.83
                                     151 FARMINGTON AVE
                                     HARTFORD, CT 06156

12/10/2018               [1]         JUDY SHARTZER                             ACCOUNTS RECEIVABLE                           1121-000                    20.00                                156,024.83
                                     251 CLAY STREET
                                     TAMAQUA, PA 18252

                                                                                                                         Page Subtotals                 823.58                  5.86




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                            Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                 Bank Name: Texas Capital Bank
                                                                                                                                       Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                             Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                             Separate bond (if applicable): 0.00

    1                     2                                 3                                         4                                          5                     6                     7
                                                                                                                          Uniform
Transaction           Check or                                                                                             Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                   Description of Transaction        Code             Deposits($)        Disbursements($)           Balance($)
12/17/2018               [17]        MCS GROUP, INC                            MEDICAL RECORDS FOR JOHN NUSH              1290-000                    76.32                                  156,101.15
                                     1601 MARKET STREET
                                     SUITE 800
                                     PHILADELPHIA, PA 19103

02/22/2019               [21]        PFIZER, INC. SECURITIES LITIGATION        CLASS ACTION SUIT - Settlement             1249-000                   145.47                                  156,246.62
                                     P. O. BOX 10305
                                     DUBLIN, OH 43017-5905

*03/22/2019            51243         William G. Schwab, Trustee                                                           2100-003                                     51,586.06             104,660.56
                                     Fees
                                     811-1 Blakeslee Blvd Drive East
                                     Lehighton, PA 18235

*03/22/2019                          William G. Schwab, Trustee                                                           2100-003                                    (51,586.06)            156,246.62
                                     Fees
                                     811-1 Blakeslee Blvd Drive East
                                     Lehighton, PA 18235

03/22/2019             51244         WILLIAM G. SCHWAB, EXPENSES                                                          2200-000                                      3,116.60             153,130.02


03/22/2019             51245         CLERK'S OFFICE                                                                       2700-000                                      1,050.00             152,080.02
                                     274 MAX ROSENN US COURTHOUSE
                                     197 SOUTH MAIN STREET
                                     WILKES-BARRE, PA 18701

*03/22/2019            51246         TRUSTEE INSURANCE AGENCY                                                             2990-003                                           257.00          151,823.02



                                                                                                                      Page Subtotals                 221.79             4,423.60




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)        Disbursements($)          Balance($)
03/22/2019             51247         William G. Schwab and Associates                                                    3110-000                                      5,569.00            146,254.02
                                     811-1 Blakeslee Blvd Drive East
                                     PO Box 56
                                     Lehighton, PA 18235

03/22/2019             51248         William G. Schwab and Associates-Fees                                               3120-000                                           27.71          146,226.31


*03/22/2019            51249         Laurie Faust                             Disb of 56.65% to Claim #00002             7100-003                                      2,130.01            144,096.30
                                     655 Airport Rd
                                     Ashland, PA 17921

*03/22/2019                          Laurie Faust                             Disb of 56.65% to Claim #00002             7100-003                                     (2,130.01)           146,226.31
                                     655 Airport Rd
                                     Ashland, PA 17921

*03/22/2019            51250         GlaxoSmithKline Pharmaceuticals          Disb of 56.65% to Claim #00003             7100-003                                      5,443.56            140,782.75
                                     5 Crescent Dr
                                     Philadelphia, PA 19112

*03/22/2019                          GlaxoSmithKline Pharmaceuticals          Disb of 56.65% to Claim #00003             7100-003                                     (5,443.56)           146,226.31
                                     5 Crescent Dr
                                     Philadelphia, PA 19112

*03/22/2019            51251         Ward's Cleaning Service                  Disb of 56.65% to Claim #00010             7100-003                                      1,276.02            144,950.29
                                     622 Schuylkill Ave
                                     Pottsville, PA 17901

                                                                                                                     Page Subtotals                   0.00             6,872.73




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                         Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)        Disbursements($)            Balance($)
*03/22/2019                          Ward's Cleaning Service                  Disb of 56.65% to Claim #00010             7100-003                                     (1,276.02)             146,226.31
                                     622 Schuylkill Ave
                                     Pottsville, PA 17901

*03/22/2019            51252         Bob's Auto Servicenter                   Disb of 56.65% to Claim #00011             7100-003                                      2,161.16              144,065.15
                                     110 E Washington St
                                     Shenandoah, PA 17976

*03/22/2019                          Bob's Auto Servicenter                   Disb of 56.65% to Claim #00011             7100-003                                     (2,161.16)             146,226.31
                                     110 E Washington St
                                     Shenandoah, PA 17976

*03/22/2019            51253         Penn Kashar                              Disb of 56.65% to Claim #00012             7100-003                                            74.54           146,151.77
                                     1349 W Market St
                                     Pottsville, PA 17901

*03/22/2019                          Penn Kashar                              Disb of 56.65% to Claim #00012             7100-003                                           (74.54)          146,226.31
                                     1349 W Market St
                                     Pottsville, PA 17901

*03/22/2019            51254         McKesson Specialty Care Dist.            Disb of 56.65% to Claim #00015             7100-003                                      4,404.03              141,822.28
                                     401 Mason Rd
                                     La Vergne, TN 37086

*03/22/2019                          McKesson Specialty Care Dist.            Disb of 56.65% to Claim #00015             7100-003                                     (4,404.03)             146,226.31
                                     401 Mason Rd
                                     La Vergne, TN 37086

                                                                                                                     Page Subtotals                   0.00            (1,276.02)




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                            Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                 Bank Name: Texas Capital Bank
                                                                                                                                       Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                             Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                             Separate bond (if applicable): 0.00

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                                                                                                                          Uniform
Transaction           Check or                                                                                             Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                   Description of Transaction        Code             Deposits($)        Disbursements($)         Balance($)
*03/22/2019            51255         Denis M. Bane                             Disb of 56.65% to Claim #00016             7100-003                                      9,895.27           136,331.04
                                     450 Eisenhower Dr
                                     Orwigsburg, PA 17961

*03/22/2019                          Denis M. Bane                             Disb of 56.65% to Claim #00016             7100-003                                     (9,895.27)          146,226.31
                                     450 Eisenhower Dr
                                     Orwigsburg, PA 17961

*03/22/2019            51256         Maqsood A. Malik                          Disb of 56.65% to Claim #00017             7100-003                                     17,790.50           128,435.81
                                     3603 Aster St
                                     Allentown, PA 18104

*03/22/2019                          Maqsood A. Malik                          Disb of 56.65% to Claim #00017             7100-003                                    (17,790.50)          146,226.31
                                     3603 Aster St
                                     Allentown, PA 18104

*03/22/2019            51257         U.S. Bank, N.A. dba U.S. Bank Equipment   Disb of 56.65% to Claim #00020             7100-003                                      7,884.13           138,342.18
                                     Finance
                                     1310 Madrid St
                                     Marshall, MN 56258

*03/22/2019                          U.S. Bank, N.A. dba U.S. Bank Equipment   Disb of 56.65% to Claim #00020             7100-003                                     (7,884.13)          146,226.31
                                     Finance
                                     1310 Madrid St
                                     Marshall, MN 56258

*03/22/2019            51258         Ogden Directories Inc. d/b/a EZ to        Disb of 56.65% to Claim #00021             7100-003                                      3,738.84           142,487.47
                                     Use.com c/o Popper and Grafton
                                     225 W 34th St Ste 1806
                                     New York, NY 10122

                                                                                                                      Page Subtotals                   0.00             3,738.84



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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                              Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                         Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                               Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                               Separate bond (if applicable): 0.00

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                                                                                                                            Uniform
Transaction           Check or                                                                                               Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                     Description of Transaction        Code             Deposits($)        Disbursements($)         Balance($)
*03/22/2019                          Ogden Directories Inc. d/b/a EZ to          Disb of 56.65% to Claim #00021             7100-003                                     (3,738.84)          146,226.31
                                     Use.com c/o Popper and Grafton
                                     225 W 34th St Ste 1806
                                     New York, NY 10122

*03/22/2019            51259         Cardinal Health 108, LLC c/o Debra Willet, Disb of 56.65% to Claim #00024              7100-003                                     26,533.10           119,693.21
                                     VP, Asso. Gen. Counsel
                                     7000 Cardinal Pl
                                     Dublin, OH 43017

*03/22/2019                          Cardinal Health 108, LLC c/o Debra Willet, Disb of 56.65% to Claim #00024              7100-003                                    (26,533.10)          146,226.31
                                     VP, Asso. Gen. Counsel
                                     7000 Cardinal Pl
                                     Dublin, OH 43017

*03/22/2019            51260         Greenway Medical Technologies               Disb of 56.65% to Claim #00027             7100-003                                      9,569.25           136,657.06
                                     121 Greenway Blvd
                                     Carrollton, GA 30117

*03/22/2019                          Greenway Medical Technologies               Disb of 56.65% to Claim #00027             7100-003                                     (9,569.25)          146,226.31
                                     121 Greenway Blvd
                                     Carrollton, GA 30117

*03/22/2019            51261         Marshall, Bohorad, Thornburg, Price &  Disb of 56.65% to Claim #00030                  7100-003                                      3,739.84           142,486.47
                                     Campion, PC 1940 West Norwegian Street
                                     PO Box 1280
                                     Pottsville, PA 17901

                                                                                                                        Page Subtotals                   0.00                  1.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                       Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)        Disbursements($)          Balance($)
*03/22/2019                          Marshall, Bohorad, Thornburg, Price &  Disb of 56.65% to Claim #00030               7100-003                                     (3,739.84)           146,226.31
                                     Campion, PC 1940 West Norwegian Street
                                     PO Box 1280
                                     Pottsville, PA 17901

03/22/2019             51262         William G. Schwab, Trustee                                                          2100-000                                     51,578.79             94,647.52
                                     Fees
                                     811-1 Blakeslee Blvd Drive East
                                     Lehighton, PA 18235

*03/22/2019            51263         Laurie Faust                             Disb of 56.65% to Claim #00002             7100-003                                      2,130.17             92,517.35
                                     655 Airport Rd
                                     Ashland, PA 17921

*03/22/2019            51264         GlaxoSmithKline Pharmaceuticals          Disb of 56.65% to Claim #00003             7100-003                                      5,443.98             87,073.37
                                     5 Crescent Dr
                                     Philadelphia, PA 19112

*03/22/2019            51265         Ward's Cleaning Service                  Disb of 56.65% to Claim #00010             7100-003                                      1,276.12             85,797.25
                                     622 Schuylkill Ave
                                     Pottsville, PA 17901

*03/22/2019            51266         Bob's Auto Servicenter                   Disb of 56.65% to Claim #00011             7100-003                                      2,161.33             83,635.92
                                     110 E Washington St
                                     Shenandoah, PA 17976

*03/22/2019            51267         Penn Kashar                              Disb of 56.65% to Claim #00012             7100-003                                           74.55           83,561.37
                                     1349 W Market St
                                     Pottsville, PA 17901

                                                                                                                     Page Subtotals                   0.00            58,925.10




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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                              Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                         Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                               Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                               Separate bond (if applicable): 0.00

    1                     2                                 3                                           4                                          5                     6                  7
                                                                                                                            Uniform
Transaction           Check or                                                                                               Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                     Description of Transaction        Code             Deposits($)        Disbursements($)        Balance($)
*03/22/2019            51268         McKesson Specialty Care Dist.               Disb of 56.65% to Claim #00015             7100-003                                      4,404.36           79,157.01
                                     401 Mason Rd
                                     La Vergne, TN 37086

*03/22/2019            51269         Denis M. Bane                               Disb of 56.65% to Claim #00016             7100-003                                      9,896.03           69,260.98
                                     450 Eisenhower Dr
                                     Orwigsburg, PA 17961

*03/22/2019            51270         Maqsood A. Malik                            Disb of 56.65% to Claim #00017             7100-003                                     17,791.86           51,469.12
                                     3603 Aster St
                                     Allentown, PA 18104

*03/22/2019            51271         U.S. Bank, N.A. dba U.S. Bank Equipment     Disb of 56.65% to Claim #00020             7100-003                                      7,884.74           43,584.38
                                     Finance
                                     1310 Madrid St
                                     Marshall, MN 56258

*03/22/2019            51272         Ogden Directories Inc. d/b/a EZ to          Disb of 56.65% to Claim #00021             7100-003                                      3,739.13           39,845.25
                                     Use.com c/o Popper and Grafton
                                     225 W 34th St Ste 1806
                                     New York, NY 10122

*03/22/2019            51273         Cardinal Health 108, LLC c/o Debra Willet, Disb of 56.65% to Claim #00024              7100-003                                     26,535.13           13,310.12
                                     VP, Asso. Gen. Counsel
                                     7000 Cardinal Pl
                                     Dublin, OH 43017

*03/22/2019            51274         Greenway Medical Technologies               Disb of 56.65% to Claim #00027             7100-003                                      9,569.99               3,740.13
                                     121 Greenway Blvd
                                     Carrollton, GA 30117

                                                                                                                        Page Subtotals                   0.00            79,821.24



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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                              Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                         Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                               Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                               Separate bond (if applicable): 0.00

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                                                                                                                            Uniform
Transaction           Check or                                                                                               Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                     Description of Transaction        Code             Deposits($)        Disbursements($)         Balance($)
*03/22/2019            51275         Marshall, Bohorad, Thornburg, Price &  Disb of 56.65% to Claim #00030                  7100-003                                      3,740.13                   0.00
                                     Campion, PC 1940 West Norwegian Street
                                     PO Box 1280
                                     Pottsville, PA 17901

*03/25/2019                          Marshall, Bohorad, Thornburg, Price &  Disb of 56.65% to Claim #00030                  7100-003                                     (3,740.13)               3,740.13
                                     Campion, PC 1940 West Norwegian Street
                                     PO Box 1280
                                     Pottsville, PA 17901

*03/25/2019                          Greenway Medical Technologies               Disb of 56.65% to Claim #00027             7100-003                                     (9,569.99)           13,310.12
                                     121 Greenway Blvd
                                     Carrollton, GA 30117

*03/25/2019                          Cardinal Health 108, LLC c/o Debra Willet, Disb of 56.65% to Claim #00024              7100-003                                    (26,535.13)           39,845.25
                                     VP, Asso. Gen. Counsel
                                     7000 Cardinal Pl
                                     Dublin, OH 43017

*03/25/2019                          Ogden Directories Inc. d/b/a EZ to          Disb of 56.65% to Claim #00021             7100-003                                     (3,739.13)           43,584.38
                                     Use.com c/o Popper and Grafton
                                     225 W 34th St Ste 1806
                                     New York, NY 10122

*03/25/2019                          U.S. Bank, N.A. dba U.S. Bank Equipment     Disb of 56.65% to Claim #00020             7100-003                                     (7,884.74)           51,469.12
                                     Finance
                                     1310 Madrid St
                                     Marshall, MN 56258

                                                                                                                        Page Subtotals                   0.00           (47,728.99)




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                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                          5                     6                      7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                         Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)        Disbursements($)            Balance($)
*03/25/2019                          Maqsood A. Malik                         Disb of 56.65% to Claim #00017             7100-003                                    (17,791.86)              69,260.98
                                     3603 Aster St
                                     Allentown, PA 18104

*03/25/2019                          Denis M. Bane                            Disb of 56.65% to Claim #00016             7100-003                                     (9,896.03)              79,157.01
                                     450 Eisenhower Dr
                                     Orwigsburg, PA 17961

*03/25/2019                          McKesson Specialty Care Dist.            Disb of 56.65% to Claim #00015             7100-003                                     (4,404.36)              83,561.37
                                     401 Mason Rd
                                     La Vergne, TN 37086

*03/25/2019                          Penn Kashar                              Disb of 56.65% to Claim #00012             7100-003                                           (74.55)           83,635.92
                                     1349 W Market St
                                     Pottsville, PA 17901

*03/25/2019                          TRUSTEE INSURANCE AGENCY                                                            2990-003                                         (257.00)            83,892.92


*03/25/2019                          Bob's Auto Servicenter                   Disb of 56.65% to Claim #00011             7100-003                                     (2,161.33)              86,054.25
                                     110 E Washington St
                                     Shenandoah, PA 17976

*03/25/2019                          Ward's Cleaning Service                  Disb of 56.65% to Claim #00010             7100-003                                     (1,276.12)              87,330.37
                                     622 Schuylkill Ave
                                     Pottsville, PA 17901

*03/25/2019                          GlaxoSmithKline Pharmaceuticals          Disb of 56.65% to Claim #00003             7100-003                                     (5,443.98)              92,774.35
                                     5 Crescent Dr
                                     Philadelphia, PA 19112

                                                                                                                     Page Subtotals                   0.00           (41,305.23)



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                          5                     6                     7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                        Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)        Disbursements($)           Balance($)
*03/25/2019                          Laurie Faust                             Disb of 56.65% to Claim #00002             7100-003                                     (2,130.17)             94,904.52
                                     655 Airport Rd
                                     Ashland, PA 17921

03/25/2019               [1]         HIGHMARK BLUE SHIELD                     ACCOUNTS RECEIVABLE                        1121-000                   75.04                                    94,979.56


03/26/2019             51276         TRUSTEE INSURANCE AGENCY                                                            2990-000                                           257.00           94,722.56


03/26/2019             51277         Laurie Faust                             Disb of 56.70% to Claim #00002             7100-000                                      2,131.86              92,590.70
                                     655 Airport Rd
                                     Ashland, PA 17921

03/26/2019             51278         GlaxoSmithKline Pharmaceuticals          Disb of 56.70% to Claim #00003             7100-000                                      5,448.30              87,142.40
                                     5 Crescent Dr
                                     Philadelphia, PA 19112

03/26/2019             51279         Ward's Cleaning Service                  Disb of 56.70% to Claim #00010             7100-000                                      1,277.13              85,865.27
                                     622 Schuylkill Ave
                                     Pottsville, PA 17901

03/26/2019             51280         Bob's Auto Servicenter                   Disb of 56.70% to Claim #00011             7100-000                                      2,163.04              83,702.23
                                     110 E Washington St
                                     Shenandoah, PA 17976

03/26/2019             51281         Penn Kashar                              Disb of 56.70% to Claim #00012             7100-000                                            74.61           83,627.62
                                     1349 W Market St
                                     Pottsville, PA 17901

                                                                                                                     Page Subtotals                 75.04              9,221.77




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                 Case No: 17-00641                                                                                                              Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                         Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                               Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                               Separate bond (if applicable): 0.00

    1                     2                                 3                                           4                                          5                     6                  7
                                                                                                                            Uniform
Transaction           Check or                                                                                               Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                     Description of Transaction        Code             Deposits($)        Disbursements($)        Balance($)
03/26/2019             51282         McKesson Specialty Care Dist.               Disb of 56.70% to Claim #00015             7100-000                                      4,407.86           79,219.76
                                     401 Mason Rd
                                     La Vergne, TN 37086

03/26/2019             51283         Denis M. Bane                               Disb of 56.70% to Claim #00016             7100-000                                      9,903.88           69,315.88
                                     450 Eisenhower Dr
                                     Orwigsburg, PA 17961

*03/26/2019            51284         Maqsood A. Malik                            Disb of 56.70% to Claim #00017             7100-004                                     17,805.97           51,509.91
                                     3603 Aster St
                                     Allentown, PA 18104

03/26/2019             51285         U.S. Bank, N.A. dba U.S. Bank Equipment     Disb of 56.70% to Claim #00020             7100-000                                      7,890.99           43,618.92
                                     Finance
                                     1310 Madrid St
                                     Marshall, MN 56258

03/26/2019             51286         Ogden Directories Inc. d/b/a EZ to          Disb of 56.70% to Claim #00021             7100-000                                      3,742.09           39,876.83
                                     Use.com c/o Popper and Grafton
                                     225 W 34th St Ste 1806
                                     New York, NY 10122

03/26/2019             51287         Cardinal Health 108, LLC c/o Debra Willet, Disb of 56.70% to Claim #00024              7100-000                                     26,556.17           13,320.66
                                     VP, Asso. Gen. Counsel
                                     7000 Cardinal Pl
                                     Dublin, OH 43017

03/26/2019             51288         Greenway Medical Technologies               Disb of 56.70% to Claim #00027             7100-000                                      9,577.57               3,743.09
                                     121 Greenway Blvd
                                     Carrollton, GA 30117

                                                                                                                        Page Subtotals                   0.00            79,884.53



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                 Case No: 17-00641                                                                                                                 Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                      Bank Name: Texas Capital Bank
                                                                                                                                            Account Number/CD#: ******1797 Checking Account
       Taxpayer ID No: **-***9850                                                                                                  Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                  Separate bond (if applicable): 0.00

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                                                                                                                                Uniform
Transaction           Check or                                                                                                   Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction               Code            Deposits($)        Disbursements($)         Balance($)
03/26/2019             51289         Marshall, Bohorad, Thornburg, Price &  Disb of 56.70% to Claim #00030                      7100-000                                     3,743.09                 0.00
                                     Campion, PC 1940 West Norwegian Street
                                     PO Box 1280
                                     Pottsville, PA 17901

*04/25/2019                          Maqsood A. Malik                         Stop Payment on Check 51284                       7100-004                                   (17,805.97)           17,805.97
                                     3603 Aster St
                                     Allentown, PA 18104

*04/26/2019            51290         Maqsood A. Malik                         Disbursement of 56.70% to Claim #00017            7100-004                                    17,805.97                 0.00
                                     3603 Aster St
                                     Allentown, PA 18104

*05/14/2019                          Maqsood A. Malik                         Stop Payment on Check 51290                       7100-004                                   (17,805.97)           17,805.97
                                     3603 Aster St
                                     Allentown, PA 18104

05/15/2019             51291         Maqsood A. Malik                         Disbursement of 56.70% to Claim #00017            7100-000                                    17,805.97                 0.00
                                     3603 Aster St
                                     Allentown, PA 18104

                                                                                                                           Page Subtotals                   0.00             3,743.09


                                                                                                   COLUMN TOTALS                                     844,501.20            844,501.20
                                                                                                             Less:Bank Transfer/CD's                        0.00             5,637.87
                                                                                                   SUBTOTALS                                         844,501.20            838,863.33

                                                                                                         Less: Payments to Debtors                                                0.00
                                                                                                   Net                                               844,501.20            838,863.33




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                 Case No: 17-00641                                                                                                                        Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                             Bank Name: Texas Capital Bank
                                                                                                                                                   Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                                         Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                         Separate bond (if applicable): 0.00

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                                                                                                                                      Uniform
Transaction           Check or                                                                                                         Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                       Description of Transaction                Code             Deposits($)        Disbursements($)         Balance($)
05/01/2017                           Pottsville Internists Associates, Inc.        From #####1797 To #####1813                        9999-000                5,637.87                                      5,637.87
                                                                                   TRANSFER OF FUNDS FROM GENERAL CHECKING
                                                                                   ACCT. TO 401(K) PLAN FUNDS ACCT. (ASSET NO. 14 -
                                                                                   WELLS FARGO BANK - PROFIT SHARING ACCT.)

06/05/2017                           Texas Capital Bank                            Bank Service Fee                                   1290-000                                                              5,637.87
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

*06/12/2017              [17]        LEVENTHAL SUTTON & GORNSTEIN                  MEDICAL RECORDS FOR ROBERT KLIPOLA                 1290-000                    30.81                                     5,668.68
                                     3800 Horizon Blvd
                                     SUITE 101
                                     Feasterville Trevose, PA 19053

06/12/2017                           Texas Capital Bank                            SERVICE CHARGE REFUND                              1290-000                                                              5,668.68


*06/12/2017              [17]        LEVENTHAL SUTTON & GORNSTEIN                  MEDICAL RECORDS FOR ROBERT KLIPOLA                 1290-000                   (30.81)                                    5,637.87
                                     3800 Horizon Blvd
                                     SUITE 101
                                     Feasterville Trevose, PA 19053

06/26/2017                           COLUMBIA PROPERTY TRUST                       401 (K) ESCROW FUNDS (funds from Tariq Hafiz       1290-000                   150.80                                     5,788.67
                                                                                   investment account)

06/29/2017                           INCOMING WIRE                                 401(K) PLAN TERMINATION FUNDS                      1290-000            4,044,154.80                                4,049,943.47


06/29/2017                           INCOMING WIRE TRANSFER                        401(k) PLAN TERMINATION FUNDS                      1290-000              311,055.02                                4,360,998.49


                                                                                                                                  Page Subtotals          4,360,998.49                   0.00



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                 Case No: 17-00641                                                                                                                Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                     Bank Name: Texas Capital Bank
                                                                                                                                           Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                                 Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                 Separate bond (if applicable): 0.00

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                                                                                                                              Uniform
Transaction           Check or                                                                                                 Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction             Code             Deposits($)        Disbursements($)         Balance($)
06/30/2017                           INCOMING WIRE TRANSFER                   401(K) FUNDS (CAROL MILLER SCHAEFFER)           1290-000              453,846.70                                4,814,845.19


06/30/2017                           INCOMING WIRE TRANSFER                   401(K) FUNDS (AMRIT P.S. NARULA)                1290-000                   35.06                                4,814,880.25


06/30/2017                           INCOMING WIRE TRANSFER                   401(K) FUNDS (MANOJKUMAR PATEL)                 1290-000               22,673.10                                4,837,553.35


06/30/2017                           INCOMING WIRE TRANSFER                   401(K) FUNDS (SUSAN KUEHN)                      1290-000               56,158.41                                4,893,711.76


07/03/2017                           INCOMING WIRE TRANSFER                   WIRED FUNDS (1413 FED # 001402 POTTSVILLE       1290-000            4,391,003.90                                9,284,715.66
                                                                              INTERNISTS ASSOCIATES)

07/03/2017                           Texas Capital Bank                       Bank Service Fee                                1290-000                                                        9,284,715.66
                                     Treasury Management Operations
                                     2350 Lakeside Blvd
                                     Richardson, TX 75082

07/05/2017                           Texas Capital Bank                       SVC CHG REFUND 070317                           1290-000                                                        9,284,715.66


07/10/2017             52001         Flaster Greenberg, P.C.                  Disb of 100.00% to Claim #                      1290-000              (14,608.80)                               9,270,106.86
                                     Commerce Center
                                     1810 Chapel Ave. West
                                     Cherry Hill, NJ 08002

07/10/2017             52002         R.P. Mills Associates, Inc.              Disb of 100.00% to Claim #                      1290-000              (15,420.00)                               9,254,686.86
                                     213 N Fountain St
                                     Allentown, PA 18102

                                                                                                                          Page Subtotals          4,893,688.37                   0.00




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                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)        Disbursements($)         Balance($)
07/10/2017             52003         William G. Schwab, Trustee               Disb of 100.00% to Claim #                 1290-000              (10,000.00)                               9,244,686.86
                                     Fees                                     Fees for 401K
                                     811-1 Blakeslee Blvd Drive East
                                     Lehighton, PA 18235

07/10/2017             52004         FMTC                                     Disb of 100.00% to Claim #0044             1290-000           (1,345,460.81)                               7,899,226.05
                                     fbo Carol Schaeffer M.D.                 fbo Carol Schaeffer M.D.
                                     23 Woodlawn Dr.
                                     Schuylkill Haven, PA 17972

07/10/2017             52005         Edward Jones                             Disb of 100.00% to Claim #0085             1290-000              (86,832.80)                               7,812,393.25
                                     fbo Susan Kuehn                          fbo Susan Kuehn
                                     99 Church Road
                                     Hegins, PA 17938

07/10/2017             52006         Hidden River Credit Union                Disb of 100.00% to Claim #0157             1290-000              (32,299.42)                               7,780,093.83
                                     fbo Stacy Schwartz                       fbo Stacy Schwartz
                                     553 North 3rd Street
                                     Minersville, PA 17954

07/10/2017             52007         Nationwide Financial                     Disb of 100.00% to Claim #0677             1290-000              (61,298.53)                               7,718,795.30
                                     fbo Jeanette Marteusz                    fbo Jeanette Marteusz
                                     P. O. Box 306
                                     Middleport, PA 17953

07/10/2017             52008         Morgan Stanley Smith Barney              Disb of 100.00% to Claim #0792             1290-000           (1,101,714.33)                               6,617,080.97
                                     fbo Kimberly Hashin M.D.                 fbo Kimberly Hashin M.D.
                                     63 Avenue E
                                     Schuylkill Haven, PA 17972

                                                                                                                     Page Subtotals         (2,637,605.89)                  0.00




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                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                          5                     6                    7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)         Disbursements($)        Balance($)
07/10/2017             52009         Pershing, LLC                            Disb of 100.00% to Claim #0916             1290-000              (26,233.08)                               6,590,847.89
                                     fbo Patricia Bardzak                     fbo Patricia Bardzak
                                     103 Lewis Street
                                     Brockton, PA 17925

07/10/2017             52010         Nationwide Financial                     Disb of 100.00% to Claim #1134             1290-000              (77,732.23)                               6,513,115.66
                                     fbo Lou A. Sterner                       fbo Lou A. Sterner
                                     1673 Little Mountain Rd.
                                     Orwigsburg, PA 17961

07/10/2017             52011         Ascensus Trust                           Disb of 100.00% to Claim #1149             1290-000             (647,104.96)                               5,866,010.70
                                     fbo Kamia Mishra                         fbo Kamia Mishra
                                     1150 Sunset Drive
                                     Orwigsburg, PA 17961

07/10/2017             52012         Nationwide Funds                         Disb of 100.00% to Claim #1412             1290-000                   (413.18)                             5,865,597.52
                                     fbo Ronae Kane                           fbo Ronae Kane
                                     1009 E. Norwegian St.
                                     Pottsville, PA 17901

07/10/2017             52013         M&T Bank                                 Disb of 100.00% to Claim #1518             1290-000             (138,367.91)                               5,727,229.61
                                     fbo Deborah E. Moyer                     fbo Deborah E. Moyer
                                     124 Long AVe.
                                     Orwigsburg, PA 17961

07/10/2017             52014         Waddell & Reed                           Disb of 100.00% to Claim #1565             1290-000              (97,907.08)                               5,629,322.53
                                     fbo Toni L. McElvaney                    fbo Toni L. McElvaney
                                     504 Hardwick Green
                                     Pottsville, PA 17901

                                                                                                                     Page Subtotals           (987,758.44)                  0.00




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                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)         Disbursements($)        Balance($)
07/10/2017             52015         BBT                                      Disb of 100.00% to Claim #1772             1290-000               (8,296.63)                               5,621,025.90
                                     fbo Tara L. Bolinsky                     fbo Tara L. Bolinsky
                                     1206 Spring St.
                                     Ashland, PA 17921

07/10/2017             52016         Ameriprise Financial                     Disb of 100.00% to Claim #1945             1290-000               (6,068.42)                               5,614,957.48
                                     fbo Kaitlyn Strausser                    fbo Kaitlyn Strausser
                                     42 Calasis Drive
                                     Reading, PA 19605

*07/10/2017            52017         Wells Fargo IRA                          Disb of 100.00% to Claim #1982             1290-004                   (450.75)                             5,614,506.73
                                     fbo Stephanie Shehadi                    fbo Stephanie Shehadi
                                     741 Plummer Rd., Apt 112
                                     Huntsville, AL 35806

07/10/2017             52018         Edward Jones                             Disb of 100.00% to Claim #2334             1290-000              (50,045.96)                               5,564,460.77
                                     fbo Linda Boltz                          fbo Linda Boltz
                                     213 E. Main St.
                                     Tremont, PA 17981

07/10/2017             52019         BB&T Investments                         Disb of 100.00% to Claim #2386             1290-000              (18,346.50)                               5,546,114.27
                                     fbo Kristine Gemmell                     fbo Kristine Gemmell
                                     343 S. Mill St.,
                                     St. Clair, PA 17970

                                                                                                                     Page Subtotals            (83,208.26)                  0.00




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                 Case No: 17-00641                                                                                                             Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                  Bank Name: Texas Capital Bank
                                                                                                                                        Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                              Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                              Separate bond (if applicable): 0.00

    1                     2                                 3                                          4                                          5                     6                    7
                                                                                                                           Uniform
Transaction           Check or                                                                                              Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                    Description of Transaction        Code             Deposits($)        Disbursements($)         Balance($)
07/10/2017             52020         Oppenheimer Funds, Inc.                    Disb of 100.00% to Claim #2461             1290-000              (20,678.03)                               5,525,436.24
                                     fbo Melissa Emert                          fbo Melissa Emert
                                     507 McKnight St.
                                     P.O. Box 228
                                     Gordon, PA 17936

07/10/2017             52021         National Financial Services                Disb of 100.00% to Claim #2730             1290-000              (62,939.82)                               5,462,496.42
                                     fbo Stanley Grabowski                      fbo Stanley Grabowski
                                     463 Sunbury St.,
                                     Minerville, PA 19754

07/10/2017             52022         MSSBC/F                                    Disb of 100.00% to Claim #2783             1290-000              (17,639.00)                               5,444,857.42
                                     fbo Francine Williamson                    fbo Francine Williamson
                                     23 St. Ann Street
                                     Barnesville, PA 18214

07/10/2017             52023         Prudential Mutual Fund Services LLC        Disb of 100.00% to Claim #2918             1290-000              (45,621.56)                               5,399,235.86
                                     fbo Suzanne Canfield                       fbo Suzanne Canfield
                                     578 Airport Rd
                                     Ashland, PA 17921

07/10/2017             52024         N.F.S.                                     Disb of 100.00% to Claim #3062             1290-000              (23,121.13)                               5,376,114.73
                                     fbo Kristen M. Brassington                 fbo Kristen M. Brassington
                                     Zero North Main St.,
                                     Mahanoy City, PA 17948

                                                                                                                       Page Subtotals           (169,999.54)                  0.00




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                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)         Disbursements($)        Balance($)
07/10/2017             52025         Transamerica                             Disb of 100.00% to Claim #3218             1290-000               (2,874.97)                               5,373,239.76
                                     fbo Melissa Eckert                       fbo Melissa Eckert
                                     PO Box 393
                                     Auburn, PA 17922

07/10/2017             52026         Vanguard Target Retirement 2030 IRA      Disb of 100.00% to Claim #3535             1290-000               (6,125.42)                               5,367,114.34
                                     fbo Cynthia McGrath                      fbo Cynthia McGrath
                                     884 East Maple Avenue
                                     Pottsville, PA 17901

07/10/2017             52027         Nationwide Financial                     Disb of 100.00% to Claim #3666             1290-000              (53,430.29)                               5,313,684.05
                                     fbo Keith Stemer                         fbo Keith Stemer
                                     1673 Little Mountain Rd.
                                     Orwigsburg, PA 17961

07/10/2017             52028         Kristina Redanauer                       Disb of 100.00% to Claim #3790             1290-000                   (171.66)                             5,313,512.39
                                     260 Indiana Ave.
                                     Shenandoah, PA 17976

07/10/2017             52029         Edward Jones                             Disb of 100.00% to Claim #3799             1290-000              (47,680.29)                               5,265,832.10
                                     fbo Debra Kaleta                         fbo Debra Kaleta
                                     197 Greco Lane
                                     M. Carmel, PA 17851

07/10/2017             52030         Ascensus Trust                           Disb of 100.00% to Claim #3936             1290-000              (32,362.03)                               5,233,470.07
                                     fbo Deborah Gittleman                    fbo Deborah Gittleman
                                     620 Hope Avenue
                                     Orwingsburg, PA 17961

                                                                                                                     Page Subtotals           (142,644.66)                  0.00




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                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)         Disbursements($)        Balance($)
07/10/2017             52031         Santanter Bank N.A.                      Disb of 100.00% to Claim #4380             1290-000               (1,120.30)                               5,232,349.77
                                     fbo Jennifer Dahm                        fbo Jennifer Dahm
                                     222 West Bertsch Street
                                     Lansford, PA 18232

07/10/2017             52032         Bernstein & Company, LLC                 Disb of 100.00% to Claim #4489             1290-000             (196,681.51)                               5,035,668.26
                                     fbo Riffat Akhtar M.D.                   fbo Riffat Akhtar, M.D.
                                     1768 Tanglewood Road
                                     Orwigsburg, PA 17961

07/10/2017             52033         Waddell & Reed                           Disb of 100.00% to Claim #5090             1290-000              (43,191.64)                               4,992,476.62
                                     fbo Elizabeth Scheeler                   fbo Elizabeth Scheeler
                                     104 East Mahanoy Street
                                     Mahanoy City, PA 17948

07/10/2017             52034         Ascensus Trust                           Disb of 100.00% to Claim #5107             1290-000                   (391.02)                             4,992,085.60
                                     fbo Denise Miller                        fbo Denise Miller
                                     150 James Street
                                     Philadelphia, PA 17959

07/10/2017             52035         Nationwide Funds                         Disb of 100.00% to Claim #5140             1290-000               (9,691.08)                               4,982,394.52
                                     fbo Nicole Sonoski                       fbo Nicole Sonoski
                                     212 South Mill St.
                                     St. Clair, PA 17970

07/10/2017             52036         Riverview Bank                           Disb of 100.00% to Claim #5439             1290-000               (1,738.49)                               4,980,656.03
                                     fbo Kathleen A. Deatrich                 fbo Kathleen A. Deatrich
                                     9 West Bacon St.
                                     Pottsville, PA 17901

                                                                                                                     Page Subtotals           (252,814.04)                  0.00




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                 Case No: 17-00641                                                                                                               Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                    Bank Name: Texas Capital Bank
                                                                                                                                          Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                                Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                                Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                    Description of Transaction          Code             Deposits($)         Disbursements($)        Balance($)
07/10/2017             52037         Fidelity Investments                       Disb of 100.00% to Claim #5632               1290-000              (39,738.33)                               4,940,917.70
                                     fbo Gloriana Petritsch                     fbo Gloriana Petritsch
                                     984 Fountain Street
                                     Ashland, PA 17921

07/10/2017             52038         MFS Heritage Trust                         Disb of 100.00% to Claim #5694               1290-000              (65,447.70)                               4,875,470.00
                                     fbo Angela Berdanier                       fbo Angela Berdanier
                                     58 Caroline Ave.
                                     Pottsville, PA 17901

07/10/2017             52039         Oppenheimer Funds                          Disb of 100.00% to Claim #5938               1290-000                   (712.89)                             4,874,757.11
                                     fbo Mary Smith                             fbo Mary Smith
                                     214 Mill Creek Ave
                                     Pottsville, PA 17901

07/10/2017             52040         Vanguard Fiduciary Trust Company           Disb of 100.00% to Claim #6559               1290-000           (1,090,168.34)                               3,784,588.77
                                     Custodian of Dr. George W. Heffner Jr.     Custodian of Dr. George W. Heffner Jr.
                                     1017 Ridgeview Dr.
                                     Orwigsburg, PA 17961

07/10/2017             52041         Fidelity Management Trust Co IRA           Disb of 100.00% to Claim #6680               1290-000              (32,762.97)                               3,751,825.80
                                     fbo Manojkumar Patel                       fbo Manojkumar Patel
                                     101 Fox Ridge Drive
                                     Dublin, GA 31021

07/10/2017             52042         Nationwide Funds                           Disb of 100.00% to Claim #6764               1290-000              (30,794.32)                               3,721,031.48
                                     fbo Bridget Ward                           fbo Bridget Ward
                                     1571 Fair Road
                                     Schuylkill Haven, PA 17972

                                                                                                                         Page Subtotals         (1,259,624.55)                  0.00




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                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)        Disbursements($)         Balance($)
07/10/2017             52043         Great West                               Disb of 100.00% to Claim #6905             1290-000              (17,278.69)                               3,703,752.79
                                     fbo Ann Ney                              fbo Ann Ney
                                     127 W. Laurel Street
                                     Tremont, PA 17981

07/10/2017             52044         New York Life                            Disb of 100.00% to Claim #7029             1290-000              (67,451.15)                               3,636,301.64
                                     fbo Donna Ludwig                         fbo Donna Ludwig
                                     749 Deep Creek Rd
                                     Ashland, PA 17921

07/10/2017             52045         John Hancock                             Disb of 100.00% to Claim #7424             1290-000              (22,381.69)                               3,613,919.95
                                     fbo Crystal Kessock                      fbo Crystal Kessock
                                     6 Water Company Road
                                     New Boston, PA 17948

07/10/2017             52046         Angela Heim                              Disb of 100.00% to Claim #7790             1290-000                   (71.33)                              3,613,848.62
                                     55 Hawk Mountain Rd
                                     Orwigsburg, PA 17961

07/10/2017             52047         Nationwide Funds IRA Rollover            Disb of 100.00% to Claim #7889             1290-000              (54,629.66)                               3,559,218.96
                                     fbo Susan Tellez                         fbo Susan Tellez
                                     1417 Bunting St.
                                     Pottsville, PA 17901

07/10/2017             52048         Santander Bank                           Disb of 100.00% to Claim #7917             1290-000              (83,505.27)                               3,475,713.69
                                     fbo Kathleen Gustas                      fbo Kathleen Gustas
                                     1745 Third Ave
                                     Pottsville, PA 17901

                                                                                                                     Page Subtotals           (245,317.79)                  0.00




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                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)         Disbursements($)        Balance($)
07/10/2017             52049         Fidelity Investments                     Disb of 100.00% to Claim #7925             1290-000              (41,006.02)                               3,434,707.67
                                     fbo Ann Weachock                         fbo Ann Weachock
                                     235 High Road
                                     Pottsville, PA 17901

07/10/2017             52050         Etrade Securities LLC                    Disb of 100.00% to Claim #8221             1290-000              (47,678.47)                               3,387,029.20
                                     fbo Traci Thomas                         fbo Traci Thomas
                                     54 Lilly Lane
                                     Pottsville, PA 17901

07/10/2017             52051         Amrit Narula M.D.                        Disb of 100.00% to Claim #8390             1290-000                    (34.74)                             3,386,994.46
                                     3014 Ridgeview Ave.
                                     Orwigsburg, PA 17961

07/10/2017             52052         Nationwide Financial                     Disb of 100.00% to Claim #8402             1290-000              (33,308.27)                               3,353,686.19
                                     fbo Shannon Kline                        fbo Shannon Kline
                                     236 S. Second Street
                                     St. Clari, PA 17970

07/10/2017             52053         Megan Schultz                            Disb of 100.00% to Claim #8485             1290-000                   (153.11)                             3,353,533.08
                                     368 Jones Street, Apt 3
                                     Minersville, PA 17954

07/10/2017             52054         Vanguard                                 Disb of 100.00% to Claim #8602             1290-000               (1,639.92)                               3,351,893.16
                                     fbo Marilyn Homa                         fbo Marilyn Homa
                                     20 Gallo Rd.
                                     Minersville, PA 17951

                                                                                                                     Page Subtotals           (123,820.53)                  0.00




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                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)        Disbursements($)         Balance($)
07/10/2017             52055         FMTC                                     Disb of 100.00% to Claim #8663             1290-000             (465,573.01)                               2,886,320.15
                                     fbo Ann Malantic-Lin M.D.                fbo Ann Malantic-Lin M.D.
                                     276 Manbeck Road
                                     Robesonia, PA 19551

07/10/2017             52056         Vanguard Fiduciary Trust Company         Disb of 100.00% to Claim #8798             1290-000              (63,214.49)                               2,823,105.66
                                     fbo Roxanne Purcell                      fbo Roxanne Purcell
                                     10 Driftwood Dr.
                                     Pottsville, PA 17901

07/10/2017             52057         Vanguard IRA                             Disb of 100.00% to Claim #8924             1290-000               (7,240.96)                               2,815,864.70
                                     fbo Michael McGinty                      fbo Michael McGinty
                                     235 Deerfield Drive
                                     Pottsville, PA 17901

07/10/2017             52058         Vanguard VFTC                            Disb of 100.00% to Claim #8926             1290-000             (132,877.09)                               2,682,987.61
                                     fbo Patricia Ryan                        fbo Patricia Ryan
                                     59 West 2nd Mountain Road
                                     Pottsville, PA 17901

07/10/2017             52059         Ascensus Trust                           Disb of 100.00% to Claim #9064             1290-000              (48,501.67)                               2,634,485.94
                                     fbo Darlene Yoder                        fbo Darlene Yoder
                                     425 S. Goodspring Road
                                     Hegins, PA 17938

07/10/2017             52060         Charles Schwab & Co. Inc.                Disb of 100.00% to Claim #9143             1290-000             (285,625.93)                               2,348,860.01
                                     fbo Barbara DiCello                      fbo Barbara DiCello
                                     515 Lake Front Drive
                                     Orwigsburg, PA 17961

                                                                                                                     Page Subtotals         (1,003,033.15)                  0.00




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                 Case No: 17-00641                                                                                                            Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                 Bank Name: Texas Capital Bank
                                                                                                                                       Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                             Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                             Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                             Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                   Description of Transaction        Code             Deposits($)        Disbursements($)         Balance($)
07/10/2017             52061         Fidelity Investments                      Disb of 100.00% to Claim #9208             1290-000             (114,228.87)                               2,234,631.14
                                     fbo Holly Horan                           fbo Marilyn Homa
                                     10 Fir Rd.
                                     Pottsville, PA 17901

07/10/2017             52062         Fidelity Deposit and Discount Bank        Disb of 100.00% to Claim #9428             1290-000             (328,977.18)                               1,905,653.96
                                     fbo Dolores Bierman                       fbo Dolores Bierman
                                     46 Condor Lane
                                     Pottsville, PA 17901

07/10/2017             52063         Fidelity Investments                      Disb of 100.00% to Claim #9538             1290-000               (3,781.68)                               1,901,872.28
                                     fbo Kelly McAndrew                        fbo Kelly McAndrew
                                     15 Terrance Drive
                                     Mountain Top, PA 18707

07/10/2017             52064         Ascensus Trust                            Disb of 100.00% to Claim #9619             1290-000             (140,901.70)                               1,760,970.58
                                     fbo Manish Mishra M.D.                    fbo Manish Mishra M.D.
                                     4306 Brookside Court
                                     Orwigsburg, PA 17961

07/10/2017             52065         State Farm Mutual Funds IRA               Disb of 100.00% to Claim #9642             1290-000              (12,592.68)                               1,748,377.90
                                     fbo Danielle Doyle                        fbo Danielle Doyle
                                     839 N. Centre Street
                                     Pottsville, PA 17901

07/10/2017             52066         M&T Bank                                  Disb of 100.00% to Claim #9938             1290-000              (39,040.44)                               1,709,337.46
                                     fbo Myra D'Angelo                         fbo Myra D'Angelo
                                     502 West Arch St
                                     Frackville, PA 17931

                                                                                                                      Page Subtotals           (639,522.55)                  0.00




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                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)        Disbursements($)         Balance($)
07/10/2017             52067         Ameriprise Trust Company                 Disb of 100.00% to Claim #9942             1290-000              (26,769.45)                               1,682,568.01
                                     fbo Darcy J. Brommer                     fbo Darcy J. Brommer
                                     59 Lake Terrance Drive
                                     Pine Grove, PA 17963

07/10/2017             52068         Bankers Life                             Disb of 100.00% to Claim #9965             1290-000              (39,629.74)                               1,642,938.27
                                     fbo Rachel Stahl                         fbo Rachel Stahl
                                     324 E. Union Street
                                     Tamaqua, PA 18252

07/10/2017             52069         Sanford Bernstein                        Disb of 100.00% to Claim #9966             1290-000           (1,156,159.68)                                486,778.59
                                     fbo Tariq Hafiz M.D.                     fbo Tariq Hafiz M.D.
                                     2401 Village Rd
                                     Orwigsburg, PA 17961

07/10/2017             52070         Morgan Stanley                           Disb of 100.00% to Claim #9992             1290-000             (109,876.00)                                376,902.59
                                     fbo Alice Smith                          fbo Alice Smith
                                     807 Pinewood Dr.
                                     Pottsville, PA 17901

07/10/2017             52071         Stacy Schwartz                           Gross: $10,766.47 Fed: $2,153.29           1290-000               (8,613.18)                                368,289.41
                                     553 North 3rd Street
                                     Minersville, PA 17954

07/10/2017             52072         Ellen Moore                              Gross: $174,499.90 Fed: $34,899.98         1290-000             (139,599.92)                                228,689.49
                                     506 W. Race St.
                                     Pottsville, PA 17901

                                                                                                                     Page Subtotals         (1,480,647.97)                  0.00




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                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)        Disbursements($)         Balance($)
07/10/2017             52073         Cassandra Shipe                          Gross: $24,202.38 Fed: $5,360.25           1290-000              (18,842.13)                                209,847.36
                                     328 Bridge St.
                                     Tremont, PA 17981

07/10/2017             52074         Tanya Meridionale                        Gross: $2,153.44 Fed: $861.38              1290-000               (1,292.06)                                208,555.30
                                     15 S Nice St
                                     Frackville, PA 17931

07/10/2017             52075         Camille Destefano                        Gross: $7,626.57 Fed: $1,525.31            1290-000               (6,101.26)                                202,454.04
                                     419 Coal Street
                                     Minersville, PA 17954

07/10/2017             52076         Jennifer Myers                           Gross: $2,495.44 Fed: $499.09              1290-000               (1,996.35)                                200,457.69
                                     19044 Venture Drive
                                     Lago Vista, TX 78645

07/10/2017             52077         Allison Bolinsky                         Gross: $2,892.68 Fed: $578.54              1290-000               (2,314.14)                                198,143.55
                                     1200 W. Oak St.
                                     Frackville, PA 17931

07/10/2017             52078         Carolyn Marsh                            Gross: $1,720.11 Fed: $344.02              1290-000               (1,376.09)                                196,767.46
                                     309 St. John St.
                                     Schuylkill Haven, PA 17972

07/10/2017             52079         Brittany Ritter                          Gross: $1,760.71 Fed: $352.14              1290-000               (1,408.57)                                195,358.89
                                     557 Suedberg Rd
                                     Pine Grove, PA 17963

                                                                                                                     Page Subtotals            (33,330.60)                  0.00




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                 Case No: 17-00641                                                                                                           Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                Bank Name: Texas Capital Bank
                                                                                                                                      Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                            Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                            Separate bond (if applicable): 0.00

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Transaction           Check or                                                                                            Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction        Code             Deposits($)         Disbursements($)        Balance($)
07/10/2017             52080         Gretchen Stevenson                       Gross: $2,015.01 Fed: $403.00              1290-000               (1,612.01)                                193,746.88
                                     440 Spring Garden Street
                                     Pottsville, PA 17901

07/10/2017             52081         Robert Meridionale                       Gross: $40,156.43 Fed: $16,062.57          1290-000              (24,093.86)                                169,653.02
                                     15 S Nice St
                                     Frackville, PA 17931

07/10/2017             52082         Tammy Kaiser                             Gross: $9,300.22 Fed: $2,389.03            1290-000               (6,911.19)                                162,741.83
                                     404 W Market St.
                                     Orwigsburg, PA 17961

07/10/2017             52083         Melissa Manhart                          Gross: $475.45 Fed: $95.09                 1290-000                   (380.36)                              162,361.47
                                     568 High Road
                                     Pottsville, PA 17901

07/10/2017             52084         Mary A. Kane                             Gross: $2,364.50 Fed: $472.90              1290-000               (1,891.60)                                160,469.87
                                     326 Oak St.
                                     Port Carbon, PA 17965

07/10/2017             52085         Amanda Maurer                            Gross: $1,767.86 Fed: $353.57              1290-000               (1,414.29)                                159,055.58
                                     21681 Edward Drive
                                     Alva, FL 33920

07/10/2017             52086         Patricia Ryan                            Gross: $7,105.43 Fed: $1,421.09            1290-000               (5,684.34)                                153,371.24
                                     59 W 2nd Mountain Rd
                                     Pottsville, PA 17901

                                                                                                                     Page Subtotals            (41,987.65)                  0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                    Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                         Bank Name: Texas Capital Bank
                                                                                                                                               Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                                     Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                     Separate bond (if applicable): 0.00

    1                     2                                 3                                           4                                                5                     6                   7
                                                                                                                                   Uniform
Transaction           Check or                                                                                                      Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                   Description of Transaction                 Code            Deposits($)        Disbursements($)         Balance($)
07/10/2017             52087         Patricia Koshulsky                       Gross: $2,209.39 Fed: $441.88                        1290-000              (1,767.51)                                151,603.73
                                     18 N. Crescent St.
                                     Tremont, PA 17981

07/10/2017             52088         Linda Ladson                             Gross: $58,185.92 Fed: $11,637.18                    1290-000             (46,548.74)                                105,054.99
                                     RR#1 Box 2092
                                     92 Snow Ridge
                                     Zion Grove, PA 17985

07/10/2017                           Internal Revenue Service                 Withholdings for Federal Withholding                                      (79,850.31)                                 25,204.68
                                      PA

                                                                              Allison Bolinsky (Fed)                   (578.54)    1290-000

                                                                              Amanda Maurer (Fed)                      (353.57)    1290-000

                                                                              Brittany Ritter (Fed)                    (352.14)    1290-000

                                                                              Camille Destefano (Fed)                 (1,525.31)   1290-000

                                                                              Carolyn Marsh (Fed)                      (344.02)    1290-000

                                                                              Cassandra Shipe (Fed)                   (5,360.25)   1290-000

                                                                              Ellen Moore (Fed)                      (34,899.98)   1290-000

                                                                              Gretchen Stevenson (Fed)                 (403.00)    1290-000

                                                                              Jennifer Myers (Fed)                     (499.09)    1290-000

                                                                              Linda Ladson (Fed)                     (11,637.18)   1290-000

                                                                                                                              Page Subtotals           (128,166.56)                  0.00



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                                                                                               FORM 2                                                                                            Page 400
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                  Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                       Bank Name: Texas Capital Bank
                                                                                                                                             Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

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                                                                                                                                 Uniform
Transaction           Check or                                                                                                    Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                   Description of Transaction               Code            Deposits($)        Disbursements($)         Balance($)
                                                                              Mary A. Kane (Fed)                      (472.90)   1290-000

                                                                              Melissa Manhart (Fed)                    (95.09)   1290-000

                                                                              Patricia Koshulsky (Fed)                (441.88)   1290-000

                                                                              Patricia Ryan (Fed)                 (1,421.09)     1290-000

                                                                              Robert Meridionale (Fed)           (16,062.57)     1290-000

                                                                              Stacy Schwartz (Fed)                (2,153.29)     1290-000

                                                                              Tammy Kaiser (Fed)                  (2,389.03)     1290-000

                                                                              Tanya Meridionale (Fed)                 (861.38)   1290-000

07/18/2017                           INCOMING WIRE TRANSFER                   WIRE IN T:1607 FED # 001506 CAROL MILLER           1290-000                   99.11                                 25,303.79
                                                                              SCHAEFFER

08/01/2017                           OPPENHEIMER FUNDS                        REFUND OF 401(K) FUNDS FOR MELISSA ERMERT          1290-000              20,678.03                                  45,981.82
                                                                              (ACCT. NO. 005475470577742)

*08/01/2017            52089         OPPENHEIMER FUNDS, INC.                  401(K) DISTRIBUTION FUNDS FOR MELISSA ERMERT       1290-004             (20,678.03)                                 25,303.79
                                     PO BOX 5390                              (ACCT. NO. 005475470577742)
                                     DENVER, CO 80217-5390

08/08/2017                           BERNSTEIN                                REFUND - 401(K) FUNDS                              1290-000               1,890.93                                  27,194.72


*09/01/2017              [1]         HIGHMARK                                 ACCOUNTS RECEIVABLE                                1290-003                  290.00                                 27,484.72


                                                                                                                            Page Subtotals            (77,570.27)                  0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
*09/01/2017              [1]         JACQUELYN MARTIN                         ACCOUNTS RECEIVABLE                        1290-003                    3.30                                 27,488.02
                                     5334 FOUR POINT ROAD
                                     BETHEL, PA 19507

*09/01/2017              [1]         JAMES KRAUSE                             ACCOUNTS RECEIVABLE                        1290-003                    1.26                                 27,489.28
                                     242 Mohave Dr
                                     Auburn, PA 17922

*09/01/2017              [1]         JEREMY SEIDERS                           ACCOUNTS RECEIVABLE                        1290-003                    2.30                                 27,491.58
                                     622 EDWARD AVE
                                     POTTSVILLE, PA 17901

*09/01/2017              [1]         LORRAINE MACUNAS                         ACCOUNTS RECEIVABLE                        1290-003                    3.82                                 27,495.40
                                     1248 MOUNT HOPE AVE
                                     POTTSVILLE, PA 17901

*09/01/2017              [1]         PAMELA MALLICK                           ACCOUNTS RECEIVABLE                        1290-003                    0.38                                 27,495.78
                                     201 E Broad St
                                     APT 3J
                                     TAMAQUA, PA 18252

09/01/2017                           Pension Fund Transfer                                                               1290-000               1,254.74                                  28,750.52


*09/01/2017              [1]         PAMELA MALLICK                           ACCOUNTS RECEIVABLE                        1290-003                  (0.38)                                 28,750.14
                                     201 E Broad St
                                     APT 3J
                                     TAMAQUA, PA 18252

                                                                                                                   Page Subtotals               1,265.42                   0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
*09/01/2017              [1]         JEREMY SEIDERS                           ACCOUNTS RECEIVABLE                        1290-003                   (2.30)                                28,747.84
                                     622 EDWARD AVE
                                     POTTSVILLE, PA 17901

*09/01/2017              [1]         JACQUELYN MARTIN                         ACCOUNTS RECEIVABLE                        1290-003                   (3.30)                                28,744.54
                                     5334 FOUR POINT ROAD
                                     BETHEL, PA 19507

*09/01/2017              [1]         LORRAINE MACUNAS                         ACCOUNTS RECEIVABLE                        1290-003                   (3.82)                                28,740.72
                                     1248 MOUNT HOPE AVE
                                     POTTSVILLE, PA 17901

*09/01/2017              [1]         JAMES KRAUSE                             ACCOUNTS RECEIVABLE                        1290-003                   (1.26)                                28,739.46
                                     242 Mohave Dr
                                     Auburn, PA 17922

*09/01/2017              [1]         HIGHMARK                                 ACCOUNTS RECEIVABLE                        1290-003                 (290.00)                                28,449.46


*09/05/2017              [1]         JAMES DIX                                ACCOUNTS RECEIVABLE                        1290-003                    4.18                                 28,453.64
                                     106 PINE RIDGE DRIVE
                                     PONE GROVE, PA 17963

*09/05/2017              [1]         JAMES DIX                                ACCOUNTS RECEIVABLE                        1290-003                    4.18                                 28,457.82
                                     106 PINE RIDGE DRIVE
                                     PONE GROVE, PA 17963

*09/05/2017              [1]         KATHLEEN TONE                            ACCOUNTS RECEIVABLE                        1290-003                    1.50                                 28,459.32
                                     823 W Norwegian St
                                     Pottsville, PA 17901

                                                                                                                   Page Subtotals                 (290.82)                 0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
*09/05/2017              [1]         MICHAEL SHPAKOVSKY                       ACCOUNTS RECEIVABLE                        1290-003                    3.00                                 28,462.32
                                     122 NORTH 7TH STREET
                                     FRACKVILLE, PA 17931

*09/05/2017              [1]         BRIAN FRITZ                              ACCOUNTS RECEIVABLE                        1290-003                    3.00                                 28,465.32


*09/05/2017              [1]         MELVA GINGRICH                           ACCOUNTS RECEIVABLE                        1290-003                    4.50                                 28,469.82
                                     13 MEADOW BROOK DRIVE
                                     SCHUYLKILL HAVEN, PA 17972

*09/05/2017              [1]         THEODORE PALKO                           ACCOUNTS RECEIVABLE                        1290-003                    4.60                                 28,474.42
                                     13 SHADE STREET
                                     MIDDLEPORT, PA 17953

*09/05/2017              [1]         E. HAINES                                ACCOUNTS RECEIVABLE                        1290-003                    1.69                                 28,476.11
                                     208 WEST OAK STREET
                                     SHENANDOAH, PA 17976

*09/05/2017              [1]         CHARLES SENKUS                           ACCOUNTS RECEIVABLE                        1290-003                    0.59                                 28,476.70
                                     55 EAST WASHINGTON STREET
                                     PORT CARBON, PA 17965

*09/05/2017              [1]         DEBRA SCHANE                             ACCOUNTS RECEIVABLE                        1290-003                    1.69                                 28,478.39
                                     175 MARKET STREET
                                     CUMBOLA, PA 17930

*09/05/2017              [1]         FRANCIS TRYNOSKY                         ACCOUNTS RECEIVABLE                        1290-003                    1.69                                 28,480.08
                                     248 SOUTH MIDDLE STREET
                                     FRACKVILLE, PA 17931

                                                                                                                   Page Subtotals                  20.76                   0.00



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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
*09/05/2017              [1]         CAROL MAJIKAS                            ACCOUNTS RECEIVABLE                        1290-003                    4.62                                 28,484.70
                                     1238 Pottsville St
                                     Pottsville, PA 17901

*09/05/2017              [1]         SANDRA SCHLEMMER                         ACCOUNTS RECEIVABLE                        1290-003                    1.18                                 28,485.88
                                     330 WEST CENTRE STREET
                                     SHENANDOAH, PA 17976

*09/05/2017              [1]         LUANNE ZAHORCHAK                         ACCOUNTS RECEIVABLE                        1290-003                    2.50                                 28,488.38
                                     598 CALIFORNIA AVE
                                     SHENANDOAH, PA 17976

*09/05/2017              [1]         SUSAN TRESHOCK                           ACCOUNTS RECEIVABLE                        1290-003                    1.69                                 28,490.07
                                     90 RAVEN RUN ROAD
                                     LOST CREEK, PA 17946

*09/05/2017              [1]         ALFRED DEVITO                            ACCOUNTS RECEIVABLE                        1290-003                    1.69                                 28,491.76
                                     130 SOUTH 2ND STREET
                                     FRACKVILLE, PA 17931

*09/05/2017              [1]         PATRICIA ROEDER                          ACCOUNTS RECEIVABLE                        1290-003                    3.60                                 28,495.36
                                     125 NORTH WEST STREET
                                     SHENANDOAH, PA 17976

*09/05/2017              [1]         GERALDINE SALATA                         ACCOUNTS RECEIVABLE                        1290-003                    4.64                                 28,500.00
                                     147 S Nicholas St
                                     Saint Clair, PA 17970

                                                                                                                   Page Subtotals                  19.92                   0.00




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                                     Case 5:17-bk-00641-RNO                Doc 193 Filed 06/25/19 Entered 06/25/19 09:36:40                              Desc
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
*09/05/2017              [1]         GERALDINE SALATA                         ACCOUNTS RECEIVABLE                        1290-003                  (4.64)                                 28,495.36
                                     147 S Nicholas St
                                     Saint Clair, PA 17970

*09/05/2017              [1]         PATRICIA ROEDER                          ACCOUNTS RECEIVABLE                        1290-003                  (3.60)                                 28,491.76
                                     125 NORTH WEST STREET
                                     SHENANDOAH, PA 17976

*09/05/2017              [1]         SUSAN TRESHOCK                           ACCOUNTS RECEIVABLE                        1290-003                  (1.69)                                 28,490.07
                                     90 RAVEN RUN ROAD
                                     LOST CREEK, PA 17946

*09/05/2017              [1]         LUANNE ZAHORCHAK                         ACCOUNTS RECEIVABLE                        1290-003                  (2.50)                                 28,487.57
                                     598 CALIFORNIA AVE
                                     SHENANDOAH, PA 17976

*09/05/2017              [1]         CAROL MAJIKAS                            ACCOUNTS RECEIVABLE                        1290-003                  (4.62)                                 28,482.95
                                     1238 Pottsville St
                                     Pottsville, PA 17901

*09/05/2017              [1]         SANDRA SCHLEMMER                         ACCOUNTS RECEIVABLE                        1290-003                  (1.18)                                 28,481.77
                                     330 WEST CENTRE STREET
                                     SHENANDOAH, PA 17976

*09/05/2017              [1]         DEBRA SCHANE                             ACCOUNTS RECEIVABLE                        1290-003                  (1.69)                                 28,480.08
                                     175 MARKET STREET
                                     CUMBOLA, PA 17930

                                                                                                                   Page Subtotals                 (19.92)                  0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
*09/05/2017              [1]         CHARLES SENKUS                           ACCOUNTS RECEIVABLE                        1290-003                  (0.59)                                 28,479.49
                                     55 EAST WASHINGTON STREET
                                     PORT CARBON, PA 17965

*09/05/2017              [1]         E. HAINES                                ACCOUNTS RECEIVABLE                        1290-003                  (1.69)                                 28,477.80
                                     208 WEST OAK STREET
                                     SHENANDOAH, PA 17976

*09/05/2017              [1]         THEODORE PALKO                           ACCOUNTS RECEIVABLE                        1290-003                  (4.60)                                 28,473.20
                                     13 SHADE STREET
                                     MIDDLEPORT, PA 17953

*09/05/2017              [1]         JAMES DIX                                ACCOUNTS RECEIVABLE                        1290-003                  (4.18)                                 28,469.02
                                     106 PINE RIDGE DRIVE
                                     PONE GROVE, PA 17963

*09/05/2017              [1]         ALFRED DEVITO                            ACCOUNTS RECEIVABLE                        1290-003                  (1.69)                                 28,467.33
                                     130 SOUTH 2ND STREET
                                     FRACKVILLE, PA 17931

*09/05/2017              [1]         MICHAEL SHPAKOVSKY                       ACCOUNTS RECEIVABLE                        1290-003                  (3.00)                                 28,464.33
                                     122 NORTH 7TH STREET
                                     FRACKVILLE, PA 17931

*09/05/2017              [1]         FRANCIS TRYNOSKY                         ACCOUNTS RECEIVABLE                        1290-003                  (1.69)                                 28,462.64
                                     248 SOUTH MIDDLE STREET
                                     FRACKVILLE, PA 17931

                                                                                                                   Page Subtotals                 (17.44)                  0.00




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                 Case No: 17-00641                                                                                                          Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                               Bank Name: Texas Capital Bank
                                                                                                                                     Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                          5                     6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction         Code            Deposits($)        Disbursements($)         Balance($)
*09/05/2017              [1]         MELVA GINGRICH                           ACCOUNTS RECEIVABLE                        1290-003                   (4.50)                                28,458.14
                                     13 MEADOW BROOK DRIVE
                                     SCHUYLKILL HAVEN, PA 17972

*09/05/2017              [1]         BRIAN FRITZ                              ACCOUNTS RECEIVABLE                        1290-003                   (3.00)                                28,455.14


*09/05/2017              [1]         KATHLEEN TONE                            ACCOUNTS RECEIVABLE                        1290-003                   (1.50)                                28,453.64
                                     823 W Norwegian St
                                     Pottsville, PA 17901

*09/05/2017              [1]         JAMES DIX                                ACCOUNTS RECEIVABLE                        1290-003                   (4.18)                                28,449.46
                                     106 PINE RIDGE DRIVE
                                     PONE GROVE, PA 17963

*09/06/2017                          OPPENHEIMER FUNDS, INC.                  Stop Payment on Check 52089                1290-004              20,678.03                                  49,127.49
                                     PO BOX 5390
                                     DENVER, CO 80217-5390

09/07/2017             52090         VANGUARD FUNDS FBO MELISSA HARRIS        401(K) DISTRIBUTION PAYMENT                1290-000             (20,678.03)                                 28,449.46
                                     507 MCKNIGHT STREET
                                     PO BOX 228
                                     GORDON, PA 17936

*09/08/2017              [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                        1290-003                   58.62                                 28,508.08


*09/13/2017              [1]         CAPITAL BLUE                             ACCOUNTS RECEIVABLE                        1290-003                  (58.62)                                28,449.46


                                                                                                                    Page Subtotals                 (13.18)                 0.00




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                 Case No: 17-00641                                                                                                         Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                              Bank Name: Texas Capital Bank
                                                                                                                                    Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                           Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                           Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                         5                      6                   7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                Description of Transaction          Code           Deposits($)         Disbursements($)         Balance($)
*09/19/2017              [1]         LOUISE BALICKI                           ACCOUNTS RECEIVABLE                        1290-003                  15.00                                  28,464.46
                                     1416 SENECA STREET
                                     POTTSVILLE, PA 17901

*09/19/2017              [1]         HEATHER GEIST                            ACCOUNTS RECEIVABLE                        1290-003                  17.48                                  28,481.94
                                     1607 CREEK ROAD
                                     PITMAN , PA 17964

*09/19/2017              [1]         H. KESTEN                                ACCOUNTS RECEIVABLE                        1290-003                    1.60                                 28,483.54
                                     400 Laurel Blvd
                                     Pottsville, PA 17901

*09/19/2017              [1]         JOSEPH CAREYVA                           ACCOUNTS RECEIVABLE                        1290-003                    1.69                                 28,485.23
                                     25 GREEN MOUNTAIN ROAD
                                     RONGTOWN, PA 17967

*09/19/2017              [1]         H. KESTEN                                ACCOUNTS RECEIVABLE                        1290-003                  (1.60)                                 28,483.63
                                     400 Laurel Blvd
                                     Pottsville, PA 17901

*09/19/2017              [1]         LOUISE BALICKI                           ACCOUNTS RECEIVABLE                        1290-003                 (15.00)                                 28,468.63
                                     1416 SENECA STREET
                                     POTTSVILLE, PA 17901

*09/19/2017              [1]         HEATHER GEIST                            ACCOUNTS RECEIVABLE                        1290-003                 (17.48)                                 28,451.15
                                     1607 CREEK ROAD
                                     PITMAN , PA 17964

                                                                                                                   Page Subtotals                    1.69                  0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                              Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                   Bank Name: Texas Capital Bank
                                                                                                                                         Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                               Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                               Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                              5                     6                   7
                                                                                                                             Uniform
Transaction           Check or                                                                                                Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction             Code            Deposits($)        Disbursements($)         Balance($)
*09/19/2017              [1]         JOSEPH CAREYVA                           ACCOUNTS RECEIVABLE                            1290-003                  (1.69)                                 28,449.46
                                     25 GREEN MOUNTAIN ROAD
                                     RONGTOWN, PA 17967

09/25/2017             52091         William G. Schwab, Trustee               OVER-PAYMENT OF 401(K) ACCOUNT                 1290-000             (27,089.68)                                     1,359.78
                                     Fees
                                     811-1 Blakeslee Blvd Drive East
                                     Lehighton, PA 18235

*10/06/2017              [24]        CAROL MILLER SCHAEFFER,M.D.              DR.LITIGATION- SETTLEMENT PROCEEDS FOR CLAIM   1290-003              42,000.00                                  43,359.78
                                     23 WOODLAWN DRIVE                        # 24
                                     SCHUYLKILL HAVEN, PA 17972

*10/06/2017              [24]        KAMLA MISHRA, M.D.                       DR.LITIGATION- SETTLEMENT PROCEEDS FOR CLAIM   1290-003              42,000.00                                  85,359.78
                                     1150 SUNSET DRIVE                        # 24
                                     ORWIGSBURG, PA 17961

*10/06/2017              [24]        KAMLA MISHRA, M.D.                       DR.LITIGATION- SETTLEMENT PROCEEDS FOR CLAIM   1290-003             (42,000.00)                                 43,359.78
                                     1150 SUNSET DRIVE                        # 24
                                     ORWIGSBURG, PA 17961

*10/06/2017              [24]        CAROL MILLER SCHAEFFER,M.D.              DR.LITIGATION- SETTLEMENT PROCEEDS FOR CLAIM   1290-003             (42,000.00)                                     1,359.78
                                     23 WOODLAWN DRIVE                        # 24
                                     SCHUYLKILL HAVEN, PA 17972

*10/13/2017              [17]        NEUFELD SCHECK & BRUSTIN, LLP            MEDICAL RECORDS FOR ANN HATCHETT               1290-003                  51.39                                      1,411.17
                                     99 HUDSON STREET
                                     NEW YORK, NY 100013

                                                                                                                        Page Subtotals            (27,039.98)                  0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                 Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                      Bank Name: Texas Capital Bank
                                                                                                                                            Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                                   Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                   Separate bond (if applicable): 0.00

    1                     2                                 3                                        4                                                5                      6                   7
                                                                                                                                 Uniform
Transaction           Check or                                                                                                    Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                  Description of Transaction                Code           Deposits($)         Disbursements($)         Balance($)
*10/13/2017                          Wells Fargo IRA                          Disb of 100.00% to Claim #1982                     1290-004                  450.75                                     1,861.92
                                     fbo Stephanie Shehadi                    fbo Stephanie Shehadi
                                     741 Plummer Rd., Apt 112
                                     Huntsville, AL 35806

*10/13/2017              [17]        NEUFELD SCHECK & BRUSTIN, LLP            MEDICAL RECORDS FOR ANN HATCHETT                   1290-003                  (51.39)                                    1,810.53
                                     99 HUDSON STREET
                                     NEW YORK, NY 100013

10/30/2017             52092         Wells Fargo IRA                          RE-ISSUED Disbursement of 100.00% to Claim #1982   1290-000                 (450.75)                                    1,359.78
                                     FBO STEPHANIE SHEHADI                    (fbo Stephanie Shehadi)
                                     741 Plummer Rd., Apt 112
                                     Huntsville, AL 35806

11/28/2017                           SEC V MOZILO FAIR FUND                   DISTRIBUTION FROM FAIR FUND, INVESTMENT IN         1290-000                   37.75                                     1,397.53
                                     C/O RUST CONSULTING, INC.                COUNTRYWIDE FINANCIAL CORP FOR A. NARULA, S.
                                     P.O. BOX 8045                            SHAH AND M. MALIK,
                                     FAIRBAULT, MN 55021

11/28/2017                           SEC V MOZILO FAIR FUND                   DISTRIBUTION FROM FAIR FUND, INVESTMENT IN         1290-000                  283.15                                     1,680.68
                                     C/O RUST CONSULTING, INC.                COUNTRYWIDE FINANCIAL CORP FOR M. MUNIR, A.
                                     P.O. BOX 8045                            NARULA AND S. SHAH, TTEE
                                     FAIRBAULT, MN 55021

11/28/2017                           BOA SECURITIES CLASS ACTION              PRO RATA SHARE OF SECOND DISTRIBUTION FROM         1290-000                   35.91                                     1,716.59
                                     SETTLEMENT FUND                          BANK OF AMERICA CORP FOR A. NARULA, S.SHAH
                                     P.O,. BOX 9876                           AND M. MALIK, TTEE
                                     DUBLIN, OH 43017

                                                                                                                           Page Subtotals                  305.42                  0.00




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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                               Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                    Bank Name: Texas Capital Bank
                                                                                                                                          Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                                Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                Separate bond (if applicable): 0.00

    1                     2                                 3                                       4                                               5                     6                   7
                                                                                                                              Uniform
Transaction           Check or                                                                                                 Trans.                                                     Account/ CD
   Date               [Refer#]                 Paid To / Received From                 Description of Transaction              Code            Deposits($)         Disbursements($)        Balance($)
11/28/2017                           BOA SECURITIES CLASS ACTION              PRO RATA SHARE OF SECOND DISTRIBUTION FROM      1290-000                   173.55                                    1,890.14
                                     SETTLEMENT FUND                          BANK OF AMERICA CORP FOR M. MUNIR, A.
                                     P.O,. BOX 9876                           NARULA, S,SHAH AND M. MALIK, TTEES
                                     DUBLIN, OH 43017

11/29/2017                           BOA SECURTIES CLASS ACTION               ADJUSTMENT TO DEPOSIT NO. 40 (logged in wrong   1290-000                    (1.00)                                   1,889.14
                                     SETTLEMENT FUND                          dollar amount) ( PRO RATA SHARE OF SECOND
                                     DUBLIN, OH 43017                         DISTRIBUTION FROM BANK OF AMERICA CORP FOR
                                                                              M. MUNIR, A. NARULA, S,SHAH AND M. MALIK,
                                                                              TTEES)




*03/05/2018              [17]        MEDICAL LEGAL REPRODUCTIONS              MEDICAL RECORDS FOR HEATHER MALEY               1290-003                   114.01                                    2,003.15
                                     4940 Disston St
                                     Philadelphia, PA 19135

*03/05/2018              [17]        MEDICAL LEGAL REPRODUCTIONS              MEDICAL RECORDS FOR HEATHER MALEY               1290-003                  (114.01)                                   1,889.14
                                     4940 Disston St
                                     Philadelphia, PA 19135

*04/06/2018              [25]        VALLEY KIDNEY SPECIALIST,P.C.            SETTLEMENT ON VALLEY KIDNEYS SPECIAL,P.C. PER   1290-003              40,000.00                                  41,889.14
                                     1230 SOUTH CEDAR CREST BLVD              COURT ORDER DATED 03-19-18
                                     SUITE 301
                                     ALLENTOWN, PA 18103

*04/06/2018              [25]        VALLEY KIDNEY SPECIALIST,P.C.            SETTLEMENT ON VALLEY KIDNEYS SPECIAL,P.C. PER   1290-003             (40,000.00)                                     1,889.14
                                     1230 SOUTH CEDAR CREST BLVD              COURT ORDER DATED 03-19-18
                                     SUITE 301
                                     ALLENTOWN, PA 18103

                                                                                                                         Page Subtotals                  172.55                 0.00



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                                                                               ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 17-00641                                                                                                                      Trustee Name: William G. Schwab
              Case Name: Pottsville Internists Associates, Inc.                                                                                           Bank Name: Texas Capital Bank
                                                                                                                                                 Account Number/CD#: ******1813 401(K) Plan Funds
       Taxpayer ID No: **-***9850                                                                                                       Blanket bond (per case limit): 10,000,000.00
     For Period Ending: 6/21/2019                                                                                                       Separate bond (if applicable): 0.00

    1                     2                                 3                                             4                                                5                      6                   7
                                                                                                                                    Uniform
Transaction           Check or                                                                                                       Trans.                                                      Account/ CD
   Date               [Refer#]                 Paid To / Received From                       Description of Transaction              Code             Deposits($)        Disbursements($)         Balance($)
04/16/2018             52093         FLASTER GREENBERG, PC                          PROFESSIONAL FEES FOR SERVICES (BILL #331300;   1290-000               (1,889.14)                                       0.00
                                     1835 MARKET ST.                                FROM 8/9/17 THROUGH 1/22/18)
                                     SUITE 1050
                                     PHILADELPHIA, PA 19103

                                                                                                                                Page Subtotals             (1,889.14)                  0.00


                                                                                                         COLUMN TOTALS                                         (0.00)                  0.00
                                                                                                                 Less:Bank Transfer/CD's                    5,637.87                   0.00
                                                                                                         SUBTOTALS                                         (5,637.87)                  0.00

                                                                                                               Less: Payments to Debtors                                               0.00
                                                                                                         Net                                               (5,637.87)                  0.00


                                                                                                 TOTAL-ALL ACCOUNTS                                        NET                     NET              ACCOUNT
                     All Accounts Gross Receipts:                 966,796.26                                                                             DEPOSITS             DISBURSEMENTS         BALANCE

              All Accounts Gross Disbursements:                   966,796.26
                                                                                                 ******1797 Checking Account                              844,501.20             838,863.33
                                 All Accounts Net:                      0.00
                                                                                                 ******1813 401(K) Plan Funds                               -5,637.87                  0.00

                                                                                                 Net Totals                                               838,863.33             838,863.33               0.00




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